     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 1 of 281



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 BERKLEY REGIONAL INSURANCE COMPANY    §                              CASE NO. ___________
                                       §
 V.                                    §
                                       §
 SHARYN MITCHELL, AS REPRESENTATIVE OF §
 THE ESTATE OF GENTRY DALE MITCHELL, §
 DECEDENT, AND AARON GONZALEZ          §

             PLAINTIFF BERKLEY REGIONAL INSURANCE COMPANY’S
                           ORIGINAL COMPLAINT

        Plaintiff Berkley Regional Insurance Company (“Berkley”) files this Original Complaint

against Defendant Sharyn Mitchell, as representative of the Estate of Gentry Dale Mitchell, and

Aaron Gonzalez, and respectfully shows the Court as follows:

                                       I.      PARTIES

        1.     Plaintiff Berkley is a Delaware corporation. Its principal place of business is

Urbandale, Iowa.

        2.     Defendant Sharyn Mitchell is an individual Texas resident. She may be served with

process at her residence at 3707 Jewel Point Drive, Spring, Texas 77386.

        3.     Aaron Gonzalez is an individual Texas resident. He may be served with process at

his residence at 101 Northview Drive, Trinidad, Texas 75163.

                                     II.     JURISDICTION

        4.     This action is brought pursuant to the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201 et seq. The amount in controversy in this action exceeds $75,000, exclusive of interest and

costs. The parties to this lawsuit reside in different states and there is complete diversity.

Therefore, this Court has subject matter of jurisdiction over this action pursuant to 28 U.S.C. §

1332.
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 2 of 281



          5.      This Court has personal jurisdiction over Defendant Sharyn Mitchell because she

resides in Spring, Texas, and is therefore a citizen of Texas.

          6.      This Court has personal jurisdiction over Defendant Aaron Gonzalez because he

resides in Trinidad, Texas, and is therefore a citizen of Texas. By virtue of his claim against

Sharyn Mitchell, Aaron Gonzalez is an interested party with respect to the Berkley Policy on which

Sharyn Mitchell, as representative of the estate of Gentry Dale Mitchell, claims insured status. As

such, Aaron Gonzalez is a proper party to this suit. Any judgment that Berkley obtains against

Sharyn Mitchell will be binding on Aaron Gonzalez.

                                                 III.       VENUE

          7.      Venue is proper in the Southern District of Texas, Houston Division, because

Defendant Sharyn Mitchell resides in Spring, Texas. 28 U.S.C. § 1391(b)(1), (c)(1).

                                                  IV.       FACTS

          8.      This coverage suit stems from an auto accident that occurred on February 13, 2018

along US-285 in Reeves County, Texas.

          9.      Gentry Dale Mitchell was driving a 2013 Chevrolet C2500 pickup truck owned by

    Matthew Trissel and leased by Four Six Services, LLC.

          10.     Gentry Mitchell had permission to drive the 2013 Chevrolet pickup truck for work

    purposes, to and from the work site and the “man camp,”1 but only within the parameters of Four

    Six’s policies for driving a work vehicle. Four Six has a strict policy against driving a company

    vehicle after drinking alcohol. (Four Six handbook, attached as Ex. A)

          11.     On the day of the accident, Gentry Mitchell left the work site at approximately 5:45

p.m. Between 5:45 p.m. and the accident at approximately 10:40 p.m., Gentry Mitchell drove the


1
      “Man camps” are typically dormitory-like compounds where oilfield workers live away from home during their
      shifts, which can span multiple weeks.


                                                        2
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 3 of 281



2013 Chevrolet pickup truck to a hotel to visit a friend, where he drank alcohol, and to at least one

bar, where he consumed more alcohol.

       12.     While driving along US-285, Gentry Mitchell crashed his vehicle into the 2018

Dodge Ram 2500 pickup truck driven by Aaron Lee Gonzalez. Both Gentry Mitchell and his

passenger were pronounced dead at the scene. Aaron Gonzalez allegedly sustained physical

injuries. Gentry Mitchell’s blood alcohol level tested as 0.17—more than twice the legal limit.

       13.     Aaron Gonzalez has sued Sharyn Mitchell, as representative of the estate of Gentry

Dale Mitchell, in a case styled Aaron Gonzalez v. Four Six Services, LLC, et al., cause no. 18-04-

22398-CVR, pending in the 143rd District Court in Reeves County, Texas (the “Lawsuit”).

       14.     Berkley issued Commercial Lines Policy no. ECA3124892-12 to Four Six,

effective May 30, 2017 through May 30, 2018 (the “Policy,” attached as Ex. B). The Policy

provides auto liability coverage to Four Six, and others qualifying as “insureds,” subject to the

provisions of the Policy.

       15.     Subject to certain exceptions, a driver can qualify as an “insured” under the Policy

while using—with Four Six’ permission—a covered “auto” that Four Six owns, hires, or borrows.

       16.     Gentry Mitchell’s permissive use of the “auto” is purely an insurance coverage

issue, not a liability issue that will be decided in the underlying Lawsuit. Thus, whether Gentry

Mitchell was using the 2013 Chevrolet pickup truck within the parameters of permission granted

by Four Six is ripe for consideration by this Court.

       17.     The vehicle being driven by Gentry Mitchell at the time of the accident was

scheduled as a covered “auto” on the Policy.

       18.     Berkley is defending Sharyn Mitchell, as representative of the estate of Gentry

Mitchell, in the Lawsuit pursuant to a reservation of rights. Among other things, Berkley has




                                                 3
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 4 of 281



reserved the right to deny indemnity based on Gentry Mitchell’s failure to qualify as an “insured”

on the Policy because he was not a permissive user of the covered “auto” at the time of the

accident.

                                     V.          CLAIM FOR RELIEF

       19.      Berkley incorporates the preceding paragraphs by reference as if they were repeated

in this paragraph.

       20.      Berkley seeks a declaratory judgment that:

                a. Gentry Mitchell does not qualify as an “insured” on the Policy for purposes of

                     the February 13, 2018 accident because he was not a permissive user of the

                     covered “auto” at the time of the accident;

                b. because Gentry Mitchell does not qualify as an “insured,” Berkley has no

                     obligation to indemnify Sharyn Mitchell, as representative of the estate of

                     Gentry Mitchell, for damages resulting from the February 13, 2018 accident.

                                     VI.         ATTORNEYS’ FEES

       21.      Berkley seeks its reasonable and necessary attorney fees. 28 U.S.C. § 2202.

                                          VII.    JURY DEMAND

       22.      Berkley hereby demands a trial by jury on any contested issues of material fact.

Along with the filing of the Original Complaint, Berkley tenders the requisite jury fee to the Clerk

of the Court.

                                             VIII. PRAYER

       23.      Accordingly, Berkley prays that the Court issue declaratory judgment against

Sharyn Mitchell, as representative of the estate of Gentry Mitchell, as follows:




                                                    4
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 5 of 281



               a. Gentry Mitchell does not qualify as an “insured” on the Policy for purposes of

                   the February 13, 2018 accident because he was not a permissive user of the

                   covered “auto” at the time of the accident;

               b. because Gentry Mitchell does not qualify as an “insured,” Berkley has no

                   obligation to indemnify Sharyn Mitchell, as representative of the estate of

                   Gentry Mitchell, for damages resulting from the February 13, 2018 accident.

       24.     Berkley further prays for judgment awarding costs of suit and reasonable attorneys’

fees, and for such other relief as the Court deems equitable and just.

                                              Respectfully submitted,

                                              /s/ Thomas C. Wright
                                              Thomas C. Wright
                                              Attorney-in-charge
                                              Texas Bar No. 22059400
                                              Elizabeth H. Rivers
                                              Texas Bar No. 24052020
                                              Natasha N. Taylor
                                              Texas Bar No. 24071117
                                              WRIGHT CLOSE & BARGER, LLP
                                              One Riverway, Suite 2200
                                              Houston, Texas 77056
                                              (713) 572-4321
                                              (713) 572-4320 (facsimile)
                                              wright@wrightclosebarger.com
                                              rivers@wrightclosebarger.com
                                              taylor@wrightclosebarger.com

                                              ATTORNEYS FOR PLAINTIFF,
                                              BERKLEY REGIONAL INSURANCE
                                              COMPANY




                                                 5
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 6 of 281




                  Exhibit A
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 7 of 281




         Welcome To The Team




                    (



               Four Six Services

                 "Leading By Example"
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 8 of 281




 introduction                                                         5

   Welcome and Purpose                                                6
   At-will Employment Statement                                       7

   Mission Statement                                                  8

 Employment Policies                                                  9
   Employment Termination Policy....                              10

  Equal Employment Opportunity                                    11

  Internal Transfer/Promotion Policy                              12

  1-9 Immigration Reform Policy                                   13

Workplace Conduct                                               . 14
  Code of Ethics Policy                                           15

  Disciplinary Action Policy                                      19

  Drug-free Workplace Policy                                      20

  Drug and Alcohol Testing Policy .                               21

  Harassment Policy                                               25

  Sexual Harassment Policy                                        26

  Standards of Conduct Policy                                    27

  Violence in the Workplace Policy                               28

  Workplace Bullying Policy                                      30

  Diversity Policy                                               31

Employee Benefits .                                            ..32
 COBRA Benefits Policy                                           33

 Employer-offered Insurance Policy                               34

 Domestic Partnership Policy                                     35

 Employment Taxes & Voluntary Deductions Policy                  36


Time Away from Work
 Communicable Disease Policy                                     38

 Contagious Illness Policy                                       39

 Federal Family and Medical Leave Policy                         40

 Funeral Leave Policy                                            50

 Jury Duty Policy                                                51

 Lunch and Rest Periods Policy                                  52

 Military Leave Policy                                          53
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 9 of 281




   Holiday Schedule                                                  55
   Pandemic Flu Leave Policy....                                     56
   Parental/School Leave Policy.                                  57
   Religious Observances Policy                                   58
   Sick Time Policy                                               59
  Vacation Policy                                                 61

 Information & Office Security
  Emergency Action Plan                                           63

  Facility Access & Visitors Policy                               66
  General Computer Usage Policy                                   67
  Recording Devices Prohibited Policy                             68

General Practices
  Anti-discrimination Policy                                      70
  Attendance and Standard Working Hours Policy                    71
  Attendance / Punctuality                                        72

  Background Check Policy                                         74

  Business Expense Reimbursement Policy                          75
  Company Car Policy                                             77

  Company Credit Card Policy                                     79

  Employer-provided Mobile Devices Policy                        80

 Confidential Information and Company Property Policy            81

 Conflicts of Interest Policy                                    82

 Customer Complaint Policy                                       83

 Dress Code                                                      84

 Driving While on Company Business Policy                        86

 Educational Assistance Program Policy                           87

 Employee Classification Policy                                  89

 Employee Fraternization Policy                                  90
 Employee Referral Bonus Policy                                  91

 Employment of Relatives Policy                                  92
 Improper Payments and Gifts Policy                              93

 Injury & Illness Reporting Policy                               94

 Media Relations Policy                                          95
 Online Social Networking Policy                                96

 Open Door Policy                                               98
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 10 of 281




   Overtime Pay Policy                                             100

   Pay Periods and Check Distribution Policy                       102

   Direct Deposit Policy                                           103

   Performance Evaluation Policy                                   104

   Personnel Records Policy.....                                   105

   Phone Call Policy                                               106

   Physical Examination Policy                                     107

   Safety Policy                                                   108

   Severe Weather Policy                                          109

   Smoke-free Environment Policy                                  110

   Social Functions Policy                                        111

   Solicitations, Distributions & Use of Bulletin Boards Policy   112

   Use of Four Six Services, LLC Equipment                        113

  Desks, Lockers, and File Cabinets                               113


Safety manual
  Workers' Compensation Policy                                    115

  Work Area                                                       116

  Safety Commitment                                               117

  General Safety Rules                                            119

  Safety Orientation Training                                     121

  Return to Work Program                                          122

  Emergency Action Plan                                           124

  Access to Employee Exposure & Medical Records                   126

  Motor Vehicle Record (MVR) Grading Criteria                     127

  Job Specific Safety Precautions                                 128

  General Safety Precautions                                      134

  Safety Manual Employee Acknowledgement                          137


Fleet Safety Policy
  Responsibility And Accountability                               140

  Driver Education and Training                                   142

  Vehicle Inspection and Preventive Maintenance..                 143

 Accident Investigations                                          144

  General Vehicle Safety Rules                                    148

  Report of Vehicle Accident                                      150

  Fleet Safety Policy Employee Acknowledgement                    154
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 11 of 281




  VEHICLE CONDITION REPORT                                           155

 Annual Vehicle Loss Rate                                             156


 APPENDIX                                                            157

 Application for Re-employment Following Military Leave              158

 Application & Request for Educational Reimbursement,                159

 Certificate of Entrance into Military Service                       160

 Certificate of Return from Military Service                         161

 Employee's Request to Take Voting Leave                             162

 Expense Report,                                                     163

 Mileage Report Form                                                 164

 Report to Jury Duty                                                 165

Vacation Request Form                                               166

Application for Four Six Services issued Credit Card                 167

Disciplinary Action Form                                             168

Receipt of Four Six Services Employee Handbook,                     170

Receipt of Harassment Polices                                       171

Receipt of Smoking Polices                                          175

Receipt of Employee Confidentiality Policy,                         176

Job Description Template                                            179

Accident Investigation/Eye Witness Form                             180

JSA Form Example                                                    181

Run Sheet Form Example                                             182

Mentoring Program                                                  183
   Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 12 of 281




Job Orientation Guide                                              185

PPE and General Safety Checklist.                                  187

Employee Rules                                                     188

General Safety Rules                                               189

Uniform Policy,                                                    191

Sick Day Policy,                                                   192
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 13 of 281




 Introduction
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 14 of 281




 Introduction




 This handbook is designed to acquaint you with Four Six Services, LLC and provide you with general
 information about working conditions, benefits, safety practices and policies affecting your
 employment.


The information contained in this handbook applies to all employees of Four Six Services, LLC.
Following the policies detailed within the handbook is considered a condition of continuous
employment. The contents of this manual shall not constitute nor be construed as a promise of
employment or as a contract between the Company and any of its employees. The handbook is a
summary of our policies, which are presented here only as a matter of information.


You are responsible for reading, understanding and complying with the provisions of this handbook.
Our objective is to provide you with a work environment that is constructive to both personal and
professional growth.
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 15 of 281




 introduction




 While we hope to have a long and profitable relationship with you, your employment with the
 Company is voluntary and is subject to termination by you or the Company at will, with or without
 cause, and with or without notice, at any time.


 While the Company may have a disciplinary system in place, this system does not have to be used—
 the Company may make the decision to terminate you without first taking these disciplinary steps.


 None of the information provided in our policies signifies a contractual agreement or should be
 interpreted to conflict with, eliminate or modify in any way your employment-at-will status with the
 Company.


No individual, except for Matt Trissel or Dusty Renfro can approve any kind of contractual
agreement. Should a contractual agreement be signed by this person, it must also be notarized in
order to be applicable.




                                                                                        1<
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 16 of 281




Our mission is to retain and expand our customer base through superior, personalized service.


We have carefully selected you as a team member because we believe that you will provide the
high-quality service that continually makes us the best in the business. We believe that consistent,
ethical and quality performance in all of our endeavors is the key to success and will result in loyal,
mutually beneficial relationships, As a member of our team, dedication to providing the best service
to our customers is your number-one priority.


To fulfill this mission, we are committed to:


    •   Providing competitively priced products and high-quality service


    ,   Be up to date with new technologies that may benefit us


    •   Rewarding employee achievement


    •   Serving and supporting the community


        Building partnerships


    •   Exceeding customer expectations




                                                                         Mission
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 17 of 281




   Employment
   Policies
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 18 of 281




    c      Employment Policies




           •• : 5 n ?                = i V i Z 'C ; M h h' i$ K; ' \

                   1.     Termination of employment is an inevitable part of personnel activity within any organization,
                          and many of the reasons for termination are routine, Below are examples of some of the
                          most common circumstances under which employment is terminated:


                              o   Resignation—voluntary employment termination initialed by an employee.

                              o   Termination—involuntary employment termination initiated by the company.

                             o    Layoff—involuntary employment termination initiated by the company for non-
                                  disciplinary reasons.

               2.        If you wish to resign, we ask that you notify your manager of your anticipated departure date
                         at least two weeks in advance. Of course, as much notice as possible is appreciated by the
                         company and your co-workers. This notice should be in the form of a written statement.


               3.        If you fail to report to work for three consecutive days without informing management of the
                         planned absence, we will assume that you have voluntarily resigned.

               4.        In the case of termination due to resignation, retirement or permanent reduction in the work
                         force, your accrued vacation pay will be paid on a pro-rata basis. Unused personal time is
(                        not paid upon termination. In the case of termination, any vacation or personal/sick time
                        used in excess of accrued time will be deducted from your final paycheck given your prior
                        written permission.


              5.        Furthermore, any outstanding financial obligations owed to the company will also be
                        deducted from your final check given your prior written permission. If your final check does
                        not sufficiently cover the money owed to the Company, you will remain liable for that
                        amount.


              6.        A meeting between you and your immediate manager will take place prior to your last day of
                        work. A health insurance extension of benefits under COBRA regulations is available and is
                        offered via mail to eligible employees. Any Company equipment, office keys, etc. must be
                        returned at this time, along with all other Company property and confidential information,

             7.         If you leave Four Six Services, LLC in good standing, you may be considered for re
                        employment.

             8.         Except as required by law or by separate agreement, employee salary and benefits will end          !i
                        on the date of termination.

             9.         Upon resigning from Four Six Services, LLC, please continue to provide us with an accurate
                        address for at least one year for tax purposes.




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 19 of 281




    (      Employment Policies




           It is our policy to provide an equal employment opportunity to all individuals. We are committed to a
           diverse workforce. We value all employees' talents and support an environment that is inclusive and
           respectful. We are strongly committed to this policy, and believe in the concept and spirit of the law.


           We are committed to ensuring that:


               o   All recruiting, hiring, training, promotion, compensation and other employment-related
                   programs are provided fairly to all persons on an equal opportunity basis;

               o   Employment decisions are based on the principles of equal opportunity. All personnel
                   actions such as compensation, benefits, transfers, training, and participation in social and
                   recreational programs are administered without regard to any characteristic protected by
                   state, federal or local law;


              o    Employees and applicants will not be subjected to harassment, intimidation, threats,
                   retaliation, coercion or discrimination because they have exercised any right protected by
                   law; and


              o    Reasonable accommodations will be made for disabilities and religious beliefs.


(         We believe in and practice equal opportunity. The Director of Human Resources serves as our Equal
          Opportunity Coordinator and has overall responsibility for assuring compliance with this policy. All
          employees are responsible for supporting the concept of equal opportunity and diversity and
          assisting our Company in meeting its objectives.


          Please contact Human Resources with questions or concerns.




(
                                                                Equal Employment Opportunity { 1 •?
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 20 of 281



                                                                                                                          i




    r       Employment Policies




           The Company strives to retain employees through an environment that creates opportunity and
           encourages advancement. It is our goal to fully use employees' skills and allow them to continually
           develop their talents.

           When new positions become available, they will be advertised both internally and externally. Current
           employees are welcome to apply, as are external candidates. All staffing decisions will be made with
           the position goals in mind, with the desire to hire the best-qualified individual being prevalent.


           At times, positions may be filled internally without being posted. This could relate to a planned career
           progression plan that includes an employee being assigned new responsibilities, or could take place
           for other reasons.

          Transfers can be either management- or employee-initiated. They are determined by business needs
          and employee qualifications. Employees will be given the opportunity to provide input prior to the
          decision being made, but should not be approached regarding a transferor open position without the
          knowledge of their manager and Human Resources. Transfers will be made in a manner that
          disrupts ongoing operations as little as possible.


          In order to be considered for a transfer or promotion, you must complete the Internal
          Transfer/Promotion Application form and submit it to Human Resources with your manager's
(         signature. After the interview process is complete, if you are selected for the position you will receive
          documentation and the transition process will begin.




                                                                                                                      i




(
                                                             Internal fransfer/Promotion Policy;
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 21 of 281




f     Employment Policies




       9 im rm

                                                                                                  those
      Four Six Services, LLC complies with the Immigration Reform and Control Act, employing only
      persons who are legally eligible to work in the United States.

                                                                                                 employing
      Four Six Services, LLC complies with the Immigration Reform and Control Act of 1986 by
      only U. S. citizens and non-citizens who are authorized to work in the United States. All employees
      are asked on their first day of employment to provide original documents verifying their right to work
      in the United States and to sign a verification form required by federal law (INS Form I-9). If an
                                                                                                          must
      individual cannot verify his or her right to work within three days of hire, Four Six Services, LLC
      terminate his or her employment.

      Please contact Human Resources with questions or concerns.




(




                                                                                                                 1




                                                                                                                 !



                                                                                                                 i




c
                                                                         1-9 Immigration Reform ; ; :
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 22 of 281




r




       Workplace
       Conduct
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 23 of 281




        f        Workplace Conduct




                 Oofift of £ imcs r o^;V

                Four Six Services, LLC maintains specific policies in an attempt to assist employees in adhering to
                certain standards of conduct. These policies are in place to preserve the Company's reputation and
                prevent adverse consequences to all parties involved. This particular policy is designed to establish
                standards of conduct with respect to payments and political contributions.


                Prohibition of Improper Payments


                The Company requires all employees to only use lawful practices involving payments to customers,
                political parties, officials, candidates or governmental authorities. As a result, kickbacks and bribes
                offered with the intent of inducing or rewarding specific buying decisions or actions are strictly
                prohibited. No Company employee may offer to make direct or indirect payments of value in the form
                of compensation, gifts or contributions to any of the following:


                    o   Persons or firms employed by or acting on behalf of a customer (private or governmental) for
                        the purpose of rewarding favorable actions in a transaction.


                    o   Any governmental officials, political parties or officials of a party or candidate for political
                        office, for the purpose of rewarding favorable actions or influence of the official, party or
                        candidate.

    (          These restrictions are not applicable to ordinary, reasonable business entertainment expenses and
               gifts of no substantial value. Management should exercise sound judgment and discretion with
               regard to controlling and authorizing these business expenses on a regular basis.

               Political Contributions

               The Company will not make any contributions to any political party or candidate for political office in
               violation of federal or state law. Federal law generally prohibits corporations from making
               contributions or expenditures in connection with a political campaign, subject to some limited
               exceptions. There are, however, various states that do allow corporate contributions to political
               parties and candidates in conjunction with state and local elections.


               Reporting to Management

               Any employee who must authorize, make or agree to a payment that may be contrary to this policy
               must report this information to his or her supervisor or to the Company's legal counsel immediately. If
             ' an employee learns that a coworker is engaging in conduct contrary to this policy, the employee
               must report this information immediately to his or her supervisor or the Company's legal counsel
               immediately as well. Management personnel who receive a report will promptly discuss the issue
               with legal counsel for further investigation.


              Antitrust Laws

              Antitrust laws are relevant to many business decisions, and those who engage in illegal actions
              against such laws are subject to fines and imprisonment. Management will help guide employees in
              abiding by antitrust decrees applicable to the Company. The Company intends to comply with all
              U.S. antitrust laws applicable to normal business operations and will hold employees responsible for

(             abiding by these laws as well.
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 24 of 281




       Workplace Conduct




       In compliance with Section I of the Sherman Antitrust Act:

                                                                                               informal, written
           o   No employee may enter into an agreement (expressed or implied, formal or
                                                        any of the following conditions or business  offering:
               or oral) with any competitor restricting


                        Prices


                        Costs


                        Profits


                        Offerings of products and services


                        Terms of sale conditions

                        Production or sales volume


                        Production capacity

                        Market share


                        Quote decisions
(
                        Customer selection


                        Sales territories


                   •    Distribution methodology

                                                                                                       right of
           o   No employee may enter into an agreement with a purchaser or lessee restricting the
               the purchaser or lessee to determine the price to resell or lease the product in question.
                                                                                                           or
               Employees may also not enter in such agreements when the Company is the purchaser
               lessee in the agreement.                                  .


      The following situations may be in violation of antitrust laws under certain circumstances. Employees
      may not enter into these agreements without consulting legal counsel in advance and obtaining
      clearance to enter into such agreements.

           o   Agreements with customers or suppliers regarding the sales or purchases of reciprocal
               purchases or sales by customers or suppliers.

           o   Agreements with purchasers or lessees of products of the Company that would restrict
               customers from using or reselling products as they choose to do so.

           o   Agreements with any party that would restrict all parties involved to manufacture a product
               or provide a service to a third party.


      Exchange of Information with Competitors


(
                                                                             Code of Ethics Policy
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 25 of 281




    )      Workplace Conduct




           Communication with competitors would be an infringement of antitrust laws, specifically if the
           communication were accompanied by some action, The prohibitions of this policy are intended to
           avoid antitrust infringements. Under this policy, no employee may discuss information on any subject
           with a competitor or another third party acting on behalf of a competitor to remain compliant with
           Section I of the Sherman Antitrust Act, unless the Company's legal counsel determines that the
           communication would not violate antitrust taws.

           When participating in trade associations and other meetings with competitors, employees may not
           attend:


               o     Unauthorized meetings with competitors.

               o     Meetings where the communication with competitors is in violation of the paragraph above.

               o     Meetings for trade associations held to discuss business without adhering to the formal rules
                     established by the trade association for its meetings.

           Employees must recognize that participating in development and product certification events
           impacting competitors or suppliers may initiate antitrust violations. Consult with the Company's legal
           counsel before attending any event that may develop standards or certify products with competitors.

           Violations of this Policy

(          If an employee violates this policy, he or she may be subject to termination or other disciplinary
           action to prevent future violations. The following individuals may be subject to disciplinary action or
           termination:


                          •   Employees who are in direct violation of this policy.

                          •   Employees who deliberately withhold Information concerning the violation of this
                              policy or fail to report a violation of this policy.


                          •   Management personnel who fail to report violation of this policy by their
                              subordinates.


           If an employee is accused of violating antitrust laws, yet he or she did consult legal counsel and
           acted in good faith, the employee may not face disciplinary action under this policy, The Company
           may also assist in the employee's defense, within the confines of the law.




C
                                                                                     Code of Ethics Policy
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 26 of 281




o      Workplace Conduct




       Cor^vmim

       Four Six Services, LLC strives to openly communicate with all employees. Any concerns employees
       have should be promptly reported to management so that a solution may be devised.

       Examples of some complaints employees may have:


           o   Suggestions for improvement

           o   Concerns about working conditions

           o   Issues with co-workers


           o   Concerns about treatment at work

       When a complaint is voiced, management will do its best to remedy the situation. While every
       employee may not be satisfied with every solution, employee's input is valued and Four Six Services,
       LLC wants to foster an environment where all employees feel comfortable reporting their concerns.

       Please contact your supervisor or Human Resources with all complaints.


c




(
                                                                              Complaint Policy          » '*
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 27 of 281




r      Workplace Conduct




       We recognize alcohol and drug abuse to be potential health, safety and security problems, it is
       expected that all employees will assist in maintaining a work environment free from the effects of
       alcohol, drugs or other intoxicating substances. Compliance with this Drug-free Workplace Policy is
       made a condition of employment.

       Employees are prohibited from the following when reporting for work, while on the job, on Company
       or customer premises or surrounding areas or in any vehicle used for Company business:

           o    The unlawful use, possession, transportation, manufacture, sale, dispensation or other
                distribution of an illegal or controlled substance or drug paraphernalia

           o    The unauthorized use, possession, transportation, manufacture, sale, dispensation or other
                distribution of alcohol

           o    Being under the influence of alcohol or having a detectable amount of an illegal or controlled
                substance in the blood or urine ("controlled substance" means a drug or other substance as
                defined in applicable federal and state laws on drug abuse prevention)

       Any employee violating these prohibitions will be subject to disciplinary action up to and including
       termination.
(
       Any employee convicted under any criminal drug statute for a violation occurring while on the job, on
       Company or customer premises or in any vehicle used for Company business must notify the
       Company no later than five days after such a conviction. A conviction includes any finding of guilt or
       plea of no contest and/or imposition of a fine, jail sentence or other penalty.

       Drug and alcohol testing will be carried out in compliance with any applicable state and federal laws
       and regulations.

       Disciplinary action will be taken for drug-related crimes, regardless of whether they happened during
      working hours or on an employee's own time.


      We recognize that employees suffering from alcohol or drug dependence can be treated. We
      encourage any employee to seek professional care and counseling prior to any violation of this
      policy.




C
                                                                   Drug-free Workplace Policy :
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 28 of 281




c   ;      Workplace Conduct




           Four Six Services, LLC values the health and safety of its employees and knows that the use of
           alcohol and/or drugs can have a negative impact on the workplace and on job performance.
           Because of this, Four Six Services, LLC prohibits the use, sale or possession of alcohol and/or illegal
           drugs at all times while on Company property or time. Employees are subject to drug and alcohol
           testing at any time, with or without notice.


           In accordance with the Federal Drug Free Workplace Act, individuals convicted of any criminal drug
           statute, including misdemeanors, for violations occurring on company property or Company time
           must notify Four Six Services, LLC within five (5) days of the date of conviction. This includes any
           findings of guilt, pleas of 'no contest' and impositions of fines, jail sentences or other penalties.

           Testing Methods


               •   Pre-employment Testing: Every job applicant will be required to take and pass a drug and/or
                   alcohol test before he or she may officially be hired by Four Six Services, LLC. Each
                   applicant will be notified that a drug and/or alcohol test is required as part of the interview
                   process and that any and all job offers are contingent upon successfully passing a drug
                   and/or alcohol test.

               •   Periodic Group Testing: Employees will periodically be required to submit a specimen for an
(                  unannounced drug and/or alcohol test. Employees will be given short notice of the test and
                   will be told when the testing will occur.

               •   Random Testing: Every employee has the chance of being selected to provide a specimen
                   for a drug and/or alcohol test. Such random testing will take place annually. Selection for
                   testing will be done to ensure that the selection of individuals is done at random.

               •   Reasonable Suspicion Testing: If there is suspicion that an employee is under the influence
                   of drugs and/or alcohol while on Company property or time, the employee will be required to
                   take a drug and/or alcohol test. Reasonable suspicion will be based on observable instances
                   or actions such as, but not limited to, the following:

                       o    Dangerous conduct

                       o    Unexplained decrease in job performance

                       o    Hostile interpersonal relations

                       o    Possession of drug paraphernalia

                       o   Noticeably reduced short-term memory


                       o   Physical symptoms (incl. bloodshot eyes, slurred speech and vomiting)

                       o   Anxiety

                       o   Inability to concentrate


C
                                                                                     Harassment Policy !
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 29 of 281




     r      Workplace Conduct




                       •    Post-accident Testing: Every employee who Is directly involved in, or whose actions
                            contributed to, an accident on the job must submit to a drug and/or alcohol test as soon as
                            possible after the incident occurs. Accidents include all Occupational Health and Safety
                            Administration (OSHA) recordable incidents, actions or omissions that result in near-miss
                            accidents and accidents involving injury requiring first aid or off-site medical attention.
                            Accidents also include property damage caused by human error.


                   •        Follow-up Testing: Employees who have tested positive for a drug and/or alcohol test, and
                            employees who have attended drug and/or alcohol-related counseling may not return to
                            work until they have been evaluated by a medical professional in a substance abuse
                            treatment facility and have successfully passed a drug and/or alcohol test. Employees who
                            return to work will be subject to follow-up tests, all of which will be unannounced.

            Each of the following actions constitutes a refusal to submit to testing:


                   *       Failure to provide an adequate urine, blood, breath or saliva specimen for a drug and/or
                           alcohol test without a valid medical explanation


                   •       Failure to be escorted to a testing facility


                   •       Tampering with, adulterating or diluting a specimen



(               •          Refusing to sign a Chain of Custody form at the testing facility.

           Employees do have the option to refuse to submit to drug and/or alcohol tests; however, doing so will
           constitute a violation of this policy. Refusal to take a drug and/or alcohol test will also be considered
           a positive test result, which subjects the employee to disciplinary action(s). Job applicants who refuse
           to submit to drug and/or alcohol testing will be not be considered for employment.

           Disciplinary Actions


           Employees who test positive for drugs and/or alcohol, or who refuse to submit to testing, will be
           subject to disciplinary action(s), up to and including termination. No employee who tests positive for
           drugs and/or alcohol will be allowed to return to work until he or she has done the following:

               •           Signed the Rehabilitation Agreement form


               •           Successfully completed an assessment and/or treatment for drug and/or alcohol abuse

               °           Received certification from a qualified medical professional that he or she is free from drug
                           and/or alcohol use


               •           Taken a drug and/or alcohol test, received negative test results and consented to follow-up
                           testing

           Collection of Specimens and Testing


           Four Six Services, LLC subscribes to the collection and testing procedures outlined by the
           Department of Health and Human Services (HHS). This protocol protects the privacy and
           confidentiality of the employee. Under certain circumstances, HHS requires that specimen donors
(.
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 30 of 281




    (       Workplace Conduct




            provide a fresh specimen in the presence of a witness; however, this only occurs if there is suspicion
           of any of the following:


                •     The specimen is not from the donor

                •     The specimen was altered or tampered with


                •     The collection is part of a post-treatment monitoring program


                •     The donor adulterated the previous specimen


           All specimens collected for drug and/or alcohol testing will be processed using employees' social
           security numbers as identification to ensure confidentiality.

           Necessary Forms


           Specimens will be tracked using a Custody and Control Form from the point of submission through
           destruction. Employees submitting specimens will be required to sign Chain of Custody Forms. If an
           employee does not sign these forms, retests will be requested. An employee who refuses to sign
           after it is requested of him or her will be considered having refused testing and will be subject to
           disciplinary action.


("         Laboratory Testing


          All drug and/or alcohol testing will be conducted in a laboratory certified by HHS, according to the
          following procedures; (1) specimens will be screened for amphetamines, benzoyleconine (cocaine),
          opiates, phencyclidine (PCP) and tetrahydrocannabinol (THC or marijuana); and (2) test results will
          be confirmed by gas chromatography/mass spectrometry (GC/MS). Four Six Services, LLC
          reserves the right to test for other substances as well.


          No specimen will be considered positive until it has been confirmed at the level established by HHS.
          If no established levels have been set by HHS for a tested substance, Four Six Services LLC will
          hold the testing facility responsible for establishing an acceptable level.

          Test results for alcohol revealing a blood alcohol content of .04 or greater will be considered positive.

          Results


          Positive test results wili be reported to the Medical Review Officer (MRO), who will then contact the
          employee to discuss the results. Should the MRO be unable to contact the employee, he or she will
          contact Four Six Services, LLC for assistance. If the MRO cannot make contact with the employee
          within five days of testing or the results reveal a major safety concern, the MRO may disclose
          positive test results to Four Six Sen/ices, LLC. At that point, Four Six Services, LLC reserves the
          right to take the employee off active duty until the MRO is able to contact the employee. When the
          MRO does contact the employee, and only if he or she can provide a viable reason for why the test
          came back positive, then the positive test result will be reported to Four Six Services, LLC as
          negative.


          Use of Prescription Medications


(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 31 of 281




    (       Workplace Conduct




            Nothing in this policy prohibits the appropriate use of prescription medication as legally prescribed by
            a licensed physician. If an employee is taking prescription medication with potential side effects that
            may infringe on the safety of the employee or others, he or she must notify Four Six Services, LLC.
            Failure to do so may result in disciplinary action, up to and including termination.


            Four Six Services, LLC may contact the employee's physician to investigate whether it is necessary
            to impose restrictions on job duties as a result of the employee's use of prescription medication. If
            Four Six Services, LLC and the physician determine thai the employee should be removed from
            performing his or her job duties, Four Six Services, LLC will notify the employee immediately.

           Confidentiality


           Results of all drug and/or alcohol testing will be kept separate from employee personnel files and
           treated as confidential information. All results, whether positive or negative, will not be shared with
           anyone outside of the employee's direct supervisory chain of command, except when absolutely
           necessary for treatment or physician confirmation purposes.


           NOTE: Four Six Services, LLC may disclose the results of a drug and/or alcohol test to decision
           makers in a lawsuit, grievance or other proceeding initiated by or on behalf of the employee,

           Employee Assistance Program Policy


           Four Six Services, LLC is well aware that substance abuse problems affecting individual employees
C          may also affect their job performance and personal life. Although employees can usually resolve
           issues on their own, at times, they may benefit from additional assistance. Four Six Services, LLC
           proudly offers a confidential counseling service to employees and their family members (paid through
           your employee insurance coverage, if applicable, or by the employee). This Employee Assistance
           Program (EAP) includes short-term counseling as well as referral services. This service is staffed by
           specialists qualified to assist with alcohol, drug, medical, marital, financial, legal, family and emotional
           problems.


          The EAP is available to all employees, but is not required except when job performance, attendance
          or job responsibilities are negatively affected. All employees are welcome to make use of these
          services to better their personal lives.


           In addition, an employee who voluntarily comes forward before violating this policy will be given the
          opportunity to seek treatment in accordance with the Voluntary Rehabilitation Agreement. In the
          event of a positive drug and/or alcohol test result, Four Six Services, LLC will refer the individual to
          available resources; either at the employee's expense, or that are covered by the company's health
          plan. Prior to entering treatment, the employee will be required to sign a form consenting to the
          release of information regarding his or her treatment and return-to-work status. Upon leaving the
          treatment facility, an evaluation will be required to demonstrate that treatment was completed
          successfully.

          If treatment requires time away from work, the time will be unpaid, unless paid vacation, sick leave or
          other earned time away is used. Upon return to work, Four Six Services, LLC will remain in contact
          with the treatment facility to assure ongoing compliance with the recommended treatment. In
          addition, the employee will be required to submit to drug and/or alcohol testing for up to 60 months,
          at the discretion of Four Six Services, LLC. Should the individual test positive for any substance at
          any point during that time, he or she will be immediately terminated.

(
                                                                                                               \i]
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 32 of 281




    o       Workplace Conduct




            s                      i m           -

             Four Six Services, LLC strives to provide a work environment that is free from harassment.
            Therefore, Four Six Services, LLC will not tolerate harassment based on age, race, gender, color,
           religion, national origin, disability, marital status, covered veteran status, sexual orientation, status
           with respect to public assistance and other characteristics protected under state, federal or local law.
           This conduct is prohibited in any form at the workplace, at work-related functions or outside of work if
           it affects the workplace. This policy applies to all employees, clients, customers, guests, vendors and
           persons doing business with the Company.

           Harassment consists of unwelcome conduct toward an individual because of his or her age, race,
           gender, color, religion or other protected status when the conduct creates an intimidating, hostile or
           offensive work environment that causes work performance to suffer or negatively affects job
           opportunities.

           Types of prohibited harassment include, but are not limited to, the following:

                    •   Verbal or written comments related to a trait someone possesses, including name-cafling,
                        jokes, slurs, negative stereotyping or threats

                    •   Explicit or degrading verbal comments about another individual or his or her appearance

                •       Nonverbal conduct, such as staring, leering or giving inappropriate gifts
(               •       Physical conduct, such as assault or unwanted touching

                •       Visual images, in hard copy or electronic form, relating to a trait someone possesses (for
                        example, cartoons, drawings or pictures)

           Appropriate performance reviews, counseling or discipline by your manager do not constitute
           harassment.

           if you feel that you are being harassed, take the following steps:

                •       Tell the harasser that his or her actions are not welcome and they must stop, if you feel
                        comfortable enough to do so

                •       Report the incident immediately to your manager or site Human Resources representative

                •       Report any additional incidents or retaliation that may occur to your manager or site Human
                        Resources representative

          All reports will be investigated immediately and thoroughly. Complaints and actions taken to resolve
          complaints will be handled as confidentially as possible. Appropriate actions will be taken to stop and
          remedy such conduct, including interim measures during a period of investigation.

          Retaliating or discriminating against an employee who reports a suspected incident of harassment or
          who cooperates in an investigation is prohibited. Employees who violate this policy or retaliate
          against an employee in any way will be subject to disciplinary action, up to and including termination.




(
                Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 33 of 281




        rrr-.




    (               Workplace Conduct




                   Four Six Services, LLC prohibits sexual harassment of all kinds. This policy applies not only to
                   employees, but also to clients, customers, guests, vendors and anyone else doing business with
                   Four Six Services, LLC. Any employee who feels that he or she has been a victim of sexual
                   harassment, or who believes that he or she has witnessed sexual harassment, should notify Human
                   Resources immediately.

                   Sexual harassment is defined as unwelcome sexual advances, requests for sexual favors and other
                   verbal or physical conduct of a sexual nature when:


                           •    Submission to such conduct is made a term or condition, either explicitly or implicitly, of an
                                individual's employment

                           •    Submission to or rejection of such conduct by an individual is used as a factor in decisions
                                affecting that individual's employment


                                Such conduct has the purpose or effect of interfering with an individual's work performance
                                or creates an intimidating, hostile or offensive work environment

                   Sexual harassment includes many forms of offensive behavior, including the harassment of a person
(                  of the same gender as the harasser. Examples of sexual harassment include, but are not limited to,
                   the following:


                       •       Unwelcome sexual flirtation, advances or propositions


                       •       Verbal comments related to an individual's gender or sexual orientation


                       •       Explicit or degrading verbal comments about another individual or his or her appearance

                       •       The display of sexually suggestive pictures or objects in any workplace location, including
                               transmission or display via computer


                      •        Any sexually offensive or abusive physical conduct

                      •        The taking of or the refusal to take any personnel action based on an employee's
                               submission to or rejection of sexual overtures

                      8        Displaying cartoons or telling jokes which relate to an individual's gender or sexual
                               orientation


                  It is important to Four Six Services, LLC that all employees are protected from harassment. Any
                  incidents that are perceived as harassment will be investigated and appropriate action will be taken
                  by Four Six Services, LLC.




(
                                                                                    Sexual Harassment Policy :
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 34 of 281




        (       Workplace Conduct




               The work rules and standards of conduct for Four Six Services, LLC are important, and the Company regards
               them seriously. All employees are urged to become familiar with these rules and standards. In addition,
               employees are expected to follow the rules and standards faithfully In doing their jobs and conducting business
               on behalf of Four Six Services, LLC. Please note that any employee who deviates from these rules and
               standards will be subject to disciplinary action, up to and including termination of employment.


               While not intended to list all the forms of behavior that are considered unacceptable in the workplace, the
               following are examples of rule infractions or misconduct that may result in disciplinary action.


                      o     Theft or inappropriate removal or possession of property


                      o    Falsification of timekeeping records


                      o    Working under the influence of alcohol or illegal drugs


                      o    Possession, manufacture, distribution, sale, transfer, dispensation or use of alcohol or Illegal drugs, or
                           firearms


                      o    Fighting or threatening violence in the workplace


                      o    Immoral actions or intimidating others
    (
                     o     Boisterous or disruptive activity in the workplace


                     o     Negligence or improper conduct leading to damage of Company or customer property


                  o        Insubordination or other disrespectful conduct


                  o       Violation of safety or health rules


                  o       Smoking in the workplace


                  o       Sexual or other unlawful or unwelcome harassment or touching


                  o       Excessive absenteeism or any absence without notice


                  o       Unauthorized use of telephones or other Company equipment

                  o       Using Company equipment for purposes other than business (e.g., playing games on computers or
                          personal Internet usage, including social media)

                  o       Unauthorized disclosure of confidential Information

                 o        Violation of personnel policies

                 o        Unsatisfactory performance or conduct


             These rules apply to any and all interactions with customers, fellow employees or anyone else associated with
             the workplace.

(

                                                                                            Standards of Conduct i

                                                                                                                                        !
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 35 of 281




    c      Workplace Conduct




           It is Four Six Services, LLC's policy to provide a workplace that is safe and free from all threatening
          and intimidating conduct. Therefore, the Company will not tolerate violence or threats of violence of
          any form in the workplace, at work-related functions or outside of work if it affects the workplace. This
          policy applies to Company employees, clients, customers, guests, vendors and persons doing
          business with the Company.


          It is a violation of this policy for any individual to engage in any conduct, verbal or physical, which
          intimidates, endangers or creates the perception of intent to harm persons or property. Examples
          include but are not limited to:

               o   Physical assaults or threats of physical assault, whether made in person or by other means
                   (i.e., in writing, by phone, fax or email)


              o    Verbal conduct that is intimidating and has the purpose or effect of threatening the health or
                   safely of a co-worker


              o    Any other conduct or acts that management believes represent an imminent or potential
                   danger to workplace safety or security


          Anyone with questions or complaints about workplace behaviors that fall under this policy may
(         discuss them with a supervisor or a Human Resources representative. The Company will promptly
          and thoroughly investigate any reported occurrences or threats of violence. Violations of this policy
          will result in disciplinary action, up to and including immediate termination of employees. Where such
          actions involve non-employees, the Company will take action appropriate for the circumstances.
          Where appropriate and/or necessary, the Company will also take whatever legal actions are
          available and necessary to stop the conduct and protect Company employees and property.




(
                                                                         Violence in the Workplace ;                ;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 36 of 281




    o      Workplace Conduct




           V^npa n<- jr*                    Workplace I ' •            y


           Unless prohibited by state law, Four Six Services LLC prohibits the possession of firearms or any
           other lethal weapon on Company AND customers' property, In a vehicle being used on Company
           business, in any company-owned or leased parking facility or at a work-related function. This applies
           to all employees, visitors and customers on Company property, even those who are licensed to carry
           weapons. The only exception to this is an employee who is required to possess weapons in order to
           fulfill his or her job duties.

           Some examples of prohibited weapons include:


               o    Firearms (pistols, revolvers, shotguns, rifles and bb guns)


               o    Knives (switchblades, gravity knives or any knife with a blade longer than three inches)


               o    Metal knuckles

               o    Bows and arrows

               o    Tasers



(         We prohibit weapons to ensure the safety and security of all employees and persons visiting the
          Company and to comply with customers' policies. Any employee found in violation of this policy will
          be subject to disciplinary action, up to and including immediate termination, if you have questions or
          concerns regarding this policy, please contact Human Resources.




(

                                                                      Weapons in the Workplace '               '
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 37 of 281




            Workplace Conduct




                                                     p okc-/


           Four Six Services, LLC is committed to providing a safe and healthy work environment for all
           employees. As such, the Company prohibits bullying of any kind and will deal with complaints
           accordingly. This policy applies to employees while working, at work functions and while traveling on
           business.

           Bullying is defined as unwelcome or unreasonable behavior that demeans, intimidates or humiliates
           an individual or a group of individuals.


           Bullying can be:


                   o    An isolated incident or persistent incidents


                  o     Carried out by a group or an individual


                  o     Either direct or indirect


                  o     Verbal or physical

          Some examples of bullying include:

    C          o       Abusive or offensive language


               o       Unwelcome behavior


              o        Unreasonable insults or criticism (especially in public)

              o        Teasing and/or spreading rumors


              o        Trivializing of work or achievements

              o        Exclusion or isolation


          Bullying can have devastating results. If you witness bullying or suspect bullying is taking place,
          report it to your supervisor and/or to Human Resources immediately. All suspected incidents of
          bullying will be thoroughly investigated and disciplinary measures will be taken accordingly.




(
                                                                                  Workplace Bullying J ::l
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 38 of 281




    ••


            Workplace Conduct




            We encourage and welcome diversity, recognizing it as a key competitive advantage. By creating a
            supportive environment that allows everyone to perform to their potential, we achieve success, and
            that success reflects the quality of our employees.

            The value of different backgrounds and perspectives should not be overlooked. Having a diverse
            workforce assists us in looking at all situations from a variety of angles and coming up with innovative
            ideas and solutions. Embracing and understanding what each employee's background and
            perspective can contribute allow us to progress more quickly than our competitors.

           Some types of diversity are as follows:


                •   Life experiences


                •   Work experiences


                •   Perspectives


                *   Cultures


(              •    Ethnicity


               •    Gender


               •    Age

           Respecting each individual and recognizing the value that they bring to our diverse team is essential.




(

                                                                                       Diversify Policy? P
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 39 of 281




   Employee Benefits
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 40 of 281




    (      Employee Benefits




           COBHA                           i-ViH cv


           Four Six Services, LLC complies with the federal law, Consolidated Omnibus Budget Reconciliation
           Act of 1985, P.L. 99 272, and later amendments, otherwise known as COBRA. Covered employees
           and their dependents who lose insurance coverage for any of the following reasons are eligible to
           continue their coverage through COBRA: termination of the covered employee's employment,
           reduction in the covered employee's working hours, divorce or legal separation, death of the
           employee, eligibility for Medicare or loss of dependent child status under the insurance plan. All
          administrative rules and processes as well as changes in plan benefits and premiums apply to those
          on continuation coverage.

          In the event of divorce or legal separation, or the loss of dependent child status under the plan, a
          covered employee or dependent must notify Human Resources within 60 days to maintain the right
          to continue coverage. At that time, Human Resources will provide enrollment materials to the.
          employee or covered dependent within 14 days of that notification.

          The covered employee or dependent has 60 days to elect continuation of coverage from either the
          date that coverage would ordinarily have ended under the plan by reason of a qualifying event or the
          date of notification, whichever comes later. Election of continuation of coverage is established by
          completing and returning enrollment materials to Human Resources.

          COBRA premiums will be billed by the applicable insurance provider, and the first premium will be
(         due within 45 days of the date of election. Subsequent premiums must be received within the terms
          set forth by the provider. Failure to make timely payments will result in termination of coverage
          without notice.

          COBRA continuation coverage will end for any of the following reasons: discontinues its insurance
          plan, the premium payment is not made in a timely fashion and the person who elected continuation
          of coverage becomes covered under another insurance plan or Medicare. Continuation coverage will
          end after 18 months if the qualifying event was termination or reduction in hours, unless the qualified
          beneficiary is disabled at the time of termination or reduction in hours, in which case coverage may
          extend to 29 months. Continuation coverage will otherwise end after 36 months.

          NOTE: State COBRA laws differ—check with your legal advisor to make sure that the
          provision in your handbook is in compliance with your state and federal COBRA laws.
          COBRA is not applicable to all employers.




(
                                                                                        •   : • '•   r* ; v*   i : \
              Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 41 of 281




        ( ?       Employee Benefits




                 Four Six Services, LLC provides group health, dental, vision and life insurance plans to all full-time
                 employees. Coverage is offered either on an Individual or family plan, in which the Company pays for
                 100 percent of the monthly individual premium and for 0 percent of the additional premium that is
                 charged for dependent medical coverage. The employee pays 0 percent of the monthly individual
                 premium and 100 percent of any additional chosen dependent coverage through payroll deductions.


                 Insurance coverage begins on the first day of the first payroll period beginning on or after the date a
                 full-time employee is hired and completes the necessary enrollment forms. Employees who wish to
                 enroll at a later date may do so at that time. Current part-time employees who become full-time
                 employees will be notified by Human Resources when they are eligible to enroll.

                As a result of termination, reduction in work hours, or in the event that an employee is on a military or
                other leave of absence, an employee may be eligible to continue the Company's group coverage by
                paying the monthly premium. More information will be provided when an employee becomes eligible
                for continuation coverage.


                Employees are urged to consult the insurance summary plan description for details of the
                plan benefits. The plan document controls payment of any benefits.


    C           Group insurance is an employee benefit in which an employee is not required to enroll. There will be
                no increase in wages if an employee waives coverage. For inquiries, contact the Human Resources
                department.




(

                                                                           Employer -offered Insurance } t
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 42 of 281




    o      Employee Benefits




           Four Six Services, LLC's goal is to promote acceptance of diversity, specifically in regard to sexual
           orientation. One way that we make progress toward this goal is by providing the same benefits to
           registered domestic partners and their families as we do to legally married individuals and their
           families.


           In order to qualify as a domestic partnership, both individuals must be:


               o       18 years of age or older


               o       Of the same gender


               o       Not legally married to any person and not related in any way that would prohibit marriage
                   according to state laws


               o   Each other's sole domestic partner

               o   Living together


          in addition, domestic partners may be required to share financial obligations, and designate their
          partner as beneficiary for life insurance or retirement benefits.

          To register or terminate a domestic partnership, please contact Human Resources.




(
                                                                       0 a i ii <i s f i c Pa v tn ers h i p P o I i cy
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 43 of 281




 {•       Employee Benefits




                     '   ' -V ? r v r '   i r-- O



         As an employee of Four Six Services, LLC, you are responsible for paying federal, state and local
         taxes. This includes income, Social Security and Medicare taxes. These taxes will be automatically
         withdrawn from each of your paychecks at a rate that is determined by the number of deductions you
         claim.


         You are also eligible to receive benefit coverage under United Healthcare. Should you choose to
         enroll in the offered benefits program, you will be required to pay a portion of the premium cost. Your
         total annual contribution cost for the coverage you select will be divided by the number of pay
         periods in the Plan Year to determine the amount that will be deducted (on a pre-tax basis) from each
         of your paychecks.

        You have the option of waiving all pre-tax benefits. Should you choose to waive these benefits, you
        will not have another opportunity to elecl them until the next Open Enrollment Period, and any after
        tax coverage permitted by the company will be outside the plan. The only exception to this is in the
        case of a Change in Election Event for an applicable benefit. Some common Change in Election
        Events include changes in employment status, divorce and marriage. In these circumstances, the
        election change must be on account of and consistent with the Change in Election Event, as
        described in the Plan. Health Savings Account (HSA) contribution elections can be changed at any
        time and for any reason. HSA contribution election changes will become effective no later than the
        first day of the calendar month after the change request is filed.
c
        The employment taxes and voluntary deductions described above will continue to be deducted from
        your paycheck until changes are made to the number of deductions you claim, or until you change
        your benefit elections, There is a possibility, however, that your contributions for Medical and Dental
        Insurance Benefits will be automatically Increased or decreased for changes.




( '
                                                    Employment Taxes & Voluntary Deductions I
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 44 of 281




   Time Away from
   Work




                                                /•            k i   -7
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 45 of 281




    (      Time Away From Work




           A communicable disease is a disease that can be transmitted from one individual to another via: (1)
           direct physical contact, (2) the air (cough, sneeze or particle inhaled), (3) through a transmission
           vehicle (either ingested or injected) or (4) through a vector (animals or insects). Examples of some of
           the most common communicable diseases include: measles, influenza, viral hepatitis-A (infectious
           hepatitis), viral hepatitis-B (serum hepatitis), human immunodeficiency virus (HIV), AIDS, AIDS-
           Related Complex (ARC), leprosy, Severe Acute Respiratory Syndrome (SARS) and tuberculosis
           (TB). This definition may be broadened in accordance with the recommendations and information
           provided from the Centers for Disease Control and Prevention (CDC).

          Four Six Services, LLC will make decisions involving those with communicable diseases based on
          medical information concerning the disease in question, the risks of transmission to others,
          symptoms and any special circumstances of the individuals involved. The Company will weigh
          potential risks and available alternatives before making any decisions.


          Reporting Procedure


          Those employees who demonstrate signs or symptoms of a communicable disease that poses a
          credible threat of transmission in the Four Six Services, LLC workplace should report that potential
          infection or disease immediately to the Human Resources department. The employee is then
f         responsible for keeping Four Six Services, LLC informed of his or her condition that may require
          extended care, missed work, etc. The employee may also be required to provide written
          documentation from a physician to return to the worksite.

          Hiring and Employment

          Four Six Services, LLC will not discriminate against job applicants or employees with a
          communicable disease. These individuals will not be denied access to the worksite solely because
          they have a communicable disease, but may be excluded from Company facilities, programs and
          functions if Four Six Services, LLC determines that restriction is necessary to protect the welfare of
          the infected individual or the welfare of others.

          Four Six Services, LLC will comply with all applicable statutes that protect the privacy of individuals
          with communicable diseases.

          Abuse of this policy will result in disciplinary action up to and including termination. Four Six
          Services, LLC reserves the right to revise this policy without notice during changing pandemic
          conditions.




<
                                                                     ..Hi   •• •; •
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 46 of 281




           Time Away From Work




                                               PqU<' V

           Four Six Services, LLC realizes that employees with contagious temporary illnesses, such as
           influenza, colds and other viruses, need to continue with normal life activities, including working.
           However, the Company also seeks to maintain a healthy workplace for its employees and
           customers.


          In deciding whether an employee with an apparently short-term contagious illness may continue to
          work, the Company considers several factors. The employee must be able to perform normal job
          duties and meet regular performance standards.


          In the judgment of the Company, the employee's continued presence must pose no risk to the health
          of the employee, other employees and customers. If an employee disputes the Company's
          determination that this type of risk exists, the employee must submit a statement from his or her
          attending health care provider that the employee's continued employment poses no risk to the
          employee, other employees and customers.


          Supervisors are encouraged to remind employees that the Company provides paid leave to cover
          absences due to contagious temporary illness. If an employee has exhausted all of his or her paid
          leave, the employee may be eligible for an unpaid leave. All employees are urged to contact Human
          Resources with questions about the possible contagious nature of another employee's temporary
(         illness.
\




C   i




                                                                         Contagious illness Policy j P;
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 47 of 281




        c       Time Away From Work




                                I dfvniy u=r? iVtefu a! ; ^vr: ';-:-<Uny

               As an employee of Four Six Services, LLC, you may be eligible to take unpaid family and medical
               leave under the federal Family and Medical Leave Act (FMLA). This policy provides an introduction
               to the rights and provisions of the federal FMLA. An FMLA summary that is based on the Department
               of Labor's (DOL's) model notice is attached to this policy and further explains the FMLA. If you have
               questions regarding the FMLA, please contact Human Resources.


               Eligibility

               To be eligible for leave, you must have been employed by the Company for at least 12 months. In
               the 12 months immediately preceding the beginning of the leave, you must also have worked at least
               1 ,250 hours to qualify for federal FMLA. In addition, you must work in an office or work site where 50
               or more employees are employed within 75 miles of that office or work site.


               Amount of Leave Available

               Eligible employees may take up to a total of 12 weeks of FMLA leave within a rolling 12-month
               period, measured backward from the date an employee uses any FMLA leave, for any combination
              of the following reasons:


    (              o    The birth of an employee's newborn child or the placement of a child with the employee for
                        adoption or foster care

                   o    To care for the employee's spouse, child or parent with a serious health condition

                   o    The employee has a serious health condition that makes him or her unable to perform the
                        functions of their job


                   o    A qualifying exigency that arises because the employee's spouse, child or parent is a
                        covered military member on covered active duty (or has been notified of an impending call or
                        order to covered active duty)


              Where leave is taken to care for a covered service member with a serious injury or illness, a spouse,
              child, parent or next of kin may take up to 26 weeks of unpaid FMLA leave during a single 12-month
              period.

              Under the federal FMLA, spouses employed by the Company are jointly entitled to a combined total
              of 12 weeks of leave for the birth of a newborn child, for the placement of a child for adoption or
              foster care and to care for a parent who has a serious health condition. The federal FMLA does not
              cover care for parents-in-law. Spouses employed by the Company are jointly entitled to a combined
              total of 26 weeks of leave to care for a covered service member with a serious injury or illness, for
              the birth of a newborn child, for the placement of a child for adoption or foster care and to care for a
              parent who has a serious health condition.




(

                                                         Federal Family and IViedlcsl Leave Policy j
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 48 of 281




    r
    v       Time Away From Work




            Types of Leave Available


            Birth or Placement forAdoption or Foster Care: FMLA leave is available to eligible male and female
            employees for the birth of a child or for the placement of a child with the employee for purposes of
           adoption or foster care. FMLA leave must be completed within 12 months of the birth or placement.
           This type of leave may not be taken intermittently or on a reduced schedule unless the Company
           agrees to this request. See below for more details on non-continuous leave.


           Serious Health Condition of Employee: If, as an eligible employee, you experience a serious health
           condition as defined by the FMLA, you may take medical leave under this policy (see "Definitions" for
           the definition of serious health condition). A serious health condition generally occurs when you:


               o    Receive inpatient care in a hospital, hospice or nursing home

               o    Suffer a period of incapacity accompanied by continuing outpatient treatment or care by a
                    health care provider

               o    Have a history of a chronic condition that may cause episodes of Incapacity

           The following provisions apply to leave for the serious health condition of an employee:

               o    Non-continuous leave—Medical leave may be taken all at once or, when medically

    r              necessary, intermittently or on a reduced leave schedule (see below).

               o   Certification process—The need for leave must be documented by your treating health care
                   provider through our medical certification process (see below).

               o   Fitness-for-duty statement—A fitness-for-duly statement will be required in order for you to
                   return from a medical leave. Failure to provide the statement will result in a delay in your
                   return to work.

          Serious Health Condition of Immediate Family Member, If, as an eligible employee, you need family
          leave in order to care for your child, spouse or parent whom experiences a serious health condition
          as defined by the FMLA (see "Definitions" for definitions of child, spouse, parent and serious health
          condition), you may take a leave under this policy.

              o    Non-continuous leave—Leave may be taken all at once or, when medically necessary,
                   intermittently or on a reduced leave schedule (see below).

              o    Certification process—The need for leave must be documented by the family member's
                   treating health care provider through our medical certification process (see below).

          Qualifying Exigency Because of Active Duty: If, as an eligible employee, you need family leave
          because of any qualifying exigency arising out of the fact that your spouse, son, daughter or parent is
          on covered active duty in the Armed Forces (including the National Guard or Reserves), or has been
          notified that they will be called or ordered to covered active duty in the Armed Forces (including the
          National Guard or Reserves), you may take family leave under this policy. (See "Definitions" for a
         definition of qualifying exigency)



C
                                                          ;   .
                                                                      lv                              . ,   m   y   '
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 49 of 281




o      Time Away From Work




           o    Non-continuous leave— Family leave for any qualifying exigency arising out of the covered
                active duty of a family member may be taken all at once, intermittently or on a reduced leave
                schedule (see below).


           o    Certification process—The need for leave must be documented through our certification
                process (see below).


       Service Member Family Leave: If, as an eligible employee, you need family leave to care for a
       covered service member who is your spouse, child, parent or next of kin and who is undergoing
       medical treatment, recuperation or therapy, is otherwise in outpatient status or is otherwise on the
       temporary disability retired list for a serious injury or illness, you may take up to 26 weeks of unpaid
       leave during a single 12-month period under this policy. (See "Definitions" for a definition of covered
       service member and serious injury or illness)

      Effective March 8, 2013, an eligible employee may take service member family leave to care for a
      covered veteran who is the employee's spouse, child, parent or next of kin and who is undergoing
      medical treatment, recuperation or therapy for a serious injury or illness. (See "Definitions" for a
      definition of covered veteran)


           o   Non-continuous leave—Service member family leave may be taken all at once or, when
               medically necessary, intermittently or on a reduced leave schedule (see below).

           o   Certification process—The need for leave must be documented by the family member's
C              treating health care provider through our medical certification process (see below).

      Notifying the Company of the Need for Family or Medical Leave

      Generally, an application for leave must be completed for all leave taken under this policy. A non
      emergency leave should generally be requested from Human Resources at least 30 days, or as
      soon as practical, in advance of the date the leave is expected to begin. In cases of emergency, you
      (or your representative, if you are incapacitated) should give verbal notice as soon as possible, and
      the application form should be completed as soon as practical. Failure to provide adequate notice
      may, in the case of foreseeable leave, result in a delay or denial of leave. It is your responsibility to
      notify your manager and Human Resources of absences that may be covered by the FMLA.

      You must provide sufficient information regarding the reason for an absence for the Company to
      know that protection may exist under this policy. Failure to provide this information will result in delay
      or forfeiture of rights under this policy. This means the absence may then be counted against your
      record for purposes of discipline for attendance or similar matters.

      Medical Certification Process

      In addition to an application for leave, you will be required to complete a medical certification form
      when leave is for a family member's or your own serious health condition. The certification form
      needs to be signed by the health care provider. The short-term disability certification may be
      sufficient where the information required is duplicative. These forms are available from Human
      Resources. Second or third certifications from health care providers and periodic recertification at the
      Company's or your expense may be required under certain circumstances.

      We may also require periodic reports during federal FMLA leave regarding your status and intent to
C     return to work.



                                                  • Oil   \ I i'   ;=o;I /   t   ' If.-- - ? ; • . ;=   ? 'i   i   =
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 50 of 281




    e       Time Away From Work




            Military Family Leave Certifications

            In addition to an application for leave, you will be required to complete a Certification of Qualifying
           Exigency for Military Family Leave form when leave is for a qualifying exigency. A copy of the military
           members active duty orders or other military documentation may also be required to substantiate
           your need for FMLA leave.

           If you request leave to care for a covered service member with a serious injury or illness, you will be
           required to complete a medical certification form, which must be signed by the service member's
           health care provider. The certification form will request additional information, such as information
           regarding the relationship between you and the covered service member, to substantiate your need
           for FMLA leave.

           Substituting Paid Leave for Unpaid Leave


           Federal FMLA leave is unpaid. The Company requires you to substitute vacation days (if applicable
           to your employment position) according to the schedule below. You may also choose to substitute
           additional paid or unpaid leave that you have accrued.


           When you substitute vacation days or other paid leave, the absence will be counted against your
           entitlement to FMLA leave under this policy and will not extend your leave. In other words, you are
           using your paid leave concurrently with your FMLA leave.

(                             Eligible Vacation Remaining             Required Substitution

                                      Less than 5 days                          None

                                             5-8 days                          3 days

                                         9-12 days                             5 days

                                         13-16 days                            7 days

                                         17-20 days                            9 days



          When an employee is absent due to a work-related illness or injury that meets the definition of a
          serious health condition, the absence will be counted against the employee's entitlement under this
          policy. In other words, the employee is using FMLA leave concurrently with the workers'
          compensation absence. An employee is not required to substitute paid time off for an absence
          covered under workers' compensation.

          You may be paid for all or part of a medical leave to the extent you are eligible for benefits such as
          short-term disability. An employee is not required to substitute paid time off for an absence covered
          under a disability benefit plan.


          Non-Continuous Leave


         Intermittent or reduced leave will be permitted only when it is medically necessary or for a qualifying
         exigency, as explained above. In all cases, the total amount of leave taken in a calendar year should
         not exceed your total allotment as defined earlier in this policy.


(
                                                         >0S o ; : V; \ 'V           > H = ,•;!       i '    y
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 51 of 281




    f       Time Away From Work




           Intermittent and reduced schedule leave must be scheduled with minimal disruption to an
           employee's job. To the extent possible, medical appointments and treatments related to an
           employee's or family member's serious health condition should be scheduled outside of working
           hours or at such times that allow for a minimal amount of time away from work.

           If you request non-continuous federal FMLA leave which is foreseeable based on planned medical
           treatment for yourself, a family member or a covered service member, you may be required to
           transfer temporarily to an available alternative position offered by the Company for which you are
           qualified and which better accommodates recurring periods of leave than your regular employment
           position. You will be entitled to equivalent pay and benefits, but will not necessarily be assigned the
           same duties in the alternative position. This provision may also apply if the Company approves a
           non-continuous leave for the birth of a child or the placement of a child for adoption or foster care.


           Benefit Continuation during Leave

           The Company will maintain your group health plan coverage and certain other employment benefits
           (such as group life insurance, AD&D insurance and health and dependent flexible spending
           accounts) during your FMLA leave on the same terms as if you had continued to work, if these
           benefits were provided to you before the leave was taken. You will be required to pay your regular
           portion of premiums - contact Human Resources for an explanation of your options.

          Benefits that are accumulated based upon hours worked will not accumulate during the period of
          FMLA leave.
    (
          In some instances, the Company may recover premiums it paid to maintain health plan coverage for
          an employee who fails to return to work from FMLA leave.

          Returning to Work

          If the reason for FMLA leave is for your own serious health condition, you will be required to present
          a fitness-for-duty certification immediately upon return to work.

          If you wish to return to work before the scheduled expiration of FMLA leave, you must notify the
          Company of the change in circumstances as soon as possible, but no later than two working days
          prior to your desired return date.

          If you exhaust all leave under this policy and are still unable to return to work, you must notify the
          Company as soon as possible. Your situation will be reviewed to determine what rights and
          protections might exist under other Company policies.

          Rights upon Return from Leave


          Upon return from family or medical leave, you will be returned to the position you held immediately
          prior to the leave, if the position is vacant. Certain exceptions exist for key employees, as defined by
          law. If the position is not vacant, you will be placed in an equivalent employment position with
          equivalent pay, benefits and other terms and conditions of employment.

         The law provides that an employee has no greater rights upon a return from leave than the employee
         would have had if the employee had continued to work. Therefore, you may be affected by a layoff,
         termination or other job change if the action would have occurred had you remained actively at work.
(
                                                              .1 :   V-    -jr.; sVK J.!ii ' ..si ' ii-.y-'i! r <?h- / j   -
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 52 of 281




        Time Away From Work




       Other Types of Leave


       If you do not qualify for the types of leave described in this policy, the Company may approve a
       personal leave of absence, depending on your circumstances. Except where mandated by law, we
       cannot guarantee that benefits will continue or that your position will remain open in your absence.

       Definitions

       "Spouse"—A husband or wife as defined or recognized under state law for purposes of marriage in
       the state where the employee resides.


       "Parent"—A biological parent, adoptive parent, stepparent, foster parent or an individual who
       provides or provided day-to-day care or financial support to the child. Parent does not include a
       parent-in-law under this law.


      "Child"—A biological, adopted or foster child, stepchild, legal ward or a child who is receiving day-to
      day care or financial support from the employee and is under the age of 18. Child also includes a
      person 1 8 years of age or older who is incapable of self-care because of a mental or physical
      disability. For military family leave, the child does not have to be a minor (under the age of 18} and
      can be of any age.

           o    "Incapable of self-care"—The child requires active assistance or supervision to provide daily
                self-care in three or more "activities of daily living," or "instrumental activities of daily living,"
C               including adaptive activities such as caring appropriately for one's grooming and hygiene,
                bathing, dressing, eating or instrumental activities such as shopping, taking public
               transportation or maintaining a residence.


           o   "Physical or mental disability"—A physical or mental impairment that substantially limits one
               or more major life activities of the individual.


      "Covered Service Member"— A member of the armed forces, including a member of the National
      Guard or Reserves, who is undergoing medical treatment, recuperation or therapy, is otherwise in
      outpatient status or is otherwise on the temporary disability retired list for a serious injury or illness.

      "Covered Veteran"—An individual who is undergoing medical treatment, recuperation or therapy for
      a serious injury or illness and who was a member of the Armed Forces (including a member of the
      National Guard or Reserves), and was discharged or released under conditions other than
      dishonorable at any time during the five-year period prior to the first date the eligible employee takes
      FMLA leave to care for the covered veteran.

      "Next of Kin"—Used with respect to an individual, this means the nearest blood relative of that
      individual, other than the spouse, parent or child.

      "Serious Health Condition"—Illness, injury, impairment, or physical or mental condition that involves:

          o    Inpatient care in a hospital, hospice or residential medical care facility.

          o    A period of incapacity of more than three consecutive calendar days (including any
               subsequent treatment or period of incapacity relating to the same condition) that also
               involves: 1) treatment two or more times within 30 days of the first day of incapacity, unless
               extenuating circumstances exist, by or under the orders of a health care provider; or 2)
(
                                                   f   U:<i   ! F:i   r\   -U I      ;'!<
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 53 of 281




    :
          Time Away From Work




                   treatment by a health care provider on at least one occasion which results In a regimen of
                   continuing treatment under the supervision of a health care provider. The first (or only) visit
                   must occur in person within seven days of the first day of incapacity.


              o    Any incapacity due to pregnancy or for prenatal care.

              o    Chronic conditions requiring periodic treatment by or under the supervision of a health care
                   provider, which continue over an extended period of time and may cause an episodic rather
                   than a continuing period of incapacity (for example, asthma, diabetes and epilepsy).

              o   Permanent or long-term conditions requiring supervision for which treatment may not be
                  effective (for example, Alzheimer's, a severe stroke or the terminal stages of a disease).

              o   Multiple treatments by or under the supervision of a health care provider either for restorative
                  surgery after an accident or other injury or for a condition that would likely result in a period
                  of incapacity of more than three calendar days in the absence of medical intervention or
                  treatment, such as cancer (chemotherapy), severe arthritis (physical therapy) or kidney
                  disease (dialysis).

          "Serious Injury or Illness"—can be:

              o   In the case of a member of the Armed Forces, including a member of the National Guard or
                  Reserves, an injury or illness incurred by the member in the line of duty on active duty in the
(                 Armed Forces (or existed before the beginning of the member's active duty and was
                  aggravated by service in the line of duty on active duty in the Armed Forces) and that may
                  render the member medically unfit to perform the duties of the member's office, grade, rank
                  or rating.

              o   in the case of a veteran who was a member of the Armed Forces, including a member of the
                  National Guard or Reserves, an injury or illness incurred by the member in the line of duty
                  on active duty in the Armed Forces (or existed before the beginning of the member's active
                  duty and was aggravated by service in the line of duty on active duty in the Armed Forces)
                  and that manifested itself before or after the member became a veteran and is:

                      a    A continuation of a serious injury or illness that was incurred or aggravated when
                           the covered veteran was a member of the Armed Forces and rendered the service
                           member unable to perform the duties of the service member's office, grade, rank or
                           rating;


                           A physical or mental condition for which the covered veteran has received a U.S.
                           Department of Veterans Affairs Service-Related Disability Rating (VASRD) of 50
                           percent or greater, and such VASRD rating is based, in whole or in part, on the
                           condition precipitating the need for service member family leave;

                           A physical or mental condition that substantially impairs the covered veteran's ability
                           to secure or follow a substantially gainful occupation by reason of a disability or
                           disabilities related to military service, or would do so absent treatment; or

                           An injury, including a psychological injury, on the basis of which the covered veteran
                           has been enrolled in the Department of Veterans Affairs Program of Comprehensive
                          Assistance for Family Caregivers.
C
                                                                                            ; ••• :••••
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 54 of 281




    ( )      Time Away From Work




             "Qualifying Exigency"—includes:

                 o   Short-notice deployment (seven days or less)


                o    Military events and related activities


                o    Child care and school activities


                o    Financial and legal arrangements


                o    Counseling


                o    Rest and recuperation (up to five days; effective March 8, 2013, up to 15 days)

                o    Post-deployment activities

                o    Parental care (effective March 8, 2013)


                o    Additional activities agreed to by the Company and the employee


            More Information


    e       Please contact Human Resources for additional information.




(
                                                                          •   :                        ,
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 55 of 281




       Time Away From Work




                                    EMPLOYEE RIGHTS AND RESPONSIBILITIES
                                  UNDER THE FAMILY AND MEDICAL LEAVE ACT


       Basic Leave Entitlement
       FMLA requires covered employers to provide up to 12 weeks ol" unpaid, job-protected leave lo eligible employees lor
       (he following reasons:
            »    l or incapacity due lo pregnancy, prenatal medical care or child birth:
            •    To care for lite employee's child after birth, or placement for adoption or foster care;
            •    To care for lite employee's spouse, son, daughter or parent, who has a serious health condition; or
            •    For a serious health condition that makes (he employee unable to perform the employee's job.

       Military Family Leave Entitlements
       Eligible employees whose spouse, son. daughter or parent is on covered active duty or call to covered active duly status
       may use their 1 2 -week leave entitlement lo address certain qualifying exigencies. Qualifying exigencies may include        :

       attending certain military events, arranging for alternative childcnrc, addressing certain fiiuincinl and legal
       arrangements, attending certain counseling sessions, and attending post-deployment reintegration briefings,

       FMLA also includes a special leave entitlement that permits eligible employees lo lake up lo 26 weeks of leave to care
       for a covered service member during a single 12-month period. A covered service member is: ( I ) a current member of
       die Armed forces, including a member of the National (iuard or Reserves, who is undergoing medical treatment,
      recuperation or therapy, is otherwise in outpatient status, or is otherwise on the temporary disability retired list, for a
         '
      serious injury or illness*; or (2) a veteran who was discharged or released under conditions other than dishonorable at
      nny time during (lie live-year period prior to the first dale die eligible employee lakes FMLA leave to care for the
      covered veteran, and who is undergoing medical treatment, recuperation, or therapy for a serious injury or illness*

(     *The FMLA definitions of "serious injury or illness" for current service members and veterans are distinct from
      the FMLA definition of "serious health condition".

      Benefits and Protections
      During FMLA leave, the employer must maintain the employee's health coverage under any "group health plan" on the
      same terms as if the employee had continued lo work. Upon return from FMLA leave, most employees must he
      restored to their original or equivalent positions with equivalent pay. benefits, and oilier employment terms.

      Use of FMLA leave cannot result in the loss of any employment benefit
      that accrued prior to the start or an employee's leave.


      Eligibility Requirements
      Employees are eligible if lliey have worked for a covered employer for at least 12 months, have 1.250 hours of service
      in the previous 12 months*, and if til least 50 employees tire employed by the employer within 75 miles.

      ''Special hours of service eligibility requirements apply to airline flight crew employees.

      Definition ofScrious Health Condition
      A serious health condition is an illness, injury, impairment, or physical or mental condition that involves either an
      overnight stay in a medical care facility, or continuing treatment by n health care provider lorn condition that either
      prevents the employee from performing the functions of the employee's job. or prevents the qualified family member
      from participating in .school or other daily activities.
      Subject to certain conditions, the continuing treatment requirement may be met by a period of incapacity of more than 3
      consecutive calendar days combined with at least two visits to u health care provider or one visit and a regimen of
      continuing treatment, or incapacity due to pregnancy, or incapacity due to a chronic condition. Other conditions may
      meet the definition of continuing treatment.

      Use of Leave
      An employee does not need to use tin's leave entitlement in one block. Leave can be taken intermittently or on a
      reduced leave schedule when medically necessary. Employees must make reasonable efforts to schedule leave for
      planned medical treatment so as not to unduly disrupt (he employer's operations. Leave clue to qualifying exigencies
(     may also be taken on an intermittent basis.



                                                            * ;;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 56 of 281




    c       Time Away From Work




            Substitution of Paid Lenve for Unpaid Leave
            Employees may choose or employers may require use ofuecrucd paid leave while taking I'MLA leave. In order to use
           paid leave for EMI.A leave, employees must comply with tlie employer's normal paid lenve policies.

           Employee Responsibilities
           Employees must provide 30 days advance notice of the need to lake l-Ml,A leave when the need is foreseeable. When
           30 days notice is not possible, the employee must provide notice as soon as practicable and generally must comply with
           an employer's normal call-in procedures.


           Employees must provide sufficient information for the employer to determine if the leave may qualify for EMI.A
           protection and (he anticipated timing and duration of the leave. .Sufficient information may include that the employee is
           unable (o perform job functions, (he family member is unable to perform daily activities, the need for hospitalization or
           continuing treatment by a health care provider, or circumstances supporting the need for military family leave.
           Employees also must inform the employer if the requested leave is for a reason for which I'MLA leave was previously
           taken or certified. Employees also may be required to provide a certification and periodic rcccriificntioii supporting the
           need for leave,


           Employer Responsibilities
           Covered employers must inform employees requesting leave whether they are eligible under I'MLA. If Ihey are, the
           notice must specify any additional information required as well as the employees* rights and responsibilities. If they are
           not eligible, the employer must provide a reason for the ineligibility.

           Covered employers must inform employees if leave will be designated as EMLA-proteeled and the amount of leave
           counted against the employee's leave entitlement. 1 1' the employer determines that the leave is not

c          EM LA -protected, the employer must notify the employee.

           Unlawful Acts by Employers
          EMI.A makes it unlawful lor any employer to:
               •    Interfere with, restrain, or deny the exercise of any right provided under EM LA: and
               •    Discharge or discriminate against any person for opposing any practice made unlawful by FMLA or for
                    involvement in any proceeding under or relating to EMI.A.

          Enforcement
          An employee may file a complaint with the U.S. Department of Lahor or may bring a private lawsuit against an
          employer.

          FMLA does not all'cct any Federal or Stale law prohibiting discrimination, or supersede any State or local law or
          collective bargaining agreement which provides greater family or medical leave rights.

                EMI.A section 109 (29 U.S.C. §2619) requires FMLA covered employers to post the text of this notice.
                               Regulation 29 C.F.R. § 825.300(a) may require additional disclosures.




(
                                                                     : f ;           : ;•   d     ?0 - I I. NiVC po'.lcy j 'V;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 57 of 281




    f      Time Away From Work




           Funeral I                  FoMr.v


           Four Six Services, LLC has taken into consideration the personal needs that arise from the death of
           an immediate family member. You will be allowed leave up to three days with full pay until and
           including the day of the funeral. Funeral leave will not count against accrued paid time off (PTO),
           vacation or sick leave. Funeral leave pay will not be granted to employees attending a funeral during
           periods when they are not at work for other reasons, such as vacation, holidays and illness.

           Immediate family includes a father, mother, spouse, child, sister,- brother, mother-in-law, father-in-
           law, brother-in-law, sister-in-law, grandparent or any relative who lives with the employee.




r
\




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 58 of 281




           Time Away From Work




           While it is the duty of every citizen to serve on a jury when called, Four Six Services, LLC recognizes
           that this often means the loss of income. Four Six Services, LLC provides jury duty leave to eligible
           employees in compliance with federal and state laws. Four Six Services, LLC pays the difference
           between the jury pay and regular wages for days when you are unable to report to work because of
          jury service, assuming you have been employed by the Company for at least 90 days prior. If state
           law requires a different arrangement, Four Six Services, LLC will comply with state law. Questions
           regarding the Company's jury duty leave policy should be directed to Human Resource!

           The above statement applies provided that you:


               o   Show your supervisor your summons to serve on a jury prior to the time that you are
                   scheduled to serve

               o   Furnish your supervisor with evidence of having served on a jury for the time claimed

          Jury absence will be noted on your time sheet or time card. Time spent on jury duty will not be
          counted as hours worked for the purpose of computing overtime pay. Regular wages are paid until
          jury pay is received. Jury pay is then deducted from your regular wages.

          This benefit cannot be applied to any court appearance other than jury duty unless such appearance
    C     is related to your employment.




(
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 59 of 281




        f      Time Away From Work




               Employees are allowed an unpaid 60-minute lunch break. Lunch breaks are generally taken between
               the hours of 12:00p and 2:00p. The schedule for meal periods should be established on the basis of
               work requirements in each location/office. Staggered meal periods may be necessary to ensure the
               continuity of operations and services. Supervisors should make sure that each location is adequately
               staffed and that someone with authority to resolve minor problems is available at all times.


               Two paid rest periods 15- minutes each are permitted each day. The schedule for these breaks
               depends completely on the needs of each job. Rest periods are considered time worked, and
               employees will receive compensation for such periods.




    C




(
                                                                                 ;   ;   ;;;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 60 of 281




    c       Time Away From Work




            Military                         scy

            Four Six Services, LLC provides military leave to eligible employees in compliance with federal and
            state laws, including the federal Uniformed Services Employment and Reemployment Rights Act
            (USERRA). Questions regarding the Company's military leave policy should be directed to Human
            Resources.


            Employees should notify their managers as soon as they become aware of a military service
           obligation.

           Leave for Annual Training


           Employees who are members of the U.S. Army, Navy, Air Force, Marines or Coast Guard Reserves
           or the National Guard may be granted leaves of absence for the purpose of participating in Reserve
           or National Guard training programs.


           Employees will be granted the minimum amount of leave needed to meet the minimum training
           requirements of their units. No employee will be required to use vacation time for military duty, but
           employees who do elect to schedule their vacations to coincide with military duty will receive their full
           regular vacation pay in addition to any pay from the military.


(          In recognition of the public service performed by Reservists and members of the National Guard,
           employees will receive the difference between their regular pay and their service pay, excluding any
           military subsistence allowance or other expense allowances during the training period. If state law
           requires a different arrangement, Four Six Services, LLC will comply with state law. Please contact
           Human Resources with any questions.


           Leave for Military Service


          Permanent employees who perform service in the uniformed services may be granted leaves of
          absence for the purpose of participating in military service. Under USERRA, "uniformed services"
          consists of the U.S. Army, Navy, Marine Corps, Air Force and Coast Guard and their Reserve
          components, U.S. National Guard and Air National Guard, the Commissioned Corps of the Public
          Health Service and any other category of persons designated by the President of the United States
          in time of war or emergency.

          Employees will be granted leave as required to complete the military service, for up to five years of
          cumulative uniformed service-related absences. Some special categories of military service are
          exempt from this five-year limit.

          Employees with leaves of less than 31 days must report back to work by the beginning of the first
          regularly scheduled work period after the end of the last calendar day of service, plus the time
          required to return home safely and have an eight hour rest period.


          Employees with leaves between 31 and 180 days must apply for re-employment no later than 14
          days after completion of uniformed service. Employees with leaves longer than180 days must apply
          for re-employment no later than 90 days after completion of uniformed service.



C .
                                                                                             | ii ,   y ;
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 61 of 281




r
       Time Away From Work




       The reporting or application deadlines are extended for persons who are hospitalized or
       convalescing because of an injury or illness incurred or aggravated during the performance of
       military service.


       Returning service members will be reemployed in the job that they would have attained had they not
       been absent for military service, with the same seniority, status and pay, as well as other rights and
       benefits determined by seniority (escalator position). The Company will make reasonable efforts
       (such as training or retraining) to enable returning service members to refresh or upgrade their skills
       to help them qualify for reemployment. However, certain exceptions apply and a service member
       may be placed in an alternative reemployment position if he or she cannot qualify for the escalator
       position.


       Reemployed service members are entitled to the seniority and rights and benefits based on seniority
       that they would have attained with reasonable certainty had they remained continuously employed.

      During a period of military service, the employees will be treated as if they are on a furlough or leave
      of absence. Consequently, during their period of service they are entitled to participate in any rights
      and benefits not based on seniority that are available to employees on comparable nonmilitary
      leaves of absence.


      If an employee's health plan coverage would terminate because of an absence due to military
      service, he or she may elect to continue the health plan coverage for up to 24 months after the
      absence begins or for the period of service (plus the time allowed to apply for reemployment),
(     whichever period is shorter. The employee may be required to pay up to 102 percent of the full
      premium for the coverage. However, if the military service is for 30 or fewer days, the employee
      cannot be required to pay more than the normal employee share of any premium.




(
                                                                                             i / >
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 62 of 281




    o      Time Away From Work




           Four Six Services believes that employees should have opportunities to enjoy holidays with their
           families. However, our customers' schedules may require that employees of Four Six Services, LLC
           may be required to work on holidays. Customers' schedules will always dictate our holiday schedule.
           The company offers paid time off for the following holidays each year unless word s required by the
           customer. Other time off for holidays may be allowed at the discretion of the company


           List of Paid Company Holidays

              o    Thanksgiving Day


              o    Christmas Day




C




(

                                                                                    i
                                                                                                        j 'V:
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 63 of 281




          Time Away From Work




          In the event of a pandemic flu outbreak, as declared by Four Six Services, LLC management, in
          conjunction with the Center for Disease Control, the following Pandemic Flu Leave policy applies to
          all employees, including temporary and non-benefit eligible.


         This leave policy is above and beyond what is provided under the Company's Paid Time Off (PTO)
         and sick leave policies. Employees who qualify for Pandemic Flu Leave will not be required to use
         PTO or sick leave.                                                             .

         Confirmed Infection

         Employees who are absent due to a confirmed pandemic flu infection will receive full pay for their
         normally scheduled work hours until a physician has authorized their return to work. Each employee
         using Pandemic Flu Leave will be required to provide written documentation from a physician. If the
         illness extends beyond 90 days, employees eligible for the Company's Long-Term Disability (LTD)
         plan may qualify for LTD benefits. All plan provisions for LTD will apply.


         Suspected Infection

        If you suspect that you have the flu, or you are asked to leave work due to symptoms and you are

(       subsequently found to be free of the virus, you will be paid in full for your normally scheduled work
        hours to cover the time it took for the medical evaluation. You will be required to provide a written
        physician's notification to return to work.


        Immediate Family Member Infection

        This leave policy applies to the employee's own illness or for the employee to care for an immediate
        family member with an infection. The employee will receive full pay for normally scheduled work
        hours. A written physician's notification will be requested confirming that the pandemic flu is the
        reason for the absence.

        Abuse of this policy will result in disciplinary action. The Company reserves the right to revise this
        policy without notice due to changing pandemic conditions.




( )
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 64 of 281




    ( }      Time Away From Work




             Four Six Services, LLC understands that parental involvement with a child's education is a benefit
             not only to the parent and the child, but also the community. Because the ability to take time off of
             work to attend functions and meetings at your child's school is important, Four Six Services, LLC
             provides parental and school leave to eligible employees in compliance with federal and state laws.

             All employees are able to use up to six hours of their paid sick leave each year to attend school
             functions, meet with schoolteachers and administration or assist in their child's classroom. If state
             law requires a different arrangement, Four Six Services, LLC will comply with state law. Questions
             regarding the Company's parental/school leave policy should be directed to Human Resources.

             You are required to notify your supervisor ahead of time if you would like to use this type of leave.
             The ideal notice period is at least one week, but if this is not an option, it is expected that you will
             notify your supervisor as soon as possible.




(




(
                                                                                  ; '     L i/Si    > n =1 !
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 65 of 281




    r   /      Time Away From Work




                                ^        >;         is'      >U C V

               Four Six Services, LLC respects the individual beliefs of all employees.

              The Company will provide one day of paid leave annually to employees who, for religious reasons,
              must be away from the office on days of operation. Beyond this, we must reconcile employees'
              religious obligations with the requirements of running a business and serving customers. Customers'
              schedules may require that employees of Four Six Services, LLC may be required to work on
              holidays. Customers' schedules will always dictate our holiday schedule. Supervisors will authorize
              schedule changes or additional use of vacation leave or unpaid leave, only where the requested
              arrangement, in the supervisor's judgment, neither prevents the requesting employee from meeting
              the requirements of the job nor unfairly burdens other employees.

              Any requests for religious accommodation must be submitted in writing to Human Resources. The
              request must note what the religious conflict is and offer a suggestion to the Company on how to
              remedy that conflict. The employee will meet with Human Resources to discuss the request and
              whether it is being approved or denied.

              Employees who need time off for religious observances should request leave from their supervisors
              at least two weeks in advance. Time off is granted only with prior approval, but will not be
              unreasonably withheld.

c             All questions should be directed to Human Resources.




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 66 of 281




    c        Time Away From Work




            Mck ihoe P

             Four Six Services, LLC understands that, at times, employees will need to be absent from work due
            to illness or other medical reasons. Because of this, we offer sick time to our employees in
            accordance with state law.

            If you are unable to report for work because of illness or for any other reason, please contact your
            supervisor immediately. Explain the reason for your absence as well as when you expect to return to
            work. Vou must keep your supervisor updated regarding the status of your return at all times. If your
            supervisor is unavailable when you call, contact Human Resources.


           Sick Time


           Sick time is time away from work that you elect to use if you or one of your family members is sick,
           for physician and dental appointments for yourself or a family member, or for any personal reasons.


           You are not required to give any specific reason for using your sick time. However, when you plan to
           use time for personal reasons or for scheduled appointments, you must notify your supervisor of this
           and schedule the time off as far in advance as possible.

          Beginning on the first of the month following 90 days of continuous employment with the Company,

c         all full-time employees are eligible to accrue sick time. This sick time accrues at the rate of one half-
          day per calendar month through Dec. 31. Beginning Jan. 1 of the first full year of full-time
          employment, you are allowed sick time to a maximum of six days per calendar year. These days are
          accrued pro-rata based on the actual percentage of the calendar year you work. Sick time may not
          be carried over from year to year. If you are away from work for less than half of a day, the option of
          a half sick day may be used, or the missed amount of time may be made up during that workweek if
          the work schedule permits and your supervisor approves.


          Sick time is a benefit provided to you in the event you need to take time off because of your health or
          for any personal reason. It is not merely additional paid vacation, thus no pay is provided for unused
          sick leave at the end of employment.

          If state law requires a different arrangement, Four Six Services, LLC will comply with state law.
          Questions about the Company's sick time policy should be directed to Human Resources.


          Abuse of Sick Leave

          Regular attendance is crucial to the success of this and any other business. Paid sick leave is
          provided as a financial buffer for employees who are too injured or ill to work, not as additional time
          off for employees who are well. Employees should be prepared to furnish a doctor's note or similar
         evidence of inability to work if the supervisor requests one. Abuse of sick leave is grounds for
         discipline, up to and including termination.

         Extended Leave

         Employees who have used up their available paid sick leave and remain unable to report for work
         may be eligible for unpaid family and medical leave (FMLA leave). Eligibility for health care benefits
         continues during FMLA leave.
                                                                                                                      I
C                                                                                                                     !
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 67 of 281




                Time Away From Work




                Four Six Services, LLC encourages all employees to vote. It is the policy of Four Six Services, LLC
               to comply with all state election law requirements with respect to providing employees, when
               necessary, with time off to vote.


               If an employee has four consecutive hours either between the opening of the polls in his or her
               community and the beginning of the workday or between the end of the workday and the closing of
               the polls, it will be deemed that the employee has sufficient time outside his or her normal working
               hours within which to vote.


               If an employee has less than four consecutive hours as described above, he or she may take off as
               much working time as will, when added to his or her available voting time outside normal working
               hours, enable him or her to vote.


               For nonexempt employees, however, not more than two hours of working time taken shall be paid for
               time off to vote, and such time shall be taken only at the beginning or end of the employee's workday
              as designated by his or her supervisor.


              Employees requiring working time off to vote will be required to notify the company that time off to
              vote will be required not more than 10 or less than two working days before the day of the election.

    (         Time off to vote is paid and does not count against an employee's accrued paid time off or sick time.


              If state law requires a different arrangement, Four Six Services, LLC will comply with state law.
              Questions regarding the Company's policy for time off to vote should be directed to Human
              Resources.




(       >
                                                                                                                         i

                                                                                                     |Vi v        { M!
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 68 of 281




    (
            Time Away From Work




            Four Six Services, LLC believes lhal vacation time is vital in keeping employee morale high.


           Regular full- and part-time employees are encouraged to use their regular days off on their assigned
           working schedules to enjoy vacation time with their families. Our current work schedules vary based
           on customers' work schedules, but can be any of the following industry standard (but not limited to)
           the following schedules, determined by the customers' schedules:


                       o      1 1 days on / 3 days off


                       o      1 4 days on / 7 days off


                       o      20 days on / 10 days off


           These schedules are subject to customers' work scheduled and are subject to change at any time at
           the discretion of Four Six Services, LLC management.

          Should further time off for vacations be requested, all employees are required to submit a written
          request for vacation leave at least one month prior to the date they wish their vacation to begin, This
          form should be submitted to the employee's supervisor, who will forward it to Human Resources for

(         approval. Supervisors will resolve situations with multiple leave requests within a department by
          considering factors such as:

              o   Departmental staffing needs

              o   Seniority


              o   Length of desired vacation


              o   Elapsed time since employee's last five-day (or longer) vacation


          Please contact Human Resources with all questions or concerns.




(
                                                                                                     .i
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 69 of 281




         Information &
         Office Security


( .




C
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 70 of 281




    r       Information & Office Security




           Four Six Services, LLC recognizes that our people drive our business. As our most critical resource,
           employees are safeguarded through training, provision of appropriate work surroundings, and
           procedures that foster protection of health and safety. No duty, no matter what its perceived result, is
           more important than employee health and safety.

           General Guidelines In an Emergency


           Stay calm and think through your actions. Know important emergency numbers, such as:


                 o    Fire/Police/Ambulance 91 1


                 o    Human Resources (insert phone number)


                 o    Operator (insert phone number)


          Be aware of your surroundings:


                 o    Know where stairwell exits and other safety exit routes are located



    (         o       In the event of an emergency, use only stairs—do not take elevators.


              o      Do not hesitate to call or alert others if you believe that an emergency is occurring.


          Fire Evacuation:


              o      Employees will be notified of a fire by either the fire alarm system or a paged
                     announcement.


              o      Upon hearing the alarm, immediately evacuate the building using the closest stairwell exit—
                     do not use the elevators or delay evacuation to gather personal belongings, finish a phone
                     call or wait for friends.


             o       Notify Emergency Floor Leaders or their backups.


          Floor Leaders/Backups:

             o       Supervisors should be the last persons to leave the area—At the office they should check in
                     conference rooms, restrooms and offices to ensure all employees have evacuated, then
                     close all doors after clearing an area. On location, supervisors should check all equipment,
                     vehicles, and rest areas to ensure all employees have evacuated.

             o       Any employee with mobility, visual, hearing or other conditions that may hinder them from
                     becoming aware of an emergency or evacuation should disclose their condition to Human
                     Resources at the time of hire so that special assistance can be provided should an
                     emergency occur.



(
                                                                                                              :5t
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 71 of 281




    /*-
              Information & Office Security




                    o     Upon exiting the building, report to supervisor for headcount confirmation by the Emergency
                          Floor Leaders If on location, report to emergency evacuation area and check in with
                          immediate supervisor.


                    o    If an employee or known guest or visitor is missing, immediately report the missing person's
                         name to an Emergency Floor Leader who will in turn report it to the proper Company and
                         civil authorities.


                    o    All employees who are not members of a response team should stay together in the
                         designated location so periodic updates on the situation can be communicated—do not go
                         home, wait in your car, return to the building or go to another building unless directed by an
                         Emergency Floor Leader to do so.

             If You Discover a Fire:

                   o     Alert other persons in the immediate hazard area.

                   o     Activate the nearest fire alarm, call 91 1 , call the receptionist and page an emergency
                         announcement, if possible.

                 o       If you have been trained to use a fire extinguisher, follow these instructions:


                             •    Pull the safety pin.
(
                             *   Aim the nozzle at the base of the fire.


                                 Squeeze the operating lever.


                             •   Sweep side-to-side, covering the base of the fire.


                             •   When using a fire extinguisher, always stay between the fire and an exit—never feel
                                 that using a fire extinguisher is required, and if the fire is too hot, too smoky or you
                                 are frightened, evacuate immediately.


            Medical Emergency:


                o       Upon discovering a medical emergency, call 91 1 .


                o       Call the receptionist and page an emergency announcement, if possible.

                o       Stay with the ill or injured person, being careful not to come into contact with any body fluids
                        unless properly trained and protected.

               o        Send one person to alert Human Resources so they can notify family members of the ill or
                        injured person.

               o        Employees in the immediate vicinity of the emergency, but not involved in the emergency
                        effort, should leave the area.

           Severe Weather:
(
                                                                                  Emergency Action Plan i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 72 of 281




    (      Information & Office Security




               o   In the event severe weather conditions occur at a time when you have not yet reported to
                   work, you should report to work as usual unless otherwise notified, but only if you are able to
                   do so safely.

               o   The receptionist will monitor a weather alert radio—if a severe weather warning is issued, he
                   or she will immediately page an announcement.

               o   Employees should immediately seek shelter in the main hallways or exit stairways away
                   from all windows.

              o    The receptionist will take the weather radio with him or her—when the severe weather
                   warning is cancelled, he or she will send Emergency Floor Leaders to each floor to advise
                   that it is safe to return to work areas, and then will make a general announcement over the
                   paging system.


          Workplace Violence:


              o    Any employee who feels that he or she has been threatened should immediately report the
                   incident to their supervisor and Human Resources.

              o    If you observe anyone exhibiting threatening behavior or making threatening statements,
                   warn others in the area and Immediately notify Human Resources—slay away from the
                   person exhibiting the threatening behavior.
(
              o    Depending upon the level of concern, 91 1 may be called immediately.

              o    Never attempt to confront any person exhibiting threatening behavior.

          If you have reason to believe that events in your personal life could result in acts of violence
          occurring at work, you are strongly urged to confidentially discuss the issue with Human Resources
          so that a prevention plan can be developed.




(

                                                                          Emergency Action Plan j ; l*
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 73 of 281




    ^ -


              Information & Office Security




             Four Six Services, LLC cares about the safety and security of its employees. In an effort to maintain
             the maximum safety and security possible at a minimum inconvenience to you, we have guidelines in
             place regarding facility access and visitors.


             All entry doors to the office are to remain locked ail day with the exception of the main entry door to
             each suite. Main entries to each suite are open Monday through Friday from 9:00 a.m. until 5:00 p.m.
             All employees will receive a key to these doors. Employees have access to all floors during working
             hours. Outside of working hours, employees have access to the floor on which they work. The main
             entryway to the building is open Monday through Friday between 9 a.m. and 5 p.m.

             All visitors are to be escorted by authorized personnel at all times. Please do not allow visitors to
             roam the premises unattended.




(




C                                                                                                                      i

                                                                                                                       [
                                                                            Facility Access & Visitors } H::>
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 74 of 281




    o      Information & Office Security




           Four Six Services, LLC is committed to accomplishing its business objectives in a secure and timely
           manner. Each employee must assist in achieving this goal while safeguarding corporate information
           assets. The basic regulations for using the Company computer systems are as follows:


               o   Computers are for business use only


               o   The Company may access any information created, transmitted or stored on its information
                   systems


              o    Copying or downloading software of any kind is prohibited without prior permission

              o    Internet is for business use only—incidental and occasional personal use is permitted

              o    The Company provides email accounts to its employees for business use—incidental and
                   occasional personal use is permitted


              o    Any email or posts to social media sites of an offensive, pornographic or otherwise
                   inappropriate nature is prohibited—violations may result In disciplinary action, up to
                   termination

(             o    Company proprietary information must be protected


              o    Instant messaging services may be provided to ease communication between employees—
                   non-business use is prohibited

          Please use the computers responsibly and contact Human Resources with any questions regarding
          appropriate usage.




(
                                                                                                                 I

                                                                General Computer linage Policy j -V
                                                                                                                 I
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 75 of 281




    (   /       Information & Office Security




               !




               Four Six Services, LLC respects the privacy of its employees and strives to protect all confidential
               Company information.

               The Company prohibits the use of any recording device on Company property or during working
               hours unless specifically permitted by the Company. The Company prohibits the use of picture
               phones or any other camera or device that may capture visual images without the Company's prior
               written permission. More specifically, the use of picture phones or other recording of visual images is
               prohibited in locker rooms, restrooms and any other area where members of the public or co-workers
               would expect a reasonable degree of privacy and in any areas in which sensitive or closely guarded
               corporate or business materials are used or housed.

               Any employee found in violation of this policy will be subject to disciplinary action and may also be
               subject to prosecution to the fullest extent permitted under the law.




C




(
                                                                       Recording Devices Prohibited :                  p
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 76 of 281




       General Practices


(




(
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 77 of 281




       General Practices




       Four Six Services, LLC does not discriminate against anyone based on race, color, ethnicity, religion,
       gender, sexual orientation, disability status or any other trait that is protected under local, state or
       federal law. In addition, we do not allow discrimination of any kind in the workplace. We are an equal
       opportunity employer and also take affirmative action measures against discrimination in all aspects
       of employment and Company business. This policy applies not only to personnel decisions, but also
       to all aspects of business.


       We ask that you respect those around you—co-workers, customers and management alike.

       Any reports of discrimination will be Investigated and disciplinary measures will be taken.




C




e
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 78 of 281




        I


    I          General Practices




               A*J&sfiii;f}CZ> 'M1-1 ^twncUH d W W'!- inq H

               Four Six Services, LLC expects that every employee will be regular and punctual in attendance. This
               means being in the office, ready to work, at the starting time each day. Absenteeism and tardiness
               place a burden on both co-workers and Four Six Services, LLC.


               When you are unable to work due to illness or an accident, please promptly notify your supervisor. In
               the event your immediate supervisor is unavailable, you must speak with a manager. Leaving a
               message with another team member or on voicemail does not constitute an accepted notification of
               absence. If you do not report for work and Four Six Services, LLC is not notified of your status, it will
               be assumed after two consecutive days of absence that you have resigned, and you wilf be removed
               from the payroll.


               If you become ill at work or must leave the office for some other reason before the end of the
               workday, be sure to inform your supervisor of the situation.

               You will be compensated for authorized absences according to the provisions described in this
               Manual. Authorized absences beyond the time allowed under that policy are authorized without
              compensation.


              In the event of severe weather, we remain open for business during regularly scheduled working
              hours. You are expected to report for work in severe weather if it is at all possible to do so safely. In
(             the event we close due to weather, someone in your work group will contact you. Please keep your
              work group and manager informed on how to reach you on such occasions. See also Severe
               Weather Policy.


              The hours of your scheduled work shift will largely be determined by the operational needs of the
              department in which you are assigned. Some departments will have regular schedules, which rarely
              change from week to week, and other departments will have schedules that vary to meet the needs
              of the department or Four Six Services, LLC. If an employee has a specific schedule request, efforts
              may be made to accommodate that request, taking into account the operational needs of the
              department or Four Six Services, LLC as a whole. However, in all events, work schedule and
              schedule changes are determined at the sole discretion of Four Six Services, LLC.


              Every employee is responsible for knowing and following his or her work schedule, including, but not
              limited to, reading the schedule and schedule updates or changes, knowing start and end times or
              workdays, shifts, and breaks, complying with such times, and knowing when meetings are and
              attending such meetings on time. It is your responsibility to, if applicable, clock in and out at the
              designated times on your schedule. Any desired schedule changes must receive prior approval from
              your supervisor.


              If you will be absent from work during standard working hours for any reason, you must contact your
              supervisor as soon as possible to avoid disciplinary action.




(
                                                           Attendance & Standard Working Honrs j
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 79 of 281




    c      General Practices




           Alte^danne f '^nruAuaU vy


           When you accept a position with Four Six Services, LLC you assume obligations. One of those
           obligations is to perform the duties of your position during the times specified. You are expected to
           be punctual and keep absences to a minimum. Failure to report, unjustified or excessive absence or
           tardiness may result in discipline, up to and including discharge from employment. Additionally,
           punctuality and attendance are factors that may be taken into account when determining promotions,
           salary increases and qualification for other benefits.




           Definition of Absence: Absence is any time (other than tardiness described below) that you are
           scheduled to work and you fail to be present at the designated work location for all of the scheduled
           time or shift or if you fail to report to your workstation more than thirty (30) minutes late. It includes
           time off for sickness, but does not include pre-approved time off for vacation, or leaves of absence,
           or for designated holidays when you are not scheduled to work.


(          Reporting Procedure: In case of an absence, you must first notify your supervisor, department
           manager or facility manager, Notification must be given each day you do not report to work at least
          three (3) hours prior to the beginning of your scheduled shift. If you must be absent after you report
          to work, notification must be given when you first learn that you must leave work, but (except in an
          emergency) no later than three (3) hours before you must leave work. It is your responsibility to
          personally make the contact unless you are physically unable to do so, in which case, you should
          have someone else make the contact for you. You must give the reason for your absence and the
          expected date of your return.


          One or more unreported or unjustified absences within any 12-monlh period may result in disciplinary
          action, (up to and including termination of employment).  If you are absent for two (2) consecutive
          days without reporting to work or contacting your supervisor, you will be considered to have
          voluntarily resigned without notice at the end of the third day and your position may be filled.


          Note: If you can provide an acceptable explanation, this policy may not apply. Such explanation may
          require substantiation and/or verification from sources other than you.


          Excessive Absenteeism: Even if an absence is reported, you may be subject to disciplinary action
          (up to and including termination of employment) if you miss work too often. Examples of excessive
          absenteeism include, but are not limited to:


          Twelve full or partial days absent, consecutive or not, in any 12-month period.
          Three full or partial days absent, consecutive or not, in a 30-day period.
(

                                                                             A f te i'i sia 1 1 ce/P u riclua I ity i   1
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 80 of 281




    r
    t
           Genera! Practices




           Five full or partial days absent, consecutive or not, in any 6-month period.


          Four Six Services, LLC, in its sole discretion, will determine excessive absenteeism,       Unless

          determined by Four Six Services,   LLC   to be an abuse, time off for medical/dental appointments,

          school activities (for you or your children), or other personal business will not be counted as
          excessive absenteeism if your supervisor approves it at least three business days in advance.
          However, this time off will be documented as an absence.




          Definition of Tardiness: You are tardy any time you arrive at your workstation, or are not
          appropriately groomed, dressed and ready to work, at the beginning of your scheduled shift.
          Tardiness also includes returning late from breaks or meal periods. If you are more than thirty (30)
          minutes late, it will be considered an absence.


          Reporting Procedure: If you must be late for work, it is your responsibility to personally contact your
          supervisor at least three (3) hours prior to the beginning of your scheduled work shift unless you are
          physically unable to do so. If you cannot call, have someone call for you. Failure to report your

    v
          tardiness will count toward excessive absenteeism or excessive tardiness, as the case may be.


          Excessive Tardiness: Even if tardiness is reported, excessive tardiness will result in disciplinary
          action, up to and including termination. Examples of excessive tardiness include, but are not limited
          to:



                   a.   Any tardiness on any three days in any 30-day period.
                   b.   Any tardiness on any five days in any 3-month period.
                   c.   Any tardiness on any twelve days in any 12-month period




                                                                                                                    j

                                                                                                                    \
                                                                                                                    x


/
\                                                                                                                   \


                                                                                  ?!   ; * ?   • i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 81 of 281




    r
    v      General Practices




                                               pCj-iCV

           Four Six Services, LLC carefully selects quality employees. Background checks help to ensure that
           new employees have the skills for the job and have performed well in the past.

           The Company conducts background checks on all job candidates after a contingent offer of
           employment has been extended. A background check may also be completed during reassignment
           or promotion of an employee. A third-party administrator may be used to conduct the background
           checks, and all background checks will be compliant with applicable laws, such as the Fair Credit
           Reporting Act.


          The information that may be collected includes, but is not limited to;

               o   Criminal background

               o   Driving Records


               o   Employment history


               o   Education


C              o   Credit


               o   Professional and personal references

          Criminal background checks may not be used as the sole reason for denying employment, unless it
          is job-related. Regardless, the Company has the right to make the final decision about employing an
          individual after the background check is complete.


          Checking professional and personal references is an important part of the background check
          process. This provides the Company with information on the potential employee's work ethic, skills
          and performance.

          Information obtained from the background check process, including information from professional
          and personal references, will be used by the Company only as part of the employment process and
          will be kept confidential by Human Resources.

          A background check may also be completed during reassignment or promotion of an employee,
          "already stated above" and scratches through... .




(
                                                                        Background Check Policy
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 82 of 281




    (      General Practices




                                                             •   > "V   ;   :• ? i   •



                                                                                             travel expenses related
           Four Six Services, LLC will reimburse employees for all necessary and reasonable
                                 of business. To administer uniform guidelines for reimbursem ent of business related
           to the normal conduct
                                                                                          have been established.
          travel, meals and entertainment expenses, the following policies and procedures
                                                                                          every possible situation. If
          While this policy provides many answers and useful guidance, it cannot address
                                                                 or reimbursem ent of such expenses, check with
          you have any questions regarding the business nature
                                                                                           to cost-effective
          your supervisor before you commit to spending any funds. The most useful guide
          business travel is to spend money as if it were your own.


          Auto Allowance and Mileage

                                                                                               receive either a monthly
          Employees receive reimbursement for direct business mileage. Employees may
                                              reimbursem   ent based  on an evaluation  of the  use of their personal
          auto allowance or a direct mileage
                                                                                                    on a monthly basis.
          automobile for purposes of conducting Company business. Auto allowances are paid
                                               current IRS  standard rate, and is paid upon  submission    of a signed
          Direct mileage is reimbursed at the
                                                                                                          than direct
          and supervisor approved "Monthly Mileage Report" form. Because it is more cost effective
                                                                                                            if round-trip
          mileage reimbursement, Four Six Sen/ices, LLC prefers that employees rent an automobile
                                                                                                    below.
          mileage on a business trip will be more than 200 miles. See section on "Car Rentals"

                                                                                          if the automobile is covered
          The use of a personal automobile for business-related travel is only authorized
                                                                                                     (CSL) for bodily
          by a current insurance policy with limits not less than $300,000 Combined Single Limit
                                                                                            incurred  by an employee in
C         injury and property  damage.  Any damages,     repair costs
          the use of their privately owned vehicle in conjunction
                                                                      or
                                                                   with
                                                                         maintenanc
                                                                         Company
                                                                                    e costs
                                                                                  business  is the sole responsibility of
          the employee.


          Car Rentals

                                                                                                    is necessary and
           Four Six Services, LLC suggests the use of mid-size vehicles unless a larger vehicle
                                                                                                         purchased when
          justifiable for business purposes. Collision and liability insurance coverage should not be
                                                          The   car   rental needs to be made in both  the name of Four
          renting a car for domestic business purposes.
                                                                                                  insurance policy. Four
          Six Services, LLC and the name of the employee to be covered by the Company's
                                                                                                      any accident or
          Six Services, LLC 's insurance carrier should be contacted immediately in the event of
          damage with a rented vehicle.


          Air Travel

                                                                                                           with the
          Reservations for all domestic air travel can be made by the employee either online or directly
                                                                                                        travel, including
          various airlines. It is expected that employees make every effort to minimize the cost of air
                                                                                                 requested that
          considering Saturday night stays or departures out of airports. For any tickets, it is
                                                                                                         fare available.
          employees attach to their expense report a copy of the search results that show the lowest
          All trips involving a Saturday night stay must be pre-approve d by the employee's    manager.


          Spousal Travel


          Travel expenses related to an employee's spouse are not reimbursable by the Company.




C

                                                      Business Bxpense Reimbursement Policy
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 83 of 281




    /
    I
            General Practices




           Lodging


           The selection of overnight lodging should be guided by considerations of safety, quality and
           reasonableness of room rates. Again, the most useful guide to cost effective accommodations is to spend
           money as if it were your own. When rooms are guaranteed for late arrival and the trip is cancelled or other
           lodging is secured, the reservation must be cancelled to avoid being billed for a "no show." Hotels may
           require either a 24- or 48-hour cancellation notice to avoid these charges. The cost of in-room movies is
           not reimbursable.


           Business Meals


           Employees will be reimbursed for reasonable and actual expenses for meals incurred while on business
           trips away from their normal business hours. All original receipts must be included with the employee's
           travel and expense report. Any employee expense report received without the receipts will be returned to
                                                                                                                         i
           the employee.


           Business meals are reimbursable expenses for new employee orientations, training sessions, meals with
           prospective new hires and department or team lunch meetings where business is conducted. Lunches for
           department or team meetings should be reasonable, both in terms of cost and frequency. The guideline for
           reimbursement of tips on business meals is 1 5 percent.

           Submittal of Monthly Expense Report Forms


    (      It is the employee's responsibility to prepare and submit a Monthly Expense Report to receive
           reimbursement for business related expenses. Expense Reports should be submitted on at least a
           monthly basis to ensure proper matching of expenses with the appropriate accounting period.

           For business related meals and entertainment expenses to be deductible, IRS regulations require that the
           amount and date of expense, specific business purpose, name, title and company of people entertained,
           and name and location of the establishment where the event took place and time of the business
           discussion (i.e., before, during or after the event) and entertainment be documented on the expense form.

           All claimed expenses must have an original receipt. All Monthly Expense Report forms must be signed by
           the employee and approved by his or her supervisor before being submitted to Accounts Payable for
           processing to be reimbursed during the next pay period.




(

                                                                                                               . i /
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 84 of 281




    r      General Practices




                    cp;>ny f:cr *V*!fey


           Four Six Services, LLC provides vehicles for business use and provides reimbursement for business
           use of personal vehicles according to the following guidelines. Four Six Services, LLC retains the
           right to amend or terminate this Policy at any time.


               1.    Four Six Services, LLC employees may not drive any business vehicles without prior
                     approval. Before being approved to operate a Company vehicle, an employee's driving
                     records will be reviewed, with consent of the employee, and the existence of a valid driver's
                     license will be verified. Employees approved to drive on Company business are required to
                     inform Four Six Services, LLC of any changes that may affect their legal or physical ability to
                     drive or their continued insurability.

               2.    Employees holding jobs requiring regular driving for business as an essential job function
                     must, as a condition of employment, be able to meet the driver approval standards of this
                     Policy at all times. For all other jobs, driving is considered only an incidental function of the
                     position.

               3.    If possible, Company vehicles will be permanently assigned to departments that have
                     demonstrated a continued need for them. Additional vehicles are maintained in a motor pool
                     for use by individual employees, as needed.

C             4.     Employees who need transportation in the course of their normal work may be assigned a
                     Company vehicle for their use. All other employees needing transportation for Company
                     business may use vehicles assigned to their department or drawn from the motor pool. As a
                     last resort, when no Company vehicles are available, employees may use their own vehicles
                     for business purposes with prior approval,

              5.     Employees who drive a vehicle on Company business must, in addition to meeting the
                     approval requirements above, exercise due diligence to drive safely and maintain the
                     security of the vehicle and its contents. Employees are also responsible for any driving
                     infractions or fines that occur as a result of their driving.

              6.     Non-employees and non-business passengers (e.g. family members and friends) are
                     prohibited from riding in Company vehicles.

              7.    Employees who use their personal vehicles for approved business purposes will receive a
                    mileage allowance equal to the Internal Revenue Service optional mileage allowance for
                    such usage. This allowance Is to compensate for the cost of gasoline, oil, depreciation and
                    insurance. Employees who operate personal vehicles for Company business should obtain
                    auto liability coverage for bodily injury and property damage with a special endorsement for
                    business use, when necessary as determined by their personal insurance agent.

              8.    Employees must report any theft or malicious damage involving a Company vehicle,
                    regardless of the extent of the damage. Such reports must be made as soon as possible,
                    but no later than 48 hours after the incident. However, employees should make no voluntary
                    statement other than in reply to questions of investigating officers.

              9.    Employees who are on call on a 24-hour basis may be allowed to take a Company vehicle
(                   home so they can respond as soon as possible. Such employees must provide a written




                                                                                    Company Car Policy                   /
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 85 of 281




    K



    (      General Practices




                 acknowledgement that they fully understand that the vehicle is only to be used as part of
                 emergency response and is not intended for personal use.

              10. Employees are not permitted, under any circumstances, to operate a Company vehicle or a
                 personal vehicle for Company business when any physical or mental impairment causes the
                 employee to be unable to drive safely. Additionally, employees shall not operate any
                 Company vehicle at any time, or operate any personal vehicle for Company business while
                 using or consuming alcohol, illegal drugs or prescription medications that may affect their
                 ability to drive. These prohibitions include circumstances in which the employee is
                 temporarily unable to operate a vehicle safely or legally because of impairment, illness,
                 medication or intoxication.




(




(

                                                                                 »>>'   v
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 86 of 281




f /      General Practices




                                                     V}
                              • :i   Ijif


                                                                                                for their
         Four Six Services, LLC offers company credit cards for employees who travel frequently
                                                                                 frequent business
         duties, purchase large volumes of goods for use by the company or incur
         expenses that can be paid by credit card.

                                                                                             bank checks or
         As a general rule, corporate credit cards cannot be used to obtain cash advances,
                                                                                   by the employee  whose
         electronic cash transfers for anything other than the expenses incurred
                                            The  card is not to be used for personal expenses of the employee,
         name appears on the credit card.
         either.

                                                                                                        . If the
             o     Misuse of a Company credit card will result in termination and/or legal prosecution
                                                                                                           these
                   card is used for personal expenses, Four Six Services, LLC has the right to recover
                                                                 cardholder s will be required to sign an
                   expenses from the cardholder. All employee
                                                                                                                 for
                   agreement authorizing Four Six Sen/ices, LLC to recover any amounts that are incurred
                   personal reasons out of their salaries.


             o     Credit card expenditures must be submitted with original receipts to Human Resources
                   within seven (7) days of the statement date. Cardholders who do not submit their
                                                                                              ly.
                   expenditures within this time frame will be asked to submit them immediate


C            o     If a credit card holder does not follow this Policy, his or her card will be cancelled.
                                                                                                      y.
             o     Lost or stolen Company credit cards must be reported to your supervisor immediatel




C

                                                                        Company Credit Card Policy
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 87 of 281




    (      General Practices




           The Company may require access io some employees at all times. For this reason, the Company
           may provide and pay for a mobile device for these employees.

           We expect that all employees using employer-provided mobile devices will:

               o   Act professionally

               o   Avoid exceeding the number of allotted minutes

               o   Use the device for business purposes only

               o   Not use the devices while driving


           The Company provides these mobile devices to increase productivity and allow employees to
           maintain adequate contact with both the Company and its customers. If you are the recipient of an
           employer-provided mobile device, please use it appropriately.




(




(

                                                   Employer provided Mobile Devices Policy ;
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 88 of 281




    c          General Practices




               ( -one-                                            #ru?

                                                                                                                        and
              During your employment at Four Six Services, LLC, you may have access to confidential
              proprietary   data,  which  is not known   by competitors    or within  the company's     field of business
                                                                                                                         but is not
              generally. This information (hereinafter referred to as "Confidential Information") includes,
                                 relating to the Company's     marketing   and  servicing   programs;    procedures     and
              limited to: data
                                                                                                                   services; the
              techniques; the criteria and formula used by the Company in pricing its products and
                                                               that the Company      has  negotiated;  lists  of customers    and
              structure and pricing of special packages
                           the  identity, authority and  responsibilit ies of key  contacts   at Company      accounts;   the
              prospects;
                                                                                                                  their operations;
              composition and organization of accounts' businesses; the peculiar risks inherent in
                                               the  structure,  conditions, and  extent   of their existing  products    and
              sensitive details concerning
              services; contract expiration dates; commission rates; service arrangements; proprietary software,
                                                                                                                          s and
              Web applications and analysis tools; and other data showing the particularized requirement
                             of the  accounts.   This Confidential   Information  is a  valuable   asset  of the  Company,
              preferences
              developed over a long period of time and at substantial expense.

              To protect the Company's interest in this valuable asset, you must (a) not use any such Confidential
                                                                                                           the
              Information for your personal benefit or for the benefit of any person or entity other than
              Company, and (b) use your best   efforts  to limit access to such Confidential  Information to those who
                                                                                                              minimize
              have a need to know it for the business purposes of the Company, in addition, you should
              those occasions on which you take documents, computer         disks or a laptop containing such
                                                                                                                  with
              Confidential Information outside the office. On those occasions where it is necessary, consistent
(             the best interests of the Company and doing your job effectively, to take documents, computer
                                                                                                                disk
                                                                                                                and
              or a laptop containing Confidential Information outside the office, all appropriate precautionary
              security measures should be taken to protect the confidentiality of the information.

              During the course of your employment with the Company, you will be provided with and will generate
              correspondence, memoranda, literature, reports, summaries, manuals, proposals, contracts,
                                                                                                      the
              customer lists, prospect lists, and other documents and data concerning the business of
                                                                                                                 or
              Company. Any and all such records and data, whether maintained in hard copy or on a computer
              other medium, is the property of the Company, regardless of whether it is or contains Confidential
                                                                                                             all
              Information. Upon termination of your employment at the Company, you are required to return
              such  records to the Company  and  may not retain any copy  of such records or make  any notes
              regarding such records. We reserve the right to search for such information and property in personal
              items while on Company premises such as vehicles, purses, briefcases, etc.




                                                                                                                                      I
C       i




                                                     Confidential Information & Company Property                                P     i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 89 of 281




    o       General Practices




                                   <r: c,r,- ct ;


            All employees have a duty to further the Company's aims and goals, and to work on behalf of its best
            interest. Employees should not place themselves in a position where their actions or personal
        '   interests may be in conflict with those of Four Six Services, LLC. Examples include: soliciting or
            profiting from the Company's client or prospect base or other Company asset for personal gain;
            acting on behalf of Four Six Services, LLC in servicing or obtaining a client, and limiting the best
            solution for the client or prospect for personal financial gain; and acting as director, officer, employee
            or otherwise for any business or institution with which Four Six Services, LLC has a competitive or
            significant business relationship without the written approval of the chief executive officer.

            Employees should report to their manager any situation or position (including outside employment by
            an employee or any member of an employee's imrhediate household) which may create a conflict of
            interest with Four Six Services, LLC.




(




(                                                                                                                        f


                                                                                    Conflict:-, of Inferos!.
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 90 of 281




       General Practices




       As an employee, you make a major contribution to our business growth. Your honesty, integrity, and
       competence in performing your job are necessary for customer satisfaction. Your ability to develop
       positive customer relations is essential to our job performance. If your duties include a support role,
       other employees should be treated as customers.



      This Customer Complaint Policy aims to not only provide a framework for employees to work with
      when handling complaints from customers, but also to ensure consistency within Four Six Services,
      LLC in handling and resolving complaints from customers. Addressing customer complaints helps
      the Company in following through on our commitment to provide quality products, services and
      customer service,

       Four Six Services, LLC defines the term "complaint" as any expression of dissatisfaction or
      grievance made by a customer or member of the public about any product or service, not including a
      request for information.

      Four Six Services LLC's customer service representatives will provide reasonable information and
      assistance to customers to ensure that complaints are made effectively. Complaints may be made in
      any of the following ways:
(          o   Via telephone


           o   Via email


           o   Via mail

      Complaints will be acknowledged upon receipt by the Company.

      Complaints will be processed in a timely and efficient manner. Continuous improvement and training
      will be used to confirm complaints are resolved promptly and courteously. Managing our customers'
      expectations realistically is our goal. This involves the careful examination of each complaint and the
      provision of a resolution offered on the basis of that analysis.

      Complaints will be recorded and analyzed to ensure that our complaint management processes
      comply with this Policy. Trends will be identified, and feedback will be provided to the relevant
      departments to improve current processes.

      Our mission is to resolve customer complaints immediately, rather than delaying the resolution.
      When necessary, customers will be kept informed of the progress of. their complaint.




(

                                                                    Customer Complaint Policy ; •
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 91 of 281




    t      General Practices




           Four Six Services, LLC believes that your pride in both yourself and the Company is reflected in your
           appearance and In the image you create. We feel that our business image is important and,
           therefore, request that our employees maintain standards of dress and appearance appropriate to
           both the organization as a whole and your individual position responsibilities. Dress, grooming,
           personal cleanliness and professional behavior standards contribute to the professional image we
           strive to present to our customers and visitors. Therefore, while performing duties for the Company,
           employees are expected to dress in attire appropriate to the business environment and to behave in
           a professional manner at ail times to best represent our business.

           Guidelines
                                                                                                                     i


           Due to the nature of our business and our continuous client contact, our dress guidelines include a
           more relaxed dress or "Business Appropriate" dress, which we feel is in the best interest of Four Six
           Services, LLC, our employees and our clients (please see below for detail).

           Employees may dress according to the requirements of their position, however, our beliefs regarding
           business appropriate dress is that business is always first. This means that employees should keep
           their day's schedule In mind. We recognize that different levels of dress may be appropriate for
           different occasions. As a general rule, when meeting with clients, prospects or outside visitors,
           traditional business attire should always be worn except where it doesn't make good business sense.
('
           All employees should select their business attire for meetings and contact outside of the office by the
           type of function that will be attended. Also, on occasion there may be a specific business reason to
           require that all employees dress in traditional business attire. In such instance this will be
           communicated to employees in advance, and they will be required to dress accordingly.

           Our business appearance and image is important to us. However, we respect individual preference
           and choice in dress and appearance. We are confident that employees will use their best judgment
           in following our dress and attire guidelines. We ask that at ali times employees make certain that
           their appearance is well groomed and clean and that clothing is appropriate, neat, clean and well-
           fitting. While relaxed business attire is acceptable within the stated guidelines, we want to be sure
           our environment does not jeopardize professionalism and productivity.

           Appropriate Attire and Appearance Guidelines

                    1.   Maintaining the highest standards relating to personal hygiene, including regular
                         bathing and use of deodorant, brushing of teeth and using mouthwash as necessary,
                         maintaining clean hands and fingernails at all times and the moderate use of cosmetics.
                    2.   The nature of the work.
                    3.   Safety considerations, such as necessary precautions when working near machinery.
                    4.   The nature of the employee's public contact, if any, and the normal expectations of
                         outside parties with whom the employee will work.
                    5.   The prevailing practices of other workers in similar jobs.
                    6.   The requirement of the Four Six Services, LLC's management that all employees are
                         expected to exercise good judgment and dress appropriately for their jobs.
(

                                                                                            Dress Code '
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 92 of 281




    r
    V      General Practices




                       7.    Any bandage worn must be kept clean and changed as often as necessary or
                             appropriate.


           Please note: Your particular job may Include more specific requirements, which will be provided by
           your supervisor.


               o    Hard hats should be kept clean at all times with no stickers or decals other than those
                    provided by Four Six Services LLC or by customer


               o    Uniforms and/or Fire Resistant (FR) coveralls should be kept clean and In good repair
                    at all times


               o    Inappropriate Attire and Appearance Guidelines

                    o       Casual shorts, leggings, jogging suits or sweat suits and socks

                    o       Sweatshirts, T-shirts, tank tops or oversized shirts

                    o       Capri pants (or pedal pushers) or other trendy wear including exceptionally short
                            dresses or skirts and crop tops


                   o        Clothing made of leather or spandex
(
                   o        Any clothing item displaying an offensive comment or graphic illustration or logo clothing
                            including sport teams, cartoon characters, etc., unless otherwise specified.

                   o        Jewelry (or other objects of personal expression, such as visible tattoos) that is
                            distracting, large or represents an unprofessional image as determined by Four Six
                            Services, LLC such as large chains, facial jewelry, nose rings, etc.

                   o        Dirty, ragged, ungroomed, sexually provocative, revealing or see-through clothing or
                            appearance



                   o        Any other attire or appearance Four Six Services, LLC deems to be inappropriate in the
                            business environment


          If an employee is unclear about dress and appearance guidelines, he or she is encouraged to
          consult with Human Resources. If an employee reports to work in questionable attire or appearance,
          a notification and discussion will occur with the employee to advise and counsel him or her regarding
          the inappropriateness of the attire. Depending upon the circumstance, the employee may also be
          sent home with directions to return to work in proper attire. It is expected that any work time lost will
          be made up by the employee. Continued or frequent departures from these guidelines will not be
          permitted and employees who appear for work inappropriately dressed or groomed repeatedly will be
          subject to disciplinary action.




(                                                                                                                        I
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 93 of 281




     (      General Practices




                           WhlU': :                               H!s           S


            Driver inattention plays a role in many motor vehicle accidents. We are not only concerned about your
            welfare as a Four Six Services, LLC employee, but also the welfare of others who could be put in harm's
            way.



            As a driver, your first responsibility is to pay attention to the road. When driving on Four Six Services, LLC
            business or driving while conducting business on behalf of the Company in any other capacity, the
            following applies:


            Cellphone Use


            Cellular phone use while driving is a common, often harmful, distraction. We are concerned about your
            safety as well as the safety of others. For this reason, the use of cell phones while driving is strongly
           discouraged, Do not accept or place calls unless it is an emergency, meaning the call cannot wait until you
           safely pull off the road or until you arrive at your destination. If you must use your cellphone while driving,
           please use good judgment: keep the call short, use a hands-free device, get to know your phone and its
           features, and suspend conversations during hazardous driving conditions (rain, snow, ice, fog, glare,
           heavy traffic, etc.). Cell phone use while driving is illegal in some areas. Always follow local laws.

           Obey the Law


t          Four Six Services, LLC is not responsible for any moving traffic violations, parking tickets or any other city
    V.
           ordinances or state or federal laws regarding your driving habits and operation and care of your personal
           motor vehicle. Any tickets issued are the employee's responsibility, even if the ticket is issued while
           conducting business for Four Six Services, LLC.

           Other Safe Driving Precautions


                o   Use your best judgment when road conditions are poor. Limit or avoid driving when rain or snow
                    threatens your safety.


                o   Make an effort to avoid distractions such as texting eating, applying makeup, paying too much
                    attention to your radio or CD player, etc.


                o   Do not drive if your ability to drive safely is impaired by the influence of medications.

                o   Laptop computers should never be used at any time while driving.

                o   Be sure to properly adjust the mirrors and familiarize yourself with the vehicle's controls before
                    operating.

                o   Be concerned for your coworkers' safety. Ask them to call you back at a safer time if they call you
                    while they are driving.


           As a business against drunk driving, be responsible when entertaining clients. Abide by the law and use a
           designated driver or the Businesses Against Drunk Driving program for transportation if you are under the
           influence of alcohol.


           Employees who drive for company business must have a current, valid driver's license.
                                                                                                                             !
(
                                                                                               • •
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 94 of 281




    o      General Practices




                                                                                                   to the
          Designations or certification programs qualify for reimbursement where it is relevant
                      position and   where   there  is mutual benefit to the individual and the Company  in terms of
          employee's
                                                                                                            (insert
          enhancing the employee's job performance, capabilities and credentials. Examples include:
          relevant designations or  certifications ).

                                                                                                      required for
          A certification, including but not limited to, CDL and Well Pressure Control license is
                              within the Company.    Employees  are responsible   for maintaining their  licensing
          several positions
                                                                                                        also be
          requirements. With advance approval, expenses or reimbursement for expenses may
                                                                                                         the
          covered by the Company at 100 percent for initial licensing if the license is required for
                        current position or where  the Company   agrees it is part of an individual's planned   career
          individual's
          path within the organization. The annual limit for reimbursement is $2500.

          The Company may offer continuing education courses, on-site throughout the year for the
                                                                                                               with
          convenience of employees to maintain their licensing requirements. For assisting employees
                                        the online self-study and in-house   training are the   preferred  methods,
          continuing education credits,
                                                                                                              be
          however, in some instances, with advance approval, continuing education credits might also
          obtained through outside vendors, clients,  colleges or universities. Approval   will be determined
                                                                                                         is taking
          based upon the value to the employee of the course content and whether the employee
          advantage of the self-study and in-house training methods.

C         The application for participation in this program is to be made in writing and submitted to Human
          Resources for approval prior to commencement of the course. Upon approval or denial, Human
          Resources will notify the employee.

                                                                                                     Resources
          Following completion of the approved coursework, the employee must submit to Human
          the "Application & Request for Educational Reimbursem  ent"  form  with evidence of satisfactory
          completion and itemized receipts for expenses incurred for tuition, books and other covered
          expenses. Human Resources will then process payment.

          If an employee voluntarily terminates employment at any time within 18 months of receiving
                                                                                                            the
          reimbursement under this program, except for the costs related to continuing education credits,
                                                                                                      she
          employee is obligated to repay the Company all or part of the education assistance he or
          received as reimbursement for expenses incurred. Repayment is required in the amount of one-
          eighteenth for each of the eighteen or fewer months remaining between reimbursement and
          termination. For example, an employee who terminates six months after receiving tuition assistance
          is forgiven six-eighteenths or one-third of all expenses reimbursed, but is required to repay the
          balance. The employee agrees that any balance owed to the Company can be withheld from their
          final pay given their prior written permission, or will be paid immediately upon termination by the
                                                                                                            for
          employee. Repayment is not required if the employee is terminated by Four Six Services, LLC
          any reason other than cause.

                                                                                                     hours.
          Courses or training received under this program should normally be held outside of working
          The Company reserves the right to be selective in approving educational assistance, closely linking
          employees' jobs, Company budget and the specific training being pursued. Initial approval of
                                                                                                         ent is
          education continuance does not obligate the Company to approve future courses. Reimbursem
          contingent upon continued employment beyond    course  completion and may  be  treated as taxable
          income In accordance with the Internal Revenue Service regulations. This program does not include
          costs associated with seminars or courses where attendance is required.
(
                                                                           i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 95 of 281




    o      General Practices




          If financial assistance is being received from other sources (such as any state, federal, military or
          private assistance) only the difference between the total cost of the course and the amount of the
          assistance will be considered reimbursable under this program. Employee reimbursement upon
          satisfactory completion of the approved course or training will be the method of assistance provided,
          however, in the case of certification programs, where the full certification cost is required up-front, the
          Company may consider direct payment of some or all portions prior to the start of the training. The
          Company has the discretion to deny approval due to business needs, including the need to work
          flexible or longer hours, or where employee performance has been or could become unsatisfactory.




(




(
                                                                  {           :* i
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 96 of 281




    (   )      General Practices




                                                                                                        as
               Employees are classified as either exempt or non-exempt for pay administration purposes,
               determined by the federal Fair Labor Standards Act (FLSA).

               The definitions of the worker classification categories can be summarized as follows:

               Exempt—Employees who meet any of the FLSA's exemption standards, including managerial,
               supervisory, professional, sales or administrative employees.

                                                                                                  Overtime
               Non-exempt— Employees whose positions do not meet the FLSA exemption standards.
               work is prohibited without specific supervisor authorizatio n for these employees.


               In addition, each individual's employment status is defined as one of the following:

                                                                                                              Such full
               Full-time - Employees who work at least 35 hours per week are considered to be full-time.
                                                                         requiremen ts for length of service have been
               time employees are eligible for benefits after applicable
               met.


              Four Six Services, LLC may supplement its regular work force with temporary or part-time
                                                                                                             nt
              employees to help compensate for workload, employee absences or other situations. Manageme
                                                                                    temporary  or  seasonal.
r             will determine which positions are permanent and which are considered

                                                                                                      part-time.
               Part-time - Employees who work fewer than 35 hours per week are considered to be
                                                                    or who work on a temporary  project basis, will
               Employees who work 35 hours or fewer per week,
                                              benefits (such as workers' compensati on and Social Security benefits),
               receive all legally mandated
               but are ineligible for other benefit programs.

                                                                                                             time on
              Temporary - Temporary employees are individuals engaged to work either part time or full
                                                                                                                    t
              Four Six Services, LLC's payroll, but have been hired with the understanding that their employmen
                                                              of their specific assignment . This category includes
              will be terminated no later than the completion
                                                                                                            are not
              interns and co-op students. Such employees may be either "exempt" or "non-exempt" but
              eligible for benefits except as mandated by law.

                                                                                                 not
              Independent contractors - Consultants, freelancers and independent contractors are
                                                                   between employees and independen  t
              employees of Four Six Services, LLC. The distinction
                                                                                                        benefits
              contractors is crucial because employees may be entitled to participate in the Company's
              programs, while independent contractors are not. In addition, Four Six Services, LLC is not required
                                                                                               payment
              to satisfy income, Social Security, Medicare or unemployment tax withholdings or
              requirements for independent contractors.




                                                                                                                                  I


(
                                                                                                                  :   •   «
                                                                                                                  ;   :       f
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 97 of 281




    (          General Practices




                                                            i




               Four Six Services, LLC wants to preserve a working environment that has clear boundaries between
               personal and professional relationships. This is believed to be the best practice for conducting
               business in a professional manner. This policy establishes clear boundaries with regard to how
               relationships develop at work and within the confines of the work area.

                   o   During working hours and in work areas, employees of Four Six Services, LLC are expected
                       to keep all personal interactions limited and at a professional level to avoid distracting or
                       offending others.


                   o   Employees are prohibited from engaging in any physical interactions that would be seen as
                       inappropriate in the work area. What constitutes inappropriate conduct is in the discretion of
                       the Company.


                   o   Employees who engage in personal relationships with others and allow these relationships
                       to negatively affect the working environment will be subject to disciplinary action. If said
                       employees fail to change their behavior after disciplinary action takes place, they may be
                       subject to termination.


                  o    Romantic relationships between supervising, managing or executive employees and
                       subordinates are strictly prohibited. If a relationship does develop between a supervising
C                      employee and his or her subordinate, management should be notified immediately so that a
                       department transfer may be considered.




(       •
                                                                         •   ! • •• •   : i '•;;   H   I \i : '   } \   )
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 98 of 281




        c      General Practices




              An award has been established to encourage our present team to refer quality people to our
              organization. If the referral is hired, the team member that submitted the referral will receive a $100
              award. In order to qualify for the award program, a current employee should provide the referral for
              either a posted position or as a general referral. Following are the guidelines to this program:

                  o   Any recommendation should be routed to Human Resources regardless of posting.
                      Recommendations will be kept open for 12 months. In the event that two people refer the
                      same individual, Human Resources will review the situation to determine who qualifies to
                      receive the award.

                  o   Referral candidate cannot already have been recommended through a recruiter,

                  o   The award will be paid 90 days after the referred employee's start date. Both the new
                      employee and the individual who made the recommendation must be active employees at
                      the time the award is paid.

                  o   This policy does not apply to anyone who has a recruitment, hiring or supervisory role or
                      who has President or Executive Vice President status within the Company.

    r
    K




I
K
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 99 of 281




    ( 5      General Practices




                                                                                                                      ;




             Members of your immediate family will be considered for employment on the basis of their
             qualifications. Your immediate family may not be hired, however, if it would:

                 o    Create a direct supervisor-subordinate relationship with a family member


                 o    Have the potential for creating an adverse effect on work performance

                 o   Create either an actual conflict of interest or the appearance of a conflict of interest

             This policy must be considered when hiring, assigning or promoting an employee.

             If a circumstance arises that results in a direct supervisory relationship between immediate family or
             close personal relatives (including marriage, reduction in force, reorganization, priority placement,
             etc,), one of the relatives may be reassigned to an appropriate vacancy. During the period that a
             direct supervisory relationship exists between immediate family members or close personal relatives,
             the supervisory relative will not be involved in any personnel action involving his or her relative.
             Typical first-level supervisory responsibilities will be referred to the next higher level in the
             supervisory chain.

             For purposes of this policy, your immediate family includes your mother, father, husband, wife, son,
C            daughter, sister, brother, mother-in-law, father-in-law, sister-in-law, brother-in-law, son-in-law,
             daughter-in-law, stepchild, stepparent, grandchild or grandparent. This policy also applies to close
             personal relatives such as uncles, aunts, first cousins, nephews, nieces or half-siblings.

             Questions should be directed to your supervisor.




(
                                                                      : - : :I, ;V * ; '   V            i:
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 100 of 281




    f      General Practices




           U.- pro                                -B!J 0?0;> I

                                                                                                   n of any bribe,
           We prohibit the solicitation, acceptance, offer or payment to any person or organizatio
                                                                                               (other than goods or
           kickback or similar consideration, including money, services, goods or favors
                              nominal   in amount  and not prohibited  by any federal, state  or local law). Do not
           favors which are
                                                                                                    e that their receipt
           accept or give gifts, gratuities, entertainment or favors of such value or significanc
                                                        with  the exercise of independe   nt and   objective judgment in
           might reasonably be expected to interfere
                      participatin g in the business  decisions of or the party with whom    the Company     is dealing.
           making or




(




                                                                                                                           j:




                                                                                                                            ;




(                                                                                                                          E
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 101 of 281




    c)      General Practices




                     i
                         H. li'ipifc-'-.'?   -y    nu: p < p; iff--:*/


            Four Six Services, LLC is committed to establishing and maintaining a comfortable and safe working
            environment for ail employees.

            All work-related injuries and illnesses should be reported immediately to Human Resources, even if
            you are not sure whether they are truly work-related. Even small, seemingly insignificant, injuries left
            untreated can result in serious conditions.

            Human Resources will complete an Accident Report. When injuries are reported immediately, they
            will quickly be investigated and corrective action will be taken to prevent more injuries.

            If you see any potential hazards that need attention, notify Human Resources immediately.




C




(
                                                                    '' •     Hi
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 102 of 281




    f .
    v        General Practices




             The Company is committed to providing the media with accurate information. To avoid
             discrepancies, specific guidelines should be followed when a media inquiry is received.

             All media inquiries regarding the Company and its operation must be immediately referred to Matt
             Trissel who is authorized to make or approve public statements regarding company business. Unless
             specifically designated by this person, you are not authorized to make those statements. If you wish
             to write or publish an article, paper or other publication on behalf of the Company, you must first
             obtain approval.

             The Company will generally provide a response to media inquiries within 24 hours. Should the
             response require a detailed technical explanation, a spokesperson will be designated to address the
             issue. The spokesperson will be chosen carefully, based on their area(s) of expertise.

             Media inquiries include, but are not limited to, official statements, press releases and advertisements.

             Please contact Matt Trissel with any questions or concerns you have regarding the Media Relations
             Policy.




C




f

                                                                                          i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 103 of 281




    (        General Practices




                           w




            Four Six Services, LLC is committed to maintaining a good relationship with its employees and the
            marketplace. The way the public views Four Six Services, LLC is vital to maintaining business, gaining
            new business, retaining first-class employees, recruiting new employees and marketing our products and
            services.


            While Four Six Services, LLC has no intention of controlling employee actions outside of work, employees
            should practice caution and use discretion when posting content on the Web. Employees have the right to
            use social media for personal expression on their own time, and will not violate employee privacy by
            attempting to access content that has not been made available publicly. This policy serves as a notice on
            the practice of social networking for all employees to read and understand. As more concerns develop and
            legislation is released, this policy is subject to change.

           The purpose of this policy is:


                o    To guarantee a constructive relationship between the company and Its employees


                o    To manage risk and preserve 's positive reputation

                o    To discourage (he use of company time for personal social media activities


    (           o   To promote awareness among employees of the number of individuals who can access
                    information presented on social networking sites

           Definitions
           Social networking and social media refer to any activity that involves interaction in online communities.
           This interaction includes, but is not limited to, browsing profiles and photos, reading messages sent
           through social networking forums and participating in instant messaging services.

           A social networking site is any website that links individuals electronically and provides a forum where
           users can connect and share information. These websites can be tailored to specific interests or to certain
           types of users. Examples of popular social networking sites include Facebook, Twitter, MySpace, Flickr,
           Friendster, Classmates.com, Linkedln, Xanga and Bebo. The list of social networking sites is constantly
           growing and changing because of the nature of the Web.


           A social networking profile is a user's personalized page within a specific social networking site, usually
           containing personal information such as name, birthday, photo and interests.

          Micro-blogging is the practice of publishing your recent whereabouts, thoughts or activities on a social
          networking site for other users to see. While not all social networking sites use micro-blogging, this is a
          primary focus of sites such as Twitter and Facebook.
                                                                                                                             !
          Business purposes is considered using a social networking site for the company's gain, usually as a task           \
          or assignment given by a manager or supervisor. This can be done either through a specific company
          account on a given social networking site or through a personal account set up for the purposes of                 I
          recruiting or marketing for Four Six Services, LLC.

          The term Working Hours includes any time employees are being paid to conduct company business.
          Standard working hours are from flam to 5pm, Monday through Friday. This timeframe may vary based on
          job type and responsibilities.
(                                                                                                                        I

                                                                                                                         I
                                                                                                                         i
                                                                                       i                5
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 104 of 281




    (        General Practices




            Procedures
            Prohibited Use
            It is Important that employees use their time at work for business purposes. Employees are not blocked
            from access to social networking sites on company computers because, under some circumstances,
            social networking is a powerful business tool that can be channeled to gain positive publicity for the
            company and to connect with clients. However, access to such websites should follow company policy.
            The following actions are prohibited during working hours:


                   o    Using social networking sites to conduct personal or non-company business with a company
                        computer or device.


                   o    Browsing social networking sites for non-company business on company time with a company
                        computer or device.


                   o    Reading e-mail alerts regarding personal social networking account activity or using e-mail to
                        correspond with personal social networking contacts.

                  o     Updating information, uploading photos or otherwise engaging with one's personal social
                        networking profile for non-business purposes with a company computer or device.


                o       Micro-blogging for a non-business purpose on a social networking site throughout the day,
                        whether it is on a company-provided computer or a personal smart phone device.


(          Prohibited Conduct
           Having your own individual social networking account and using it on your own time is certainly
           permissible. However, keep in mind that some actions on your personal site are visible for the entire social
           networking community and may no longer be considered private matters. Four Six Services, LLC has put
           in place a set of conduct guidelines to protect its brand and prevent the unwanted disclosure of
           confidential information. Please follow these guidelines;

               o       Do not use micro-blogging features to disclose trade secrets, publish internal reports, provide tips
                       based on inside information or participate in other activities that may be considered insider
                       trading.


               o       We urge you to consider resolving workplace grievances internally. If you choose to address a
                       grievance using social media, we recommend you refrain from posting comments and materials
                       that could be viewed as malicious, obscene, threatening, intimidating or that could create a hostile
                       environment on the basis of race, sex, disability, religion or any other status protected by law.


               o       We also recommend you refrain from posting any opprobrious, reckless or maliciously untrue                 I
                       comments. These communications may not be protected by law.

              o        Do not impersonate Four Six Services, LLC or its employees, make statements on behalf of Four
                       Six Services, LLC without authorization, or make statements that can be construed as                       !
                       establishing 's official position or policy on any particular issue.

          As stated above, the purpose of this policy is to protect 's brand and prevent the disclosure of confidential
          information, It is not 's Four Six Services, LLC's intent to interfere with its employees' legal rights.
          Whenever state or federal law governs an area of social media participation, Four Six Services, LLC
          policies should be interpreted as to comply with them.                                                              i



(
                                                                      Online Social Networking Policy j                   '
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 105 of 281




    (       General Practices




           To foster an environment where employees and management feel comfortable communicating with
           and voicing concerns to one another, the Company uses an Open Door Policy. Basically, this policy
           means that alt of the managers' doors are open to all of the employees, and employees are free to
           talk with management at any time. Please consider the following in regard to this policy:

           You are responsible for addressing concerns with a manager, from complaints to suggestions and
           observations. Addressing these concerns allows the Company to improve and explain practices,
           processes and decisions.


           We recommend that you first discuss concerns with your immediate supervisor, but the Open Door
           Policy also gives you the option of discussing them with higher management and/or Human
           Resources. All of these parties will be willing to listen to the issue and assist in a resolution.




    (




                                                                                                                            {

                                                                                                                        i




                                                                                                                        {
                                                                                                                        i




(
V                                                                                                                   ;


                                                                                                     ; ! • h- v i
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 106 of 281




        (       General Practices




               For all employees hired by Four Six Services, LLC, the first 60 days of employment are considered
               to be an orientation period. During this time, the employee will undergo training and orientation as
               directed by the employee's supervisor. The employee's supervisor will also monitor the employee's
               performance during this time period.

               During the first 90 days of employment, the employee is encouraged and expected to ask questions
               concerning his or her job responsibilities, and to determine if he or she is satisfied with the position. If
               the employee's job performance is found to be unsatisfactory by his or her supervisor at any time
               during the first 90 days of employment, the employment will be terminated.




    (




                                                                                                                              i




c
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 107 of 281




    r       General Practices


                                                                                                                            !




           Four Six Services, LLC must compensate all hourly, non-exempt employees one-and-a-half times
           their regular wage rate for all hours worked in excess of 40 hours each week.


           The Company's workweek begins on 12:01am Monday and ends on 12:00a on Sunday


           At times, employees will be asked to work overtime to complete necessary work tasks. The
           employee's supervisor will notify the employee as early as possible regarding scheduling needs.

           Non-Exempt Employees who want to work more than 40 hours during a workweek must receive
           written authorization from their supervisor before working overtime.

           Employees whose job duties affect the safety of operation of vehicles in transportation of passengers
           or property in Interstate commerce may be exempt from FLSA overtime laws under the Motor Carrier
           Act. This exemption from overtime pay law has been interpreted as applying to any driver, driver's
           helper, loader or mechanic employed by a carrier and whose duties affect the safety of operation of
           motor vehicles in the transportation on public highways of passengers or property in Interstate or
           foreign commerce. The Motor Carrier Act exemption applies to those employees for whom the
           Department of transportation claims jurisdiction and if the employer is


(              1)   a private carrier and hauls property or:

               2)   a common or contract carrier and hauls property or passengers and additionally if;

               3)    the employee's travel is in interstate commerce (across State lines) or the employee handles
                     trips that connect with an intrastate terminal (rail, air, water, or land) to continue an Interstate
                    journey of goods that have not come to rest at a final destination.

          The exemption will apply to those employees called upon in the ordinary course of work to perform,
          either regularly or from time to time, safety-affective activities. The employee comes within the
          exemption in all workweeks when he/she is employed in such work, This general rule assumes that
          the activities involved in the continuing duties of the job in all workweeks will include activities that
          affect safety of operation of motor vehicles. Where this is the case, the exemption will be applicable
          regardless of the proportion of "safety affecting activities: perform in a particular workweek. On the
          other hand, where continuing duties of the activities are so trivial, casual, and insignificant as to be
          de minimis, the exemption will not apply in any actual interstate trip, they may still be subject to
          DOT's jurisdiction if:

              1)    the employer is shown to have an involvement in Interstate commerce and;

              2)    it can be established that the employee could have, in the regular course of employment
                    been reasonably expected to make an interstate journey or could have worked on the motor
                    vehicle in such a way to be safety affecting.

          Satisfactory evidence of the above could take the form or statements from the employees, or
          documentation from the employer, such as employee agreements. Where such evidence is
          developed with regard to an employee, the DOT will assert jurisdiction over the employee for a four
          (4) month period beginning with the date he/she could have been called upon to, or actually did,
(         engage in the carrier's interstate activities. Thus, such employee(s) would be exempt under Section

                                                                                                    . i
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 108 of 281




    r ;      General Practices




             13(b)(1) for the same four-moth period, notwithstanding references tot eh contrary in Regulations, 29
             CFR 782.2. The overtime pay exemption does not apply to employees of non-carriers such as
             commercial garages, firms engages in the business of maintaining and repairing motor vehicles
             owned and operated by carriers, or firms engaged in the leasing and renting of motor vehicles to
             carriers.




C




                                                                                                                     I




                                                                                                                     I


c
             Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 109 of 281




         c       General Practices




                 ? ' ,-y                                    i>U; u ihuH- n


                Different categories of employees are paid on different schedules. Most of Four Six Services, LLC
                employees are paid on a twice -monthly basis on the 1sl and 15,h days of each month.

                In addition, direct deposit of your payroll check is available and is strongly suggested.


                Certain deductions are required by law to be taken from everyone's pay while others are employee
                authorized. Deductions required by law include federal withholding tax, social security and Medicare
                contributions, and in most states, state withholding tax.    Deductions from pay also will be made in
                accordance with any legally binding order or garnishment. Employees also may voluntarily elect to
                make certain deductions from pay for certain employee benefits offered from time to time by Four Six
                Services, LLC.   Employee authorized deductions are those which may include premium payments
                for benefits.



                Please contact your supervisor with any questions concerning the payroll process and your pay.




     (




(
V:




                                                                  >
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 110 of 281




    I       General Practices




            :• I          ; \&p v? . it   v> Mr . /


           It is the policy of Four Six Services, LLC to issue employee payments solely through electronic direct
           deposit. Direct deposit provides many benefits for employees, including greater security and faster
           access to funds. Checks will not be issued.


           Employee payments will be electronically deposited directly into one or more checking or savings
           accounts designated by each employee. Accounts must be established with financial institutions,
           such as banks or credit unions that support direct deposit.

           Temporary exceptions to this policy may be made for new hires, to provide adequate time to set up a
           direct deposit account. Exceptions may also be made for employees who provide evidence that they
           cannot obtain an account at a financial institution offering direct deposit.

           The payroll office or Human Resources will assist employees with completing the necessary
           documentation as well as answering any questions or concerns about direct deposit.

           NOTE: It is each employee's responsibility to review his or her payroll stub for accuracy of personal
           information and payment information. Employees must immediately notify Payroll Services or Human
           Resources if there has been an overpayment of wages. Employees are not entitled to keep wage
           overpayments and Four Six Services, LLC may recoup overpaid amounts from future payments.

           NOTE: Employees must notify Payroll Services when there is any change to bank accounts that
           affect direct deposit. Changes must be received two weeks prior to the payday for which the change
           is to occur.




(                                                                                                                       I
V




                                                                              n-                                    I


                                                                                                                    S
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 111 of 281




    c      General Practices




                                          \   '   ;•   , • ;




           Four Six Services, LLC is committed to providing you with feedback, both formal and informal, about
           your performance on the job. Managers and supervisors are responsible for providing ongoing
           performance feedback to each employee. In addition, your manager or supervisor may formally
           discuss and document your performance on a regular basis {generally annually). In some business
           units, an initial performance review may be conducted within three to six months after an employee is
           hired or transfers to a new position.


           Your performance appraisal discussion will review your strengths and identify any areas needing
           improvement, and goals and objectives that need to be achieved. Specific performance problems
           may be addressed outside the performance appraisal cycle through either informal discussions or
           formal disciplinary action. Formal performance feedback becomes a permanent part of your
           personnel file.


           Please contact Human Resources if you feel that an evaluation is due to you or would be helpful to
           you.




    f




(
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 112 of 281




r       General Practices




       Four Six Services, LLC strives to keep accurate and up-to-date personnel records.

       Employee personnel files may include the following:

           o      Employee demographic information


           o   Job application


           o   Position description

           o   Resume


           o   Training records


           o   Salary history

           o   Disciplinary action records


           o   Performance reviews

C          o   Coaching and mentoring records

       To ensure the accuracy of your personnel records, please notify us immediately of the following
       changes:


           o   Name


           o   Address

          o    Telephone number


          o    Marital status

          o    Dependent status


          o    Tax status

      Personnel records are confidential and are not available to anyone outside of the Company, unless
      you have personally authorized their release. A release may not be required when reporting certain
      information as required by law or when an authorized governmental agency inspects certain records.
      To obtain access to your records, contact Human Resources.




C
                                                                                                  v
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 113 of 281




I      General Practices




       Four Six Services, LLC provides phones to employees to increase efficiency in doing business.
       There are important things to consider when using Company phones. Please adhere to the following
       guidelines, based on the type of call you are making or receiving:

       Business phone calls - Much of our business is conducted over the phone, making our telephone
       techniques extremely important. A friendly but businesslike telephone manner should always be
       projected. When you are away from your work area, make a habit of forwarding your calls to the
       appropriate extension.


       Personal phone calls - We recognize that periodically, personal phone calls must be made or
       received during the business hours. Such calls should be held at a minimum so that they do not
       interfere with the workflow.


       Personal cellphone calls - In order to provide an optimum work environment, employees are
       expected to have cellphones turned off during work hours. Ringing cellphones are a distraction to co
       workers and can interfere with productivity. Cellphones should only be used during breaks, lunches
       and outside of the office. Flexibility will be provided in circumstances demanding immediate or
       emergency attention.


       Voicemail - Company telephones are also equipped with voicemail. Voicemail was installed to help
(      maintain our high quality of service for clients and to increase efficiency throughout the office.
       Voicemail will be an option to the caller; the call will not be put directly through to voicemail. It is
       recommended that employee greetings be changed daily. They should be brief and communicate
      your availability to clients.

       Please contact Human Resources with questions about our Phone Call Policy.




(
                                                                                        n         1   •. : ,   i i'-jG
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 114 of 281




    o      General Practices




           PU\r .iczl                                P 4k;y


           Four Six Services, LLC may require a mandatory, job-related medical examination when there is a
           need to determine if an employee can perform the mandatory functions of his or her position. This
           exam will identify physical limitations or restrictions. A medical examination may also identify
           significant health or safety risks to the employee or others by identifying infectious diseases, or other
           medical monitoring as required by medical standards, professional licensing bodies or standards
           established by federal, state or local law.

           The Company may conduct voluntary medical examinations and health promotion activities as well.
           The records from these screenings will be kept confidential.


           The cost of the voluntary or mandatory medical examinations rests with the Company. The employee
           is not responsible for paying any of the costs for these procedures.




e




(
             Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 115 of 281




         i
    V,          General Practices




                Four Six Services LLC wants to ensure that our employees remain safe and injury-free at all times.
                The Company intends to comply with all applicable safety laws. In order to guarantee that accidents
                are avoided whenever possible, we expect our employees to refrain from horseplay, careless
                behavior and negligent actions. It is the Company's policy to maintain a safe and secure working
                environment for all employees and clients.


                While working, employees must observe safety precautions for their safety and for the safety of
                others. All work areas must be kept clean, and free of clutter and debris. Any hazards or potentially
                dangerous conditions must be corrected immediately or reported to a supervisor.

                If you are involved in an accident, you must;

                    o   Report the accident to your supervisor or to Human Resources immediately

                    o   Obtain any necessary medical treatment

                    o   Fill out an Accident Report, regardless of the severity of the injury

                    o   If you must seek additional medical treatment, obtain your supervisor's consent before
C                       leaving the premises


                Employees who fail to comply with this procedure may be subject to disciplinary action.




                                                                                                                        i

                                                                                                                        j

(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 116 of 281




    o       General Practices




           Unless you are Informed otherwise, always assume that Four Six Services, LLC is open for business
           during normal hours. Use common sense and your best judgment, however, when traveling to work
           in severe weather.


           Some types of severe weather include blizzards, hurricanes and tornadoes.

           If the Company is not going to open for the day, you will either be emailed, receive a phone call or
           the information will appear on the company's website.
                                                                                                                     :



           If you arrive at work after the scheduled opening time, that time is charged to you as either (1 )
           personal/sick time, (2) vacation time, or (3) unpaid time, in that order. You should always use your
           discretion in getting to work. Four Six Services, LLC attempts to accommodate individual situations
           by allowing the use of personal/sick time and vacation time in these situations.

           When potentially dangerous weather develops during the day and a decision is made by
           management to close, you will be compensated as if you had worked all of your regularly scheduled
           hours for that day. If you elect to leave prior to a decision being made by the Company to close early,
           you will be required to use accrued time to account for your absence.


(




C
                                                                                     -/y>-                 i
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 117 of 281




 (        Genera! Practices




                        t      Iv'WVOV *i

         Four Six Services, LLC is a smoke-free environmenl. Smoking, chewing, use of e-cigarettes/pipes
         and other tobacco and nicotine products is not permitted at any time in Company work areas or
         vehicles, or in client work areas or vehicles.

         If smoking is allowed outside of the building, smokers should be considerate of colleagues,
         customers and members of the public. Help to maintain a clean entryway by depositing cigarettes in
         appropriate containers and staying far enough away from doors so that smoke does not blow into the -
         building.


         Employees who smoke or chew must observe the same guidelines as non-smokers for the
         frequency and length of break periods.


         This policy applies equally to all employees, customers, and visitors.




(




c >
                                                                                  ii=
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 118 of 281




(      General Practices




                      1M#C 1.1        Policy

       At times, social events will be hosted by Four Six Services, LLC for employees to attend. These
       events may take place due to the hiring or promotion of an employee, or for other reasons.

       Some events will be celebrated with a group luncheon, arranged by management. Other events
       (such as employee birthdays or service anniversaries) will be recognized with a card or gift from
       Human Resources. At times, the Company may also host parties or social gatherings outside of
       working hours. These events may take place to celebrate holidays or company successes, or for
       many other reasons.


       At all Company social functions, employees are responsible for behaving in a professional manner.
       While alcohol may be served, employees should refrain from becoming intoxicated in order to avoid
       disruptive behavior.


       Even at social functions, employees must remember that they are representing the Company and
       need to ensure that they are upholding the Company's positive reputation at all times.




(




                                                                                ; M
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 119 of 281




    c>      General Practices




            Understanding that employees may occasionally wish to communicate with their co-workers to
            advertise personal items for sale or to participate in fundraisers for non-profit organizations, children's
            schools and other non-work events, we allow use of lunch rooms and electronic bulletin boards to
            distribute such information.

                                                                                                                          i
            In respect for other's efficiency, please do not use work email, voicemail or other resources as a
            means to solicit or distribute non-work materials. Activities that disrupt work hours or operations are
            prohibited.


            Persons not employed by Four Six Services, LLC may not solicit Company employees for any
            purpose on Company premises.




('




C
                                                                                                               !   : ;
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 120 of 281




    c
    v.




                                                                    "Ms!


            Equipment and resources such as vehicles, trailers, well-service equipment, copier, fax, computers,
            laptops, smart phones, postage machines, e-mail, internet access, telephone, pagers, and voice mail
            systems are in place to facilitate effective day-to-day business operations. Employees may not use
            Four Six Services, LLC equipment or resources for personal use or benefit without prior supervisor
            approval.




            Desks, Lockers, and File Cabinets

            Four Six Services, LLC or its clients may from time to time provide office space, desks, computers or
            file cabinets for employee use in the performance of employment responsibilities, or locker space for
            employee use while at work. Four Six Services, LLC does not guarantee the security of any locker
            and employees are responsible for furnishing their own locks. Any lock will be voluntarily and
            immediately removed at the direction of Four Six Services, LLC. Four Six Services, LLC is not
            responsible for any article or item placed in any office space, locker, desk, file cabinet or computer,
            or otherwise brought on Four Six Services, LLC or client premises or on Four Six Services, LLC
            business, that is lost, damaged, stolen or destroyed. Weapons, explosives, alcohol and drugs are
            prohibited on Four Six Services, LLC premises, client premises or Four Six Services, LLC business
            and may not be placed in any office space, locker, and desk or file cabinet. Employees have no
            privacy rights in any office space, locker, desk, file cabinet or computer (or their contents) on Four
            Six Services, LLC or client property, or provided by the Four Six Services, LLC or a client of the Four
            Six Services, LLC, for or on Four Six Services, LLC business. Four Six Services, LLC reserves the
            right to inspect any such office space, locker, desk, file cabinet, computer, and their contents, and
            any other place or item on Four Six Sen/ices, LLC or client property, with or without advance notice
            or consent of any employee. Any person designated by the company or client may conduct such an
            inspection. Any employee who, upon request, fails or refuses to cooperate with any such inspection
            may be subject to disciplinary action, up to and including termination of employment.




                                                                                                                          j




(
                                                                                          >   "            St : i




                                                                                                                      5
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 121 of 281




   Safety Manual
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 122 of 281




    (
            Safety Manual




            Four Six Services, LLC will provide workers' compensation, a type of accident and injury insurance,
           that compensates an employee for lost time, medical expenses and loss of life or dismemberment
           from an injury arising out of or in the course of work. Employees must report any work-related injury
           or disease immediately (or as soon as practicable) to their supervisor and Human Resources so that
           the necessary paperwork can be completed In a timely manner. Please note that under state laws,
           employees who fail to report work-related injuries in a timely manner may see a reduction or denial of
           their workers' compensation benefits.


           Employees returning to work from an injury or illness for which they were receiving workers'
           compensation must provide proof of rehabilitation or treatment from a licensed physician and
           verification that they are able to complete all job-related tasks. In the event that the employee returns
           to work under strict medical restrictions, the Company will make every reasonable effort to
           accommodate the employee's work ability and job responsibilities. Once a physician removes work
           restrictions, the employee is expected to perform his or her regular duties and will no longer receive
           workers' compensation benefits.




C



                                                                                                                                   t
                                                                                                                                   j




                                                                                                                               !
                                                                                                                               !




                                                                                                                               I




(                                                                                                                          ;




                                                                          {   •




                                                                                                                       !
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 123 of 281




    (
            Safety Manual




            Four Six Services, LLC strives to make your working conditions as pleasant as possible. We ask
           your cooperation in keeping your work area neat and company equipment in good working order.
           The need for repairs or adjustments to mechanical equipment should be reported immediately to
           your supervisor. Secure confidential work papers and computer files away before leaving your office
           or work area for the day.




e




c                                                                                                                !
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 124 of 281




    o
            Safety Manual



                           ? ' \




            Four Six Services, LLC recognizes that employees drive our business. As our most critical
            resource, employees will be safeguarded through training and procedures that foster protection of
            health and safety. All work conducted by Four Six Services LLC's employees will take into account
            the intent of this policy. No duty, no matter what its perceived result, will be deemed more
            important than employee health and safety.



            Four Six Services LLC Is firmly committed to the safety of our employees. We are committed
            to providing a safe working environment and will do everything possible to prevent workplace
            accidents.


           We value our employees not only as employees but also as human beings critical to the
           success of their families and the local community.

           Employees are encouraged to report any unsafe work practices or safety hazards encountered
           on the job. All accidents/incidents (no matter how slight) are to be immediately reported to
           the supervisor on duty.

           A key factor in implementing this policy will be the strict compliance to all applicable federal,
           state and local policies and procedures. Failure to comply with these policies may result in
C          disciplinary actions.                                                                                    i
                                                                                                                    !
           Respecting this, Four Six Services LLC will make every reasonable effort to provide a safe and           f
           healthful workplace that is free from any recognized or known potential hazards. Additionally,
           Four Six Services LLC subscribes to these principles:


           1.   All accidents are preventable through implementation of effective safety and health control
                policies and programs.

           2.   Safety and health controls are a major part of our work every day.

           3.   Accident prevention Is good business. It minimizes human suffering, promotes better             I
                working conditions for everyone, holds Four Six Services In higher regard with customers
                and Increases productivity. This is why Four Six Services, LLC will comply with all safety
                and health regulations which apply to the course and scope of operations.

           4.   Management is responsible for providing the safest possible workplace for employees.            !
                Consequently, management of Four Six Services LLC is committed to allocating and
                providing all of the resources needed to promote and effectively implement this safety
                policy.

           5.   Employees are responsible for following safe work practices and company rules, and for
                preventing accidents and injuries. Management will establish lines of communication to
                solicit and receive comments, information, suggestions and assistance from employees
                where safety and health are concerned.


           6.   Management and supervisors of Four Six Services LLC will set an exemplary example with
                good attitudes and strong commitment to safety and health in the workplace. Toward this

(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 125 of 281




    (
            Safety Manual



                end, management must monitor company safety and health performance along with
                working conditions to ensure that program objectives are achieved.


           7.   Our safety program applies to all employees and persons affected or associated in any way
                with Four Six Services operations. Everyone's goal must be to constantly improve safety
                awareness and to prevent accidents and injuries.

           Everyone at Four Six Services must be involved and committed to safety, This must be a team
           effort. Together, we can prevent accidents and injuries. Together, we can keep each other
           safe and healthy in the workplace.




            Matt Trissel
           President                                                      Risk Manager

           May 4th 2014




(




c
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 126 of 281




    o
            Safety Manual


             i




           The primary responsibility of the employees of Four Six Services LLC is to perform his or her
           duties in a safe manner in order to prevent injury to themselves and others,

           As a condition of employment, employees MUST become familiar with, observe, and obey Four
           Six Services LLC's rules and established policies for health, safety, and preventing injuries
           while at work. Additionally, employees MUST learn the approved safe practices and
           procedures that apply to their work.

           Before beginning special work or new assignments, an employee should review applicable and
           appropriate safety rules.

           If an employee has any questions about how a task should be done safely, he or she Is under
           instruction NOT to begin the task until he or she discusses the situation with his or her
           supervisor. Together, they will determine the safe way to do the job.

           If, after discussing a safety situation with his or her supervisor, an employee still has
           questions or concerns, he or she is required to contact the Safety Coordinator.

           NO EMPLOYEE IS EVER REQUIRED to perform work that he or she believes is unsafe, or
           that he or she thinks is likely to cause injury or a health risk to themselves or others.



(          General Safety Rujes

           Conduct

                 Horseplay, 'practical jokes,' etc., are forbidden. Employees are required to work in an
                 injury-free manner displaying accepted levels of behavior. Conduct that places the
                 employee or others at risk, or which threatens or intimidates others, is forbidden.

           Drugs and Alcohol

                 Use and/or possession of illegal drugs or alcohol on company property or on company time
                 are forbidden. Reporting for work while under the influence of illegal drugs or alcohol is
                 forbidden.

           Housekeeping

                 You are responsible to keep your work area clean and safe. Clean-up several times
                 throughout the day, disposing of trash and waste in approved containers, wiping up any
                 drips/spills immediately, and putting equipment and tools away as you are finished with
                 them.


                 The following areas must remain clear of obstructions:
                 •   Aisles/exits
                 •   Fire extinguishers and emergency equipment
                 •   All electrical breakers, controls and switches

          Injury Reporting

                 All work-related injuries must be reported to your supervisor Immediately, Failure to
                 immediately report injuries can result in loss of Workers' Compensation benefits. After
                 each medical appointment resulting from a work-related injury, you must contact your

(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 127 of 281




    c
            Safety Manual



              supervisor to discuss your progress. You must also give your supervisor any paperwork
              that you received at the appointment.

              Four Six Services, LLC. Provides Return to Work (transitional or light duty) jobs for
              persons injured at work where applicable. This work is meant to allow the injured or ill
              employee to heal under a doctor's care while she/he remains productive. Employees are
              required to return to work immediately upon release.




(




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 128 of 281




    (           Safety Manual




            Four Six Services LLC is committed to providing safety and health-related orientation and
            training for all employees at all levels of the Company. The Company will maintain and support
            a program to educate and familiarize employees with safety and health procedures, rules and
            safe work practices. The training subjects and materials have been developed using Industry
            best practices criteria and site-specific data,

            The training may include, but is not limited to, the following:

                  1.    Company-specific accident and incident data

                  2.    Hazards associated with the work area

                  3.    Hazards associated with a specific job or task

                  4.    Operation of specific equipment

                  5.    Personal protective equipment

                  6.    Emergency procedures

                  7.    Employee accident reporting requirements

                  8.    Return to work program

                  9.    Any OSHA required training not included or addressed above
/

v


           Periodic Inspections

           It is the policy of Four Six Services LLC that worksites are subject to periodic safety and health
           inspections to ensure Implementation and execution of our policies and procedures as it
           relates to employees, contractors and vendors.

           Employees are responsible for cooperating during these inspections. Managers and supervisors
           are responsible for initiating corrective actions to improve items discovered during such
           walkthroughs.


           Incident Reporting

           1.    Any work-related injury, or suspected Injury, must be reported immediately to your
                 supervisor and to Human Resources. Failure to promptly report an injury may result in
                 disciplinary action.

           2.    Human Resources will issue an advisement for an Injured employee to take to the treating
                 medical practitioner. The employee must report to Human Resources by the next business
                 day.

           3.    After each practitioner appointment, the employee must report to their supervisor and
                 Human Resources to review their progress.

           4.    Four Six Services LLC provides light duty work for employees recovering from injury
                 (where applicable. Employees are required to return to light duty work immediately upon
                 release.

                                                                                                                    r
           5.    An accident investigation will be conducted to determine the root cause of the accident.
                 The injured employee will be asked to participate in the investigation.
(



                                                                                                                !
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 129 of 281




o          Safety Manual




       It is our goal to prevent work-related injuries from happening. We are always concerned when
       one of our employees is injured or falls ill due to a work-related condition. We believe that
       such absences cost both Four Six Services and our employees. We want our injured
       employees to get the best possible medical treatment immediately to ensure the earliest
       possible recovery and return to work.

       Four Six Services has a workers' compensation program available for employees who have
       suffered work-related injuries. The program's administrator will determine, based upon their
       guidelines, whether you are eligible for wage loss or medical expenses under that program.

       Four Six Services LLC wants to provide meaningful work activity for all employees who
       become unable to perform all, or portions, of their regular work assignment. Thus, we have
       implemented a Return to Work program, which Includes transitional or light duty work. The
       Return to Work program is temporary, not to exceed six months.


       Employee Procedures

            Ail work-related injuries should be reported immediately to your supervisor no later than
            the end of the shift on which the injury occurs.

r           If a post-accident drug screen is not performed the same day as the injury, the
            employee will only be paid up to one hour while taking time out to have the drug screen
            sample collected.
       -    You must complete and sign a Report of Injury or Illness form.
            When medical treatment is sought, the injured employee must advise their supervisor that
            they are seeking treatment and obtain a Return to Work Evaluation form. Regardless of
            the choice of physicians, the Return to Work form must be completed for each practitioner
            visit. Four Six Services will not accept a general note stating only that you are to be off
            work.
            Under this program, temporary light duty work is available for up to sixty (60) days (with
            a review of your progress every 30 days) while you are temporarily unable to work In your
            regular job capacity. Transitional or light duty work beyond sixty (60) days, up to a
            maximum of six (6) months, will be evaluated on a case-by-case basis.
            If you are unable to return to your regular job, but are capable of performing transitional
            duty, you must return to transitional duty. Failure to do so will result in your not being
            eligible for full disability benefits under the workers' compensation program and may
            result in disqualification for certain other employee benefits and, in some cases, be a basis
            for termination.
            Employees who are unable to work and whose absences Four Six Services approves must
            keep us informed on a weekly basis of their status. Failure to do so will result in a
            reduction In benefits available and discipline, up to and including termination from
            employment.
            If you are unable to return to your regular job or transitional duty, your absence must be
            approved under the Family Medical Leave Act (FMLA) program. For this purpose, you need
            to complete a Family Medical Leave Request form and submit it to the Human Resources
            Department. You must also have your practitioner complete both the Return to Work
            Evaluation form and Return to Work Request / Physician's Authorization form.

c


                                                                                                            :
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 130 of 281




    (       Safety Manual




              Employees who are not eligible for leave under FMLA must return to light duty or regular
              work if at all possible. If you are unable to return to any available work, your job position
              may be filled after a reasonable time. When able to do so, you will be entitled to return to
              a suitable position, if available and consistent with any limitations. However, you must
              keep us regularly informed of your status and any changes in your condition.
              Employees must provide a Return to Work form indicating they are capable of returning to
              full duty. Permanent restrictions will be evaluated on a case-by-case basis and relate to
              the performance of essential job functions. No permanent light duty positions will be
              created.
              Cooperate with our third-party administrator and provide accurate and complete
              information as soon as possible so that you receive all benefits to which you are entitled.
              If you have problems or concerns, please contact your supervisor and the Human
              Resources Department.




(v




(                                                                                                             i

                                                                                                              !
                                                                                                              i
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 131 of 281




    (       Safety Manual




                                    AcHm a;-,;-



            General Emergency Guidelines

               -     Stay calm and think through your actions.
               -     Know the emergency numbers:
                           o   Fire/Police/Ambulance 911
                           o   Internal Emergency Number: 214-603-4322
              -      If indoors, know where the exits are located.
              -      In the event of any emergency, do not take elevators; use the stairs.
              -     Do not hesitate to call or alert others if you believe that an emergency is occurring;
                    you will not be reprimanded if you act in good faith and it turns out to be a false
                    alarm.
              -     First aid supplies and emergency equipment are located inside all trucks for use by
                    those who are authorized and properly trained.              .


           Evacuation

                    Employees will be notified of a possible fire, either by the fire alarm system or by a
                    paged announcement.
C                    Upon becoming aware of a potential fire, employees should Immediately evacuate the
                    job site. Do not delay evacuation to get personal belongings or to wait for co-workers.
                    Supervisors should be the last persons to leave the area after checking the job site to
                    be sure that all personnel has evacuated.
                   Any employee having a mobility, visual, hearing or other condition that may hinder
                   them from becoming aware of an emergency or evacuating, should request special
                   assistance through Human Resources.
                   Upon exiting the affected area, all personnel should report for a head count.
                   If any employee is missing, an immediate report should be made to the incident
                   commander who will in turn report to the first available fire department officer.
                   Employees should stay together in a group so that periodic updates on the situation
                   can be issued.
                   The order to re-occupy a job site or building will be issued by the incident commander.

                   In the event of inclement weather, the incident commander will make arrangements
                   for all personnel to move to shelter.



          Fire Safety

                   Alert other persons In the immediate hazard area.
                   Activate a fire alarm or call 911
                   If you have been trained, you can decide to use a fire extinguisher following these
                   instructions:

                           P=Pull the safety pin
                           A=Aim the nozzle at the base of the fire
                           S=Squeeze the operating lever

c                          S=Sweep side to side covering the base of the fire
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 132 of 281




    }
            Safety Manual




                     * When using a fire extinguisher, always stay between the fire and an exit; stay low
                     and back away when the fire Is extinguished.
                     * Never feel that using a fire extinguisher is required. IF the fire is too hot, too
                     smoky or you are frightened, evacuate immediately.

                  Have someone notify the incident commander of where the fire is located. They will
                  relay this information to the fire department.


             Medical Emergency

              -   Upon discovering a medical emergency, call 911.
              -   Notify the supervisor and report the nature of the medical emergency and location.
              -   Stay with the person involved and careful not to come in contact with any bodily
                  fluids.
              -   Send two persons (greeters) to receive emergency responders. Often two fire
                  department units will arrive, so the second greeter should wait at the entrance to
                  receive the second unit while the first greeter escorts the fire department personnel to
                  the scene.
              -   Employees in the immediate vicinity of the emergency, but not directly involved,
                  should leave the area.
              -   Human Resources will make any necessary notifications to family members of the
                  person suffering the medical emergency.

(          Severe Weather

                  Facility management will monitor a weather alert radio.
                  Employees will be instructed where to go for safety and should proceed there after all
                  equipment has been shut down and secured. When the severe weather warning is
                  cancelled, management will notify employees that it is safe to return to work areas.




                                                                                                             I




c
                                                                                                             !
                                                                                          ;




                                                                                                             f
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 133 of 281




        (
                Safety Manual




               Employees and former employees who are, have been or will be exposed to toxic substances
               or harmful physical agents can access exposure and medical records maintained by Four Six
               Services LLC upon request.




    /
    \




i
V

                                                                                                           \
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 134 of 281




        Safety Manual




                     "OHh-                'MY!                  =i   • 1,1":^


       Employees with Motor Vehicle Records {MVRs) that violate the following standards may have driving
       privileges revoked. The employee will be considered for a driving position when the MVR improves.
       The criteria for acceptable MVRs are as follows:


            •   No more than 2 moving violations in any 12-month period.


            •   No more than 3 preventable accidents in any 36-month period.


            •   No restricted or suspended license in the past 12 months.


            •   No driving under the influence (DWi) convictions.


       When new employees are hired and drivers are selected, the following items will be considered by
       the fleet manager and the hiring supervisor:


       The applicant must have a valid driver's license that is the appropriate class for the vehicle driven.

       Employment application will be reviewed.


(      The MVR will be reviewed prior to hiring and at least annually thereafter to help identify deteriorating
       driving skills.

      A personal interview will be conducted.

       References will be checked to verify information on the application.

      A background investigation may be conducted.

      A drug test may be conducted.

      A physical examination may be required.

      Each applicant and driver should be given a written test, a yard test, or a road test.

      Each driver's driving performance and record will be included in the personnel file.




                                                                                                                      !




C
                                                                                                                  }
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 135 of 281




        !
                Safety Manual




                 K >£j          j/'"- :   H


                Bloodbome Pathogens

               Blood and other bodily fluids can carry pathogens, which are capable of causing diseases in
               others. This includes HIV, which leads to AIDS, and hepatitis. Because you cannot tell by
               looking at a person if they are infected with a pathogenic disease, you must take precautions
               following an illness or Injury when bodily fluids are released.

                       1.    In the event of a person losing bodily fluids, stay away from the area and warn others
                             to do so also. You can still stay close to the ill/injured person to support them, just be
                             sure to stay out of contact any bodily fluids.
                       2.    In the event that you find spilled bodily fluids, a syringe, or other medically
                             contaminated materials, do not attempt clean up by yourself. Call supervisor
                             immediately for instructions.


               Confined Spaces (also see Hydrogen Sulfide section)

               Petroleum storage tanks present a unique classification of confined spaces that require specific
               safe work practices. Confined space hazards can be a result of the presence of hazardous
               gases, vapors, fumes, cleaning chemicals, dusts or excessive heat or cold. Additionally, the
               creation of an oxygen-deficient or oxygen-rich atmosphere may cause serious injury or death.

    (          Therefore, only trained and authorized employees are permitted to enter petroleum
               storage tanks or other confined spaces.

               A permit is always required for entry. Authorized entrants are required to:
                   1. Know space hazards, including Information on the means of exposure such as
                      inhalation or dermal absorption, signs of symptoms and consequences of the
                            exposure;
                   2.       Properly use appropriate personal protective equipment;
                   3.       Maintain communication with attendants as necessary to enable them to monitor the
                            entrant's status and alert the entrant to evacuate when necessary;
                  4.        Exit from the permit space as soon as possible when:
                            a. Ordered by the authorized person;
                            b. They recognizes the warning signs or symptoms of exposure;
                            c. A prohibited condition exists; or
                            d. An automatic alarm is activated.
                  5.        Alert the attendant when a prohibited condition exists or when warning signs or
                            symptoms of exposure exist.


              If you believe that your job requires confined space entry and you are not trained, do not
              undertake the work. Contact your supervisor for approval.

              Crane and Hoist Operations
                                                                                                                               !
              Only trained and authorized personnel will operate cranes and hoists. The operator is
              responsible for the safety of other personnel and material in the area. They will communicate
              crane and hoist movement to others in the area who may be affected by sounding a warning
              signal when approaching personnel.
                                                                                                                           |
                  1.        Cranes will not be used to lift personnel unless the crane Is approved for that service
                            and an approved personnel cage or basket is used
(
                                                                                                                      ti
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 136 of 281




    (       Safety Manual




                  2.     Use only approved slings and lifting devices that you have inspected prior to use
                  3.     A suspended load will never be lifted over people
                  4.     Loads will be moved with fluid motions avoiding sudden accelerations or stops
                  5.     Do not use limit switches to stop crane or hoist motion: use the controls
                  6.    Test hoist breaks whenever lifting a load approaching maximum capacity: lift the load
                        a few inches and stop motion with the brakes
                  7.    If a load starts to slip or fall do not try to stop it: get to a safety area away from the
                        drop zone
                  8.    When two or more cranes are used in one lift, a qualified person will be in charge of
                        the operation
                  9.    A load will not remain suspended without the crane operator being at the controls

           Electrical Safety

                  1.    Turn all electrical appliances off before finishing your shift.
                  2.    Any electrical problems should be reported immediately.
                  3.    Electrical panels must remain clear and unobstructed at all times.



           Fall Protection

           All employees engaged in work 10 feet above the rig floor or other working surfaces and not
           protected by guardrail systems are required to wear a personal fall arrest system; inspect the
           harness and lanyards daily to ensure good working order.
(
           Fuel & Oil Transfers and Refueling

               1.      Always shut down hydrocarbon-fueled engines during refueling operations.
               2.      Always monitor fuel tanks while being filled to prevent overfill and spillage.
               3.      During refueling operations, the filling nozzle should be kept in contact with the intake
                       pipe to ensure bonding and prevent fuel spillage.

           Hydrogen Sulfide Gas (also see Confined Space section)

           Hydrogen Sulfide (H2S) gas is a serious health hazard and may be present in the work
           area. Therefore, you must be aware of the potential for presence of H2S and take special
           precautions. Our site is classified according to areas of potential and/or actual exposure
          to H2S. For general employees, instructions vary depending on the H2S gas present.
          Never enter an H2S area without proper training and authorization, and never rely on your
          sense of smell as a detection hazard. Four Six Services, LLC requires all employees to have
          H2S training and certification before going to location. Where H2S gas is present, all Four Six
          Services, LLC employees are required to wear H2S gas monitors.


              »        No Hazard Condition - No special restrictive actions required.
                       Low Hazard - Green flag alerts employees that a low hazard is present in                      i
                       indicated work areas.

                                                                                                                     }
                       Medium Hazard - Yellow flag alerts workers to keep a safe distance from
                       dangerous locations; workers should pay attention to audible and visual alarm
                       systems, and follow the guidance of the operator representative.


(
                                                                                                   ';U       I
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 137 of 281




    C'       Safety Manual




                       0        High Hazard - Red flag indicates workers are not allowed in the area without H2S
                                safety training; workers should pay attention to audible and visual alarm systems,
                                and follow the guidance of the operator representative.


            Hazard Communication

            All Four Six Services employees have a right to know what chemicals they work with, what the
            hazards are and how to handle them safely.

             1.        Material Safety Data Sheets (MSDS) are documents provided by the supplier of a
                       chemical. MSDS detail the chemical contents, associated hazards, and general safe
                       handling guidelines. At Four Six Services LLC, the MSDS collection is located at corporate
                       office. Employees are free to utilize the MSDS as needed.
            2.         All workers handling drilling fluid and additives are required to understand proper
                       handling and disposal methods, and personnel protection procedures.
            3.         General rules for handling chemicals are:
                           •   Read all label warnings and instructions.
                           •   Minimize contact with chemicals. Use double layer cloths or gloves to protect your
                                  skin and keep your face clear of the area to reduce inhalation.
                            •     Always wash your hands after handling chemicals.
                            •     If a chemical enters your eye(s) immediately hold open the injured eye(s) and
                                  rinse with clean, cool water for 15 minutes. Then be sure to report the injury
                                  Immediately.

(                           »     Any questions or concerns regarding chemicals should be reported to your Job Site
                                  Manager.



            Hearing Conservation

           Alt employees with a noise exposure at or above a Time Weighted Average of 85 dBA will wear
           company-provided hearing protectors for their entire shift while In areas with noise exposure
           at or above 85 dBA.
           How should this read?




           Hot Work (Welding/Cutting/Brazing)

                  1.       A Hot Work Permit will be completed whenever heat, flame or spark-producing work is
                           performed outside of an area designated for containing such fire hazards.
                  2.       Field welding shall not be permitted on tongs, elevators, bails or heat-treated rig
                           equipment.
                  3.       All personnel including those performing hot work, fire watch personnel and hot work
                           supervisors will be trained prior to assignment to hot work operations and fire watch
                           duties.
                 4.        Do not perform hot work in the presence of explosive atmospheres (gasses, dust,
                           vapor) or those that may develop Inside unclean or improperly prepared tanks or                  f
                           equipment, which previously contained flammable material or combustible dust
                 5.        For electrical arc welding activities:
                               a. Obey all signs posted in the welding area.
                               b. Use the welding screen to shield other employees from flying slag and intense
                                   light.
                                 c.   Do not perform welding tasks while wearing wet cotton or leather gloves.
                                 d.   Do not change electrodes with bare hands; use dry welder's gloves.


                                                                                                                 • sO



                                                                                                                        I
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 138 of 281




        Safety Manual




               6.           For portable grinders:
                            a. Do not use a portable hand held grinder with a wheel diameter larger than 2"
                                unless the grinder has a positive action switch to ensure the switch cannot be
                                 locked in the on position.
                            b.   Do not use a portable grinder if the grinding wheel guard Is missing.
                            c.   Do not clamp a portable grinder in a vice to use it as a bench grinder.


       Ladders
              1.     Face the rig ladder when climbing up or down. Maintain a three-point contact by keeping
                     both hands and one foot or both feet and one hand on the rig ladder at all times when
                     climbing up or down the ladder.
           2.        When using a straight or extension ladder, read and follow the manufacturer's
                     instructions label affixed to the ladder if you are unsure how to use it. Always extend the
                     top of the ladder at least 3 feet above the edge of the landing.
           3.        Do not carry items in your hands while climbing up or down a rig ladder or extension
                     ladder.


       Liquefied Petroleum Gas (LPG) and Compressed Gas
           1.        Only trained and qualified personnel are allowed to fill LPG bottles.
           2.        Always store, transport and use compressed gas cylinders in an upright position.
           3.        Where compressed gas cylinders are designed to accept valve protective caps, always
                     keep such caps on the cylinders at all times except when being filled or connected for
                     use.

          4.         Where gas-tight valve outlet caps or plugs are provided, always keep such devices on
(                    the valve outlet at all times except when the cylinder is being filled or connected for
                    use.
          5.        Remove from service containers that show denting, bulging, gouging or excessive
                    corrosion.
          6.        Use stoves and heaters used with LPG fuel in well-ventilated areas only.


      Lockouf/Tagout (LOTO)
      Prior to working on any machinery when guards are removed, every energy source (electrical,
      hydraulic, chemical, mechanical, etc.) must be deactivated, stored energy dissipated and the
      control locked in the off (safe) position. A lockout could consist of a lock applied to a control
      such as a switch, breaker or valve. A tag containing words such as "DANGER - DO NOT
      OPERATE" may also be used for lockout. If you see the lock, the tag or both applied to an
      energy control device it means, "Keep your hands off."
          1. Do not perform any maintenance, inspection, cleaning, adjusting or servicing of
               any equipment without following the company's lockout/tagout program.
          2. If required to work on powered equipment (hydraulic, electrical, air, etc.), you
               must have your personal padlock with your name on it and personal key on your
                    person at all times.
          3.        Disconnect and padlock all machine power disconnects in the off position before
                    removing guards for the purpose of working "ON" or "IN" the machinery or
                                                                                                                       I
                    approaching its unguarded parts.
         4.         Do not commence equipment repair or maintenance work until you have verified                       !
                    that the tagged/locked out switch or control cannot be overridden or bypassed.
         5.         Replace all guards before removing personal padlocks from the control.
         6.         Do not remove a lock from equipment unless you placed it there.
         7.         Before machinery is put back into use after LOCKOUT/TAGOUT, give a verbal
                    announcement or sound a warning to fellow employees.


                                                                                                                   t
(
                                                                                                                   f
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 139 of 281




    (       Safety Manual




           Machine Guarding

                  1.    Do not remove, alter or bypass any safety guards or devices when operating mechanical
                        equipment such as mechanical power presses, press brakes, metal working lathes, radial
                        arm saws, drills, horizontal mill, punch press or when bending or forming materials.
               2.       Replace guards before starting the machine, after making adjustments or repairing.
               3.       Do not wear loose clothing or jewelry on the worksite.
               4.       Read and obey safety warnings posted on or near any machinery.
               5.       Long hair must be contained under a hat or hair net, regardless of gender.


           Personal Protective Equipment (PPE)

           Inspect PPE prior to each use.        Do not use damaged PPE. You are required to maintain and
           keep PPE clean.

               a)       Safety Glasses - must be worn at all times in designated areas on the worksite.
              b)        Hard Hats - must be worn at all times In designated areas.
              c)        Gloves - work gloves must be worn at all times when handling sharp or rough stock,
                        welding, or performing other jobs, which could cause hand injuries. Synthetic gloves
                        must be worn when handling chemicals.
              d)        Welding - appropriate filter lens, welding helmet, gloves and sleeves are required for
                        welders at all times.
              e)        Respirators - only employees trained and authorized to use respirators are allowed to
                       do so.

C             f)
              g)
                       Hearing Protection - is required In areas where noise exposure is more than 85dBA.
                       Clothing - Do not work in clothing that is saturated with any flammable, hazardous or
                       irritating substance(s). Such clothing should be immediately removed and replaced
                       with suitable clothing after the affected skin area has been thoroughly washed and, if
                       necessary, treated.
              h)       Fire-Resistant Clothing - Is required of any employee involved in drilling, servicing and
                       production-related operations who could be at risk of a flash fire.



           Portable Fire Extinguishers

              1.       Only trained personnel are authorized to use a portable fire extinguisher.
              2.       Training will be conducted at the time that the employee is authorized to use fire
                       extinguishers and will be repeated annually for all authorized personnel. Training will
                       consist of classroom training supplemented by hands-on training where necessary. In
                       all cases, employee safety will be stressed over property conservation.


          Poyver and Hand Tool Safety

              1.       Do not use power equipment or tools that you have not been trained on.
             2.        Before using power and hand tools, make sure they are clean, sharp and the safety
                       guards are in place.
             3.        To avoid electric shock, do not handle or operate electrical tools when your hands are
                       wet or when you are standing on a wet surface.
             4.        Always tag worn, damaged or defective tools "Out of Service" and do not use them.
                                                                                                                       !
             5.        Do not perform "make-shift" repairs to tools.                                                   i
             6.        Transport hand tools only in toolboxes or tool belts. Do not carry tools in your hand or
                       clothing when climbing.
             7.        Do not leave tools that are "on" unattended.
(                                                                                                                      i

                                                                                                     • i •   ' ; i •
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 140 of 281




    r       Safety Manual




                    8.    Disconnect the .tool from the outlet by pulling on the plug, not the cord, and always store
                          tools In their proper place.
                    9.    Do not continue to work if your safety glasses become fogged; stop work and clean the
                          glasses.

            Powered Industrial Trucks (Forklift Safety)

            Only employer-authorized and trained personnel may operate forklifts. It is the driver's
            responsibility to not exceed the forklift lift capacity, obey all traffic rules and adhere to all forklift
            safety rules.
                1.        Do not raise or lower a load while you are in route.   Wait until you are in the loading area
                          and have stopped before raising or lowering the load.
                2.        Sound the horn when approaching blind corners, doorways or aisles to alert other
                          operators and pedestrians.
                3.       Do not exceed a working speed of five miles per hour and slowdown In congested areas.
                4,       Stay a  minimum distance of three fork truck lengths from other operating mobile
                         equipment.
                5.       Do not use bare forks as a man-lift platform.
               6.        Do not drive the forklift while people are on an attached aerial lift platform.
               7.        Lower the forks completely, turn off the engine and set the parking brake before leaving
                         your forklift.



           Respiratory Protection
    C
               1.        Do not perform operations requiring respirators unless you have been approved for use of
                         respirators, fitted and trained on the company's respiratory protection program.
               2.        Inspect respirators for cracked or worn parts before and after each use, and after
                         cleaning,
               3.        Do not work in an area that requires the use of respiratory equipment if you fail to obtain
                         a tight seal between the respirator and your face.
               4.        Clean and sanitize respiratory equipment according to manufactures recommendations
                         after each use.
               5.        Store respiratory equipment in a clean and sanitary location.




                                                                                                                              i




c                                                                                                                         !

                                                                    I                            :\i
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 141 of 281




    f i




             Fire Prevention
                    1.    Smoking is permitted only in areas designated for smoking.
                 2.       Potential sources of ignition are permitted only in designated areas located at a safe
                          distance from the wellhead or flammable liquid storage areas.
                 3.       Keep equipment, cellars and ground areas around and adjacent to the facility free
                          from oil and gas accumulations.
                 4.       Dispose of combustible materials such as oily rags and waste in covered metal
                          containers and the covers kept in place.
                 5.       Do not use natural gas or liquefied petroleum gas to operate spray guns or pneumatic
                          tools.



             General Housekeeping

                1.        Keep your work area clean and free of debris and tripping hazards.
                2.        Clean up spills promptly to avoid slipping hazards.   Use caution signs or cones to
                          barricade slippery areas.
                3.        Do not block or obstruct stairwells, exits or accesses to safety and emergency equipment
                          such as fire extinguishers or fire alarms.
(               4.        Do not block the walking surfaces of elevated working platforms, such as scaffolds, with
                         tools or materials that are not being used.
                5.       Return tools to their storage places after using them.



            Lifting

                1.       When lifting, it's important to plan the move before lifting and ensure that you have an
                         unobstructed pathway.
                2.       First, test the weight of the load. If the load is too heavy or bulky, use a hand trucks or
                         get assistance from a co-worker. If assistance is required to perform a lift, coordinate and
                         communicate your movements with those of your co-worker.
                3.       To lift properly:
                             a.    Face the load and position your feet 6 to 12 inches apart with one foot slightly In
                                   front of the other.
                             b.    Bend at the knees, not at the back.
                             c.    Hold the object as close to your body as possible.
                             d.   While keeping the weight of the load In your legs, stand to an erect position,
                                   keeping your back straight.
                             e. Perform lifting movements smoothly and gradually; do not jerk the load.
                             f.   If you must change direction while lifting or carrying the load, pivot your feet and
                                  turn your entire body. Do not twist at the waist.
               4.        Set down objects in the same manner as you picked them up, except in reverse.
               5.        Never lift anything if your hands are greasy or wet. Wear protective gloves when lifting
                         objects that have sharp corners or jagged edges.




            Slip, Trip and Fall Prevention

(
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 142 of 281




    (   i




               Be aware of the slipping and falling hazards when working on the drilling floor or servicing rig
               floors or other platforms, The following are means to either prevent slips, trips and falls or to
               minimize the consequences if they should happen.


                         1.   Keep aisles and walkways clean and free of debris.
                         2.   Keep ail cords and hoses orderly and clear of walking spaces.
                         3.   Cover open cellars.
                         4.   Conduct a pre-job inspection to identify, then eliminate or correct hazardous work
                              surfaces.
                         5.   Wear waterproof footgear to decrease slip/fall hazards.



               Heat- Related Illnesses
                    1.    Wear loose, light colored clothing and a hat.
                2.        Adapt to working in hot conditions gradually, avoid over-exerting yourself during peak
                          temperature periods.
                3.        Drink water frequently— at least eight ounces every 20 to 30 minutes. Stay away from
                          liquids containing caffeine, as they tend to increase urination, which causes rapid
                          depletion of body liquids.
                4.        Watch for the following signs and symptoms of heat-related illnesses:
                                 a.    Heat cramps - Severe muscle spasms In the back, stomach, arms and legs,
                                       which are attributed to the loss of body salt and water during periods of

(                                      heavy perspiration.
                                 b.    Heat exhaustion - Heavy sweating, cool or pale skin, nausea, headache,
                                       weakness, vomiting and fast pulse,
                                 c.    Heat stroke - High body temperature, minimal sweating, red and dry skin,
                                       rapid breathing and pulse, headache, nausea, vomiting, diarrhea, seizures,
                                       confusion or unconsciousness.
                5.       Treat heat illness as soon as possible by doing the following:
                                 a.   Heat cramps - Move to a cooler area and drink approximately six ounces of
                                      water every 15 minutes. Follow up with a medical examination.
                                 b.   Heat exhaustion - Move to a cooler area and lie down with your legs slightly
                                      elevated. Cool your body by fanning and applying cool, wet towels and drink
                                      approximately six ounces of water every 15 minutes. Follow up with a
                                      medical examination.
                                c.    Heat stroke - Call 9-1-1 immediately. Move to a cooler area, remove your
                                      outer clothing, immerse yourself in cool water or apply cool, wet towels or
                                      cloths to the body. Do NOT drink liquid, and wait for emergency personnel to
                                      arrive.


              Cold Weather Illnesses
               1.         Exposed skin freezes within one minute at -20°F when the wind speed Is five miles
                         per hour (mph), and will freeze at lO^F If the wind speed is 20 mph. When skin or
                         clothing is wet, injury or illness can even occur at temperatures above freezing (32° F).
                         When the body is unable to warm itself, hypothermia and frostbite can set in, resulting
                         in permanent tissue damage and even death.
               2.        Watch for the following signs of cold-related illnesses:

                                a.    Uncontrollable shivering
                               b.     Slurred speech
(
                                                                                                              i




                                                                                                                     !
             Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 143 of 281




        ("

                             c.   Clumsy movements
                             d.   Fatigue
                             e.   Confused behavior
                  3.   Layer clothing to keep warm enough to be safe, but cool enough to avoid perspiring
                       excessively.
                             a.   Inner layer - synthetic weave to keep perspiration away from the body.
                             b.   Middle layer - wool or synthetic fabric to absorb sweat and retain body heat.
                             c.   Outer layer - material designed to break the wind and allow for ventilation.
                  4.   Wear a hat to avoid losing almost 40 percent of your body heat.
                  5.   Place heat packets in gloves, vests, boots and hats to add heat to the body.
                  6.   Watch out for the effects of cold temperatures on common body functions such as:
                            a.    Reduced dexterity and hand usage
                            b.    Cold tool handles reducing your grip force
                            c.    The skin's reduced ability to feel pain in cold temperatures
                            d.    Reduced muscle power and time to exhaustion




    (




                                                                                                                  I

(                                                                                                                 f
                                                                                            ;    ; i . . u
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 144 of 281




    (



            haffify Manual                           ne           fniplny

            Four Six Services LLC is firmly committed to your safety. We will do everything possible to prevent
            workplace accidents and are committed to providing a safe working environment for all of our
            employees. We value you not only as an employee but also as a human being critical to the success
            of your family, the local community and Four Six Services, LLC. You are encouraged to report any
            unsafe work practices or safety hazards encountered on the job. All accidents/incidents (no matter
            how slight) are to be immediately reported to the supervisor on duty.

           A key factor In Implementing this policy will be a strict compliance with ail applicable federal, state,
           local and Four Six Services policies and procedures. Failure to comply with these policies may result
           In disciplinary action. Respecting this, Four Six Services will make every reasonable effort to provide
           a safe and healthful workplace that is free from any recognized or known potential hazards.
           Additionally, Four Six Services LLC subscribes to these principles:

           1.   All accidents are preventable through implementation of effective safety and health control
                policies and programs.

           2.   Safety and health controls are a major part of our work every day.

           3.   Accident prevention Is good business. It minimizes human suffering, promotes better working
                conditions for everyone, holds Four Six Services in higher regard with customers and increases
                productivity. This is why Four Six Services, LLC will comply with all safety and health
                regulations which apply to the course and scope of operations.
    C
           4.   Management is responsible for providing the safest possible workplace for employees.
                Consequently, management of Four Six Services Is committed to allocating and providing all of
                the resources needed to promote and effectively implement this safety policy.

           5.   Employees are responsible for following safe work practices, company rules and for preventing
                accidents and injuries. Management will establish lines of communication to solicit and receive               !
                comments, information, suggestions and assistance from employees where safety and health
                are concerned.


           6.   Management and supervisors of Four Six Services will set an exemplary example with good
                attitudes and strong commitment to safety and health in the workplace. Toward this end,
                management must monitor the company's safety and health performance, working environment
                and conditions to ensure that program objectives are achieved.             ••-J"*-


                                                                                                                          l
          7.    Our safety program applies to all employees and persons affected or associated in any way with
                Four Six Services operations. Everyone's goal must be to constantly improve safety awareness              i
                and to prevent accidents and injuries.

          Everyone at Four Six Services must be involved and committed to safety. This must be a team
          effort. Together, we can prevent accidents and injuries and keep each other safe and healthy in the
          workplace.                                                                                                      I
          By signing this document, I confirm the receipt of Four Six Services 's employee safety handbook. I
          have read and understood all policies, programs and actions as described, and agree to comply with
          these set policies.




                                                                                                                      \

          Employee Signature                                                    Date
(
\
                                                                            !
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 145 of 281




   Fleet Safety Policy
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 146 of 281




            Fleet Safety Policy




           The management of Four Six Services LLC considers safety and accident prevention to be one of
           our highest priorities in all areas of operation, including fleet vehicle safety. Since most vehicle
           accidents are caused by driver error, one of our goals is to employ only drivers who have a safe
           driving record and to ensure that they drive defensively. We also intend to make sure that vehicles
           are kept in safe operating condition and are regularly inspected. Should an accident occur,
           Management will ensure that the circumstances of the accident are thoroughly investigated, and that
           a determination is made as to whether the accident was preventable on the part of the Four Six
           Services LLC employee. Employees involved in a preventable or an at-fault accident will be subject
           to disciplinary action, including the suspension of driving privileges and termination.




           We have a responsibility to our clients, our employees, and the general public to ensure that our
           vehicles are always in safe operating condition and driven only by licensed, qualified, safe drivers.
           This Fleet Safety Program is intended to meet our responsibilities and explain to all drivers and other
           employees the specific duties and responsibilities that each of us has regarding fleet vehicle safety.




    (
                                                           Matt Trissel
                                                           President, Four Six Services, LLC




(
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 147 of 281




    (   )
                 Fleet Safety Policy




                                                      A
                                                                   Aa jHiy




                Responsibility for Fleet Vehicles

                The President of Four Six Services LLC is the designated Fleet Manager responsible for
                administering the Fleet Safety Program. As such, the Fleet Manager will be responsible for the
                vehicles and drivers that are assigned to each vehicle. The Fleet Manager's duties will include, but
                not be limited to:


                        Evaluating the background and driving records of all drivers to ensure that the data meets
                        the company's criteria for driver qualification. The Fleet Manager will review drivers' motor
                        vehicle records (MVR) when they are hired and once a year thereafter The criteria for a
                        qualified driver includes:

                        o    No serious moving violations such as a DWI conviction, hit and run, vehicular manslaughter, or
                            other vehicle felony in past 7 years


                        o    No more than two citations for a moving violation in past 3 years

                        o   No more than one accident within the previous three-year period.
(
                    •   Ensuring that drivers inspect their vehicles regularly and that all repairs are made in a timely
                        fashion. Drivers must inspect their vehicles every day before making road trips. Once a
                        month, they must inspect their vehicles using the Vehicle Condition Report.

                        Investigating all vehicle accidents and completing the appropriate accident investigation
                        forms and documentation.

                   •    Ensuring that all drivers are trained in defensive driving. Drivers who are involved in a
                        preventable accident while operating a company vehicle or while operating their own
                        vehicles on company business must complete an approved defensive driving course. The
                        driver must complete the course within 30 days of when the company determined the
                        accident was preventable.

                        Ensuring that company vehicles are used only for company business and that no personal
                        or unauthorized use of the vehicles is permitted.




               Vehicle Custodian Duties and Responsibilities




               Each fleet vehicle will have an assigned vehicle custodian who will normally be the primary operator
               of that vehicle. The vehicle custodian will have primary responsibility for the safe operating condition
               of the vehicle assigned to him/her. The vehicle custodian will be required to conduct a monthly
               vehicle condition inspection using the checklist form contained in this manual, and to keep these
               inspection forms on file for at least six months after completing them. The vehicle custodian is
(
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 148 of 281




        Fleet Safety Policy




        responsible for ensuring that the required state inspection is completed before the annual expiration
        date. The custodian must immediately notify the fleet manager if the vehicle is unsafe. The
        custodian must remove the vehicle from service until the necessary repairs have been made.


        Each employee of Four Six Services LLC, who is authorized to drive on company business, whether
        in a personal vehicle or fleet vehicle, is also responsible for vehicle safety. The Four Six Services
       LLC requires all drivers to maintain a current driver's license and a driving record that meets the
       criteria contained in this policy. All drivers must comply with the accident reporting procedures
       contained in this policy, and they must conduct a pre-trip inspection on any fleet vehicle before
       leaving the property of Four Six Services.

       Drivers of company vehicles must also comply with the following provisions:

                All vehicles must be properly checked out and signed out, along with the credit card (if
                applicable) for gasoline purchases.


                The driver must wear a seat belt at all times and make sure that all passengers wear their
                seat belts as well.

            •   Drivers are expected to operate vehicles in a manner consistent with ail applicable laws and
                regulations and to follow the vehicle safety rules contained in this policy.

       Four Six Services LLC employees who operate their privately owned vehicles on company business
(      are responsible for complying with state laws regarding liability insurance for that vehicle.
       Employees who transport clients in privately owned vehicles must carry proof of liability insurance in
       the vehicle and must also have a copy of the current liability insurance certificate on file in the office.
       Drivers must promptly report any accident that occurs while operating a privately owned vehicle on
       company business to the fleet manager.

       No drugs, alcohol, weapons, etc. allowed in any company vehicle at anytime

       No texting or non-voice use of cell phones while vehicle is in motion.




                                                                                                                         i




(



                                                                                                                     !
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 149 of 281




       Fleet Safety Policy




       It is important to train new drivers to ensure that they know their responsibilities and duties, understand how
       to operate the equipment safely, realize what is expected of them, and ensure that they understand the
       company's safety policies. Training may take place in a classroom, in the yard, on the job, or on the road.
       The fleet manager will ensure that all training is documented.

       Remedial training will be provided to those drivers with poor driving performance records.

       Training topics will include, but not be limited to:

                Importance of wearing seat belts


                Dangers of driving while under the influence of drugs or alcohol

                Dangers of texting and distracted driving

                Traffic laws and regulations

                Emergency procedures - What to do in the event of an accident

                First Aid

C               Proper backing techniques

                Proper passing procedures


                Reporting accidents

                Vehicle maintenance


                Proper loading and unloading of vehicles




(
                                                                    ;'Jv»   i
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 150 of 281




 o       Fleet Safety Policy




        Motor vehicle fleets require regular safety inspections and maintenance to keep the equipment
        operating safely and efficiently. The fleet manager will ensure that all assigned drivers complete a
        monthly inspection checklist of their vehicles. If the inspection indicates a deficiency or a component
        in need of repair, this should be brought to the attention of the fleet manager immediately.
        Depending on the severity of the problem, the vehicle may be taken out of service until repairs can
        be made.

        Drivers should make daily pre-trip inspections of their vehicles, focusing on key areas such as tires,
        mirrors, lights, glass, wiper blades, horn, gages, fluid levels, brakes, emergency equipment, etc.
        These daily pre-trip inspections do not need to be documented.

        The fleet manager may, at his discretion, conduct unannounced spot inspections of vehicles.




c




c
                                                                                                          i -
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 151 of 281




    c        Fleet Safety Policy




            I.       Purpose

            The purpose of incident and accident investigation can be defined by one word -"Prevention," Incident and
            accident investigation should be viewed as an opportunity to correct problems, not find fault or place blame.

            Only when all incidents are reported and investigated (major, minor, as well as non-injury incidents) can we
            identity the causes and take corrective action to prevent their recurrence.

           It is the policy of Four Six Services that all incidents and accidents be reported and investigated promptly. This
           incident and accident investigation program will provide an opportunity for management to evaluate and correct
           deficiencies found within the safety process.

           The depth of the investigation should not be determined by the severity of the injury or the amount of financial
           loss, but rather by the potential severity and the probability of recurrence of the accident or near miss (both to
           the employee and to the equipment).

           II.      Responsibility

           The Fleet Manager will be responsible for administering the incident investigation program. The Fleet Manager
           will ensure that all incidents are promptly reported and investigated. The Fleet Manager will participate in or
           review every incident investigation. The Field Supervisor will be responsible for investigating incidents and
           making suggestions for corrective action.
(
           Hi.      Interview Process

          Interviewing accident/injury victims and witnesses can be a difficult job if not handled properly, interview
          employees as soon as possible, while the incident Is fresh in their minds. If you wait too long, victims/Witnesses
          will have time to rationalize what might have happened.

          The individual being interviewed often is fearful and/or reluctant to relate all the facts about the accident. Many
          employees believe incident investigations are faultfinding missions rather than fact-finding missions. The
          investigation should focus on identifying unsafe acts and conditions.

          Definitions

          Your investigations should focus on finding the root cause of the accident, not placing blame. Always determine
          what happened and why. Was the incident preventable? This will help you prevent similar incidents.

          Reportable Accident- Any accident involving a company vehicle that results in death, bodily injury or property
          damages. An accident is reportable regardless of who was hurt, what property was damaged or to what extent,
          where it occurred, or who was responsible.

          Preventable Accident - Any reportable accident in which the driver failed to exercise every reasonably
          possible precaution to avoid the accident.      Responsibility for the accident goes beyond observing traffic
          rules and regulations.    A fair and proper determination can only be made after conducting a thorough
          accident investigation.

          Responsibility For Accident -The responsibility for accidents is based on whether the accident
          was preventable, not on who was at fault.




(
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 152 of 281




    c   ;       Fleet Safety Policy




                   KEY QUESTIONS THAT MUST BE ASKED ANDAN8WERED IN CONDUCTING AN ACCIDENT
                                                              INVESTIGATION
                                         Hi;
               WHO:                 «    Was Injured?
                                         Saw the accident?
                                   «     Was the supervisor/manager at the time of the accident?
                                         Was working with the person Involved?
                                         Else was Involved?
                                   »     Instructed the employee?
                                   «     Trained the Injured employee?
                                   »     Assigned the employee to the job or task?
                                   *     Can help with the job to prevent a recurrence?


               WHAT:            »        Was the accident type?
                                »        Was the type of Injury?
                                »        Part of the body was Injured?
                               »        Job or task was the employee performing?
                               «        Was the employee told to do?
                                        Tool was the employee using?
                               «        Machine or equipment was Involved?
                               «        Instructions did the employee receive?
                                        Specific precautions were necessary to do the job?
(                           »           Specific precautionary instructions were given?
                            *           Protective equipment was used?
                            *           Protective equipment should have been used?
                            *           Protective equipment was available?
                            *           Problems or questions were encountered?
                            »           Did the employee or witness do when the accident occurred?
                           *            Extenuating circumstances were Involved?
                           »            Did the employee or witness see?
                           «            Will be tfone to prevent recurrence?                       -
                           >            Safety riites were vldlated?     :       yyy- :       r
                           «            New rules are needed, If any?


              NOTES:




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 153 of 281




    (         Fleet Safety Policy




             WHEN:                      Did the accident occur?
                                   «    Was the employee hired?
                                   «    Did the employee start the Job/task?
                                   *    Were the specifics of the Job/task discussed with the employee?
                                   «    Were hazardous conditions discussed with the employee?
                                   «    Did the supervisor last check on the employee's progress?
                                   *    Will the hazardous situation be corrected?       ;
                                   *    Will the employee return to work?


          I wmornernsssiammm

          [ WHERE:             «        Did the accident occur?
                               «       Was the employee at the time of the accident?
                               «       Was the supervisor/manager?
                               «       Were the other people that were Involved in the accident?
                               *       Were witnesses when the accident occurred?


            WHY:               •       Was the employee injured?
                       ua


                               *        Did the employee do whatever contributed to the accident?
                                       Qf another employee was Involved.)
                               *       Wasn't protective equipment used?
                               *       Was the employee In the position hefehe was in?
                               «       Was the employee using the tools/equipment/machine?
c          HOW:                «       Was the employee Injured?
                               *       Could the accident have been avoided?
                               »       Could the other employeefs) have helped prevent the accident?
                               *       Could the supervisor/manager have prevented the accident?


           NOTES:




                                                                                                          I




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 154 of 281




C '        Fleet Safety Policy




          "GENERAL:   | «   Was protective equipment available?
                        •   Were specific instructions given?
                        *   Were specific Instructions followed?
                        »   Was equipment/toois/machine defective?
                       «    Was the defective condition reported?
                       *    Did the employee continue working with the defective equipment?
                       *    Did the employee continue working under the circumstances that led to the
                            accident?
                       »    Were safety procedures followed?


           NOTES:




(   i




                                                                                                        r

                                                                                                        l
                                                                                                        !


                                                                                                        I




o
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 155 of 281




    (   ;
                Fleet Safety Policy




                                           \r$hb.-\& % ivs*ty FiMU : •

                             •     All occupants must wear safety belts whenever you are in a moving vehicle. Medical exceptions
                                   must have a doctor's note.


                             •     Be constantly aware of traffic, road, and weather conditions.


                             •     When driving, always keep your eye on the road and your mind on driving,


                             •     Stay at least four seconds behind the vehicle In front of you.


                         •        Pass on the left, but only where it Is permitted and where you can see enough clear space to pass
                                  comfortably.

                         *        Be especially alert in heavy traffic. Watch for sudden stops, debris, construction, potholes, and
                                  cars passing or moving in and out of lanes.


                         •        Constantly check rearview mirrors and side mirrors for approaching traffic.


                         •        Come to a complete stop at stop signs.


                         •        Comply with applicable federal, state, and local laws and minimum requirements, including posted
                                  speed limits.

C                    •            Always yield the right-of-way.


                     •            Use windshield wipers, lights, and defroster when driving In the rain.


                     •            Turn on headlights when driving during periods of limited visibility or adverse weather conditions
                                  such as rain, sleel, snow, ice, or fog.


                     •           Always expect the other driver to do the unexpected.


                     •           Do not overload vehicles with material or passengers.

                     •           Drivers are responsible for making daily inspections of company owned vehicles before they are
                                 placed into use.

                 •               All vehicle parts that need repairs will be reported immediately. No vehicle will be driven unless it is
                                 safe and road-ready.

                 •               Consumption of alcohol or drugs before and during the operation of a vehicle is strictly prohibited.


                 •               All Incidents and accidents must be reported Immediately to management.

                 •               No unauthorized passengers or hitchhikers are permitted. No one may ride on top of any vehicle.

                 •               Any employee who operates a vehicle on company business frequently or occasionally is required
                                 to report any suspension or revocation of their license to their supervisor.

                                 Employees must carry their current state driver's licenses when operating company vehicles.
                                 Employees with suspended or revoked licenses will not be allowed to operate vehicles.



(
                                                                                          :   . • <   • ;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 156 of 281




    c      Fleet Safety Policy




                 *   When stopping behind a vehicle in traffic, leave enough space In front of you that you can see the
                     other vehicle's back tires on the road.


                     Avoid backing up if at all possible. If you have to back up, Inspect the area first.


                     Slow down, and watch for cross traffic at uncontrolled intersections and/or intersections with yield
                     signs.


                     Stop, look and listen for trains at all unguarded railroad crossings.


                     Slow down and/or slop at railroad crossings with limited visibility.

                     If a train is visible, wait until the train has passed or come to a complete stop before proceeding
                     over the tracks.


                     Never stop a company vehicle on or within fifteen feet of railroad tracks. Stop at (east 15 feet from
                     the tracks.                                                              .


                     Personal use of company vehicles is prohibited unless specifically authorized by management.

                     Unauthorized persons will not be allowed to drive or operate a company owned vehicle.

             •       No Texting or other non-voice us of cellphones, tablets, etc. while vehicle is in motion.



c




(
                                                                                                                       \v
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 157 of 281




    I       Fleet Safety Policy




           1) Remain At The Scene

           Do not move the vehicle unless it presents a safety hazard to others or appropriate authorities tell you to. If
           someone is injured, call for medical aid, and notify the company office immediately. Warn other motorists,
           and place flares, cones, or warning signals as appropriate.



           2) Report The Accident To The Appropriate Authorities


           Report any accident involving injury or significant damage to the nearest police officer. When you cannot
           leave the vehicle or get to a telephone within a short distance, ask a passing motorist to call.

           3) Gather Accident Information


           Complete the information in the driver's accident information kit. Draw a complete diagram of the accident
           scene, showing streets and vehicles. Give no information at the scene of the accident (except to the
           appropriate authorities), and sign no papers for anyone except police.      If the driver of the other vehicle
           leaves the scene or is uncooperative, you must, at a minimum, obtain the vehicle license plate number and
           a description of the vehicle, driver, and any passengers.

          4) Obtain The Names, Telephone Numbers, And Addresses Of All Witnesses

(         5) Call Your Immediate Supervisor:


          Report the accident to your supervisor before you leave the scene. Your supervisor may ask you for more
          information about the accident scene.




(
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 158 of 281




o       Fleet Safety Policy




                            DRIVER'S REPORT OF VEHICLE ACCIDENT
                                                                                        1
      I incident Pate:                                 icidentTlme:           AM / PM


                         Follow these Instructions if you have an accident:

       1. Stop immediately, but do not block traffic.
       2. Call for immediate aid for anyone who appears injured.
       3. Call the police.
       4. Call your supervisor.
       5. Gather information necessary to complete this form.
       6. Do not accept claim settlement.
       7. Do not admit liability to anyone.
       S. File a written report with your supervisor that includes the police report.


       INJURED:               7f Circle: Our Driver/Other Car/Pedestrian
       Name:
       Address:
C      Phone:
       Nature of Injury:
       Hospital Taken To:
      INJURED:                   Circle: Our.Driver/Other Car/Pedestrian

      Name:
      Address:
      Phone:
      Nature of Injury:
      Hospital Taken To:
      POLICE REPORT:
      Officer:
      Badge Number:


      Citation Issued:          Yes                 No
      Type of Violation:


      WITNESS:
      Name:
      Address:
      Phone:
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 159 of 281




        Fleet Safety Policy




        WITNESS;
        Name:
       Address:
       Phone:
       WITNESS:^ r        p
       Name:
       Address:
       Phone:

                                      i j — r essssa


       YOUR VEHICLE:
       License Number:
       Vehicle Number:
       Make/Yr:
       Driven By:
       Department:
       Supervisor:
       Damage:
       OTHER VEHICLE:
(      License Number:
       Make/Yr:
       Driver:


       Address:
       Phone:
       nsurance

       Company:                                                                              S
       3olicy Number:
       Expiration Date:
      Agent/Address
       Damage:                [   _                                                      I
       Diagram What Happened:                                  Indicate North:           !




                                                                                     5

      Completed By:

I
                                                       v. ,?        j    • j I •>/
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 160 of 281




c       Fleet Safety Policy



                                   ""COMPANY**
      [               VEHICLE ACCIDENT INVESTIGATION REPORT


        Driver:                            Agii
        Location:

        Time:                              Date;
        Job:                               Length of time on this job:


        Describe accident;




       Why did the accident happen?


C

               ana



       Describe injury:                                                                        I


                                                                                           !


       Could the company driver have
       prevented this accident?


       Recommended corrective action:

                                                                                       I


       Follow- up: Has corrective action
       been completed?
                                                                                       I
       Explain:



       Investigated by:
       Date:
       Reviewed by:
      Date:


                                                                  : Hal   '=; ! >< 1
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 161 of 281




    (
           Fleet Safety Policy




                                                fr   •;                    •              i




           f have read, been trained in, and understand the fleet safety program. I
           agree to follow the rules it contains. I also understand that failure to
           comply with this program could result in disciplinary action, up to and
           including termination.




           Employee: (Print)



           Employee Signature:



          Date:



    C




                                                                                      l




                                                                                      f




C
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 162 of 281




                Fleet Safety Policy


                 VEHICLE CONDITION REPORT
                 Driver                                              Date
                Vehicle No.                                          Mileage
                              Item              Gopd        Needs      Comments
                                                Condition   Repair     '
                Backup Alarm

                Battery
                Body

                Bumpers

                Brakes

                Parking Brake

                Clutch
                Defroster/Heater
                Engine

                Exhaust
                Fuel Tank

                Horn
                Lights - Dash
                          Headlights

                          Taiilights
    c                     Brake Lights

                          Turn Signals

                          Flashers

               Mirrors
               Muffler

               Oil & Fluids
               Safety Equip - Fire Ext.

                                First Aid Kit
                                Flares

                                Jack
                                Seat Beits

                                Spare Tire
                                                                                           i
               Suspension

               Steering

               Tires

               Transmission

               Wheels & Rims
               Windows
               Windshield Wipers/Fluid

               Other
               Signature;

                                                                                  ii   —



i       )
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 163 of 281




r      Fleet Safety Policy




       Communicate with all employees by letting them know how well they are doing
       safety wise. How many accidents have occurred? Are they meeting the fleet
       safety goals? You can keep records on individuals by location and company
       wide.


       Compare your accident rates with previous years, national averages, etc.           You
       can use the following formulas to evaluate your safety efforts:

       Annual Vehicle Accident Frequency per 1,000,000 Miles

             Multiply the annual number of accidents by 1 ,000,000 miles, and divide
             that total by the actual yearly mileage.

             Accident Frequency = Annual number of accidents X l.OOO.OOO mifes
                                         Annual Miles Driven



       Annual Vehicle Accident Loss Rate

c            Divide gross revenue for one year by the total dollar losses in vehicle
             accidents for that year.

             Vehicle Accident Loss Rate =            Annual gross revenue
                                         Annual dollar losses from vehicle accidents



      Annual Accident Rate Per Driver

             Divide the total number of accidents for one year by the total number of
             drivers.

                                                                                                     I
            Accident Rate = Total number of Accidents
                              Number of Drivers



      Annual Employee Injury Loss Rate
                                                                                                 I
            Employee Injury Loss Rate =             Annua! gross revenue
                                        Annual dollar iosses from employee injuries              I

                                                                                                 I



                                                                               =   i" ;   ,»V>
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 164 of 281




   Appendix
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 165 of 281




    (       At:>$iic&tk)-n for Uo-onnooy snoot                                          fkrlfe: y5 ? j-?'iv^

           To be submitted no later than                        days (depending on length of military leave)
           following completion of military service.

           Date:


           Name:


           Applying for (position):

           Please accept this as my application to return to the position listed above as soon as possible.
           Attached is documentation verifying my dates of leave for                          (division of military
           service) and my honorable discharge.




           Employee Signature




           FOR HUMAN RESOURCES USE ONLY:

           Date Received:

           Approved:     Date of re-employment:


C          Denied:


           Reason for denial:




           By:




(
                                                                                                    r


                                            '                                                   /
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 166 of 281




    f:
             Name:                                                              Department:


             Position Title:                                                                            Phone:


             Street Address:


             City:                                                              State:                      Zip:


             School:


             Program/Degree Sought:                                                           Est. Completion Date:


             Educational Goals:




             Describe how this program/degree will benefit both you and the Company (use the back of this form if
             necessary):



            Course Name/Number:                  Cost:          Book Cost:      Start Date:        End Date:          CE Credits:




            This application is submitted In accordance with and subject to the Company's Educational Assistance policy. I
    C       hereby certify that I am not receiving financial assistance for this course from any other source. I have read the
            conditions explained in the policy and agree to abide by lhem. I also agree to the payback provisions set forth in
            the Educational Assistance Guidelines, including authorization for the Company to deduct from my payroll any
            monies due the Company. The following Items are attached:

               Tuition Receipt        Book Receipts       Grade Report         Continuing Education Certificate of Completion

            Signature:                                                                         Date:


            Upon completion of this application, forward to your manager or Human Resources for approval.

            TO BE COMPLETED BY HUMAN RESOURCES AND A MANAGER AUTHORIZED TO APPROVE:

            I support this educational reimbursement.

            Signature:                                                                        Date:


            Upon approval of this application, forward to Human Resources for review, tracking and processing. Additionally,
            schedule a career discussion with your employee on the following topics: Educational Assistance Policy (how it
            works, service commitment expectations, etc.), how the course relates to the employee's current position, career
            goals and interests (short- and long-term), expectations concerning work/school conflicts.

               Application Approved        Application Denied        Reimbursement Amount:

            Comments:

            Your application will be reviewed within 2 weeks of receiving It and a copy will be returned to you. Upon
            successful completion of the course(s), submit the following to Human Resources for reimbursement:

            q Approved Application and Request for Educational Reimbursement

            q Copy of grade report or Continuing Education certificate of completion

            q Tuition statement, book receipts

(

                                   Application & Request for Educational Reimbursement
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 167 of 281




                                                                                     j
     r
            This form should be filed with Human Resources.

            This is to certify that                         , who is employed as                           at a

            salary rate of $                        in the department of                           is entering
            military service effective


            This position is:

               Unclassified


            O Exempt


               Nonexempt


            If employee is employed on a seasonal, temporary or provisional basis, indicate:

              Seasonal


              Temporary


              Provisional

            Date employment commenced (                       ) or date employment would have terminated, had
            such employee not entered military service (_


 (



            Signature                                                         Date




(v


                                                                                               y
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 168 of 281




    r       c


            This form should be filed with Human Resources.

            This is to certify that ,                                   has requested to return from military service to
            his or her position of.                                      in the                       department, at a
            salary rate of $                      —*




            Date of entry into service:

            Date of discharge:


           Please attach a copy of discharge.


              This position has been filled on a substitute basis by


              This position has been vacant pending return of incumbent.

              Employee had permanent status in the following job class:

                          Competitive             Noncompetitive

                         Labor               Employee was temporarily or provisionally employed




    (
           Signature                                                                   Date




(

                                                       i;": •••{!'• '     pro'!--: :          v-:-'   - - f    •   | v'.l
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 169 of 281




    i




           Name:


           Date:


           Department/Location:


           In accordance with the terms of 's "Time Off to Vote" policy, employees who are registered voters
           may take the necessary time to vote at the beginning or the end of their shift, whichever allows more
           time for voting and requires less time off the job; however, not more than 2 hours will be provided
           with pay.

           I am requesting voting leave for:                                     on:_



                                                               (Election Type)                           (Dale)


           Employees wishing to serve as election judges are encouraged to do so. The Company will pay the
           difference between the amount an employee receives for serving as a judge and the employee's
           normal day's pay (earnings factor times base rate) for performing this civic duty.

             I will be serving as an election judge.

           Employees who serve as election judges must submit copies of pay stubs from the Elections
           Commission for reimbursement.




           Employee Signature                                         Date




           FOR OFFICE USE ONLY


          Voting leave approved by:                                      Date:


          Voting leave denied by:                                        Date:


          Reason for denial:




C
                                                                                        • • .""t
f                        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 170 of 281




            Name:
                                                                                                                                                                     Date:
                                                                               Airfare        Ante         TaxL
                                                                                                                                                                                                Mileage
                                                     Original                  Change      Rental          Tolls.
           Date              Description                 Airfare    Bag Fees    Fee      (and gas) Parking                     Hotel                Phone          Meals          Miles         Rate        Total

                                                                                                                                                                                                 ML
                                                                                                                                                                                                     0.51

                                                                                                                                                                                                 ML
                                                                                                                                                                                                .ML
                                                                                                                                                                                                 Mi
                                                                                                                                                                                                 Mi
                                                                                                                                                                                                 ml
                                                                                                                                                                                                 ML
                                                                                                                                                                                                _M1
                                                                                                                                                                                                -ML
                                                                                                                                                                                                     0.51

                                                                                                                                                                                                 ML
                                                                                                                                                                                                     0.51
                       TOTALS                                                                                                                                                                        0.51
                                                         s          S                                  s      -            s      -                            S      -           Total Mileage
     Account Number (For Accounting Use Only)
                                                             5"20       5~20      £20           57-0          3*50 I             5-30                     mo          5"00|                      5750
                          Purpose of Trip/Other:
                             Misc Notes:


    ENTERTAINMENT AND BUSINESS MEALS
                                                    (Note: IRS Peculations require all columns below-
                                  •   1   i    -     "       —                                        to be filled out to be reimbursed for expenses.)
    Date                         Name of Person(s) Entertained (Company.Title)
                                                                                          -      i                —    -                .   .....    ..
                                                                                                                                                                              .           ...    f

                                                                                                Time and Place             Natnre and Purpose ofEntertainment
                                                                                                                                                                                                                      Amount




                                                                                                                                                                                  Total Fnt- & Business               S
                                                                                                                                                                                   (Account No. 5710)
                                                                                                             Accounting Snmmarr
                                                                                         Check g                                        (Date:
    Signed (Employee) -1 hereby cerrii#- that the
                                                  expenditures                           Accounts                          .VC£             Amounts                           Total Expenses S
    represent cash spentfor legitimate compcot
                                               y business and
                                                                                         M&E - employees                       5~00
    include no items ofa persona! nature.                                                                                                                                            Depu
                                                                                         M&E                                   P10            S
                                                                                         Airfare                               5720           S
                                                                                         Hotel                                 5730          5                                     (Note: IRS requires all original
                                                                                         Car Rental                            5~-C          5
    Supervisor Approval (Required)                                                                                                                                                 receipts to be attached to this
                                                                                         Mileage Other Travel                  5"50           S
    (Note: Please route signed form to Accounts                                                                                                                                    espense reports. Please make
                                                Payable for processing.)                 Telephone                             $•£0         _S_                                    copies for your own records.)


                                                                                                                                                                                     ::                       :re.c       •    v,
              Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 171 of 281




        r~~




    (
                  Name:                                                             Month of;


                  Date                      Destination (Name)   Location (City)    Purpose of Trip   # of Miles




    f

                                                                             TOTAL NUMBER OF MILES:




                 Total Miles


                 Rate


                 Total Mileage


                 Tolls


                 Total Due




                Check #:


                Date:


                G.L. #:               Dept.:


                q Approved       q Denied       Signature:




(
                                                                                                                   :
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 172 of 281




    (
            Employee Name:                                             Date:

            Employee Location:                                         Employee ID#:

            This form should be submitted to Human Resources.


            I was out of the office on jury duty from                   to                       or (if you did
            not serve on consecutive days) on these dates:


           This is a copy of my jury duty pay statement. I understand that, although 's benefits program includes
           pay continuation during jury duty, the additional money ! earn while performing jury duty must be paid
           to . I understand, therefore, that my jury duty pay—pay only, not the transportation allowance—will
           be:


                      Subtracted from a future paycheck


                      Endorsed and paid directly to .




           Signed:




    C




(

                                                                       Report of Jury Duty Pay
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 173 of 281




    c
            Employees of Four Six Services must submit their vacation requests for approval at least 2 weeks in
            advance. Vacations may be taken in full days or half-day increments.


            Employee Name:

           Supervisor Name:

           Department:


           Date:                                       Number of Hours:

           Reason for Vacation:




           Vacation Request is:   Approved       Denied




          Supervisor Signature:                                                        Date:


(




(
                                                                      Vacation Rooties! Form i
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 174 of 281




    r -
    V




              Employee Name:


              Position Held:

              I fully understand and agree to the following terms:


                  o   i assume ultimate responsibility for the card.


                  o   I will not use the credit card to withdraw cash.

                 o    I will not use the credit card to pay for personal expenses.


                 o    If I misuse the card, I authorize Four Six Services, LLC to recover the funds through payroll
                      deductions for expenses incurred that do not comply with the policy.

                 o    If the credit card is lost or stolen, I will report it immediately to Human Resources.

                 o    If I resign from Four Six Services, LLC, I will return the credit card with a reconciliation of all
                      expenses prior to my departure.




(            Signature of Employee                                                    Date




            Signature of Supervisor                                                  Date




C
                                                              Application for -issued Credit Card I t V
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 175 of 281




        \




                Employee Name:
                Employee Department:
                Employee Title:

                Date Action Taken:

                Reason(s) for Disciplinary Action: (check all that apply)


               Work Quality

               Safety                          .

               Conduct

               Attendance

               Insubordination

               Other


               Dear Employee:


              You are receiving this disciplinary action because your behavior in regard to the documented
    (         incident as described herein constitutes a failure to comply with Four Six Services, LLC personnel
              policies, Four Six Services LLC employee manual, and/or acceptable business practices. By
              conducting yourself in this way you have failed to uphold the responsibilities associated with your
              employment and may have placed yourself, your employer - Four Six Services, LLC and/or your
              fellow Four Six Services, LLC employees at risk legally, physically and/or emotionally.

              The specific incident or behavior that has led to you receiving this disciplinary action is described
              as follows: Absent for work and poor work quality.

              Prior discussions or warnings on this subject:    The Employee was warned in writing one month
              ago regarding being late and the problem continued.

              As a consequence of your behavior or conduct that is the subject of this discipline report, Four Six
              Services, LLC has decided to take the following disciplinary actions:

              Disciplinary Action: Final warning before termination of the Employee.

              Corrective action to be taken: Show up to work on time.

              Pursuant to Four Six Services, LLC policy of promoting fairness and employee input, you have
              the opportunity to provide your comment on this disciplinary action.

              Employee Comment:




              Employee Acknowledgment:
(
                                                                                             \   i:   :   <
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 176 of 281




            I have received this disciplinary action and understand the disciplinary action taken. I also
    C       understand that unless this problem or behavior is corrected, further disciplinary action will be
            taken up to and including the termination of my employment pursuant to Four Six Services, LLC
            policy.

            Signature of Employee:


            Supervisor:


            I, (Supervisor), have reviewed this Discipline Report with (employee), and have described to
            (Employee) all disciplinary action taken, as well as informed (Employee) of the possibility of future
           action pursuant to Four Six Services, LLC policy.

           Signature of Supervisor:




    C




(
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 177 of 281




    r
            The Employee Handbook (sometimes referred to as a Personnel Policy Manual, or the "Manual") is a
            compilation of personnel policies, practices and procedures currently in effect at Four Six Services,
            LLC, an equal opportunity employer. The Manual handbook and the information within it are
            confidential.


            This handbook is designed to introduce employees to the organization, familiarize you with Company
            policies as they pertain to you as an employee, provide general guidelines on work rules, disciplinary
            procedures and other issues related to your employment, and to help answer many of the questions
            that may arise in connection with your employment.


           This handbook and any other provisions contained herein do not constitute a guarantee of
           employment or an employment contract, express or implied. You understand that your employment
           is "at-will" and that your employment may be terminated for any reason, with or without cause, and
           with or without notice. Only the CEO or other authorized representative(s) of Four Six Services, LLC
           has the authority to enter into a signed written agreement guaranteeing employment for a specific
           term. This handbook is intended solely to describe the present policies and working conditions at
           Four Six Services, LLC. This handbook does not purport to include every conceivable situation; it is
           merely meant as a guideline and, unless laws prescribe otherwise, common sense shall prevail. Of
           course, federal, state and local laws will take precedence over Four Six Services, LLC policies when
           applicable.


           Personnel policies are applied at the discretion of Four Six Services, LLC reserves the right to
           change, withdraw, apply or amend any of our policies or benefits, including those covered in this
           handbook, at any time. Four Six Services, LLC may notify you of such changes via email, posting on
           the Company's intranet, portal or website, or via a printed memo, notice, amendment to or reprinting
           of this handbook, but may, in its discretion, make such changes at any time, with or without notice
    C      and without a written revision of this handbook.


           By signing below, you acknowledge that you have received a copy of '$ Employee Handbook, and
          understand that it is your responsibility to read and comply with the policies contained within it and
          any revisions made to it. Furthermore, you acknowledge that you are employed "at-will" and that this
          handbook is neither a contract of employment nor a legal document.




          Signature                                                           Date




          Please print your full name


          Please sign and date one copy of this notice and return it to Human Resources. Retain a second
          copy for your reference.




(

                               R ecei p t o f Four S i x S ervi cos L L C E m p ! o y ae Handbook ] > '» ; '
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 178 of 281




    c
                            li


            THIS ANTI-HARASSMENT POLICY (hereinafter the "Policy") is being distributed by Four Six
            Services, LLC (hereinafter the "Company").


            The Company will take all reasonable steps to prevent unlawful harassment from occurring. In
            addition to prohibiting other forms of unlawful discrimination, the Company maintains a strict policy
            prohibiting harassment because of gender, gender identity, genetic characteristics or information,
            sex, race, color, national origin, ancestry, religion, creed, physical or mental disability, cancer-related
            medical condition, marital status, veteran status, sexual orientation, age, and any other basis
           protected by applicable federal, state, or local law. All such harassment is prohibited. The
           Company's anti-harassment policy applies to all employees and independent contractors involved in
           the operations of the Company and prohibits harassment by any Company employee, including
           supervisors, independent contractors, and co-workers.




           Sexual Harassment


           The law defines sexual harassment as unwanted sexual advances, requests for sexual favors or
           visual, verbal, or physical conduct of a sexual nature when: (1) submission to such conduct is made
           a term or condition of employment; (2) submission to or rejection of such conduct is used as basis for
           employment decisions affecting the individual; or (3) such conduct has the purpose or effect of
           unreasonably interfering with an employee's work performance or creating an intimidating, hostile or
           offensive working environment.

(          Sexual harassment is unlawful regardless of the genders involved.




          National Origin, Race, and Other Forms of Harassment

           Race and other forms of harassment can occur through verbal, physical, or other activity directed at
          employees in protected categories. It may occur when co-workers and/or supervisors use slurs or
          epithets referring, for example, to the national origin, race, or sexual orientation of an employee. Or it
          may occur through other kinds of activity, such as placing graphic images negatively connected to
          the race of an employee on or near the employee's desk, locker, or work location. All such activity is
          strictly prohibited under the Company's unlawful harassment policy. If any employee is uncertain as
          to the type of conduct prohibited under this policy, he or she should contact their supervisor
          immediately.


          Preventing Sexual and Other Forms of Harassment




          The Company's Complaint Procedure




          Employees who believe they have been harassed on the job should provide a written or oral
         complaint to the HR Manager of the Company as soon as possible. The complaint should include
         details of the incident(s), names of individuals involved, and the names of any witnesses.
         Supervisors and managers must immediately refer all harassment complaints to the HR Manager of

C        the Company.




                                                                Receipt of Harassment Policies ;                   •
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 179 of 281




    o



            All incidents of sexual or other harassment that are reported must and will be investigated,
                                                                                                         even If the
            alleged victim expresses a desire that the Company not investigate. That is the law. The HR
            Manager of the Company will immediately undertake or direct an effective, thorough, and objective
            investigation of the harassment allegations. The investigation shall be completed and a
            determination regarding the harassment alleged will be made and communicated to the employee(s)
            who complained and to the accused harasser(s). If the Company determines that sexual
                                                                                                 or other
            prohibited harassment has occurred, the Company will take effective remedial action commensura
                                                                                                                te
            with the circumstances. Appropriate action will also be taken to deter any future harassment.
                                                                                                           If a
            complaint of harassment is substantiated, appropriate disciplinary action, up to and including
            termination, will be taken and the Company will communicate to the complainant that action has
            been taken to prevent further harassment. Independent contractors should use this Complaint
            Procedure for any claim of sexual or other harassment.




           ALL EMPLOYEES AND INDEPENDENT CONTRACTORS SHOULD NOTE THAT THE FAILURE
           TO USE THE COMPANY'S COMPLAINT PROCEDURE MAY RESULT IN THE DEFEAT
                                                                             OF ANY
           CLAIM OF SEXUAL OR OTHER HARASSMENT IF LITIGATED.




    (      False Claims of Harassment


          Any employee who makes a false claim of harassment will be disciplined according to Company
          policy.




          Prohibition Against and Duty to Disclose Romantic Relationships

          In an effort to prevent supervisory problems, favoritism, the possibility of compromising confidential
          information and/or trade secrets, morale problems, disputes or misunderstandings, and potential
          sexual harassment claims, supervisors are strongly discouraged from dating or engaging in romantic
          or sexual relationships with subordinate employees.


          However, in the event such a relationship is undertaken, the parties are required to disclose
                                                                                                        to the
          Company that such a relationship exists. Based on the sole discretion of the Company, both parties
         may be given the opportunity to sign and acknowledge that the relationship is voluntary and
         consensual. In that case, both parties will also be required to disclose to the Company when
                                                                                                         the
         relationship is no longer voluntary and consensual. In the event that such a relationship exists or
         existed, and such disclosures have not been made, the relationship will be presumed to have
                                                                                                         been
         voluntary and consensual. All employees acknowledge these requirements and the presumption
                                                                                                             by
         signing the Annual Acknowledgment and Receipt of this Handbook. Co-workers are also
         discouraged from dating or pursuing romantic or sexual relationships with each other.




         The Company, in its sole discretion, will determine whether any romantic or sexual relationship
         between a manager and a subordinate, or between co-workers, interferes with job performance
(        and/or the business interests of the Company and will attempt to resolve the situation, including
                                                                                                           but


                                                              Receipt of Harassment Policies
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 180 of 281




     i
              riot limited to, providing one of the employees with a transfer to another position for which he or she
              is qualified if it is possible and consistent with good business practices. However, the Company may
              take whatever steps will protect its business interests, including but not limited to, terminating the
              employees involved.




              Employee's Duty to Disclose Benefits Received

             No supervisor, manager, or officer of the corporation is authorized to condition the receipt or denial of
             any benefit, compensation, or other term or condition of employment on an employee's complying
             with any sexual demand. To the contrary, all employees are instructed that they must refuse such
             demands and report them promptly. Any employee who is found to have obtained any benefit from
             the Company because he or she submitted to an unreported sexual demand will be disciplined
             appropriately, including but not limited to, reimbursement for the value of any benefits received. Any
             employee making such a demand will be disciplined, up to and including termination.




             Liability for Sexual or Other Harassment

            Any employee of the Company, whether co-worker, supervisor, or manager, who is found to have
            engaged in unlawful harassment is subject to disciplinary action up to and including termination from
            employment.



    t
    v.      Anti-Retaliation Policy

            In accordance with applicable law, the Company prohibits retaliation against any employee because
            of the employee's opposition to a practice the employee reasonably believes such practice
           constitutes employment discrimination or because of the employee's participation in an employment
           discrimination investigation, proceeding, or hearing. Any retaliatory adverse action because of such
           opposition or participation is unlawful and will not be tolerated. For purposes of the Company's anti-
           retaliation policy, all references to "discrimination" should be understood to include "harassment."




           The Company's Complaint Procedures for Retaliation




           The Company's complaint procedure provides for an immediate, thorough, and objective
           investigation of any claim of unlawful retaliation because of opposition to alleged discrimination or
           participation in a proceeding regarding alleged employment discrimination. If you believe that you
           have been retaliated against because of your opposition to an employment practice you reasonably
           believe to be discriminatory or because of your participation in a hearing or proceeding regarding
           alleged unlawful discrimination, you should provide a written or oral complaint to the HR Manager as
           soon as possible. Your complaint should be as detailed as possible, including the names of
           individuals involved, the names of any witnesses, and any documentary evidence.




(
                                                                Receipt of Harassment Policies I IV ;
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 181 of 281




        All complaints of prohibited retaliation that are reported to management will be investigated. The
        Company will immediately undertake and direct an effective, thorough, and objective investigation of
        the retaliation allegations. The investigation will be completed and a determination regarding the
        alleged retaliation will be made.


        If the Company determines that an individual has suffered adverse action in retaliation for opposition
        to alleged employment discrimination or participation in a proceeding related to alleged employment
        discrimination, the Company shall take effective remedial action appropriate to the circumstances.
        The Company shall also take action to deter any future retaliation. If a complaint of retaliation is
        substantiated, appropriate disciplinary action, up to and including termination, will be taken and the
        Company will communicate to the complainant that action has been taken to prevent further
        retaliation.




       Additional Enforcement Information

       In addition to the Company's internal complaint procedures regarding harassment and
       discrimination, employees should be aware that the federal Equal Employment Opportunity
       Commission (EEOC) also investigates and prosecutes such complaints.


       The Company will not adopt or enforce any rule, regulation, or policy preventing an employee from
       disclosing information to the Company or to a governmental or law enforcement agency if the
       employee has reasonable cause to believe that the information discloses a violation of state or
       federal statute, or a violation of or non-compliance with a state or federal rule or regulation.
C
       If any Company employee wishes to make a report regarding suspected unlawful activity, he or she
       should report the activity immediately to the HR Manager who will initiate a prompt, thorough, and
       objective investigation. Reports should be in writing with as much detail as possible. Oral and
       anonymous reports will also be accepted and investigated.


      If an employee elects not to report suspected unlawful activity as defined above to the Company, he
      or she may contact the Office of the Attorney General's whistleblower hotline. The Attorney General
      shall refer calls received on the whistleblower hotline to the appropriate governmental authority for
      review and possible investigation.

      By signing below, you acknowledge that you have received a copy of 's Harassment Policy and
      Sexual Harassment Policy, and understand that it is your responsibility to read and comply with both
      policies and any revisions made to them.




      Signature                                                              Date




      Print your full name




(
                                                            Receipt of Harassment Policies
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 182 of 281




    o




                                                 P 4/o : f-i


           THIS EMPLOYEE SMOKING POLICY (the "Policy") Is being distributed on (Date) by Four Six
           Services, LLC (the "Company"), and shall become effective and enforceable beginning on Date.


           The Company offers a non-smoking environment for its employees and customers. In order to
           reduce others' exposure to second-hand smoke, smoking is prohibited in the following areas: oil/gas
           well locations, near flammable liquids/gases and inside company buildings/vehicles and any other
           area designated as a "No Smoking" area by the company and/or local, state and federal law.
           Smoking is also not permitted in any enclosed areas where employees and customers gather
           (including all restrooms).




           I acknowledge that I have received a copy of this policy.

           Employee

C

          Title

          Date:




(
                                                                  Receipt of Smoking Policies j 1         -
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 183 of 281




        c

                              ol' o'fO;.         - k:.       hi&ni            PoU*i,y


                THIS ANTI-HARASSMENT POLICY (hereinafter THIS EMPLOYEE CONFIDENTIALITY POLICY
                (the "Policy") is being made and entered into by and between Four Six Services, LLC, (the
                "Company"), and (Employee Name), (the "Employee"), and shall become effective and
                enforceable beginning on DATE.


               Employee is employed by the Company, and a position of trust and confidence with respect
               to the Company's business operations. The Company frequently receives information and
               materials of a highly sensitive nature from its clients, and has generally agreed with its
               clients to maintain the confidentiality of such information and materials. Additionally, certain
               other business information, processes and methodologies developed and maintained by
               the Company is of a proprietary, private, secret and highly sensitive nature, which must be
               carefully protected in order for the Company to be successful.

               The Company and the Employee believe that it is appropriate for them to memorialize their
               understanding and agreement with respect to the Employee's confidentiality obligations to
               the Company.




               THEREFORE, the Company and the Employee agree as follows:
    (         Confidential Information. For purposes of this Policy, the term "Confidential Information"
              includes, but is not limited to, all of the following information: information relating to
              business and product or service plans, financial projections, customers, potential
              customers, clients, partners, vendors, patents, patent applications, trademarks, copyrights,
              trade secrets, intellectual property, computer object or source code, research, inventions,
               processes, designs, drawings, engineering, marketing, employees and employee
               compensation, or finance, which information is designated in writing to be confidential or
               proprietary (either prior to or following disclosure) or which information would, under the
               circumstances, appear to a reasonable person to be confidential or proprietary. Confidential
               information does not include information, technical data or know-how which (i) is the
              possession of the receiving party at the time of disclosure (as shown by the receiving
              Party's files and records immediately prior to the time of disclosure): or (ii) becomes part of
              the public knowledge or literature, not as a result of any improper inaction or action of the
              receiving party; or (iii) is subsequently disclosed to the receiving party having the legal right
              to make such disclosure; or (iv) is approved by the disclosing party, in writing, for release.




              Business Information. For purposes of this Policy, the term "Business Information" includes,
              but is not limited to, any and all (a) internal business procedures and business plans,
             including but not limited to technical data, client names and information and ideas for new
             services, (b) marketing information and materials, such as marketing and developmental
             plans, forecasts, assumptions, financial data, price lists, policies, procedures and (c) Other
             such information which relates to the way the Company conducts its business.

(
                                              Receipt of Employee Confidentiality Policies I                • C;
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 184 of 281




    c



            Third Party Proprietary Information. For purposes of this Policy, the term "Third Party
            Proprietary Information" includes, but is not limited to, any and ail information disclosed to
           the Company by a third party otherwise as to which the Company is under a duty of
           confidentiality.

           Employee's Obligation as to the Confidential, Business, Third Party Proprietary Information.
           Employee agrees to take the following steps to preserve the confidential and proprietary
           nature of the Confidential, Business, Third Party Proprietary Information:




           No Disclosure. During and after Employee's employment with the Company, employee will
           not use, disclose or otherwise permit any person or entity access to any of the Confidential,
           Business, Third Party Proprietary Information other than as required in the performance of
           employee's duties with the Company, and Employee will take ail reasonable precautions to
           prevent disclosure of the Confidential, Business, Third Party Proprietary Information to
           unauthorized persons or entities.



C
           NpnrCpmpetition. While Employee is employed by the Company, Employee will not provide
           services to, or assist in any manner, any business or third party that competes with the
           current or planned business of the Company.




          Return All Confidential. Business. Third Party Proprietary Information. Immediately upon
          termination of Employee's employment with the Company for any reason whatsoever,
          Employee shall return or otherwise deliver to the Company all Confidential, Business, Third
          Party Proprietary information that is in tangible, including electronic, form.




          Removal of All Confidential. Business, Third Party Proprietary Information. Immediately
          upon termination of Employee's employment with the Company for any reason whatsoever,
          but after performing the duties as detailed in section 4.3 above, Employee shall
          permanently remove all Confidential Information in electronic format from any personal
          device owned by or in the possession or control of Employee on which such Confidential
          Information is stored.




          Non-Solicitation. During Employee's employment with the Company and for a period of five
          (5) year thereafter, Employee will not directly or ndirectly solicit to hire any existing

(
                                          Receipt of Employee Confidentiality Policies i C •'
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 185 of 281




    f

           employee of the Company or encourage or aid such employees to terminate their
           employment with the Company. Furthermore, during Employee's employment with the
           Company and thereafter, Employee will not directly or indirectly solicit or take away clients
           or customers of the Company if the identity of the client or customer, or information about
           the client or customer relationship, is a trade secret or otherwise deemed Confidential,
           Business, Third Party Proprietary Information within the meaning of this Policy.

           Received and Acknowledged By:

           Date:




                                           (signature of Employee)

                                            (Printed Employee Name)

                                            (Employee Job Title)




(




(
                                         Receipt of Employee Confidentiality Policies j 1 >*t5
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 186 of 281




c



                                     Four Six Services, LLC
                                            JOB DESCRIPTION

        Company Overview:

       Brief overview of the company




       (Position Title)



       Job Description:

       (Enter the job description)



C      Responsibilities:

       (Enter the job responsibilities)




      Qualifications and Required Skills and Competencies:

      (Enter the required job qualifications, skills and competencies)




      Four Six Services, LLC is an equal opportunity employer and will not discriminate in
      recruiting, hiring, training, promotion, transfer, discharge, compensation or any other term
      or condition of employment on the basis of race, religion, color, age (over age 39), sex,
      national origin, or on the basis of disability if the employee can perform the essential
      functions of the job, with a reasonable accommodation if necessary.




                                                             Job Description Template \          <:
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 187 of 281
  Four Six Services "Leading By Example "

                                     ACCIDENT INVESTIGATION
                              EMPLOYEE/WITNESS STATEMENT

  (To be completed by every employee working in the crew of the injured employee and by every employee with knowledge of
  events or circumstances involved in the accident.)

  This information is being solicited from you so that Four Six Services can accurately assess the reported incident to prevent similar occurrences in the
  future. Describe only the facts for which you have personal knowledge - if you have no knowledge of the incident write "no knowledge".


  Company                                                                                    Job No.

 Location




 Name of Injured Employee

 Date of Accident                             Time                am-pm      Date of this Statement                             Time                am-pm



 Time Shift begins                           Time Shift ends




 Name of Employee/Witness                                                                          Phone No.

 Address                                                                     City                                   State

 Parish                                        Zip Code

 Were you in the vicinity of the accident?                     Did you see the accident?

 Describe the exact time and manner in which you learned of the accident




Name all employees working in your crew or employees with information concerning the accident.




Who gave you directions for the assigned work?

Describe the directions you received and describe the assigned work.




Describe requirements for equipment or personal protective equipment required for the job.




Was a safe work permit required?                      Did you read the permit?

Where was the permit kept?

Were all provisions of the permit followed?                            If no, explain.




Describe, in detail, the sequence of events leading up to the accident.
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 188 of 281


                                                               Jobs Safety                      Date:




                   t
                                                                  Analysis
                                                                                                Unit#


                                                                                                Location:


     JOB/ACTIVITY NAME:
                                                                                                Customer:


     REQUIRED PERSONAL PROTECTIVE EQUIPMENT FOR ENTIRE JOB
     safety glasses   sleel toe boots   other                                          other.                     other.
     hard hat         FR's
    gloves
    harness lanyard(when in man basket)               other.                           other.                     other.
    hearing protection(when required)




    Basic Steps                                            Potential Hazards                         Controls

    Wear Harness when more than 4' off                     Fal! from man basket                      Properly wear harness/hook lanyard above or
    the ground.                                                                                      behind, not in front.

    Open needle valve on the night cap                     High Pressure                             Make sure pressure is bled off



    Lifting the night cap                                  Heavy lifting                            Proper lifting technique

   Stabbing on the lubricator                              Pinch point                              Proper hand placement on Lubricator


   Lowering the man basket                                 Obstructions or personnel below you.     Identify any and all obstructions in the path of
                                                                                                    man basket.


   Climbing on to the trailer                             Slip, trip or fall                        Position ladder so that u can use unit as a
                                                                                                    handrail. Three points of contact.


   Holding seal on the well                               Lose of sea'                              Properly maintain and run unit to prevent lose of
                                                                                                    well fluid.


   Stabbing off the lubricator                            High Pressure                             Open both plug valves on pump in sub to insure
                                                                                                    no trapped pressure is present.


   Protecting your body                                   Cuts, splinters, burns, etc...            Wear proper PPE




I understand & will adhere to the sfeps, hazards & controls as described in this JSA. I understand that performing steps out of sequence
may pose hazards that have not been evaluated, nor authorized. I will contact my supervisor prior to continuing work. If the scope of work
changes or new hazards are introduced.
                                                                                                                                fe.


Worker Name (please print!                Signature            Dale




/ have reviewed the steps, hazards, & controls described In this JSA with all workers listed above and authorize them to perform the work.
Workers are qualified to perform this activity.




SupervisorfPlease Print)                                              Signalure/Dale
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 189 of 281




 Date:    4-4-14


 Unit Number: 4601
                                                          t                             Greased Added: Yes


                                                                                        Amount:         100 gallons


 Size of Flow Tubes:            293                                                     2202 Valve :_D0978i4

 Number of Runs on TubesM                                                               2202 Valve :_do97824



 CustomerA/Vell Identification:.             XYX Oil Company/ Longhorn 46-1-46 1H



 Flange S/N          2033-1-1                                       Stab On Well Time 1:30 p.m.

 Wireline Valve S/N                                                 Stab Off Well Time          3:00P.m.

 Tool Trap S/N       127734                                         Well Bore Pressure          2,800 psi

 Pump In Sub S/N          127544                                    Pump Down Pressure 6,ooo psi

Greasehead S/N            127732                                    Frac Pressure #1        2.800psi

Lubricator Stick S/N 127509                                         Frac Pressure #2 3,200 psi

                              127510                                Frac Pressure #3 6,000 psi

                              127511                               Engine Side In Use:                      Right

                              127512
                                                                        Stage Number            £
                             127513
                                                                     Grease Stick:         is       /     14 5
Pup Joint S/N       127379



N OteS No issues on this stage. All guns were shot and ball was dropped per the company mans request.




Employee Name MattTrissei                                         Signature.
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 190 of 281




                                                    ti
                                  Four Six Services Mentor Program



  Mentor's      New Hire        Employee sets clear expectations and consequences for safe
  Initials as   Initials as     behaviors.
  Completed     Completed

                                Does not take unnecessary risks.

                                Asks for help when needed.

                                Does not try to lift or handle too heavy of a load. Gets mechanical help when
                                needed.

                                Raises awareness of possible hazards.

                               Intervenes with unsafe behaviors,

                               Understands his/her "stop work" authority and responsibility

                               Employee demonstrates ability to do job required:

                               Works in a craftsman-like manner.

                               Has clear understanding of job to be done.

                               The new employee can use tools safely by:

                               Communicating

                               Demonstrating

                               Observing

                               New Employee is able to identify the following at the work site:

                               Struck by hazards

                              Crushed by hazards

                              Burns and scalds

                              Sharp objects and precautions

                              Trip hazards and precautions

                              Electrical hazards and precautions

                              Fall hazards and precautions

                              Hot and / or cold surfaces, piping and equipment

                              Chemical hazards and precautions

                              Emergency procedures

                              Emergency communications

                              Respiratory hazards and precautions

                              Toxic substance hazards and precautions (ex. Bromide)

                              Any additional hazards specific to the job site



                                                                                  "Leading By Example"
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 191 of 281



                     Employee exhibits compliance to:

                    General safety rules and policies

                    Safety rules and policies specific to the job being performed

                    Housekeeping policies

                    PPE requirements

                    Employee shows competency on following equipment:

                        a.   Grease Unit:

                        b.   Fork Lift:

                        c.   Man Basket:

                    Other:




 Mentor                                   New Employee




    Today's Date                          New Hire Date




                                                                     "Leading By Example"
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 192 of 281




                                                   %
                                      Job Orientation Guide


     Company:        Four Six Services                    Employee:

     Trainer:                                             Hire Date:

  Date                                                    Position:



This checklist is a guideline for conducting employee safety orientations for employees new to Four Six
Services. Once completed and signed by the supervisor and employee, it serves as documentation that
orientation has taken place.

                                                                                  Date          Initials

 1.        Explain the company safety program, including:

                                 Orientation

                                 On-the-job training

                                 Safety meetings

                                 Accident investigation

                                 Disciplinary action

 2.        Use and care of personal protective equipment, (e.g., hard
           hat, fall protection, eye protection, foot protection, FRC, etc.)

3.         Line of communication and responsibility for immediately
           reporting accidents.

                A.   When to report an injury

                B.   How to report an injury

                C.   Who to report an injury to

                D.   Filling out accident report forms

4.        General overview of operation, procedures, methods and
          hazards as they relate to the specific job

5.        Pertinent safety rules of the company

6.        "Stop Work" Authority and responsibility is understood

7.        First aid supplies, equipment and training



                                                                               "Leading By Example"
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 193 of 281




               A.    Location of Facilities

               B.    Location and names of First-aid trained personnel

  8.      Emergency plan

               A.   Exit location and evacuation routes

               B.   Use of fire fighting equipment (extinguishers, hose)

               C.   Specific procedures (medical, chemical, etc.)

  9.     Vehicle safety

  10.    Personal work habits

               A.   Serious consequences of horseplay

               B.   Fighting

               C.   Inattention

              D.    Smoking policy

               E.   Good housekeeping practices(trucks, equipment,
                    trash)

               F.   Proper lifting techniques

              G.    Meaning of "DBT"




NOTE TO EMPLOYEES: Do not sign unless ALL items are covered and ALL questions are satisfactorily
answered.

The signatures below document that the appropriate elements have been discussed to the satisfaction of
both parties, and that the supervisor and the employee accept responsibility for maintaining a safe and
healthful work environment.


Date:                               Supervisor's Signature:

Date:                               Employee's Signature:




                                                                               "Leading By Example"
           Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 194 of 281
                                   Four Six Services PPE And General Safety Checklist
   Supervisor   Employee           Date                                                                    Task


      n              D         i                      i
                                                                                 Check H2S monitor for proper working condition
                               j
      II             u                                                               Proper Uniform worn by crewfno loose clothing)

                  n                                                                      Hard Hats in proper working condition


      0           o
                              i
                                              I                                       Company stickers on hard and in good shape


      G           O                                                  Safety glasses being worn by employee and in proper working condition


      L                                       I                                 Only clear lensed safety glasses being worn at night


      O                                       j                Jewelry or other adornments subject to snagging or hanging not worn in work area


                                                                                                  Long hair contained

                                                  i                          Fall protection being used at all times in the man basket

      o           o                           1                                       Fall protection in proper working condition


     C)                                                                          Hearing protection used in areas where needed

                                                                                     Smoking on location done in designated areas
                         j                    y

                 n                                                                           First Aid kit available on site
                          i.
                 a                                                                     Blood born pathogen kit available on site
                          :



                          I                                              Fire extinguisher on truck or trailer in proper working condition


     o                                                                Wheel chokes on trailer being used and in proper working condition
                                          I

                                              j                                          Slip, trip, and fall hazards addressed
                          !
                                                                                      Emergency Phone numbers posted on site
                         {
     O           G                                                     Accidents, if any, discussed/create a plan to eliminate in the future

     i 3                                                                                Safety meetings properly documented


                 O                                        Safety equipment available and location discussedfi.e. respirator, flags, eyewash, etc     )
                                          !
     i i                                                                    Adequate communication with other companies on site
                                          T
     D           G       f                                 Emergency response plan( rally point and nearest medical for major and minor incidents)


     Li          U                                                   Toolbox Talk conducted for each safety task relevant to our operation
                         I-               f
Comments:                                 i


                                          :




                                          ;




Employee Signature




Managers Signature




                                                                                 1                                                        "Leading By Example"
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 195 of 281




                                               %
                                         Employee Rules




    •   Preform all job requirements to the best of your ability while maintaining a positive
        attitude and a safe working environment.
    °   Follow all Four Six Services and Operator safety requirements.
              A. Wear FR's (with company logo), hard hat (with company logo), safety glasses,
                and steel toe boots at all times while on location.
             B. No facial hair on location when required by operator.
             C. Keep wheel chock behind trailer tires at all times when parked.
             D. When grease unit is on and pumping grease, you must be within arms reach of
                the control panel. DO NOT sit in the truck when the guns are in the hole and
               the grease unit is holding seal around the wireline.
•       Look presentable at all times on location and any time you wear the company logo.
•       Keep ONLY "46" and "DBT" stickers on your hard hat at all times. No other hard hat
        stickers are allowed.
•       Keep units and trucks looking as clean and orderly as possible.
            A. Keep inside of trucks wiped down and swept out.
            B. Keep trash picked up in truck cab, truck bed, and around unit at all times
            C. Keep tool boxes and supply boxes organized at ail times.
            D. Keep items on trailers in their correct positions.
            E. Keep all hoses rolled up on hose reels or rolled up and put away on unit when
               not in use. This reduces a tripping hazard.
•       Fill out Run Sheets COMPLETELY ON EVERY RUN.
•       If you loose or damage an item that belongs to Four Six Services through neglect, the
        replacement cost will be deducted out of YOUR PAYCHECK the next pay period.
•       DO NOT LIE to management, teammates, or anyone else on location.


It is understood that the Employee Rules are not only essential in performing my job safely, but
are required for employment at Four Six Services. Any violation of the company rules will result
in disciplinary actions. Per the Company Handbook, prior warning is not required for disciplinary
action. Four Six Services LLC, reserves the right to take any disciplinary action the company
deems necessary at any time, which may include, but is not limited to: written and/or verbal
warnings, compensation deductions, and/or termination.




Employee Signature                                                 Date
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 196 of 281




                                           General Safety Rules

 1     It is your RIGHTAND OBLIGATION to prevent or cease work for any reason if you are concerned about
       safety, unsafe conditions, or hazards.


 2.    You must report promptly to your supervisor any injury you sustain while at work. You are also encouraged to
       report accident details that did not result in personal injury or property damage, but could have if the
       circumstances had been different, via the Near Miss Reporting Process.


3     NEVER run unless the situation is life threatening.


4     NEVER engage in scuffling practical j oking, or horseplay on the j ob.


5.    Appropriate hearing protection MUST BE WORN in areas where signs are posted warning of excessive noise
      levels and in areas where equipment is being operated. Hearing protection must also be worn in posted areas
      that are suspected of temporary excessive noise.


6.    Safety hard hats MUST be worn on company work sites at all times.


7.    Everyone MUST wear approved safety glasses at all times while on Company work sites where the potential
      for eye injuiy exists. The only exception to this is when special-purpose eye protection is used.


8.    Steel toe safety boots MUST be worn on company work sites at all times.


9.    Clothing suited to the work, the weather, and the environment must be worn


10. Other PPE such as climbing harness for working at heights, face shield and goggles while grinding, proper
      gloves, etc. . . will be utilized as per the hazard assessment for that particular job task requires.


10. Your supervisor or the Company person in charge MUST familiarize you with the following on your initial
      assignment at a work site:
          a.   Emergency, fire, and escape procedures (including alarm identification).
          b.   Potential for hazardous gases such as H2S.
          c.   Location of survival craft (capsules or other types).
          d.   Emergency, abandon platform, and man overboard alarms. (Note: Items c and d above are offshore
               specific.)
  Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 197 of 281




                      General Safety Rules Certification


This is to certify that I have received a copy of the company's General Safety Rules. I
have read the rules and understand the contents and agree to abide by these rules. Also, I
agree to visit with my supervisor and understand other applicable safety rules which
apply to the specific work I will be performing on company's job sites and premises. I
understand that by safety and the safety of others is my #1 responsibility. I will not take
action until I understand the safe way to perform the tasks assigned to me. I agree to
speak up and as necessary stop any job I recognize as unsafe.




Date:




Name (print):




Signature:




Social Security #:




Employer's Name:
  Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 198 of 281




                                             %
                                        Uniform Policy
 Employee Name:


                                                                       r
               Uniform Items Issues                      Amount            Initials

                  (5) FR Coveralls                       612.47

       Safety Classes(if needed by employee)             200.00

                    (1) Hard Hat                          0.00

          (1) Pair of Clear Safety Glasses                0.00
   r
          (1) Pair of Dark Safety Glasses                 0.00
   I
                 (1) H2S Monitor                          0.00

                       Total                             812.47

The cost of the above items will be deducted from the undesigned
employee in $150.00 increments every pay period. Once the total debt has
been paid to Four Six Services, the employee owns these uniforms and
h2s monitor. It is the employees responsibility to keep these uniforms as
clean as possible and repair any rips or tears. If the employee would like
new uniforms or new safety equipment at any time, please advise you
immediate supervisor and he/she will order them accordingly. At that time,
Four Six Services will repeat the above discussed pay back policy. If at
anytime employee is terminated or quits, the remained debt owed to Four
Six Services will be taken out of the final pay check in full.



                                                                  Employee Signature



                                                                  Manager Signature



                                                                                      Date
   Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 199 of 281




 Subject: Sick Day Notice Policy


 Effective: Immediately




Four Six Services employees will be required to give a minimum (3) three hour notice prior to
their scheduled time on location for that shift if they are unable to attend work due to an illness.
You are required to call or text your immediate supervisor until you get a returned response.


Failure to do this will result in being considered late for that day and will have the same
consequences.



The consequences are as followed:


First Occurrence: Written notice that will be kept in your personnel file.


Second Occurrence: Written notice that will be kept in your personnel file and forfeit of your day
bonus for that day.


Third Occurrence: Written notice that will be kept in your personnel file and immediate
termination.



By signing this document I have read and understand the above policy.




                                                                     Date:.
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 200 of 281




                                                t
 Statement Regarding United Healthcare Plan Electronic Disclosures


 Individuals entitled to receive benefits under the United Health Care Employee Benefits Plan (the Plan)

 are also entitled to be furnished with certain documents required by ERISA. United Health Care intends

 to provide the following documents to you by electronic delivery (as described below):




   the Summary Plan Description (SPD);


   any required Summaries of Material Modifications (SMMs);


   the Summary Annual Report (SAR); and


   any documents required to be furnished under ERISA § 104(b)(4) on request by a participant or

       beneficiary under the Plan or made available under ERISA § 104(b)(2).


Electronic Delivery Method to Be Used: These ERISA-required documents will be furnished to you in

each case as an attachment to an e-mail sent to the e-mail address you specify to us. The attachment

will be in Microsoft Word. To access the e-mail and attached document, you must have (1) a computer

with internet access; (2) a program installed on that computer allowing you to send and receive e-mails

(such as Internet Explorer or Netscape); and (3) the application program Microsoft Word for Windows 97

or higher installed on your computer allowing you to open and read the attached document. To retain a

copy of the e-mail and attached document for future reference, you must either (1 ) be able to print a

copy on a printer attached to the computer; or (2) save a copy in electronic form onto a backup system

external to your computer's hard drive (e.g., on a zip drive).


If any of these requirements change in a way that creates a material risk that you will no longer be able

to access and retain electronically transmitted documents, you will be furnished with notice and required

to provide another consent for receiving documents electronically.


What You Must Do: To receive documents electronically, you must do the following:




  1. Complete and return the following Consent to Receive United Health Care Employee Benefit Plan

       Disclosures Electronically by sending an e-mail message to matt@46services.com that indicates

      in the subject line: Consent for Electronic Disclosure and includes in the body the complete text of
   Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 201 of 281



       the following Consent to Receive Four Six Services, LLC Employee Benefit Plan Disclosures

       Electronically. (You may withdraw this consent at any time by notifying Four Six Services, LLC

       Corporation's Human Resources Manager by sending an e-mail message to

       matt@46services.com that indicates in the subject line: Consent Withdrawn for Electronic

       Disclosure and includes in the body your full name, address, and phone number.)

   2. Provide us with an e-mail address to which electronic documents should be sent. To update your e

       mail address, you must notify Four Six Services, LLC Corporation's Human Resources Manager

       by sending an e-mail message to matt@46services.com that indicates in the subject line: Change

       in E-Mail Address for Electronic Disclosure.


Your Right to a Paper Copy: You have a right to request and obtain a paper version of any electronically

transmitted document at no charge. Contact the Human Resources Manager of Four Six Services, LLC

who acts on behalf of the plan administrator, at matt@46services.com to request a paper copy.
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 202 of 281


                                                   %
                                        HIPAA Privacy Policy



  The United Healthcare (the "Group Health Plan") is a fully insured group health plan sponsored by Four

  Six Services (the "Plan Sponsor"). The Group Health Plan provides benefits solely through an insurance

  contract with a health insurance issuer or health maintenance organization ("Insurer"). The Group Health

  Plan and the Plan Sponsor intend to comply with the requirements of 45 CFR §164.530(k) so that the

  Group Health Plan is not subject to most of HIPAA's privacy requirements. The Insurer, however, is

  subject to HIPAA's privacy rules.


 I. No Access to Protected Health Information (PHI) Except for Summary Health Information for

 Limited Purposes and Enrollment/Disenrollment Information


 Neither the Group Health Plan nor the Plan Sponsor (or any member of the Plan Sponsor's workforce)

 shall create or receive protected health information (PHI) as defined in 45 CFR §160.103 except for the

following:




     (1) summary health information, as defined by HIPAA's privacy rules, for purposes of (a) obtaining

     premium bids or (b) modifying, amending, or terminating the Group Health Plan;



     (2) enrollment and disenrollment information concerning the Group Health Plan which does not

     include any substantial clinical information; or



     (3) PHI disclosed to the Group Health Plan and/or Plan Sponsor under a signed authorization that

     meets the requirements of the HIPAA privacy rules.




II. Insurer for Group Health Plan Will Provide Privacy Notice


The insurer for the Group Health Plan will provide the Group Health Plan's Notice of Privacy Practices

and will satisfy the other requirements under HIPAA's privacy rules related to Notice of Privacy Practices,

including Notices of Availability of the Privacy Practices. The Notice of Privacy Practices, among other

things, will notify participants of the potential disclosure of the summary health information and enrollment

and disenrollment information to the Group Health Plan and the Plan Sponsor.
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 203 of 281



 III. Breach Notification Requirements


 The Plan will comply with the requirements of the Health Information Technology for Economic and

 Clinical Health Act (HITECH Act) and its implementing regulations to provide notification to affected

 individuals, HHS, and the media (when required) if the Plan or one of its business associates discovers a

 breach of unsecured PHI.




 IV. No Intimidating or Retaliatory Acts


The Group Health Plan shall not intimidate, threaten, coerce, discriminate against, or take other

retaliatory action against an individual for (1) exercising their rights under the HIPAA rules; (2) participat

ing in any process provided for by the HIPAA rules, including the filing of a complaint; (3) testifying,

assisting, or participating in an investigation, compliance review, proceeding, or hearing under the HIPAA

regulations; or (4) opposing any act or practice that is illegal under HIPAA, if such individuals have a good

faith belief that the practice opposed is unlawful, and the manner of opposition is reasonable and does

not involve a disclosure of PHI in violation of the HIPAA regulations.




V. No Waiver


The Group Health Plan shall not require an individual to waive his or her privacy rights under HIPAA as a

condition of treatment, payment, enrollment or eligibility for benefits.




VI. Other Matters


No third-party rights (including but not limited to rights of Group Health Plan participants, beneficiaries, or

covered dependents) are intended to be created by this Policy. The Group Health Plan reserves the right

to amend or change this Policy at any time (and even retroactively) without notice. This Policy does not

address privacy or other requirements under state law or federal laws other than HIPAA.
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 204 of 281


                                                       %
         QMCSO Procedures for Four Six Services, LLC Group Health Plans




                                                  Article I. Introduction



 This document sets forth the procedures to be followed by Four Six Services group health plans upon receipt of


 "qualified medical child support orders" (QMCSOs), including National Medical Support Notices. These QMCSO


 procedures have been developed in accordance with Section 609(a) of the Employee Retirement Income Security


 Act of 1974 (ERISA), which requires group health plans to establish reasonable administrative procedures for


 determining whether orders are QMCSOs and administering the provision of benefits under QMCSOs. They are


 designed to assist the plan administrator in determining whether a particular order is a QMCSO and in carrying out


 its responsibilities relating to QMCSOs.



 The Plan Administrator of the group health plans is adopting these procedures to comply with the law and to clarify


 certain administrative methods. QMCSOs, and these procedures, do not apply to benefits that are not "group health


 plan" benefits under ERISA, such as life insurance benefits.




A. What Is a QMCSO?



A QMCSO is a judgment, decree, or order, issued by a court or through a state administrative process, that requires


health plan coverage for the child of a participant (called an "alternate recipient") and meets certain legal


requirements. Such orders typically are issued as part of a divorce or as part of a state child support order


proceeding. Federal law requires a group health plan to pay benefits in accordance with such an order, if it is


"qualified." A QMCSO may apply to an employer's major medical plan, as well as to other types of group health

plans such as dental plans, vision plans, and health FSAs. In general, a child who is an alternate recipient under a


QMCSO is to be treated like any other child covered by the plan. If the Medical Child Support Order is not


qualified, the group health plan does not provide group health plan coverage to the child, unless the child is


otherwise eligible for the plan. More information on QMSCOs can be found at https://www.dol.gov/ebsa/

publ i cations/qmcso .html .



State child support enforcement agencies are required to use the National Medical Support Notice when enforcing
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 205 of 281



 the provision of health care coverage to children under an employment-related group health plan. This is a standard

 form that was jointly developed by the DOL and HHS. When properly completed by the issuing agency, the Notice


 will constitute a QMCSO. Other orders are not required to follow a standard format. Typically, such orders are


 drafted by divorce lawyers and may vary widely in terminology, format, and sophistication.



 In some cases, orders will refer to or require a plan to comply with state laws enacted in response to Section 1908A


 of the Social Security Act, which requires states to enact certain medical child-support laws in order to receive


 federal Medicaid funds. These state laws are designed to help state governments and non-employee parents obtain


 private-sector health coverage for children, including coverage under employer-sponsored group health plans.




 B. What Are the Plan's Rights and Responsibilities Relating to QMCSOs?



Plans are not required to provide coverage in accordance with child support or other court orders that are not


 "qualified" in accordance with ERISA §609(a). The plan administrator has the ultimate authority to determine


whether an order meets the requirements of ERISA §609(a). If the order does not meet these requirements, the plan


need not (and should not) provide any benefits to the alternate recipient, unless the child is otherwise eligible or the


order's deficiencies are corrected by the parties.



All actions related to QMCSOs must be made in accordance with these procedures and must be performed on a


timely basis.



                       Article II. Procedures for Determining Whether Orders Are QMCSOs



A. Upon Receipt of an Order



The procedures to be followed upon receipt of an order depend on whether the order is a National Medical Support

Notice or another type of order.




  1 . Upon Receipt of a National Medical Support Notice



Upon receipt of a National Medical Support Notice, the plan administrator must-
    Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 206 of 281



     promptly provide written notification to the participant and the alternate recipient named in the Notice (and their


         legal representatives, if any) (a) that the plan has received the Notice; and (b) of the plan's QMCSO


         procedures (For the participant, the plan administrator should send the notification to the participant at the

         address shown in the employer's records. For the alternative recipient, the plan administrator should send


         the notification to the address in the Notice, or if the Notice does not specify such an address, to the last-

         known address shown in the employer's records); and review the Notice to determine if it has been properly


         completed and meets the legal requirements of a QMCSO, using the Checklist attached to these procedures


         and the instruction to the employer and the plan administrator on the Notice itself.


 Within 40 business days after the date of the Notice, or sooner if reasonable, the plan administrator must notify the


participant, alternate recipient, state agency, and any legal representatives or other parties indicated in the Notice,


using the spaces indicated on the Notice, that either-


    the Notice is a QMCSO; or

    the Notice is not a QMCSO (the plan administrator's reasons for rejecting the Notice should be indicated in the


        space provided on the Notice).


This notification generally can be provided by sending copies of the completed "Plan Administrator Response" to

the Notice to the parties. In addition, if the Notice is determined to be a QMCSO, the parties must be provided with


certain information, such as the effective date of the child's coverage (or the steps necessary to effectuate


coverage), a description of the coverage, and any forms or documents necessary to enroll in the plan. (See the


instructions to the Notice.)




  2. Upon Receipt of Any Other Order



Upon receipt of an order other than a National Medical Support Notice, the plan administrator must-


   promptly provide written notification to the participant and the alternate recipient named in the Notice (and their


       legal representatives, if any) (a) that the plan has received the Notice; and (b) of the plan's QMCSO


       procedures (For the Participant, the plan administrator should send the notification to the participant at the


       address shown in the employer's records. For the alternative recipient, the plan administrator should send


       the notification to the address in the order, or if the order does not specify such an address, to the last-


       known address shown in the employer's records); and review the order to determine if it meets the legal
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 207 of 281



          requirements of a QMCSO, using the Checklist attached to these procedures.


 Within a reasonable time after receipt of the order (the time limits for reviewing the National Medical Support


 Notice will be used as a guideline-see subsection A.l), the plan administrator must notify the participant and


 alternate recipient that either-




    the order is a QMCSO; or


    the order is not a QMCSO (an explanation of the defective or missing provisions should be included).


 Copies of the notification should also be provided to the parties' legal representatives, if any.



 B. Designation of Representative



 An alternate recipient may designate a representative to receive copies of notices that are sent to him or her with

 respect to an order.




C. Disputes



Within 30 days after the date of the plan administrator's notice as to whether an order is a QMCSO, the parties (or


their legal counsel) will have the right to submit written comments regarding the determination. After considering


any comments received, the plan administrator will make a final determination as to the qualified status of the


order. If no comments are received during the 30-day period, the decision will become final.




D. Resubmitted Orders



If an order (including a National Medical Support Notice) is determined to not be a QMCSO, the parties or agency

may submit a revised order to cure the deficiencies. If a revised order is submitted, the evaluation process in

subsection A is repeated.




                                        Article III. Additional Considerations



A. Checklist for Assessing Whether an Order Is a QMCSO
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 208 of 281



 The Checklist attached to these procedures includes a list of the provisions that are required for a medical child


 support order to be considered a QMCSO.



 B . Forms and Information



 Additional forms and information may be necessary to effectively administer benefits under an order that has been


 determined to be a QMCSO and to enroll the alternate recipient in the applicable plans. These forms and


 information include the following:


    The name and address of the alternate recipient's custodial parent, legal guardian, or other person(s) to whom


         the SPDs and other plan-related information and correspondence should be furnished following the


         alternate recipient's enrollment. Where an agency is involved (as in the case of a National Medical Support


         Notice), it may be necessary or appropriate to provide certain plan information and/or correspondence to


        the agency as well .


    A completed enrollment form, if required under the plan.

    A change in the participant's cafeteria plan election, if applicable. If benefits required to be provided under a


        QMCSO are paid for on a pre-tax basis, the QMCSO may qualify as a permitted election change event


        under the company's cafeteria plan. If applicable, and if the cafeteria plan document permits an election


        change on account of the QMCSO, the participant may submit a change in his or her cafeteria plan election


        in accordance with the cafeteria plan's rules.


   The name and address of an individual to whom it is expected that benefit reimbursements may be made for the


        alternate recipient's child's claimed expenses. The QMCSO rules provide that if medical expenses are paid


        by either the alternate recipient or the alternate recipient's custodial parent or legal guardian, a plan must


        reimburse that person (not the employee) for those expenses. If expenses are submitted for reimbursement,


        information identifying the individual to receive payment should be provided to the plan.


Note that a QMCSO may provide that a person or entity other than the participant is responsible to pay for the


alternate recipient's coverage. In such cases, the plan administrator should indicate how and when payment is to be


made. For example, payments might be required concurrent with each payroll period or on a monthly basis as


required of qualified beneficiaries receiving COBRA continuation coverage. The plan administrator should also


make sure that it has contact information for the person or entity who will be making the payments.
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 209 of 281



  C. Alternate Recipient as "Beneficiary"



  In general, the alternate recipient must be treated like any other covered child under each plan in which
                                                                                                            he or she is

  enrolled.


     Unless a QMCSO is more restrictive, the alternate recipient should be given the same coverage as
                                                                                                      would be

          provided to any other dependent child under the plan.


     The alternate recipient should be treated as a qualified beneficiary and offered COBRA continuation
                                                                                                         coverage

         upon the occurrence of a COBRA qualifying event (such as the participant's termination of employment
                                                                                                              or

         the alternate recipient's ceasing to qualify as a dependent child under the plan due to age).




 D. Alternate Recipient as "Participant"



 With respect to ERISA reporting and disclosure rules, the alternate recipient generally is to be treated
                                                                                                          like a

 participant under each plan in which he or she is enrolled. Therefore, the alternate recipient should
                                                                                                       be sent copies

 of all applicable disclosures as required by ERISA or other applicable laws, including, for example,
                                                                                                      summary plan

 descriptions and summaries of material modifications. These items generally should be furnished to
                                                                                                    the alternate

 recipient's custodial parent or guardian. (If the alternate recipient is an adult, the plan administrator may
                                                                                                               provide

copies to both the alternate recipient and the custodial parent or guardian.) Where an agency is involved
                                                                                                          (as in the

case of a National Medical Support Notice), it may be necessary or appropriate to provide copies of these
                                                                                                          items to

the agency as well. Note that the alternate recipient need not be counted as a participant for purposes
                                                                                                        of the annual

report (Form 5500).




E. Effective Date of Enrollment: Termination of Coverage



An alternate recipient generally will be enrolled in the plan as of the next regular enrollment date under
                                                                                                           the plan

(i.e., the date on which the plan regularly adds new participants and beneficiaries) following the plan


administrator's approval of an order as a QMCSO (or the date provided in the order, if later) and receipt
                                                                                                          of any

necessary enrollment forms. (If an employee is eligible for the plan but is not enrolled, he or she will
                                                                                                         also be

enrolled if his or her enrollment is necessary for the alternate recipient to have the coverage required
                                                                                                         under the

QMCSO.) However, if the employee has not yet satisfied the plan's waiting period, enrollment of the
                                                                                                    alternate
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 210 of 281



  recipient and employee will be delayed until the employee has completed the waiting period.
                                                                                              Coverage is effective

  as of the date of enrollment.



  Subject to the COBRA requirements of the Internal Revenue Code and ERISA, coverage for
                                                                                         the alternate recipient

  will cease if the alternate recipient ceases to be eligible to participate in the plan for any reason,
                                                                                                         including the

  following:




     The period for coverage under the QMCSO ends;


     The QMCSO is revoked or materially amended by a court of competent jurisdiction or through
                                                                                                an administra

         tive process;


     The participant ceases to be a participant under the terms of the plan or an applicable component
                                                                                                       plan of the

         plan;


    The participant ceases to be eligible for coverage under the terms of the plan or an applicable
                                                                                                    component plan

         of the plan; or


    Similarly situated beneficiaries cease to be eligible for coverage under the terms of the plan or
                                                                                                      an applicable

         component of the plan.




F. Special Consideration-Child Already Enrolled



The parties may submit an order (including a National Medical Support Notice) that purports
                                                                                            to require that a child

be covered under a plan in which he or she is already enrolled. In this circumstance, the plan administrator
                                                                                                             should

process the order under these procedures but should also inform the parties of the child's status
                                                                                                  as a current

beneficiary under the plan.



G. Plans With Multiple Options



An otherwise-qualified order may identify a plan or type of coverage with multiple options without
                                                                                                   designating the

option in which the alternate recipient is to be enrolled or the manner in which an option is
                                                                                              to be chosen. In the

case of a National Medical Support Notice, the administrator should follow the instructions in
                                                                                               the Notice regarding

plans with multiple options. For other orders, the plan administrator should enroll the alternate
                                                                                                  recipient in the
   Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 211 of 281



same option as the employee if the employee is enrolled in the plan. Otherwise, the plan administrator may follow


procedures similar to those in the National Medical Support Notice. That is, the plan administrator may, instead of


rejecting the order, provide the parties with information about the available options and direct them to make a


selection. If the plan has a default option, the plan administrator may also notify the parties that the alternate


recipient and employee will be enrolled in this option if a response is not received within a specified time period


(e.g., 20 business days).
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 212 of 281




                    Exhibit B
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 213 of 281




                  Berkley
                                        Oil & Gas
                                          a W. R. Berkley Company




                                 In the event of a loss,
           You may report your claim to your agent/broker, or you may contact
                     Berkley Oil and Gas Claims directly, anytime:


                        Phone: 877-51 5-CLMS / 877-515-2567
                                  Fax: 866-333-0298
                        E-mail: boaclaims@berklevoil-qas.com
                          Mailing Address: P. O. Box 420029
                                Houston, Texas 77242
Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 214 of 281



         NOTICE - TEXAS AUTOMOBILE BURGLARY AND THEFT PREVENTION
                              AUTHORITY FEE




 NOTICE: The Automobile Burglary and Theft Prevention Authority fee is payable in
 addition to the premium due under this policy. This fee partially or completely
 reimburses the insurer, as permitted by 28 TAC §5.205, for the $2.00 fee per motor
 vehicle year required to be paid to the Automobile Burglary and Theft Prevention
 Authority under Vernon's Annotated Revised Civil Statutes of the State of Texas, Article
 4413(37), §10, which was effective on June 6, 1991, and revised effective September 1,
 2011.




 CAPN 83 36 TX 01 14                                                           Page 1 of 1
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 215 of 281




IMPORTANT NOTICE                                                 AVISO IMPORTANTE


To obtain information or make a complaint:                       Para obtener information o para someter una
                                                                 queja:
You may call Berkley National, Berkley
Regional, Berkley Regional Specialty or StarNet                  Usted puede llamar al numero de telefono
Insurance Companies toll free telephone                          gratis de Berkley National, Berkley Regional,
number for information or to make a complaint                    Berkley Regional Specialty or StarNet
at:                                                              Insurance Companies para information o para
                                                                 someter una queja al:
                    1-877-490-1635
                                                                                     1-877-490-1635
You may contact the Texas Department of
Insurance to obtain information on companies,                    Puede comunicarse con el Departamento de
coverages, rights, or complaints at:                             Seguros de Texas para obtener information
                                                                 acerca de companlas, coberturas, derechos, o
                    1-800-252-3439                               quejas al:


You may write the Texas Department of                                                1-800-252-3439
Insurance:
                                                                 Puede escribir al Departamento de Seguros de
P. O. Box 149104                                                 Texas:
Austin, Texas 78714-9104
Fax: (512) 490-1007                                              P. O. Box 149104
Web: http://www.tdi.texas.gov                                    Austin, Texas 78714-9104
E-mail: ConsumerProtection@tdi.texas.gov                         Fax: (512) 490-1007
                                                                 Web: http://www.tdi.texas.gov
PREMIUM OR CLAIM DISPUTES                                        E-mail: ConsumerProtection@tdi.texas.gov

Should you have a dispute concerning your                        DISPUTAS SOBRE PRIMAS O RECLAMOS
premium or about a claim, you should contact
your producer first. If the dispute is not                       Si tiene una disputa concerniente a su prima o
resolved, you may contact the Texas                              a un reclamo, debe comunicarse con el agente
Department of Insurance.                                         primero. Si no se resuelve la disputa, puede
                                                                 entonces comunicarse con el departamento
ATTACH THIS NOTE TO YOUR POLICY                                  (TDI).


This notice is for information only and does not                 UNA ESTE AVISO A SU POLIZA
become a part or condition of the attached
document.                                                        Este aviso es solo para proposito de
                                                                 information y no se convierte en parte o
                                                                 condition del documento adjunto.




IL 83 00 TX 08 16        Includes material copyrighted by the Texas Department of Insurance with its   Page 1 of 1
                                                         permission
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 216 of 281



                                                                                                 IL P 001 01 04



   U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
              ASSETS CONTROL ("OFAC")
         ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
   • Foreign agents;

   • Front organizations;
   • Terrorists;
   • Terrorist organizations; and
   • Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treas
ury's web site - http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 01 04                               © ISO Properties, Inc., 2004                            Page 1 of 1
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 217 of 281


                                                                                                 PR IV NT C1 06 01



                                         PRIVACY NOTICE

Berkley Regional Insurance Company (the "Company"), a member company of the W.R. Berkley Corporation
("Berkley") group of companies and each other member of the Berkley group of companies ("Affiliates ^understands
our customers' concern about privacy of their information collected by the Company. Our Company is dedicated to
protecting the confidentiality and security of nonpublic personal information we collect about our customers in
accordance with applicable laws and regulations, this notice refers to the Company by using the terms "us," "we,"
or "our." This notice describes our privacy policy and describes how we treat the nonpublic personal information
about our customers that we receive from ihem ( Information").



Why We Collect and How We Use Information.

We collect and use Information for business purposes with respect to our insurance products and services and
other business relations involving our customers. We gather this Information to evaluate your request for insurance,
to evaluate your insurance claims, to administer, maintain, or review your insurance policy, and to process your
insurance transactions. We also accumulate certain information about you as may be required or permitted by law.

Your insurance agent or broker also collects this Information and may use it to help with your overall insurance
program or to market additional products and services to you. We may also use Information to offer you other
products or services that we or our Affiliates provide.

How We Collect Information.

Most Information collected by us is provided by you or your insurance agent or broker to us. We obtain   Information
from (i) applications or other forms submitted by you, your insurance agent or broker or your             authorized
representatives to us and our Affiliates, and (ii) your transactions with us or our Affiliates. We may   also obtain
Information from other sources such as (i) consumer reporting agencies, (ii) other institutions or       information
services providers, (iii) employers, (iv) other insurers, or (v)your family members.

Information We Disclose

We disclose any Information which we believe is necessary to conduct our business as permitted by applicable law
or where required by applicable law. This disclosure may include (i) Information we receive from you on
applications or other forms provided to us and our Affiliates, such as names, addresses, social security numbers,
assets, employer information, salaries, etc. (ii)lnformation about your transactions with us and our Affiliates, such
as policy coverages, premiums, payment history, etc., and (iii) Information we receive from a consumer reporting
agency, such as credit worthiness and credit history.

To Whom We Disclose Information

We may, as permitted or required by applicable law, disclose your Information to nonaffiliated third parties, such as
(i) your insurance agent or broker, (ii) independent claims adjusters, (iii) insurance support organizations, (iv)
processing companies, (v) actuarial organizations, (vi) law firms, (vii) other insurance companies involved in an
insurance transaction with you, (viii) law enforcement, regulatory, or governmental agencies, (ix) courts or parties
therein pursuant to a subpoena or court order, (x) businesses with whom we have a marketing agreement, or (xi)
our Affiliates.

We may share Information with our Affiliates so that they may offer you products and services from the Berkley
group of companies or to analyze our book of business and to consolidate necessary information. We do not
disclose Information to other companies or organizations not affiliated with us for the purpose of using Information
to sell their products or services to you. For example, we do not sell your name to unaffiliated mail order or direct
marketing companies.

How We Protect Information

We require our employees to protect the confidentiality of Information as required by applicable law. Access to
Information by our employees is limited to administering, offering, servicing, processing or maintaining of our
products and services. We also maintain physical, electronic and procedural safeguards designed to protect
Information. When we share or provide Information to other persons or organizations, we contractually obligate
them, if required by law, to treat Information as confidential and conform to our privacy policy and applicable laws
and regulations.

PR IV NT C1 06 01                                                                                        Page 1 of 2
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 218 of 281



Correction and Access to Information

Upon our receipt of your written request to us at P.O. Box 420029, Houston, TX 77242, we will, generally, make
available Information for your review. If you believe the Information we have about you is incorrect or inaccurate,
you may request that we make any necessary corrections, additions or deletions. If we agree with your belief, we
will correct our records if required by applicable law. If we do not agree, you may submit to us a short statement of
dispute, which we will include in any future disclosure by us of such Information if required by applicable law.

Requirements for Privacy Notice

This privacy notice is being provided due to recently enacted federal and state laws and regulations establishing
new privacy standards and requires us to provide this privacy policy. For additional information regarding our
privacy policy, please write to us at P.O. Box 420029, Houston, TX 77242.

Adopted: June 1, 2001




Page 2 of 2                                                                                      PR IV NT C1 06 01
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 219 of 281


                                                                                                  IL 83 03 TX 10 13




   POLICYHOLDER NOTICE - LOSS CONTROL SERVICES - TEXAS

Berkley Regional Insurance Company is committed to providing loss control information/services, at no charge to
its Texas commercial automobile liability, general liability and professional liability policyholders in an effort to
prevent and reduce potential claims and losses.



Upon request, Berkley Regional Insurance Company will provide you loss control information relevant to your loss
exposures. Our loss control information shall be reasonably suited to the hazard, loss experience, size, and nature
of your business operation.


Depending upon your loss exposures, such information may include loss prevention survey forms, risk exposure
self-analysis, staff training material, accident and loss self-analysis material, worker health and safety self-
evaluation forms, risk improvement recommendations, educational material, and literature related to your specific
profession or industry.



If you have questions or wish to discuss this matter, contact our Texas Loss Control Service coordinating
representative at 1-877-589- RISK (7475).




THIS NOTICE DOES NOT CHANGE, ALTER, OR AMEND ANY TERMS OR CONDITIONS OF YOUR
INSURANCE POLICY.




IL 83 03 TX 10 13                                                                                       Page 1 of 1
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 220 of 281




                Berkley Regional Insurance Company
   A Berkley Company A Stock Company
   Domicile Address: Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801-1155
   Administrative Office: 11201 Douglas Avenue, Urbandale, IA 50322-3707




                                                                                                             IL DS 83 00 08 15




                              COMMERCIAL LINES POLICY
                         COMMON POLICY DECLARATIONS
                                                        Renewal
  Policy No.:   ECA 3124892 - 12                                                                   Billing Method: Direct Bill
  Previous Policy No.: 3124892-11                                                                          Payment Plan: 9A
  Named Insured Name and Address                                       Agency Name and Address                      42M008
  Four Six Services, LLC                                               MHBT, Inc.
  PO Box 4923                                                          8144 Walnut Hill Lane, 16th floor
  Lago Vista, TX 78645                                                 Dallas, TX 75231


 POLICY PERIOD: From 05/30/2017 to 05/30/2018 at 12:01 A.M. Standard Time at your mailing address shown
 above.


 Business Description: Well Pressure Control Services

 Form of Business: Limited Liability Company

 IN RETURN FOR YOUR PAYMENT OF THE PREMIUM AND SUBJECT TO ALL TERMS OF THIS POLICY, WE
 AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

[This policy consists of the following coverage parts for which a premium is
| JNDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

 Commercial Auto Coverage Part Premium                                                $
                 Automobile Burglary and Theft Prevention Authority Feo:              $

 TOTAL:                                                                               $


 FORMS APPLICABLE TO ALL COVERAGE PARTS


  See attached "Schedule of Forms and Endorsements "

 THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGES
 FORM(S) AND ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.

Countersigned:                                                By:
                           (Date)                                                (Authorized Representative)




 IL DS 83 00 08 15         Includes material copyrighted by Insurance Services Office, Inc., with its permission   Page 1 of 2
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 221 of 281


Policy No.:     ECA 3124892 - 12




IN WITNESS WHEREOF, we have executed and attested these presents.



       Secretary                                             President




Page 2 of 2   Includes material copyrighted by Insurance Services Office, Inc., with its permission   IL DS 83 00 08 15
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 222 of 281


                                                                                                  COMMERCIAL COMMON POLICY
                                                                                                              CLIL FS 01 09 08


Policy Number: ECA 3124892 - 12


                SCHEDULE OF FORMS AND ENDORSEMENTS

The following Declarations, Coverage Forms, Conditions, and Endorsements are applicable to:

                                                   Commercial Common Policy

State             Number            Edition        Description
ALL              CL IL FS 01        09-2008        Schedule of Forms and Endorsements
ALL              IL 00 17           11-1998        Common Policy Conditions
ALL              IL 83 19           08-2015        Office Of Foreign Asset Control (OFAC) Exclusion Endorsement
ALL              IL 83 27           12-2014        Notice of Cancellation to Third Parties
ALL              IL DS 83 00        08-2015        Commercial Lines Policy Common Policy Declarations


                                                    Commercial Auto Coverage Part


State             Number            Edition        Description
ALL               IL 00 03          09-2008        Calculation of Premium
ALL               IL 00 21          09-2008        Nuclear Energy Liability Exclusion Endorsement - Broad Form


ALL = ALL states on the policy
ALL* = Applies to all states on the policy unless a specific state form is designated




CL IL FS 01 09 08                                                                                                   Page 1 of 1
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 223 of 281



                                                                         IL 00 03 09 08


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            CALCULATION OF PREMIUM

This endorsement modifies insurance provided under the following:


   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                            © ISO Properties, Inc., 2007      Page 1 of 1
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 224 of 281


                                                                                                          IL 00 17 11 98




                            COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.


A. Cancellation                                                       b. Give you reports on the conditions we find;
                                                                         and
   1. The first Named Insured shown in the Declara
      tions may cancel this policy by mailing or de                   c. Recommend changes.
      livering to us advance written notice of cancel            2. We are not obligated to make any inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv                 such actions we do undertake relate only to in
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety inspections. We do not un
                                                                    dertake to perform the duty of any person or
       a.    10 days before the effective date of cancel
                                                                    organization to provide for the health or safety
             lation if we cancel for nonpayment of pre
                                                                    of workers or the public. And we do not warrant
             mium; or
                                                                    that conditions:
       b. 30 days before the effective date of cancel
                                                                      a. Are safe or healthful; or
          lation if we cancel for any other reason.
                                                                      b. Comply with       laws,   regulations,   codes or
   3. We will mail or deliver our notice to the first
                                                                         standards.
      Named Insured's last mailing address known to
       us.                                                       3. Paragraphs 1. and 2. of this condition apply
                                                                    not only to us, but also to any rating, advisory,
   4. Notice of cancellation will state the effective
                                                                    rate service or similar organization which
      date of cancellation. The policy period will end
                                                                    makes insurance inspections, surveys, reports
      on that date.
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
                                                                 4.   Paragraph 2. of this condition does not apply
      Named Insured any premium refund due. If we
                                                                      to any inspections, surveys, reports or recom
      cancel, the refund will be pro rata. If the first
                                                                      mendations we may make relative to certifica
      Named Insured cancels, the refund may be
                                                                      tion, under state or municipal statutes, ordi
      less than pro rata. The cancellation will be ef
                                                                      nances or regulations, of boilers, pressure ves
      fective even if we have not made or offered a
                                                                      sels or elevators.
       refund.
                                                             E. Premiums
   6. If notice is mailed, proof of mailing will be suf
      ficient proof of notice.                                   The first Named Insured shown in the Declara
                                                                 tions:
B. Changes
                                                                 1 . Is responsible for the payment of all premiums;
   This policy contains all the agreements between
                                                                     and
   you and us concerning the insurance afforded.
   The first Named Insured shown in the Declara                  2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                   pay.

   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                 Your rights and duties under this policy may not
C. Examination Of Your Books And Records                         be transferred without our written consent except
   We may examine and audit your books and rec                   in the case of death of an individual named in
   ords as they relate to this policy at any time during         sured.
   the policy period and up to three years afterward.            If you die, your rights and duties will be trans
D. Inspections And Surveys                                       ferred to your legal representative but only while
                                                                 acting within the scope of duties as your legal rep
   1. We have the right to:
                                                                 resentative. Until your legal representative is ap
       a. Make inspections and surveys at any time;              pointed, anyone having proper temporary custody
                                                                 of your property will have your rights and duties
                                                                 but only with respect to that property.




IL 00 17 11 98                    Copyright, Insurance Services Office, Inc., 1998                            Page 1 of 1    D
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 225 of 281



                                                                                                     IL 00 21 09 08


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 NUCLEAR ENERGY LIABILITY EXCLUSION
                                          ENDORSEMENT
                                                   (Broad Form)



This endorsement modifies insurance provided under the following:


   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1 . The insurance does not apply:                              C. Under any Liability Coverage, to "bodily injury"
                                                                  or "property damage" resulting from "hazard
   A. Under any Liability Coverage, to "bodily injury"
                                                                  ous properties" of "nuclear material", if:
      or "property damage":
                                                                  (1) The "nuclear material" (a) is at any "nuclear
      (1) With respect to which an "insured" under
                                                                      facility" owned by, or operated by or on be
          the policy is also an insured under a nu
                                                                      half of, an "insured" or (b) has been dis
          clear energy liability policy issued by Nu
                                                                      charged or dispersed therefrom;
          clear Energy Liability Insurance Associa
          tion,    Mutual      Atomic   Energy Liability          (2) The "nuclear material" is contained in
          Underwriters, Nuclear Insurance Associa                     "spent fuel" or "waste" at any time pos
          tion of Canada or any of their successors,                  sessed, handled, used, processed, stored,
          or would be an insured under any such pol                   transported or disposed of, by or on behalf
          icy but for its termination upon exhaustion                 of an "insured"; or
          of its limit of liability; or                           (3) The "bodily injury" or "property damage"
      (2) Resulting from the "hazardous properties"                   arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                   of services, materials, parts or equipment in
          which (a) any person or organization is re                  connection with the planning, construction,
          quired to maintain financial protection pur                 maintenance, operation or use of any "nu
          suant to the Atomic Energy Act of 1954, or                  clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in                  within the United States of America, its terri
          sured" is, or had this policy not been issued               tories or possessions or Canada, this ex
          would be, entitled to indemnity from the                    clusion (3) applies only to "property dam
          United States of America, or any agency                     age" to such "nuclear facility" and any
          thereof, under any agreement entered into                   property thereat.
          by the United States of America, or any           2. As used in this endorsement:
          agency thereof, with any person or organi
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in
                                                                "Nuclear material" means "source material", "spe
                                                                cial nuclear material" or "by-product material".
      jury" resulting from the "hazardous properties"
      of "nuclear material" and arising out of the op
      eration of a "nuclear facility" by any person or
      organization.




IL 00 21 09 08                              © ISO Properties, Inc., 2007                                 Page 1 of 2
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 226 of 281



   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
                                                                     the "insured" at the premises where such
   "Spent fuel" means any fuel element or fuel com
                                                                     equipment or device is located consists of
   ponent, solid or liquid, which has been used or ex
                                                                     or contains more than 25 grams of pluto
   posed to radiation in a "nuclear reactor".
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
                                                                     disposal of "waste";
   resulting from the operation by any person or or
   ganization of any "nuclear facility" included under        and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu          is located, ali operations conducted on such site
   clear facility".                                           and all premises used for such operations.

   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
                                                              or used to sustain nuclear fission in a self-
     (a) Any "nuclear reactor";
                                                              supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used             mass of fissionable material.
         for (1) separating the isotopes of uranium or
                                                               "Property damage" includes all forms of radioac
         Plutonium, (2) processing or utilizing "spent
                                                               tive contamination of property.
         fuel", or (3) handling, processing or packag
          ing "waste";




Page 2 of 2                                © ISO Properties, Inc., 2007                           IL 00 21 09 08
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 227 of 281


                                                                                                      INTERLINE
                                                                                                   IL 83 19 08 15



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ CAREFULLY

           OFFICE OF FOREIGN ASSET CONTROL (OFAC)
                              EXCLUSION ENDORSEMENT
No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any benefit
hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would
expose that insurer to any sanction, prohibition or restriction under United Nations resolutions or the trade or
economic sanctions laws or regulations of the European Union, United Kingdom or the United States.




IL 83 19 08 15                                                                                          Page 1 of 1
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 228 of 281


                                                                                                                                      INTERLINE
                                                                                                                               IL 83 27 1214


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             NOTICE OF CANCELLATION TO THIRD PARTIES
This endorsement modifies insurance provided under the following:

    ABUSE OR MOLESTATION LIABILITY COVERAGE FORM
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL CRIME COVERAGE PART
    COMMERCIAL EXCESS LIABILITY COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
    COMMERCIAL OUTPUT PROGRAM
    COMMERCIAL PROPERTY COVERAGE PART
    PROFESSIONAL LIABILITY COVERAGE FORM

                                                                SCHEDULE
 Schedule of Person(s) or Organization(s):
 Any person or Organization required by written contract to receive such notice, as evidenced by list on file with
 Company,
 Number of Days Notice: 30

 (If no entry appears above, information required to complete this Schedule will be shown in the Declarations as applicable to this
 endorsement.)


Common Policy Conditions Condition A, Cancellation, is amended to include the following:

    Notice of cancellation will be also be provided to the person(s) or organization(s) listed in the schedule above.




IL 83 27 12 14       Includes copyrighted material of Insurance Services Office, Inc. with its permission.                        Page 1 of 1
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 229 of 281


                                                                                                       IL N 101 11 15




 TEXAS NOTICE TO INSURANCE CLAIMANTS FOR MOTOR
                 VEHICLE REPAIRS
                         (This form was developed by the Texas Department of Insurance.)


THIS NOTICE IS REQUIRED BY LAW. IT DOES NOT CONSTITUTE AN ADMISSION OF LIABILITY BY THE
INSURANCE COMPANY.

REQUIRED NOTICE TO INSURANCE CLAIMANTS FOR MOTOR VEHICLE REPAIRS.

By law, you have the right to select where your motor vehicle is repaired and the parts used for repairs. However,
an insurance company is not required to pay more than a reasonable amount for such repairs and parts. Your
statutory rights regarding motor vehicle repairs are explained in the copy of the Insurance Code §§ 1952.301 to
1952.307, printed on the reverse side of this notice or attached to this notice. If the costs of repairing your vehicle
are to be paid under an insurance policy issued by us, the nature of the coverage is stated in more detail in the
applicable policy. For detailed information regarding the insurance policy, contact:


NAME OF INSURANCE COMPANY:
Berkley Regional Insurance Company
MAILING ADDRESS:
11201 Douglas Avenue
Urbandale, IA 50322
TELEPHONE: 800-343-0592
FAX: 630-210-0377
E-MAIL OR WEB ADDRESS:


For questions about your statutory rights regarding motor vehicle repairs under the Insurance Code §§ 1952.301 to
1952.307, contact the Texas Department of Insurance. You may write to the Consumer Protection Division at P.O.
Box    149104,     Austin,      TX     78714-9104,       call   1-800-252-3439,      fax    1-512-490-1007, e-mail
ConsumerProtection(a).tdi. texas. gov, or visit the Department online at www.tdi.texas.gov.




IL N 101 11 15                                                                                            Page 1 of 4
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 230 of 281


LA LEY REQUIERE ESTE AVISO, PERO NO CONSTITUYE ADMISION DE RESPONSABILIDAD CIVIL DE LA
COMPANIA ASEGURADORA.


AVISO OBLIGATORIO A LOS QUE PRESENTAN RECLAMACIONES

PARA REPARACION DE VEHICULO DE MOTOR


Por ley, usted tiene derecho a escoger donde desea que su vehiculo sea reparado y las refacciones que se usen
en la reparacion. Sin embargo, la compania aseguradora no esta obligada a pagar mas de la cantidad razonable
por las reparaciones y refacciones. Sus derechos por estatuto concernientes a las reparaciones de vehiculo de
motor estan descritos en la copia del Codigo de Seguros §§ 1952.301 a 1952.307, impreso al reverse de este
aviso o adjunto a este aviso. Si el costo de reparar su vehiculo debe ser pagado bajo una poliza de seguro que
nosotros dimos, la naturaleza tecnica de la cobertura es establecida en mas detalle en la poliza aplicable. Para
informacion detallada acerca de la poliza de seguro, contacte:


NOMBRE DE LA COMPANIA ASEGURADORA:
Berkley Regional Insurance Company
DIRECCION DE CORREOS:
11201 Douglas Avenue
Urbandale, IA 50322
TELEFONO:      800-343-0592
FAX: 630-210-0377
DIRECCION DE E-MAIL O INTERNET:


Para preguntas sobre sus derechos por estatuto respecto a las reparaciones de vehiculo de motor bajo el Codigo
de Seguros §§ 1952.301 a 1952.307, comuniquese con el Departamento de Seguros de Texas (Texas Department
of Insurance o TDI). Puede escribir a Consumer Protection Division al P.O. Box 149104, Austin, TX 78714-9104,
llamar al 1-800-252-3439, enviar fax al 1-512-490-1007, e-mail a ConsumerProtection(a).tdi. texas. gov o visitar el
sitio electronico de TDI por internet al www.tdi.texas.aov.




Page 2 of 4                                                                                         ILN 101 11 15
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 231 of 281


TEX.INS.CODE.ANN. § 1952.301


LIMITATION ON PARTS, PRODUCTS, OR REPAIR PERSONS OR FACILITIES PROHIBITED.

(a) Except as provided by rules adopted by the commissioner, under an automobile insurance policy that is
    delivered, issued for delivery, or renewed in this state, an insurer may not directly or indirectly limit the insurer's
    coverage under a policy covering damage to a motor vehicle by:

    (1) specifying the brand, type, kind, age, vendor, supplier, or condition of parts or products that may be used to
        repair the vehicle; or

    (2) limiting the beneficiary of the policy from selecting a repair person or facility to repair damage to the
        vehicle.

(b) In settling a liability claim by a third party against an insured for property damage claimed by the third party, an
    insurer may not require the third-party claimant to have repairs made by a particular repair person or facility or
    to use a particular brand, type, kind, age, vendor, supplier, or condition of parts or products.

TEX.INS.CODE.ANN. § 1952.302


PROHIBITED ACTS IN CONNECTION WITH REPAIR OF MOTOR VEHICLE.

In connection with the repair of damage to a motor vehicle covered under an automobile insurance policy, an
insurer, an employee or agent of an insurer, an insurance adjuster, or an entity that employs an insurance adjuster
may not:

    (1) solicit or accept a referral fee or gratuity in exchange for referring a beneficiary or third-party claimant to a
        repair person or facility to repair the damage;

    (2) state or suggest, either orally or in writing, to a beneficiary that the beneficiary must use a specific repair
        person or facility or a repair person or facility identified on a preferred list compiled by an insurer for the
        damage repair or parts replacement to be covered by the policy; or

    (3) restrict the right of a beneficiary or third-party claimant to choose a repair person or facility by requiring the
        beneficiary or third-party claimant to travel an unreasonable distance to repair the damage.

TEX.INS.CODE.ANN. § 1952.303


CONTRACTS BETWEEN INSURER AND REPAIR PERSON OR FACILITY.

(a) A contract between an insurer and a repair person or facility, including an agreement under which the repair
    person or facility agrees to extend discounts for parts or labor to the insurer in exchange for referrals by the
    insurer, may not result in a reduction of coverage under an insured's automobile insurance policy.

(b) The commissioner may adopt rules under Chapter 542 with respect to any fraudulent activity of any party to an
    agreement described by Subsection (a).




IL N 101 11 15                                                                                                Page 3 of 4
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 232 of 281


TEX.INS.CODE.ANN. § 1952.304


PROVISION OF INFORMATION REGARDING REPAIRS.

An insurer may not prohibit a repair person or facility from providing a beneficiary or third-party claimant with
information that states:


    (1) the description, manufacturer, or source of the parts used; and

    (2) the amounts charged to the insurer for the parts and related labor.

TEX.INS.CODE.ANN. § 1952.305


NOTICE OF RIGHTS REGARDING REPAIR OF MOTOR VEHICLE.


(a) At the time a motor vehicle is presented to an insurer, an insurance adjuster, or other person in connection with
    a claim for damage repair, the insurer, insurance adjuster, or other person shall provide to the beneficiary or
    third-party claimant notice of the provisions of this subchapter.

(b) The commissioner shall adopt a rule establishing the method or methods insurers must use to comply with the
    notice provisions of this section.


TEX.INS.CODE.ANN. § 1952.306


COMPLAINTS.


A beneficiary, third-party claimant, or repair person or facility may submit a written, documented complaint to the
department with respect to an alleged violation of this subchapter.


TEX.INS.CODE.ANN. § 1952.307


RULES.


Rules adopted by the commissioner to implement this subchapter must include requirements that:

    (1) any limitation described by Section 1952.301(a) be clearly and prominently displayed on the face of the
        insurance policy or certificate in lieu of an insurance policy; and
    (2) the insured give written consent to a limitation described by Section 1 952.301 (a) after the insured is notified
        orally and in writing of the limitation at the time the insurance policy is purchased.




Page 4 of 4                                                                                               ILN 101 11 15
             Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 233 of 281


                                                                                                           COMMERCIAL AUTO
                                                                                                              CA DS 83 00 08 14


 Issuing Company: Berkley Regional Insurance Company


                               BUSINESS AUTO DECLARATIONS
                                                                                                       Previous Policy No : 3124892-11
 Policy No.: EGA 3124892 - 12


 ITEM ONE
 NAMED INSURED AND ADDRESS                                       AGENCY NAME AND ADDRESS                          42M008
 Four Six Services, LLC                                          MHBT, Inc.
 PO Box 4923                                                     8144 Walnut Hill Lane, 16th floor
 Lago Vista. TX 78645                                            Dallas, TX 75231


 POLICY Period: From" 05/30/2017 to 05/30/2018 12:01 A.M. Standard Timeat your Mailing Address shown above"
 Form of Business:      Limited Liability Company


 ITEM TWO - Schedule of Coverages and Covered Autos
 This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will
 apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos" for a particular coverage by
 the entry of one or more of the symbols from the Covered Autos Section of the Business Auto Coverage Form next to
 the name of the coverage.
                   Coverages                     Covered                             Limits
                                                    Auto
 Liability                                                   $1,000,000                                           am                     i
 Personal Injury Protection (or equivalent                    Stated In PIP Endorsement
No-fault Coverage)
Added Personal Injury Protection (or                         Stated in Added PIP Endorsement
eg uivalent add od No-fault Coverage)
 Extraordinary Medical Benefits                              Stated in Extraordinary Medical Benefit
 (N/A in FL)                                                  Endorsement
 Auto Medical Payments                                       $                                                       a
 Medical Expense And Income Loss                             Stated In Medical Expense And Income Loss
 Benefits (VA only)                                          Benefits Endorsement
                                                             Stated In UM Endorsement
                                                                                                                  H
 Uninsured Motorists                                 2
 Underinsured Motorist (When not included
 in Uninsured Motorists Coverage)
 Uninsured Motorists (Virginia Only)
                                                             Stated In UIM Endorsement


                                                             S
                                                                                                                  i
 Physical Damage Comprehensive                      7.8      Actual Cash Value Or Cost Of Repair. Whichever
Coverage (See Item Four for Hired or                         Is Less. Minus The Deductible Shown On The
 Borrowed Autos)                                             Schedule. However, No Deductible Applies To
                                                             Loss Caused By Fire Or Lightning
 Physical Damage Specified Causes Of                         Actual Cash Value Or Cost Of Repair, Whichever
 Loss Coverage (See Item Four for Hired or                    Is Less, Minus The Deductible Shown On The
 Borrowed Autos)                                             Schedule For Each Covered Auto, For Loss
                                                             Caused By Mischief Or Vandalism.
 Physical Damage Collision Coverage See             7.8      Actual Cash Value Or Cost Of Repair. Whichever          $
 Item Four for Hired or Borrowed Autos                        Is Less, Minus The Deductible Shown On The
                                                             Schedule For Each Covered Auto.
 Physical Damage Towing And Labor                            See Schedule For Each Disablement Of A                  $
                                                             Private Passenger Auto.
                                                                                    Premium For Endorsements         $
                                                                                               MCCA Premium          $
                                                                                      Estimated Total Premium        51
 IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
 WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
"Audit Period (If Applicable): ANNUALLY ~
 Endorsements Attached To This Policy:
             See attached "Schedule of Forms and Endorsements"




 CA DS 83 00 08 14           Includes material copyrighted by Insurance Services Office, Inc., with its permission        Page 1 of 8
                  Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 234 of 281


Policy No.:                  ECA 3124892 - 12



ITEM THREE - Schedule of Covered Autos You Own
Veh                                                    DESCRIPTION                                                  Original            Stated Amount
No.                                                                                                               Cost New
                  Year         Model                                    VIN Number
      1                        Freightliner M2 106 Medium                                                   $               85,000 $
                   2015                                                3ALACXCY3FDGG6665
                               Duty
      2            2014        Kearney Trailers                        5LCFT3223E1 033638                   $               24,000 $
      3            2014        Kearney Trailers                        5LCFT3221E1 033637                   $               24,000 $
      4                        Chevrolet Silverado K2500                                                    $               38,268 $
                   2013                                                1GC1 KVC87DF204892
                               Heavy Dut
      5            2013        Chevrolet Silverado                     1GC1 KVC88DF139938                   $               36,500 $


Veh                                    CLASSIFICATION                                        TERRITORY (Principal Garage Location)
No.                 Code         Radius                 Use           Size (GVW)
                                 (Miles)
      1           31499         0-50           Service               45,000 lbs          Hudson Oaks                        TX         Terr    046
      2           68499         0-50           N/A                                       Hudson Oaks                        TX         Terr    046
      3           68499         0-50           N/A                                       Hudson Oaks                        TX         Terr    046
   4              01499         0-50           Service               10,000 lbs          Hudson Oaks                        TX         Terr    046

      5           01499         0-50           Service               10,000 lbs          Hudson Oaks                        TX         Terr    046



                                                                             Coverages
Veh               CSL           Personal                Extra        Med          Medical       Uninsured                Underinsured          SUM

No.               Limit*        Injury                  Med          Pay          Expense       (UM) Limit*              (UIM) Limit*          Limit*
                                Protection              Limit*       Limit        & Income
                                Ded          Add I                                Loss
      1             1,000                                                                             1,000
   2                1,000                                                                             1,000
   3                1,000                                                                             1,000
   4                1,000                                                                             1,000
   5                1,000                                                                             1,000
'Limits Shown Are In Thousands

                                                                             PREMIUMS
Veh                 CSL             Basic              Addl      Extra             Med       Med Exp                UM                UIM           SUM

No.                                   PIP              PIP           Med           Pay       & Income
      1       $     1,087.00    $           9.00 J               $            $             S                 $      178.00      S              $
   2          $        95.00    $           1.00 $               $            $             S                 $     Included     $              $
   3          $        95.00    $           1.00" $              $            $             s                 $     Included     $              $
   4 $"               948.00    $           9.00   $             $            $             s                 $      178.00      S              $
   5          $       948.00    $           9.00   $             $            $             S                 $ " 178.00 $                      $


Veh                      PHYSICAL DAMAGE COVERAGE                                        PHYSICAL DAMAGE PREMIUMS                                   Total

No.                           Ded u ctibles                      Towing            Comp         Specified            Coll            Towing    Premium

                   Comp          Specified              Coll     & Labor                        Cause of                             & Labor
                                 Cause of                            Limit                          Loss
                                    Loss
          1         2,000                              2,000                   $                $               $                $             $
          2         1,000                              1,000                   $                $               $                $             $
          3         1,000                              1,000                   $                $               $                $             $
          4         1,000                              1,000                   $                $               $                $             $
          5         1,000"                             1,000                   $                $             EL                 $             $




Page 2 of 8                  Includes material copyrighted by Insurance Services Office, Inc., with its permission                   CA DS 83 00 08 14
              Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 235 of 281


Policy No.:             ECA 3124892 - 12

ITEM THREE Schedule of Covered Autos You Own (Continued)

Veh                                                 DESCRIPTION                                                   Original               Stated Amount
No.                                                                                                               Cost New
              Year           Model                                      VIN Number
      6        2013          Chevrolet Silverado                    1 GC1 KVC85DF 141 338                $                36,500    $
      7        2011          Dodge Ram Truck                        3D6WU7CLXBG529509                    $                45,890    $
      8        2015          Southwest Goooserieck                  1 S9FG3224FS683 1 70                 $                24,000    $
      9        2015          Southwest Goooseneck                   1 S9FG3224FS6831 7 1                 S                24,000    $
  10           2012          Ram 5500 Chassis                       3C7WDNFL7CG1 90508                   $                46,765 $


Veh                                  CLASSIFICATION                                          TERRITORY (Principal Garage Location)
No.             Code           Radius                Use           Size (GVW)
                               (Miles)
      6       01499           0-50            Service             10,000 lbs          Hudson Oaks                         TX            Terr   046

      7       21499           0-50           Service              20,000 lbs          Hudson Oaks                         TX            Terr   046
      8       68499           0-50            N/A                 20,000 lbs          Hudson Oaks                         TX            Terr   046
      9       68499           0-50            N/A                 20,000 lbs          Hudson Oaks                         TX            Terr   046
  10          21499           0-50           Service              20,000 lbs          Hudson Oaks                         TX            Terr   046



                                                                          Coverages

Veh           CSL             Personal               Extra        Med          Medical        Uninsured                 Underinsured            SUM
No.           Limit*          Injury                 Med          Pay          Expense        (UM) Limit*               (UIM) Limit*            Limit*
                              Protection             Limit*       Limit        & Income
                              Ded          Add I                               Loss
      6         1,000                                                                              1,000
      7         1,000                                                                              1,000
      8         1,000                                                                              1,000
      9         1,000                                                                              1,000
  10     1,000                                                                                     1,000
*Limits Shown Are In Thousands

                                                                          PREMIUMS
Veh             CSL               Basic             Addl       Extra            Med       Med Exp                  UM               UIM              SUM

No.                                 PIP             PIP           Med           Pay       & Income
      6   $         948.00    $        9.00    S              $            $             S                   $|     178.00 S                     $
      ' $           996.00 $           9.00    $              S            $             $                 $        178.00 S                     $
      8 $            95.00 $              1.00 s              $            $             $                   $    Included     $                 V
      9   $          95.00    $           1.00 "S             s            $             s                   $    Included     $                 $
  10      $         996.00    $        9.00    S              s            $             S                   $      178.00     $                1

Veh                  PHYSICAL DAMAGE COVERAGE                                         PHYSICAL DAMAGE PREMIUMS                                       Total

No.                      Deductibles                           Towing           Comp         Specified             Coll            Towing       Premium

               Comp           Specified              Coll     & Labor                         Cause of                             & Labor

                               Cause of                           Limit                          Loss
                                  Loss
      6         1,000                               1,000                   $                $                $                $                S
      7         1,000                               1,000                   $                s                s                $                $
      8         1,000                               1,000                   $                s                s                $                s
      9         1,000                               1,000                   $                s                s                $                s
  10            1,000                               1,000'                  $                s                s                $                s




CA DS 83 00 08 14                    Includes material copyrighted by Insurance Services Office, Inc., with its permission                     Page 3 of 8
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 236 of 281


Policy No.:            ECA 3124892- 12


ITEM THREE Schedule of Covered Autos You Own (Continued)

Veh                                             DESCRIPTION                                                    Original            Stated Amount
No.                                                                                                            Cost New
            Year           Model                                    VIN Number
  11         2013          RAM 5500                              3C7WRNFL1 DG595069                    $               48,310 $
  12         2013          RAM 5500                              3C7WRNFLXDG595006                     S               48,310 $
  13         2010          Toyota Tundra                         5TFUW5F1XAX1 18675                    S               30,500 $
  14          1997         Fontaine                              13N248306V1 575028                    $               11,950.$
  15         2008          Toyota Tundra                         5TFDV541 08X037376                    S               19,0001$


Veh                               CLASSIFICATION                                       TERRITORY (Principal Garage Location)
No.           Code           Radius              Use           Size (GVW)
                             (Miles)
  11        21499          0-50          Service               20,000 lbs          Hudson Oaks                         TX         Terr   046
  12        21499          0-50          Service               20,000 lbs          Hudson Oaks                         TX         Terr   046
  13        01499          0-50          Service               10,000 lbs          Hudson Oaks                         TX         Terr   046
  14        68499          0-50          N/A                   20,000 lbs          Hudson Oaks                         TX         Terr   046
  15        01499          0-50          Service               10,000 lbs          Hudson Oaks                         TX         Terr   046


                                                                       Coverages
Veh         CSL            Personal              Extra        Med            Medical       Uninsured                 Underinsured        SUM
No.         Limit*         Injury                Med          Pay           Expense        (UM) Limit*               (UIM) Limit*        Limit*
                           Protection            Limit*       Limit         & Income
                           Ded         Addl                                 Loss
  11          1,000                                                                              1,000
  12          1,000                                                                              1,000
  13          1,000                                                                              1,000
  14          1,000                                                                              1,000
  15          1,000                                                                              1,000
'Limits Shown Are In Thousands

                                                                       PREMIUMS
Veh           CSL             Basic             Addl          Extra          Med       Med Exp                  UM               UIM          SUM

No.                            PIP              PIP           Med            Pay       & Income
 11     $         996.00"$]          9.00 $               $             $              $                 $|      178.00 $                 S
  12    $         996.00 $]          9.00 $               $             $              $                 $       178.00 $                 S
  13    $         948.00             9.00   $             $             $              $                 $       178.00 $                 s
  14    $          95.00             1.00   $             $             $              $                 S     Included     $             S
  15    $         948.00             9.00   $             $             $              $                 s       178.00     $             S


Veh                PHYSICAL DAMAGE COVERAGE                                        PHYSICAL DAMAGE PREMIUMS                                   Total
No.                    Deductibles                            Towing          Comp         Specified            Coll            Towing   Premium

             Comp           Specified            Coll     & Labor                          Cause of                         & Labor
                            Cause of                           Limit                           Loss
                               Loss
   11         1,000                             1,000                    s                 s               $                s            $
   12         1,000                             1,000                    $                 s               s                s            $
   13         1,000                             1,000                    s                 s               $                s            $
   14         1,000                             1,000                    $                 s               $                s            $
   15         1,000                             1,000                    $                 $               $                s            $




Page 4 of 8           Includes material copyrighted by Insurance Services Office, Inc., with its permission                     CA DS 83 00 08 14
            Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 237 of 281


Policy No.:            EGA 3124892- 12


ITEM THREE Schedule of Covered Autos You Own (Continued)

Veh                                                 DESCRIPTION                                                   Original            Stated Amount
No.                                                                                                               Cost New
            Year           Model                                        VIN Number
  16         2016          Road Boss Trailer                        520BP2024GP008794                     $                9,750 $
  17         2016          Road Boss Trailer                        520BP2020GP008792                     $                9,750 $
  18         2012          DODGE RAM 3500 ST                        3C7WDTCL1 CG305306                    $               33,435 $
  19         2014          Gooseneck Trailer                        5VNGU2Q25ET 123647                    $                5,000 $
  20         2015          Load Trail Trailer                       4ZEGH402XF1070197                     $               14,000_[$


Veh                                CLASSIFICATION                                             TERRITORY (Principal Garage Location)
No.           Code           Radius                 Use            Size (GVW)
                             (Miles)^
  16        68499           0-50              N/A                 20,000 lbs          Hudson Oaks                         TX         Terr     046
  17        68499           0-50              N/A                 20,000 lbs          Hudson Oaks                         TX         Terr     046
  18        21499           0-50              Service             20,000 lbs          Hudson Oaks                         TX         Terr     046
  19        68499           0-50              N/A                 20,000 lbs          Hudson Oaks                         TX         Terr     046
  20        68499           0-50              N/A                 20,000 lbs          Hudson Oaks                         TX         Terr     046


                                                                          Coverages
Veh         CSL             Personal                 Extra        Med          Medical         Uninsured                Underinsured          SUM
No.         Limit*          Injury                   Med          Pay          Expense         (UM) Limit*              (UIM) Limit*          Limit*
                            Protection               Limit*       Limit        & Income
                            Ded         Add I                                  Loss
  16          1,000                                                                                 1,000
  17          1,000                                                                                 1,000
  18          1,000                                                                                 1,000
  19          1,000                                                                                 1,000
  20          1,000                                                                                 1,000
*Limits Shown Are In Thousands

                                                                          PREMIUMS
Veh           CSL               Basic              Addl       Extra             Med       Med Exp                  UM               UIM            SUM

No.                              PIP                PIP           Med           Pay       & Income
  16    $          95.00 $             1 .00 ' $              $            $              $                 $ Included $                       $
  17    $          95.00 $             too $                  $            $             $                  $ Included _$                      $
  18    $         996.00 S             9.00 $                 $            $             $                  $       178.00 "$                  $
  19    $          95.00    S        "1.00 j                  $            $              $                 $     Included     $               $
  20    $          95.00    $          1.00    $              $            $              $                 $ Included         $               $


Veh                PHYSICAL DAMAGE COVERAGE                                           PHYSICAL DAMAGE PREMIUMS                                     Total
No.                    Deductibles                            Towing            Comp          Specified            Coll            Towing     Premium
             Comp           Specified               Coll      & Labor                         Cause of                             & Labor
                            Cause of                           Limit                              Loss
                                Loss
   16         1,000                                 L000                    $                 $               $                $              1
   17         1,000                                 T'000                   3                 $               $                $              $
  18          1,000                                 1,000                   3                 $               $                $              a
  19          1,000                                 1,000                   3                 $               $                $             1
  20          1,000                                 1,000                   3                 $               $                $             3




CA DS 83 00 08 14                  Includes material copyrighted by Insurance Services Office, Inc., with its permission                     Page 5 of 8
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 238 of 281


Poficy No.:    ECA 31 24892 - 12



ITEM THREE - Schedule of Covered Autos You Own (Continued)

                                         SCHEDULE OF LOSS PAYEES


Veh No.       Except for Towing, All Physical Damage Loss Is Payable To You And The Loss Payee
              Named Below As Interests May Appear At The Time Of The Loss

  11          Bank SNB
              P.O. Box 1988
              Stillwater, OK 74076


  12          Bank SNB
              P.O. Box 1988
              Stillwater, OK 74076




Page 6 of 8    Includes material copyrighted by Insurance Services Office, Inc., with its permission   CA DS 83 00 08 14
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 239 of 281


Policy No.:            ECA 3124892- 12



ITEM FOUR - Schedule Of Hired Or Borrowed Covered Auto Coverage And Premiums

                                        Liability Coverage - Rating Basis, Cost Of Hire


               Estimated Cost Of              Rate Per Each           Factor (If Liability Coverage Is
  State        Hire For Each State           $100 Cost Of Hire                       Primary)                              Premium

TX            $ I If Any             $                                                        $
        Liability Coverage - Rating Basis, Number Of Days(For Mobile Or Farm Equipment Rental Period Basis)
              Estimated Number
State         Of Days Equipment          Base Premium              Factor                                          Premium
              Will Be Rented
                                         $                                                                         $
                                                                                             Total Premium:        $



Physical Damage Coverage - Rating Basis, Cost of Hire
State          Coverage                      Limit of Insurance                 Estimated       Rate Per Each              Premium
                                                                            Annual Cost             $100 Cost Of
                                                                                 Of Hire                Hire

TX         Comprehensive         Actual Cash Value Or Cost Of Repair,       $    If Any         $
           Coverage              Whichever Is Less, Minus $ 1000
                                 Deductible For Each Covered Auto,
                                 However, No Deductible Applies To
                                 Loss Caused By Fire Or Lightning.
                                 Actual Cash Value Or Cost Of Repair,       $                 S
                                 Whichever Is Less, Minus $
           Specified Causes




                                                                                                                   u
                                 Deductible For Each Covered Auto
           Of Loss Coverage
                                 For Loss Caused By Mischief Or
                                 Vandalism
TX                               Actual Cash Value Or Cost Of Repair,       $    If Any       $
           Collision
                                 Whichever Is Less, Minus $ 1000
           Coverage
                                 Deductible For Each Covered Auto.



Cost of hire means the total amount you incur for the hire of "autos" you don't own (not including "autos" you borrow
or rent from your partners or "employees" or their family members). Cost of hire does not include charges for
services performed by motor carriers of property or passengers


ITEM FIVE - Schedule For Non-Ownership Liability

  State        Named Insured's Business                            Rating Basis                        Number               Premium

     TX        Other Than Garage Service                Number Of Employees                               25           S
               Operations And Other Than                Number Of Partners                                             S
               Social Service Agencies

               Garage Service Operations                Number Of Employees Whose                                      S
                                                        Principal Duty Involves The
                                                        Operation Of Autos


               Social Service Agencies                  Number Of Employees                                            $
                                                        Number Of Volunteers                                           $
                                                                                            Total Premiums:            S


When used as a premium basis:

FOR PUBLIC AUTOS




CA DS 83 00 08 14             Includes material copyrighted by Insurance Services Office. Inc.. with its permission          Page 7 of 8
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 240 of 281


Policy No.:         ECA 3124892 - 12


Gross Receipts means the total amount to which you are entitled for transporting passengers, mail or merchandise
during the policy period regardless of whether you or any other carrier originate the transportation. Gross Receipts
does not include:

A.      Amounts you pay to railroads, steamship lines, airlines and other motor carriers operating under their own
        ICC or PUC permits.

B.      Advertising revenue.

C.      Taxes which you collect as a separate item and remit directly to a governmental division.

D.      C.O.D. collections for cost of mail or merchandise including collection fees.

Mileage means the total live and dead mileage of all revenue producing units operated during the policy period.

FOR RENTAL OR LEASING CONCERNS

Gross receipts means the total amount to which you are entitled for the leasing or rental of "autos" during the policy
period and includes taxes except those taxes which you collect as a separate item and remit directly to a
governmental division.

Mileage means the total of all live and dead mileage developed by all the "autos" you leased or rented to others
during the policy period.




Page 8 of 8      Includes material copyrighted by Insurance Services Office, Inc., with its permission   CA DS 83 00 08 14
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 241 of 281


                                                                                                                     COMMERCIAL AUTO
                                                                                                                        CL CA FS 01 09 08




Policy Number: ECA 3124892                12



                SCHEDULE OF FORMS AND ENDORSEMENTS

The following Declarations, Coverage Forms, Conditions, and Endorsements are applicable to:


                                                            Commercial Auto

State             Number             Edition        Description
ALL               IL N 101           11-2015        Texas Notice To Insurance Claimants For Motor Vehicle Repairs
ALL               CA DS 83 00        08-2014        Business Auto Declarations
ALL               CL CA FS 01        09-2008        Schedule of Forms and Endorsements
ALL               CA 00 01           10-2013        Business Auto Coverage Form
ALL               CA 01 96           10-2013        Texas Changes
ALL               CA 02 43           11-2013        Texas Changes - Cancellation and Nonrenewal
ALL               CA 20 01           10-2013        Lessor - Additional Insured And Loss Payee
ALL               CA 20 35           11-2001        Texas Loss Payable Clause - Modified
ALL               CA 21 09           10-2013        Texas Uninsured/Underinsured Motorists Coverage
ALL               CA 22 64           10-2013        Texas Personal Injury Protection Endorsement
ALL               CA 23 84           10-2013        Exclusion Of Terrorism
ALL               CA 83 09           09-2015        Additional Insured - Persons or Organizations as Required Under Written Contract
ALL               CA 83 22           10-2013        Blanket Waiver of Transfer of Rights of Recovery Against Others to Us (Waiver of
                                                    Subrogation) Endorsement
ALL               CA 99 16           10-2013        Hired Autos Specified As Covered Autos You Own
ALL               CA 99 33           10-2013        Employees As Insureds
ALL               CA 99 44           10-2013        Loss Payable Clause
ALL               CA 99 48           10-2013        Pollution Liability - Broadened Coverage For Covered Autos   Business Auto, Motor Carrier
                                                   And Truckers Coverage Forms
ALL               CA 99 95           10-2013        Texas Supplementary Death Benefit


ALL = ALL states on the policy
ALL* = Applies to all states on the policy unless a specific state form is designated.




CL CA FS 01 09 08                                                                                                                 Page 1 of 1
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 242 of 281


                                                                                              COMMERCIAL AUTO
                                                                                                  CA 00 01 10 13



                         BUSINESS AUTO COVERAGE FORM

Various provisions in this policy restrict coverage.          SECTION I - COVERED AUTOS
Read the entire policy carefully to determine rights,        Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                       are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your"            following numerical symbols describe the "autos" that
refer to the Named Insured shown in the Declarations.        may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company          a coverage on the Declarations designate the only
providing this insurance.                                    "autos" that are covered "autos".

Other words and phrases that appear in quotation             A. Description Of Covered Auto Designation
marks have special meaning. Refer to Section V -                  Symbols
Definitions.



 Symbol                             Description Of Covered Auto Designation Symbols
     1         Any "Auto"

     2         Owned "Autos"   Only those "autos" you own (and for Covered Autos Liability Coverage any
               Only            "trailers" you don't own while attached to power units you own). This includes
                               those "autos" you acquire ownership of after the policy begins.
     3         Owned Private   Only the private passenger "autos" you own. This includes those private
               Passenger       passenger "autos" you acquire ownership of after the policy begins.
               "Autos" Only

     4         Owned           Only those "autos" you own that are not of the private passenger type (and for
               "Autos" Other   Covered Autos Liability Coverage any "trailers" you don't own while attached to
               Than Private    power units you own). This includes those "autos" not of the private passenger
               Passenger       type you acquire ownership of after the policy begins.
               "Autos" Only

     5         Owned "Autos"   Only those "autos" you own that are required to have no-fault benefits in the state
               Subject To      where they are licensed or principally garaged. This includes those "autos" you
               No-fault        acquire ownership of after the policy begins provided they are required to have no-
                               fault benefits in the state where they are licensed or principally garaged.
     6         Owned "Autos"   Only those "autos" you own that because of the law in the state where they are
               Subject To A    licensed or principally garaged are required to have and cannot reject Uninsured
               Compulsory      Motorists Coverage. This includes those "autos" you acquire ownership of after the
               Uninsured       policy begins provided they are subject to the same state uninsured motorists
               Motorists Law   requirement.                   _

     7         Specifically    Only those "autos" described in Item Three of the Declarations for which a
               Described       premium charge is shown (and for Covered Autos Liability Coverage any "trailers"
               "Autos"         you don't own while attached to any power unit described in Item Three).
     8         Hired "Autos"   Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
               Only            you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                               partnership), members (if you are a limited liability company) or members of their
                               households.

     9         Non-owned       Only those "autos" you do not own, lease, hire, rent or borrow that are used in
               "Autos" Only    connection with your business. This includes "autos" owned by your "employees",
                               partners (if you are a partnership), members (if you are a limited liability company)
                               or members of their households but only while used in your business or your
                               personal affairs.




CA 00 01 10 13                        © Insurance Services Office, Inc., 2011                           Page 1 of 12
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 243 of 281




    19       Mobile               Only those "autos" that are land vehicles and that would qualify under the definition
             Equipment            of "mobile equipment" under this policy if they were not subject to a compulsory or
             Subject To           financial responsibility law or other motor vehicle insurance law where they are
             Compulsory Or         licensed or principally garaged.
             Financial
             Responsibility
             Or Other Motor
             Vehicle
             Insurance Law
             Only


B. Owned Autos You Acquire After The Policy                      SECTION II - COVERED AUTOS LIABILITY
   Begins                                                        COVERAGE

   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered              A. Coverage
      next to a coverage in Item Two of the                           We will pay all sums an "insured" legally must pay
       Declarations, then you have coverage for                       as damages because of "bodily injury" or "property
       "autos" that you acquire of the type described                 damage" to which this insurance applies, caused
       for the remainder of the policy period.                        by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage                  maintenance or use of a covered "auto".
      in Item Two of the Declarations, an "auto" you                  We will also pay all sums an "insured" legally must
      acquire will be a covered "auto" for that                       pay as a "covered pollution cost or expense" to
      coverage only if:                                               which this insurance applies, caused by an
         a. We already cover all "autos" that you own                 "accident" and resulting from the ownership,
            for that coverage or it replaces an "auto"                maintenance or use of covered "autos". However,
            you   previously owned that had that                      we will only pay for the "covered pollution cost or
            coverage; and                                             expense" if there is either "bodily injury" or
                                                                      "property damage" to which this insurance applies
       b. You tell us within 30 days after you acquire
                                                                      that is caused by the same "accident".
          it that you want us to cover it for that
            coverage.                                                 We have the right and duty to defend any
                                                                      "insured" against a "suit" asking for such damages
C. Certain Trailers, Mobile Equipment And
                                                                      or a "covered pollution cost or expense". However,
   Temporary Substitute Autos
                                                                      we have no duty to defend any "insured" against a
   If Covered Autos Liability Coverage is provided by                 "suit" seeking damages for "bodily injury" or
   this Coverage Form, the following types of                         "property damage" or a "covered pollution cost or
   vehicles are also covered "autos" for Covered                      expense" to which this insurance does not apply.
   Autos Liability Coverage:                                          We may investigate and settle any claim or "suit"
   1. "Trailers" with a load capacity of 2,000 pounds                 as we consider appropriate. Our duty to defend or
      or less designed primarily for travel on public                 settle ends when the Covered Autos Liability
      roads.                                                          Coverage Limit of Insurance has been exhausted
                                                                      by payment of judgments or settlements.
   2. "Mobile equipment" while           being    carried   or
      towed by a covered "auto".                                      1. Who Is An Insured

   3. Any "auto" you do not own while used with the                      The following are "insureds":
      permission      of   its   owner   as   a   temporary              a. You for any covered "auto".
      substitute for a covered "auto" you own that is
                                                                         b. Anyone    else   while using with   your
      out of service because of its:
                                                                            permission a covered "auto" you own, hire
       a. Breakdown;                                                        or borrow except:
      b. Repair;                                                            (1) The owner or anyone else from whom
      c. Servicing;                                                             you hire or borrow a covered "auto".

      d. "Loss"; or                                                             This exception does not apply if the
                                                                                covered "auto" is a "trailer" connected to
      e. Destruction.
                                                                                a covered "auto" you own.




Page 2 of 1 2                             © Insurance Services Office, Inc., 2011                         CA 00 01 10 13
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 244 of 281



        (2) Your "employee" if the covered "auto" is                      These payments will not reduce the Limit of
            owned by that "employee" or a member                          Insurance.
            of his or her household.                                  b. Out-of-state Coverage Extensions
        (3) Someone using a covered "auto" while                          While a covered "auto" is away from the
            he or she is working in a business of                         state where it is licensed, we will:
            selling, servicing, repairing, parking or
                                                                         (1) Increase the Limit of Insurance for
            storing "autos" unless that business is
                                                                             Covered Autos Liability Coverage to
            yours.
                                                                             meet     the    limits  specified  by   a
        (4) Anyone other than your "employees",                              compulsory or financial responsibility
            partners   (if   you   are   a   partnership),                   law of the jurisdiction where the covered
            members (if you are a limited liability                          "auto" is being used. This extension
            company) or a lessee or borrower or                              does not apply to the limit or limits
            any of their "employees", while moving                           specified by any law governing motor
            property to or from a covered "auto".                            carriers of passengers or property.
        (5) A partner (if you are a partnership) or a                    (2) Provide the minimum amounts and
            member (if you are a limited liability                           types of other coverages, such as no-
            company) for a covered "auto" owned by                           fault, required of out-of-state vehicles by
            him or her or a member of his or her                             the jurisdiction where the covered "auto"
            household.                                                       is being used.
      c. Anyone liable for the conduct of an                              We will not pay anyone more than once for
         "insured" described above but only to the                        the same elements of loss because of
         extent of that liability.                                        these extensions.
   2. Coverage Extensions                                      B. Exclusions
      a. Supplementary Payments                                   This insurance does       not apply to any of the
         We will pay for the "insured":                           following:

        (1) All expenses we incur.                                 1. Expected Or Intended Injury

        (2) Up to $2,000 for cost of bail bonds                       "Bodily injury" or "property damage" expected
            (including bonds for related traffic law                  or intended from the standpoint of the
            violations) required because of an                        "insured".
            "accident" we cover. We do not have to                2. Contractual
            furnish these bonds.
                                                                      Liability   assumed     under   any   contract    or
        (3) The    cost  of   bonds      to   release                 agreement.
            attachments in any "suit" against the
            "insured" we defend, but only for bond
                                                                      But this exclusion does not apply to liability for
                                                                      damages:
            amounts within our Limit of Insurance.
                                                                      a. Assumed in a contract or agreement that is
        (4) All reasonable expenses incurred by the
                                                                         an "insured contract", provided the "bodily
            "insured" at our request, including actual
                                                                         injury"  or  "property   damage"    occurs
            loss of earnings up to $250 a day
                                                                         subsequent to the execution of the contract
            because of time off from work.
                                                                         or agreement; or
        (5) All court costs taxed against the
                                                                      b. That the "insured" would have in              the
            "insured" in any "suit" against the
                                                                         absence of the contract or agreement.
            "insured" we defend. However, these
            payments do not include attorneys' fees               3. Workers' Compensation
            or attorneys' expenses taxed against the                  Any obligation for which the "insured" or the
            "insured".                                                "insured's" insurer may be held liable under
        (6) All interest on the full amount of any                    any workers' compensation, disability benefits
            judgment that accrues after entry of the                  or unemployment compensation law or any
            judgment in any "suit" against the                        similar law.
            "insured" we defend, but our duty to pay
            interest ends when we have paid,
            offered to pay or deposited in court the
            part of the judgment that is within our
            Limit of Insurance.




CA 00 01 10 13                           © Insurance Services Office, Inc., 2011                            Page 3 of 12
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 245 of 281



   4. Employee Indemnification And Employer's                     b. After it is moved from the covered "auto" to
      Liability                                                      the place where it is finally delivered by the
                                                                     "insured".
      "Bodily injury" to:
                                                              8. Movement Of Property By Mechanical
      a. An "employee" of the "insured" arising out
                                                                 Device
         of and in the course of:
                                                                  "Bodily injury" or "property damage" resulting
         (1 ) Employment by the "insured"; or
                                                                  from    the movement      of property by     a
        (2) Performing the duties related to the                  mechanical device (other than a hand truck)
            conduct of the "insured's" business; or               unless the device is attached to the covered
      b. The spouse, child, parent, brother or sister             "auto".
         of that "employee" as a consequence of               9. Operations
         Paragraph a. above.
                                                                  "Bodily injury" or "property damage" arising out
      This exclusion applies:                                     of the operation of:
         (1) Whether the "insured" may be liable as               a. Any equipment listed in Paragraphs 6.b.
             an employer or in any other capacity;                   and 6.c. of the definition of "mobile
               and                                                   equipment"; or
        (2) To any obligation to share damages with               b. Machinery or equipment that is on, attached
            or repay someone else who must pay                       to or part of a land vehicle that would
            damages because of the injury.                           qualify under the definition of "mobile
      But this exclusion does not apply to "bodily                   equipment" if it were not subject to a
      injury" to domestic "employees" not entitled to                compulsory or financial responsibility law or
      workers' compensation benefits or to liability                 other motor vehicle insurance law where it
      assumed by the "insured" under an "insured                     is licensed or principally garaged.
      contract". For the purposes of the Coverage            10. Completed Operations
      Form, a domestic "employee" is a person
                                                                  "Bodily injury" or "property damage" arising out
      engaged in household or domestic work
                                                                  of your work after that work has been
      performed principally in connection with a
                                                                  completed or abandoned.
      residence premises.
                                                                  In this exclusion, your work means:
   5. Fellow Employee
                                                                  a. Work or operations performed by you or on
      "Bodily injury" to:
                                                                     your behalf; and
      a. Any fellow "employee" of the "insured"
                                                                  b. Materials, parts or equipment furnished in
         arising out of and in the course of the fellow
                                                                     connection with such work or operations.
         "employee's"     employment      or   while
         performing duties related to the conduct of              Your       work     includes       warranties   or
         your business; or                                        representations made at any time with respect
                                                                  to the fitness, quality, durability or performance
      b. The spouse, child, parent, brother or sister
                                                                  of any of the items included in Paragraph a. or
         of that fellow "employee" as a consequence
                                                                  b. above.
         of Paragraph a. above.
                                                                  Your work will be deemed completed at the
   6. Care, Custody Or Control
                                                                  earliest of the following times:
      "Property damage" to or "covered pollution cost
                                                                    (1) When all of the work called for in your
      or expense" involving property owned or
                                                                        contract has been completed;
      transported   by  the "insured"     or  in  the
      "insured's" care, custody or control. But this                (2) When all of the work to be done at the
      exclusion does not apply to liability assumed                     site has been completed if your contract
      under a sidetrack agreement.                                      calls for work at more than one site; or

   7. Handling Of Property                                          (3) When that part of the work done at a job
                                                                        site has been put to its intended use by
      "Bodily injury" or "property damage" resulting
                                                                        any person or organization other than
      from the handling of property:
                                                                         another   contractor    or     subcontractor
      a. Before it is moved from the place where it is                   working on the same project.
         accepted by the "insured" for movement
         into or onto the covered "auto"; or




Page 4 of 12                         © Insurance Services Office, Inc., 2011                          CA 00 01 10 13
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 246 of 281



      Work that may need service, maintenance,                     Paragraphs b. and c. above of this exclusion
      correction, repair or replacement, but which is              do not apply to "accidents" that occur away
      otherwise    complete,    will be  treated  as               from premises owned by or rented to an
      completed.                                                   "insured" with respect to "pollutants" not in or
                                                                   upon a covered "auto" if:
  11. Pollution
                                                                          (a) The "pollutants" or any property in
      "Bodily injury" or "property damage" arising out
                                                                              which the "pollutants" are contained
      of the actual, alleged or threatened discharge,
                                                                              are upset, overturned or damaged as
      dispersal, seepage,      migration, release or
                                                                              a result of the maintenance or use of
      escape of "pollutants":
                                                                              a covered "auto"; and
      a. That are, or that are contained        in   any
                                                                          (b) The discharge, dispersal, seepage,
         property that is:
                                                                              migration, release or escape of the
         (1) Being transported or towed by, handled                           "pollutants" is caused directly by
             or handled for movement into, onto or                            such upset, overturn or damage.
             from the covered "auto";
                                                               12. War
         (2) Otherwise in the course of transit by or
                                                                   "Bodily injury" or "property damage" arising
             on behalf of the "insured"; or
                                                                   directly or indirectly out of:
         (3) Being stored, disposed of, treated or
                                                                    a. War, including undeclared or civil war;
             processed in or upon the covered
              "auto";                                               b. Warlike action by a military force, including
                                                                       action in hindering or defending against an
      b. Before the "pollutants" or any property in
                                                                       actual   or    expected   attack,   by    any
         which the "pollutants" are contained are
                                                                       government, sovereign or other authority
         moved from the place where they are
                                                                       using military personnel or other agents; or
         accepted by the "insured" for movement
         into or onto the covered "auto"; or                        c. Insurrection, rebellion, revolution, usurped
                                                                       power or action taken by governmental
      c. After the "pollutants" or any property in
                                                                       authority in hindering or defending against
         which the "pollutants" are contained are
                                                                       any of these.
         moved from the covered "auto" to the place
         where they are finally delivered, disposed of         13. Racing
         or abandoned by the "insured".                            Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels,                  or organized racing or demolition contest or
      lubricants, fluids, exhaust gases or other                   stunting activity, or while practicing for such
      similar "pollutants" that are needed for or result            contest or activity. This insurance also does
      from    the   normal    electrical, hydraulic or              not apply while that covered "auto" is being
      mechanical functioning of the covered "auto" or               prepared for such a contest or activity.
      its parts if:                                         C. Limit Of Insurance
         (1) The "pollutants" escape, seep, migrate             Regardless of the number of covered "autos",
             or are discharged, dispersed or released           "insureds", premiums paid, claims made or
             directly from an "auto" part designed by           vehicles involved in the "accident", the most we
             its manufacturer to hold, store, receive           will pay for the total of all damages and "covered
             or dispose of such "pollutants"; and               pollution cost or expense" combined resulting from
         (2) The "bodily injury", "property damage" or          any one "accident" is the Limit Of Insurance for
             "covered pollution cost or expense"                Covered Autos Liability Coverage shown in the
             does not arise out of the operation of             Declarations.
             any equipment listed in Paragraphs 6.b.
             and 6.c. of the definition of "mobile
              equipment".




CA 00 01 10 13                        © Insurance Services Office, Inc., 201 1                         Page 5 of 12
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 247 of 281



   All "bodily injury", "property damage" and "covered                  3. Glass Breakage - Hitting A Bird Or Animal -
   pollution    cost    or   expense"  resulting  from                     Falling Objects Or Missiles
   continuous or repeated exposure to substantially                        If you carry Comprehensive Coverage for the
   the same conditions will be considered as                               damaged covered "auto", we will pay for the
   resulting from one "accident".                                          following under Comprehensive Coverage:
   No one will be entitled to receive duplicate                            a. Glass breakage;
   payments for the same elements of "loss" under
                                                                           b. "Loss" caused by hitting a bird or animal;
   this Coverage Form and any Medical Payments
                                         Motorists                            and
   Coverage   endorsement,   Uninsured
   Coverage endorsement or Underinsured Motorists                          c. "Loss" caused by falling objects or missiles.
   Coverage endorsement attached to this Coverage                          However, you have the option of having glass
   Part.
                                                                           breakage caused by a covered "auto's"
SECTION III - PHYSICAL DAMAGE COVERAGE                                     collision or overturn considered a "loss" under
                                                                           Collision Coverage.
A. Coverage
                                                                        4. Coverage Extensions
   1. We will pay for "loss" to a covered "auto" or its
      equipment under:                                                     a. Transportation Expenses
      a. Comprehensive Coverage                                               We will pay up to $20 per day, to a
                                                                              maximum    of  $600,  for temporary
            From any cause except:
                                                                              transportation   expense   incurred   by   you
           (1) The covered "auto's"                collision    with          because of the total theft of a covered
               another object; or                                             "auto" of the private passenger type. We
           (2) The covered "auto's" overturn.                                 will pay only for those covered "autos" for
                                                                              which you carry either Comprehensive or
      b. Specified Causes Of Loss Coverage
                                                                              Specified Causes Of Loss Coverage. We
           Caused by:                                                         will  pay   for temporary transportation
           (1) Fire, lightning or explosion;                                  expenses     incurred     during the   period
                                                                              beginning 48 hours after the theft and
           (2) Theft;
                                                                              ending, regardless of the policy's expiration,
           (3) Windstorm, hail or earthquake;                                 when the covered "auto" is returned to use
           (4) Flood;                                                         or we pay for its "loss".

           (5) Mischief or vandalism; or                                   b. Loss Of Use Expenses

           (6) The      sinking,        burning,    collision     or          For Hired Auto Physical Damage, we will
               derailment          of      any       conveyance               pay expenses for which an "insured"
               transporting the covered "auto".                               becomes legally responsible to pay for loss
                                                                              of use of a vehicle rented or hired without a
      c. Collision Coverage                                                   driver under a written rental contract or
           Caused by:                                                         agreement. We will pay for loss of use
                                                                              expenses if caused by:
           (1) The covered "auto's"                collision    with
               another object; or                                             (1) Other   than  collision    only if  the
                                                                                  Declarations        indicates      that
           (2) The covered "auto's" overturn.
                                                                                 Comprehensive Coverage is provided
   2. Towing                                                                     for any covered "auto";
      We will pay up to the limit shown in the                               (2) Specified Causes Of Loss only if the
      Declarations for towing and      labor costs                               Declarations indicates that Specified
      incurred each time a covered "auto" of the                                 Causes Of Loss Coverage is provided
      private passenger type is disabled. However,                               for any covered "auto"; or
      the labor must be performed at the place of
      disablement.




Page 6 of 12                                  © Insurance Services Office, Inc., 2011                      CA 00 01 10 13
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 248 of 281



         (3) Collision  only   if  the   Declarations                   b. Any device designed or used to detect
             indicates that Collision Coverage is                          speed-measuring equipment, such as radar
             provided for any covered "auto".                              or laser detectors, and any jamming
                                                                           apparatus intended to elude or disrupt
          However, the most we will pay for any
                                                                           speed-measuring equipment.
          expenses for loss of use is $20 per day, to
          a maximum of $600.                                            c. Any electronic equipment, without regard to
                                                                           whether this equipment is permanently
B. Exclusions
                                                                           installed, that reproduces, receives or
   1 . We will not pay for "loss" caused by or resulting                   transmits audio, visual or data signals.
       from any of the following. Such "loss" is
                                                                        d. Any accessories used with the electronic
       excluded regardless of any other cause or
                                                                           equipment described  in   Paragraph c.
       event that contributes concurrently or in any
                                                                           above.
       sequence to the "loss".
                                                                    5. Exclusions 4.c. and 4.d. do not apply to
      a. Nuclear Hazard
                                                                       equipment designed to be operated solely by
         (1) The explosion of any weapon employing                     use of the power from the "auto's" electrical
             atomic fission or fusion; or                              system that, at the time of "loss", is:
         (2) Nuclear    reaction or    radiation, or                    a. Permanently installed      in   or   upon   the
             radioactive   contamination,    however                       covered "auto";
             caused.
                                                                        b. Removable from a housing unit which is
      b. War Or Military Action                                            permanently installed in or upon the
         (1) War, including undeclared or civil war;                       covered "auto";

         (2) Warlike action by a military force,                        c. An integral part of the same unit housing
             including   action   in    hindering  or                      any electronic equipment described in
             defending against an actual or expected                       Paragraphs a. and b. above; or
             attack, by any government, sovereign or                    d. Necessary for the normal operation of the
             other authority using military personnel                      covered "auto" or the monitoring of the
             or other agents; or                                           covered "auto's" operating system.
         (3) Insurrection,   rebellion,    revolution,              6. We will not pay for "loss" to a covered "auto"
             usurped power or action taken by                          due to "diminution in value".
             governmental authority in hindering or
                                                                 C. Limits Of Insurance
             defending against any of these.
                                                                    1. The most we will pay for:
   2. We will not pay for "loss" to any covered "auto"
      while used in any professional or organized                       a. "Loss" to any one covered "auto" is the
      racing or demolition contest or stunting activity,                   lesser of:
      or while practicing for such contest or activity.                   (1) The actual cash value of the damaged
      We will also not pay for "loss" to any covered                          or stolen property as of the time of the
      "auto" while that covered "auto" is being                               "loss"; or
      prepared for such a contest or activity.
                                                                          (2) The cost of repairing or replacing the
   3. We will not pay for "loss" due and confined to:                         damaged or stolen property with other
      a. Wear and tear, freezing,          mechanical or                      property of like kind and quality.
         electrical breakdown.                                          b. All electronic equipment that reproduces,
      b. Blowouts, punctures or other road damage                          receives or transmits audio, visual or data
         to tires.                                                         signals in any one "loss" is $1,000, if, at the
                                                                           time of "loss", such electronic equipment is:
      This exclusion does not apply to such "loss"
      resulting from the total theft of a covered                         (1) Permanently installed in or upon the
      "auto".                                                                 covered "auto" in a housing, opening or
                                                                              other location that is not normally used
   4. We will      not   pay for "loss"    to   any   of the
                                                                              by the "auto" manufacturer for the
      following:
                                                                              installation of such equipment;
      a. Tapes, records, discs or other similar audio,
         visual or data electronic devices designed
         for use with audio, visual or data electronic
         equipment.




CA 00 01 10 13                            © Insurance Services Office, Inc., 201 1                          Page 7 of 12
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 249 of 281



         (2) Removable from a permanently installed                     (2) The "insured's" name and address; and
             housing unit as described in Paragraph                     (3) To the extent possible, the names and
             b.(1) above; or                                                addresses of any injured persons and
         (3) An integral part of such equipment as                          witnesses.
             described in Paragraphs b.(1) and b.(2)                 b. Additionally, you and any other involved
             above.                                                     "insured" must:
   2. An adjustment for depreciation and physical                       (1) Assume    no   obligation, make    no
      condition will be made in determining actual                          payment or incur no expense without
      cash value in the event of a total "loss".                            our consent, except at the "insured's"
   3. If a repair or replacement results in better than                     own cost.
      like kind or quality, we will not pay for the                     (2) Immediately send us        copies of any
      amount of the betterment.                                             request,   demand,        order,    notice,
D. Deductible                                                               summons     or legal      paper   received
                                                                            concerning the claim or   "suit".
   For each covered "auto", our obligation to pay for,
   repair, return or replace damaged or stolen                          (3) Cooperate with us in the investigation or
   property will be reduced by the applicable                               settlement of the claim or defense
   deductible shown    in the Declarations. Any                             against the "suit".
   Comprehensive Coverage deductible shown in the                       (4) Authorize us to obtain medical records
   Declarations does not apply to "loss" caused by                          or other pertinent information.
   fire or lightning.
                                                                        (5) Submit to examination, at our expense,
SECTION IV - BUSINESS AUTO CONDITIONS                                       by physicians of our choice, as often as
The following conditions apply     in   addition to the                     we reasonably require.
Common Policy Conditions:                                            c. If there is "loss" to a covered "auto" or its
A. Loss Conditions                                                      equipment, you must also do the following:

   1. Appraisal For Physical Damage Loss                                (1) Promptly notify the police if the covered
                                                                            "auto" or any of its equipment is stolen.
      If you and we disagree on the amount of "loss",
      either may demand an appraisal of the "loss".                     (2) Take all reasonable steps to protect the
      In this event, each party will select a competent                     covered "auto" from further damage.
      appraiser. The two appraisers will select a                           Also keep a record of your expenses for
      competent      and    impartial    umpire.    The                     consideration in the settlement of the
      appraisers will state separately the actual cash                      claim.
      value and amount of "loss". If they fail to agree,                (3) Permit us to inspect the covered "auto"
      they will submit their differences to the umpire.                     and records proving the "loss" before its
      A decision agreed to by any two will be                               repair or disposition.
      binding. Each party will:
                                                                       (4) Agree to examinations under oath at our
      a. Pay its chosen appraiser; and                                     request and give us a signed statement
      b. Bear the other expenses of the appraisal                          of your answers.
         and umpire equally.                                      3. Legal Action Against Us
      If we submit to an appraisal, we will still retain             No one may bring a legal action against us
      our right to deny the claim.                                   under this Coverage Form until:
   2. Duties In The Event Of Accident, Claim, Suit                   a. There has been full compliance with all the
      Or Loss                                                           terms of this Coverage Form; and
      We have no duty to provide coverage under                      b. Under Covered Autos Liability Coverage,
      this policy   unless there     has    been full                   we agree in writing that the "insured" has an
      compliance with the following duties.                             obligation to pay or until the amount of that
      a. In the event of "accident", claim, "suit" or                   obligation has finally been determined by
         "loss", you must give us or our authorized                     judgment after trial. No one has the right
         representative    prompt     notice of   the                    under this policy to bring us into an action
         "accident" or "loss". Include:                                 to determine the "insured's" liability.

        (1) How, when and where the "accident" or
            "loss" occurred;




Page 8 of 12                            © Insurance Services Office, Inc., 2011                       CA 00 01 10 13
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 250 of 281



   4.   Loss Payment - Physical Damage                            5. Other Insurance
        Coverages                                                    a. For any covered "auto" you own, this
        At our option, we may:                                          Coverage       Form     provides    primary
                                                                        insurance. For any covered "auto" you don't
        a. Pay for, repair    or   replace   damaged   or
                                                                        own, the insurance provided by this
           stolen property;
                                                                        Coverage Form is excess over any other
        b. Return the stolen property, at our expense.                  collectible insurance. However, while a
           We will pay for any damage that results to                   covered "auto" which is a "trailer" is
           the "auto" from the theft; or                                connected to another vehicle, the Covered
        c. Take all or any part of the damaged or                       Autos Liability Coverage this Coverage
           stolen property at an agreed or appraised                    Form provides for the "trailer" is:
           value.                                                      (1) Excess while it is connected to a motor
        If we pay for the "loss", our payment will                         vehicle you do not own; or
        include the applicable sales tax for the                       (2) Primary while it is connected       to   a
        damaged or stolen property.                                        covered "auto" you own.
   5. Transfer Of Rights Of Recovery Against                         b. For Hired Auto Physical Damage Coverage,
      Others To Us                                                      any covered "auto" you lease, hire, rent or
        If any person or organization to or for whom we                 borrow is deemed to be a covered "auto"
        make payment under this Coverage Form has                       you own. However, any "auto" that is
        rights to recover damages from another, those                   leased, hired, rented or borrowed with a
        rights are transferred to us. That person or                    driver is not a covered "auto".
        organization must do everything necessary to                 c. Regardless of the provisions of Paragraph
        secure our rights and must do nothing after                     a. above, this Coverage Form's Covered
        "accident" or "loss" to impair them.                            Autos Liability Coverage is primary for any
B. General Conditions                                                   liability  assumed    under   an   "insured
                                                                        contract".
   1. Bankruptcy
                                                                     d. When this Coverage Form and any other
        Bankruptcy or insolvency of the "insured" or the
                                                                        Coverage Form or policy covers on the
        "insured's" estate will not relieve us of any
                                                                        same basis, either excess or primary, we
        obligations under this Coverage Form.
                                                                        will pay only our share. Our share is the
   2. Concealment, Misrepresentation Or Fraud                           proportion that the Limit of Insurance of our
        This Coverage Form is void in any case of                       Coverage Form bears to the total of the
        fraud by you at any time as it relates to this                  limits of all the Coverage Forms and
        Coverage Form. It is also void if you or any                    policies covering on the same basis.
        other "insured", at any time, intentionally              6. Premium Audit
        conceals or misrepresents a material fact
                                                                     a. The estimated premium for this Coverage
        concerning:
                                                                        Form is based on the exposures you told us
        a. This Coverage Form;                                          you would have when this policy began. We
        b. The covered "auto";                                          will compute the final premium due when
                                                                        we determine your actual exposures. The
        c. Your interest in the covered "auto"; or                      estimated total premium will be credited
        d. A claim under this Coverage Form.                            against the final premium due and the first
                                                                        Named Insured will be billed for the
   3.   Liberalization
                                                                        balance, if any. The due date for the final
        If we   revise this Coverage Form to provide                    premium or retrospective premium is the
        more coverage without additional premium                        date shown as the due date on the bill. If
        charge, your policy will automatically provide                  the estimated total premium exceeds the
        the additional coverage as of the day the                       final premium due, the first Named Insured
        revision is effective in your state.                            will get a refund.
   4. No Benefit To Bailee - Physical Damage                         b. If this policy is issued for more than one
      Coverages                                                         year, the premium for this Coverage Form
        We will not recognize any assignment or grant                   will be computed annually based on our
        any coverage for the benefit of any person or                   rates or premiums in effect at the beginning
        organization holding, storing or transporting                   of each year of the policy.
        property for a fee regardless of any other
        provision of this Coverage Form.




CA 00 01 10 13                          © Insurance Services Office, Inc., 2011                        Page 9 of 1 2
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 251 of 281



   7. Policy Period, Coverage Territory                         2. Any other land vehicle that is subject to a
                                                                   compulsory or financial responsibility law or
      Under    this  Coverage     Form,     we     cover
                                                                   other motor vehicle insurance law where it is
      "accidents" and "losses" occurring:
                                                                   licensed or principally garaged.
      a. During the policy     period     shown   in   the
                                                                However,    "auto"   does   not    include    "mobile
         Declarations; and
                                                                equipment".
      b. Within the coverage territory.
                                                             C. "Bodily injury" means bodily injury, sickness or
      The coverage territory is:                                disease sustained by a person, including death
         (1) The United States of America;                      resulting from any of these.

         (2) The territories and possessions of the          D. "Covered pollution cost or expense" means any
             United States of America;                          cost or expense arising out of:

         (3) Puerto Rico;                                       1. Any request, demand, order or statutory or
                                                                   regulatory requirement that any "insured" or
         (4) Canada; and
                                                                   others test for, monitor, clean up, remove,
         (5) Anywhere in the world if a covered                    contain, treat, detoxify or neutralize, or in any
             "auto" of the private passenger type is               way respond to,     or assess the     effects   of,
             leased,   hired,   rented   or borrowed               "pollutants"; or
             without a driver for a period of 30 days
                                                                2. Any claim or "suit" by or on behalf of a
             or less,
                                                                   governmental authority for damages because
      provided that the "insured's" responsibility to              of testing    for,  monitoring,    cleaning up,
      pay damages is determined in a "suit" on the                 removing, containing, treating, detoxifying or
      merits, in the United States of America, the                 neutralizing, or in any way responding to, or
      territories and possessions of the United States             assessing the effects of, "pollutants".
      of America, Puerto Rico or Canada, or in a
                                                                "Covered pollution cost or expense" does not
      settlement we agree to.
                                                                include any cost or expense arising out of the
      We also cover "loss" to, or "accidents"                   actual, alleged or threatened discharge, dispersal,
      involving,  a covered   "auto" while being                seepage,      migration, release or escape of
      transported between any of these places.                  "pollutants":
   8. Two Or More Coverage Forms Or Policies                       a. That are, or that are       contained   in   any
      Issued By Us                                                    property that is:
      If this Coverage Form and any other Coverage                    (1) Being transported or towed by, handled
      Form or policy issued to you by us or any                           or handled for movement into, onto or
      company affiliated with us applies to the same                      from the covered "auto";
      "accident", the aggregate maximum Limit of
                                                                      (2) Otherwise in the course of transit by or
      Insurance under all the Coverage Forms or
                                                                          on behalf of the "insured"; or
      policies shall not exceed the highest applicable
      Limit of Insurance under any one Coverage                       (3) Being stored, disposed of, treated or
      Form or policy. This condition does not apply to                    processed in or upon the covered
      any Coverage Form or policy issued by us or                         "auto";
      an affiliated company specifically to apply as               b. Before the "pollutants" or any property in
      excess insurance over this Coverage Form.                       which the "pollutants" are contained are
SECTION V - DEFINITIONS                                               moved from the place where they are
                                                                      accepted by the "insured" for movement
A. "Accident"     includes   continuous  or repeated
                                                                      into or onto the covered "auto"; or
   exposure to the same conditions resulting in
   "bodily injury" or "property damage".                           c. After the "pollutants" or any property in
                                                                      which the "pollutants" are contained are
B. "Auto" means:
                                                                      moved from the covered "auto" to the place
   1. A land motor vehicle, "trailer" or semitrailer                  where they are finally delivered, disposed of
      designed for travel on public roads; or                         or abandoned by the "insured".




Page 10 of 12                        © Insurance Services Office, Inc., 201 1                       CA 00 01 10 1 3
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 252 of 281



       Paragraph a. above does not apply to fuels,               5. That part of any other contract or agreement
       lubricants, fluids, exhaust gases or other                   pertaining to your business (including an
       similar "pollutants" that are needed for or result           indemnification of a municipality in connection
       from the       normal   electrical, hydraulic or             with work performed for a municipality) under
       mechanical functioning of the covered "auto" or              which you assume the tort liability of another to
       its parts, if:                                               pay for "bodily injury" or "property damage" to a
                                                                    third party or organization. Tort liability means
          (1) The "pollutants" escape, seep, migrate
                                                                    a liability that would be imposed by law in the
              or are discharged, dispersed or released
                                                                    absence of any contract or agreement; or
              directly from an "auto" part designed by
              its manufacturer to hold, store, receive           6. That part of any contract or agreement entered
              or dispose of such "pollutants"; and                  into, as part of your business, pertaining to the
                                                                    rental or lease, by you or any of your
          (2) The "bodily injury", "property damage" or
                                                                    "employees", of any "auto". However, such
              "covered pollution cost or expense"
                                                                    contract or agreement shall not be considered
              does not arise out of the operation of
                                                                    an "insured contract" to the extent that it
              any equipment listed in Paragraph 6.b.
                                                                    obligates you or any of your "employees" to
              or 6.c. of the definition of "mobile
                                                                    pay for "property damage" to any "auto" rented
              equipment".
                                                                    or leased by you or any of your "employees".
      Paragraphs b. and c. above do not apply to
                                                                An "insured contract" does not include that part of
      "accidents" that occur away from premises
                                                                any contract or agreement:
      owned by or rented to an "insured" with respect
      to "pollutants" not in or upon a covered "auto"               a. That indemnifies a railroad for "bodily injury"
      if:                                                              or "property damage" arising out of
                                                                         construction or demolition operations, within
             (a) The "pollutants" or any property in
                                                                         50 feet of any railroad property and
                 which the "pollutants" are contained
                                                                         affecting any railroad bridge or trestle,
                 are upset, overturned or damaged as
                                                                         tracks, roadbeds, tunnel, underpass or
                 a result of the maintenance or use of
                                                                         crossing;
                 a covered "auto"; and
                                                                    b. That pertains to the loan, lease or rental of
             (b) The discharge, dispersal, seepage,
                                                                       an   "auto"   to   you    or  any   of your
                 migration, release or escape of the
                                                                       "employees", if the "auto" is loaned, leased
                 "pollutants" is caused directly by
                                                                       or rented with a driver; or
                 such upset, overturn or damage.
                                                                    c. That holds a person or organization
E. "Diminution in    value" means the actual or
                                                                       engaged in the business of transporting
   perceived loss in market value or resale value
                                                                       property by "auto" for hire harmless for your
   which results from a direct and accidental "loss".
                                                                       use of a covered "auto" over a route or
F. "Employee"      includes    a    "leased worker".                     territory   that   person   or   organization   is
   "Employee"     does not     include a "temporary                      authorized to serve by public authority.
   worker".
                                                              I. "Leased worker" means a person leased to you by
G. "Insured" means any person or organization                    a labor leasing firm under an agreement between
   qualifying as an insured in the Who Is An Insured             you and the labor leasing firm to perform duties
   provision of the applicable coverage. Except with             related to the conduct of your business. "Leased
   respect to the Limit of Insurance, the coverage               worker" does not include a "temporary worker".
   afforded applies separately to each insured who is
                                                             J. "Loss"     means     direct   and    accidental   loss   or
   seeking coverage or against whom a claim or
                                                                damage.
   "suit" is brought.
                                                             K. "Mobile equipment" means any of the following
H. "Insured contract" means:
                                                                types of land vehicles, including any attached
   1. A lease of premises;                                      machinery or equipment:
   2. A sidetrack agreement;                                    1. Bulldozers, farm machinery, forklifts and other
   3. Any easement or license agreement, except in                 vehicles designed for use principally off public
      connection with construction or demolition                    roads;
      operations on or within 50 feet of a railroad;             2. Vehicles maintained for use solely on or next to
   4. An obligation, as required by ordinance, to                   premises you own or rent;
      indemnify a municipality, except in connection            3. Vehicles that travel on crawler treads;
      with work for a municipality;




CA 00 01 10 13                         © Insurance Services Office, Inc., 2011                             Page 11 of 12
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 253 of 281



   4. Vehicles,  whether   self-propelled or  not,               However, "mobile equipment" does not include
      maintained primarily to provide mobility to                land vehicles that are subject to a compulsory or
      permanently mounted:                                       financial responsibility law or other motor vehicle
                                                                 insurance law where it is licensed or principally
      a. Power cranes, shovels, loaders, diggers or
                                                                 garaged. Land vehicles subject to a compulsory or
         drills; or
                                                                 financial responsibility law or other motor vehicle
      b.    Road construction or resurfacing equipment           insurance law are considered "autos".
            such as graders, scrapers or rollers;
                                                              L. "Pollutants" means any solid, liquid, gaseous or
   5. Vehicles not described in Paragraph 1., 2., 3.             thermal irritant or contaminant, including smoke,
      or 4. above that are not self-propelled and are            vapor, soot, fumes, acids, alkalis, chemicals and
      maintained primarily to provide mobility to                waste. Waste includes materials to be recycled,
      permanently     attached  equipment     of the             reconditioned or reclaimed.
      following types:
                                                              M. "Property damage" means damage to or loss of
      a. Air compressors,         pumps and   generators,        use of tangible property.
           including   spraying,   welding,   building
                                                              N. "Suit" means a civil proceeding in which:
           cleaning, geophysical exploration, lighting
           and well-servicing equipment; or                      1. Damages     because   of      "bodily    injury"   or
                                                                    "property damage"; or
      b. Cherry pickers and similar devices used to
         raise or lower workers; or                              2. A "covered pollution cost or expense";

   6. Vehicles not described in Paragraph 1., 2., 3.             to which this insurance applies, are alleged.
      or 4. above maintained primarily for purposes              "Suit" includes:
      other than the transportation of persons or
                                                                     a. An arbitration proceeding in which such
      cargo. However, self-propelled vehicles with
                                                                        damages or "covered pollution costs or
      the following types of permanently attached
      equipment are not "mobile equipment" but will
                                                                        expenses" are claimed and to which the
                                                                        "insured" must submit or does submit with
      be considered "autos":
                                                                        our consent; or
      a. Equipment designed primarily for:
                                                                     b. Any other alternative dispute resolution
           (1) Snow removal;                                            proceeding in which such damages or
           (2) Road maintenance, but not construction                   "covered pollution costs or expenses" are
               or resurfacing; or                                       claimed and to which the insured submits
                                                                        with our consent.
           (3) Street cleaning;
                                                              O. "Temporary worker" means a person who is
      b. Cherry pickers and similar devices mounted
                                                                 furnished to you to substitute for a permanent
         on automobile or truck chassis and used to
                                                                 "employee" on leave or to meet seasonal or short-
         raise or lower workers; and
                                                                 term workload conditions.
      c. Air compressors, pumps and generators,
                                                             P. "Trailer" includes semitrailer.
         including    spraying,  welding,   building
         cleaning, geophysical exploration, lighting
         or well-servicing equipment.




Page 12 of 12                          © Insurance Services Office, Inc., 201 1                       CA 00 01 10 13
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 254 of 281


                                                                                                 COMMERCIAL AUTO
                                                                                                      CA 01 96 10 13


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           TEXAS CHANGES

For a covered "auto" licensed or principally garaged in Texas, this endorsement modifies insurance provided
under the following:


   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Changes In Physical Damage Coverage                                c. Specify the information you must provide in
                                                                         accordance with Paragraph b. of the Duties
   1. The following exclusion is added to Paragraph
                                                                         Condition.
      B. Exclusions in the Physical Damage
      Coverage section:                                               We may request more information at a later
                                                                      date, if during the investigation of the claim
        We will not pay for "loss" due to or as a
                                                                      such additional information is necessary.
        consequence of a seizure of a covered "auto"
        by federal or state law enforcement officers as           2. After we receive the information we request,
        evidence in a case against you under the                     we will notify you in writing as to whether:
        Texas Controlled Substances Act or the federal                a. The claim will be paid;
        Controlled Substances Act if you are convicted
                                                                      b. The claim has been denied, and inform you
        in such case.
                                                                         of the reasons for denial;
   2. Paragraphs C.2. and C.3. of the Limit Of
                                                                      c. More information is necessary; or
      Insurance provision under Physical Damage
      Coverage do not apply.                                          d. We need additional time to reach a
                                                                         decision. If we need additional time, we will
   3.   Paragraph D. Deductible in the Physical
        Damage Coverage section is amended by the
                                                                         inform you of the reasons for such need.
        addition of the following:                                    We will provide notification, as described in
                                                                      2.a. through 2.d. above, within:
        At the mutual agreement of you and us, we will
        not apply the deductible to "loss" to glass, if the           a.   1 5 "business days"; or
        glass is repaired rather than replaced.                       b. 30 days if we have reason to believe the
B. Changes In Conditions                                                 "loss" resulted from arson.
   The following condition is added:                                 If we have notified you that we need additional
                                                                     time to reach a decision, we must then either
   Claim-handling Procedures
                                                                     approve or deny the claim within 45 days of
   1. Within 15 days after we receive written notice                 such notice.
      of a claim, we will:
                                                                  3. If a claim results from a weather-related
        a. Acknowledge receipt of the claim. If we do                catastrophe or a major natural disaster as
           not acknowledge receipt of the claim in                   defined by the Texas Department of Insurance,
           writing, we will keep a record of the date,               the claim-handling deadlines described above
           method      and      content     of     the
                                                                     are extended for an additional 15 days.
           acknowledgment;
                                                                  4. If we notify you that we will pay your claim, or
        b. Begin any investigation of the claim; and                 part of your claim, we will pay within five
                                                                     "business days" after we notify you.




CA 01 96 10 13                           © Insurance Services Office, Inc., 2013                         Page 1 of 2
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 255 of 281



      However, if payment of the claim or part of the      D. Changes In Trailer Interchange Coverage
      claim is conditioned on your compliance with            The following exclusion is added to Paragraph B.
      any of the terms under this Policy, we will             Exclusions of Section III - Trailer interchange
      make payment within five "business days" after          Coverage in the Motor Carrier Coverage Form
      the date you have complied with such terms.             and to Paragraph B.2. Exclusions of the Motor
   5. We will notify the first Named Insured in writing       Carrier Endorsement if attached:
      of:                                                     Texas Controlled Substance Act
      a. An initial offer to settle a claim made or           We   will   not   pay for "loss"   due to   or as a
         "suit" brought against any "insured" under           consequence of a seizure of a covered "auto" by
         Covered Autos Liability Coverage of this             federal or state law enforcement officers as
         Policy. The notice will be given no later than       evidence in a case against you under the Texas
         the 10th day after the date on which the             Controlled  Substances   Act    or  the   federal
         offer is made.                                       Controlled Substances Act if you are convicted in
      b. Any settlement of a claim made or "suit"             such case.
         brought   against  the   "insured"  under         E. Changes In Garagekeepers Coverage
         Covered Autos Liability Coverage of this
                                                              If the Garagekeepers Coverage Endorsement or
         Policy. The notice will be given not later
         than the 30th day after the date of
                                                              the Garagekeepers Coverage              Customers'
                                                              Sound-receiving     Equipment     endorsement   is
         settlement.
                                                              attached, the following exclusion is added:
   As used in this condition, "business day" means a
                                                              Texas Controlled Substance Act
   day other than Saturday, Sunday or a ho\\6a^
   recognized by the state of Texas.                          We will not pay for "loss" due to or as a
                                                              consequence of a seizure of a covered "auto" by
C. Changes In Uninsured/Underinsured Motorists
                                                              federal or state law enforcement officers as
   Coverage
                                                              evidence in a case against you under the Texas
   All references to "Uninsured Motorists Coverage"           Controlled  Substances   Act    or the    federal
   in the title or text of any Coverage Form or               Controlled Substances Act if you are convicted in
   endorsement thereto are changed to read                    such case.
   "Uninsured/Underinsured Motorists Coverage".




Page 2 of 2                          © Insurance Services Office, Inc., 2013                       CA 01 96 10 13
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 256 of 281


                                                                                                    COMMERCIAL AUTO
                                                                                                             CA 02 4311 13



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               TEXAS CHANGES -
                         CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



A. Paragraphs 2. and 5. of the Cancellation                                  (e) If      we      have     been     placed    in
              Policy Condition contained  in                                     supervision,           conservatorship      or
   Common
   Endorsement IL0017 are replaced by the                                        receivership and the cancellation is
   following:                                                                    approved    or   directed by     the
                                                                                 supervisor, conservator or receiver.
   2. We may cancel this policy:
                                                                        c. For the following reasons,            if this policy
       a. By mailing or delivering to the first Named
                                                                           provides coverage to a governmental unit,
          Insured written notice of cancellation,
                                                                           as defined under 28 TEX. ADMIN. CODE,
          stating the reason for cancellation, at least
                                                                           Section 5.7001:
          10      days   before     the   effective   date    of
          cancellation.                                                   (1) If this policy has been in effect for less
                                                                              than 90 days, we may cancel this policy
      b. For the following reasons, if this policy does
                                                                              for any reason.
         not provide coverage to a governmental
          unit, as defined under 28 TEX. ADMIN.                           (2) If this policy has been in effect for 90
          CODE, Section 5.7001:                                               days or more, or if it is a renewal or
                                                                              continuation of a policy issued by us, we
         (1) If this policy has been in effect for 60
                                                                              may cancel this policy, only for the
             days or less, we may cancel for any
                                                                              following reasons:
             reason except, that under the provisions
             of the Texas Insurance Code, we may                             (a) If the first Named Insured does not
             not cancel this policy solely because the                           pay the premium or any portion of
             policyholder is an elected official.                                the premium when due;

         (2) If this policy has been in effect for more                      (b) If   the   Texas   Department   of
             than 60 days, or if it is a renewal or                              Insurance      determines     that
             continuation of a policy issued by us, we                           continuation of this policy would
             may cancel only for one or more of the                              result in violation of the Texas
                following reasons:                                                   Insurance    Code    or any other      law
                                                                                 governing the business of insurance
                (a) Fraud in obtaining coverage;
                                                                                     in Texas;
                (b) Failure to pay premiums when due;                                                                        a
                                                                              (c) If the Named Insured submits
                (c) An   increase    in   hazard within      the                  fraudulent claim; or
                    control of the insured which would
                                                                             (d) If there is an increase in the hazard
                    produce an increase in rate;
                                                                                 within the control of the Named
                (d) Loss of reinsurance covering ail or                          Insured which would produce an
                    part of the risk covered by the policy;                      increase in rate.
                    or




CA 02 43 11 13                              ©Insurance Services Office, Inc., 2013                                Page 1 of 2
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 257 of 281



   5.   If this policy is canceled, we will send the first       2. If we elect not to renew this policy, we may do
        Named Insured any premium refund due. The                   so by mailing or delivering to the first Named
        refund will be pro rata, subject to the policy              Insured, at the last mailing address known to
        minimum premium. The cancellation will be                   us, written notice of nonrenewal, stating the
        effective even if we have not made or offered a             reason for nonrenewal, at least 60 days before
        refund.                                                     the expiration date. If notice is mailed or
                                                                    delivered less than 60 days before the
B. The following condition is added;
                                                                    expiration date, this policy will remain in effect
   Nonrenewal                                                       until the 61st day after the date on which the
   1. We may elect to renew this policy except that                 notice is mailed or delivered. Earned premium
      under the provisions of the Texas Insurance                   for any period of coverage that extends beyond
      Code, we may not refuse to renew this policy                  the expiration date will be computed pro rata
      solely because the policyholder is an elected                 based on the previous year's premium.
        official.




Page 2 of 2                             © Insurance Services Office, Inc., 2013                      CA 02 43 11 13
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 258 of 281


                                                                                             COMMERCIAL AUTO
                                                                                                 CA 20 01 10 13


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         LESSOR - ADDITIONAL INSURED AND LOSS PAYEE

This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.



Named Insured:     Four Six Services, LLC

Endorsement Effective Date:       05/30/2017



                                                   SCHEDULE


Insurance Company:       Berkley Regional Insurance Company


Policy Number:     ECA 3124892 - 12                     Effective Date:05/30/2017


Expiration Date:   05/30/2018


Named Insured:     Four Six Services, LLC


Address:     PO Box 4923 Lago Vista, TX 78645


Additional Insured (Lessor):    y\ny person or organization when you and such person or organization have
                                agreed in writing in a contract or agreement executed prior to a loss that such
                                person or organization be added as an additional insured and/or loss payee on
                                your policy for which this endorsement covers.
Address:


Designation Or Description Of "Leased
Autos":




CA 20 01 1013                        © Insurance Services Office, Inc., 201 1                         Page 1 of 2
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 259 of 281


          Coverages                                           Limit Of Insurance
 Covered Autos Liability      $ 1,000,000                       Each "Accident"
                              Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
     Comprehensive            $ See Deductible Schedule      Deductible For Each Covered "Leased Auto"


                              Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
           Collision          $ See Deductible Schedule      Deductible For Each Covered "Leased Auto"

                              Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
          Specified
                              $                              Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if riot shown above, wili be shown in the Declarations,


A. Coverage                                                      2. The insurance covers the interest of the lessor
                                                                    unless the "loss" results from fraudulent acts or
    1. Any "leased auto" designated or described in
                                                                    omissions on your part.
       the Schedule will be considered a covered
       "auto" you own and not a covered "auto" you               3. If we make any payment to the lessor, we will
       hire or borrow.                                              obtain his or her rights against any other party.

    2.   For a "leased auto" designated or described in      C. Cancellation
         the Schedule, the Who Is An Insured                     1.   If we cancel the policy, we will mail notice to
         provision under Covered Autos Liability                      the lessor in accordance with the Cancellation
         Coverage is changed to include as an                         Common Policy Condition.
         "insured" the lessor named in the Schedule.
                                                                 2.   If you cancel the policy, we will mail notice to
         However, the lessor is an "insured" only for
                                                                      the lessor.
         "bodily injury" or "property damage" resulting
         from the acts or omissions by:                          3. Cancellation ends this agreement.

         a. You;                                             D. The lessor is       not   liable   for   payment   of your
                                                                premiums.
         b. Any of your "employees" or agents; or
                                                             E. Additional Definition
         c. Any person, except the lessor or any
            "employee" or agent of the lessor, operating         As used in this endorsement:
            a "leased auto" with the permission of any           "Leased auto" means an "auto" leased or rented to
            of the above.                                        you, including any substitute, replacement or extra
    3. The    coverages  provided          under     this        "auto" needed to meet seasonal or other needs,
       endorsement apply to any          "leased    auto"        under a leasing or rental agreement that requires
         described in the Schedule until the expiration          you to provide direct primary insurance for the
         date shown in the Schedule, or when the                 lessor.
         lessor or his or her agent takes possession of
         the "leased auto", whichever occurs first.
B. Loss Payable Clause
    1. We will pay, as interest may appear, you and
         the lessor named in this endorsement for "loss"
         to a "leased auto".




Page 2 of 2                            © Insurance Services Office, Inc., 2011                            CA 20 01 10 13
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 260 of 281


                                                                                               COMMERCIAL AUTO
                                                                                                      CA 20 35 11 01


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TEXAS LOSS PAYABLE CLAUSE - MODIFIED

This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
Loss Payee:


Unit#: 7
Bank SNB
P.O. Box 1988
Stillwater, OK 74076



"Loss" or damage under Physical Damage Coverage               The insurance covering the loss payee's interest as
shall be paid as interest may appear to you and the           specified in this loss payable clause will continue for
loss payee shown in the declarations or in this               subsequent policy periods regardless of any policy
endorsement. This insurance covering the interest of          expiration date shown in the declarations until we
the loss payee shall not become invalid because of            mail notice to the loss payee at least ten days prior to
your fraudulent acts or omissions, unless the "loss"          the date the coverage for the loss payee will end.
results   from    your    conversion,   secretion   or        If you cancel the policy as permitted by policy terms,
embezzlement of your covered "auto". However, we              we agree to mail notice of the cancellation to the loss
reserve the right to cancel the policy as permitted by        payee at least ten days prior to the date the coverage
policy terms. Notice of the cancellation mailed to the        for the loss payee will end. In any event, your
loss payee at least ten days prior to the date of             coverage ends on the date of your cancellation.
cancellation for the loss payee will terminate this
                                                              When we pay the loss payee, we shall, to the extent
agreement.
                                                              of payment, be subrogated to the loss payee's rights
                                                              of recovery.




CA 20 3511 01                               ISO Properties, Inc., 2001                                   Page 1 of 1
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 261 of 281


                                                                                               COMMERCIAL AUTO
                                                                                                      CA 20 3511 01


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              TEXAS LOSS PAYABLE CLAUSE - MODIFIED
This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
Loss Payee:


Unit#: 8
Bank SNB
P.O. Box 1988
Stillwater, OK 74076



"Loss" or damage under Physical Damage Coverage               The insurance covering the loss payee's interest as
shall be paid as interest may appear to you and the           specified in this loss payable clause will continue for
loss payee shown in the declarations or in this               subsequent policy periods regardless of any policy
endorsement. This insurance covering the interest of          expiration date shown in the declarations until we
the loss payee shall not become invalid because of            mail notice to the loss payee at least ten days prior to
your fraudulent acts or omissions, unless the "loss"          the date the coverage for the loss payee will end.
results from   your   conversion,   secretion  or             If you cancel the policy as permitted by policy terms,
embezzlement of your covered "auto". However, we              we agree to mail notice of the cancellation to the loss
reserve the right to cancel the policy as permitted by        payee at least ten days prior to the date the coverage
policy terms. Notice of the cancellation mailed to the        for the loss payee will end. In any event, your
loss payee at least ten days prior to the date of             coverage ends on the date of your cancellation.
cancellation for the loss payee will terminate this
                                                              When we pay the loss payee, we shall, to the extent
agreement.
                                                              of payment, be subrogated to the loss payee's rights
                                                              of recovery.




CA 20 3511 01                               ISO Properties, Inc., 2001                                   Page 1 of 1
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 262 of 281


                                                                                               COMMERCIAL AUTO
                                                                                                      CA 20 3511 01


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              TEXAS LOSS PAYABLE CLAUSE - MODIFIED

This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
Loss Payee:


Unit#: 9
Bank SNB
P.O. Box 1988
Stillwater, OK 74076



"Loss" or damage under Physical Damage Coverage               The insurance covering the loss payee's interest as
shall be paid as interest may appear to you and the           specified in this loss payable clause will continue for
loss payee shown in the declarations or in this               subsequent policy periods regardless of any policy
endorsement. This insurance covering the interest of          expiration date shown in the declarations until we
the loss payee shall not become invalid because of            mail notice to the loss payee at least ten days prior to
your fraudulent acts or omissions, unless the "loss"          the date the coverage for the loss payee will end.
results   from   your    conversion,  secretion   or          If you cancel the policy as permitted by policy terms,
embezzlement of your covered "auto". However, we              we agree to mail notice of the cancellation to the loss
reserve the right to cancel the policy as permitted by        payee at least ten days prior to the date the coverage
policy terms. Notice of the cancellation mailed to the        for the loss payee will end. In any event, your
loss payee at least ten days prior to the date of             coverage ends on the date of your cancellation.
cancellation for the loss payee will terminate this
agreement.
                                                              When we pay the loss payee, we shall, to the extent
                                                              of payment, be subrogated to the loss payee's rights
                                                              of recovery.




CA 20 3511 01                               ISO Properties, Inc., 2001                                   Page 1 of 1
       Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 263 of 281


                                                                                               COMMERCIAL AUTO
                                                                                                      CA 20 35 11 01


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              TEXAS LOSS PAYABLE CLAUSE - MODIFIED

This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
Loss Payee:


Unit#: 10
Bank SNB
P.O. Box 1988
Stillwater, OK 74076



"Loss" or damage under Physical Damage Coverage               The insurance covering the loss payee's interest as
shall be paid as interest may appear to you and the           specified in this loss payable clause will continue for
loss payee shown in the declarations or in this               subsequent policy periods regardless of any policy
endorsement. This insurance covering the interest of          expiration date shown in the declarations until we
the loss payee shall not become invalid because of            mail notice to the loss payee at least ten days prior to
your fraudulent acts or omissions, unless the "loss"          the date the coverage for the loss payee will end.
results  from    your   conversion,   secretion   or          If you cancel the policy as permitted by policy terms,
embezzlement of your covered "auto". However, we              we agree to mail notice of the cancellation to the loss
reserve the right to cancel the policy as permitted by        payee at least ten days prior to the date the coverage
policy terms. Notice of the cancellation mailed to the        for the loss payee will end. In any event, your
loss payee at least ten days prior to the date of             coverage ends on the date of your cancellation.
cancellation for the loss payee will terminate this
                                                              When we pay the loss payee, we shall, to the extent
agreement.
                                                              of payment, be subrogated to the loss payee's rights
                                                              of recovery.




CA 20 3511 01                               ISO Properties, Inc., 2001                                    Page 1 of 1
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 264 of 281


                                                                                              COMMERCIAL AUTO
                                                                                                  CA 21 09 10 13


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       TEXAS UNINSURED/UNDERINSURED
                            MOTORISTS COVERAGE

For a "covered auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Texas, this
endorsement modifies insurance provided under the following:


    AUTO DEALERS COVERAGE FORM
    BUSINESS AUTO COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.



Named Insured:                       Four Six Services, LLC


Endorsement Effective Date:          05/30/2017


                                                      SCHEDULE


                                                  Limit Of Insurance

$   1,000,000                                                 Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



A. Coverage                                                            b. A tentative settlement has been made
    1. We will pay damages which an "insured" is                          between an "insured" and the insurer of the
       legally entitled to recover from the owner or                      vehicle described in Paragraph d. of the
       operator of an "uninsured motor vehicle"                           definition of "uninsured motor vehicle", and
                                                                          we:
       because of "bodily injury" sustained by an
       "insured" or "property damage" caused by an                       (1) Have been given prompt written notice
       "accident". The owner's or operator's liability for                   of such tentative settlement; and
       these damages        must arise out of the
                                                                         (2) Advance payment to the "insured" in an
       ownership,     maintenance    or use     of the
                                                                             amount equal to the tentative settlement
       "uninsured motor vehicle".
                                                                             within    30  days   after   receipt  of
    2. With respect to damages resulting from an                             notification.
       "accident"     with   a  vehicle described    in
                                                                   3. Any judgment for damages arising out of a
       Paragraph d. of the definition of "uninsured
                                                                      "suit" brought without our written consent is not
       motor vehicle", we will pay under this coverage
                                                                      binding on us. If we and the Named Insured do
       only if a. or b. below applies:
                                                                      not agree as to whether or not a vehicle is
         a. The limit of any applicable liability bonds or            actually uninsured, the burden of proof as to
            policies has been exhausted by payment of                 that issue will be on us.
            judgments or settlements; or




CA 21 091013                            © Insurance Services Office, Inc., 2013                           Page 1 of 5
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 265 of 281



B. Who Is An Insured                                                              c. For any person for the first $250 of the
                                                                                     amount of damage to the property of that
   if   the     Named        Insured       is    designated      in   the
                                                                                     person as the result of any one "accident".
   Declarations as:
                                                                                  d. For the use of a vehicle without a
   1. An individual, then the following are insureds:
                                                                                     reasonable belief that the person using the
        a. The        Named      Insured          and      any   "family             vehicle is entitled to do so. This exclusion
              member".                                                               does not apply to an individual Named
        b. Any other person "occupying" a "covered                                    Insured or a "family member" while using a
           auto".                                                                     "covered auto".

        c. Any person or organization for damages                                 e. For any person for "bodily                          injury" or
           that person or organization is entitled to                                "property damage"        resulting                  from the
           recover because of "bodily injury" sustained                              intentional acts of that person.
           by a person described in a. or b. above.                            2. This coverage shall            not        apply   directly      or
   2. A   partnership,    limited  liability company,                             indirectly to benefit:
      corporation or any other form of organization,                              a. Any       insurer   or    self-insurer         under       any
      then the following are "insureds":                                              workers' compensation, disability or similar
        a. The Named Insured for "property damage"                                    law.
              only.                                                               b. Any insurer of property.
        b. Any person "occupying" a "covered auto".                         D. Limit Of Insurance
        c. Any person or organization for damages                              1. Regardless of the number of "covered autos",
           that person or organization is entitled to                             "insureds", policies or bonds applicable, claims
           recover because of "bodily injury" sustained                           made or vehicles involved in the "accident", the
           by a person described in b. above.                                     most we will pay for all damages resulting from
C. Exclusions                                                                     any     one   "accident"    is   the     limit    of
                                                                                  Uninsured/Underinsured Motorists Coverage
   1. We do not          provide       Uninsured/Underinsured
                                                                                  shown in the Schedule or Declarations. Subject
        Motorists Insurance:
                                                                                  to this maximum, our limit of liability will be the
        a. For "bodily injury" sustained by:                                      lesser of:
             (1) An individual Named    Insured while                             a. The difference between the amount of a
                 "occupying" or when struck by any                                   covered "insured's" damages for "bodily
                 vehicle owned by that Named Insured                                 injury" or "property damage" and the
                 that   is     not     a        "covered    auto"     for            amount paid or payable to that covered
                 Uninsured/Underinsured       Motorists                              "insured" for such damages, by or on behalf
                 Coverage under this Coverage Form;                                  of persons or organizations who may be
             (2) Any "family member" while "occupying"                               legally responsible; or
                 or when struck by any vehicle owned by                           b. The       applicable     limit    of    liability    for   this
                 that "family member" that is not a                                   coverage.
                 "covered            auto"            for
                                                                               2. In order to avoid insurance benefits payments
                 Uninsured/Underinsured         Motorists
                                                                                  in excess of actual damages sustained, subject
                 Coverage under this Coverage Form; or
                                                                                  to only the limits set out in the Schedule or
             (3) Any "family member" while "occupying"                            Declarations and other applicable provisions of
                 or when struck by any vehicle owned by                           this coverage, we will pay all covered damages
                 the Named Insured that is insured for                            not paid or payable under any:
                 Uninsured/Underinsured         Motorists
                                                                                  a. Workers' compensation, disability benefits
                 Coverage on a primary basis under any
                                                                                     or similar law;
                 other Coverage Form or policy.
                                                                                  b. Automobile       Medical         Payments Coverage;
        b.    For any claim settled without our consent.
                                                                                     or
              However, this exclusion does not apply to a
              settlement made with the insurer of an                              c. Personal Injury Protection Coverage.
              owner or operator of a vehicle described in                      3. Any payment under this coverage to or for an
              Paragraph d. of the definition of "uninsured                        "insured" will reduce any amount that "insured"
              motor vehicle" in accordance with the                               is entitled to recover for the same damages
              procedure described in Paragraph A.2.b.                             under this Policy's Covered Autos Liability
                                                                                  Coverage.




Page 2 of 5                                     © Insurance Services Office, Inc., 2013                         CA 21 091013
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 266 of 281



   4. Special Provisions For Property Damage                     c. Take reasonable steps after "loss" to
                                                                    protect   the   "covered  auto"    and    its
      For any "property damage" "loss" to which the
                                                                    equipment from further "loss". We will pay
      Physical Damage Coverage of this Policy (or
                                                                    all reasonable expenses incurred to do this.
      similar coverage from another policy) and this
      coverage both apply, the Named Insured may                 d. Permit us to inspect and appraise the
      choose the coverage from which damages will                   damaged property before its repair or
      be paid. Such Named Insured may recover                       disposal.
      under both coverages, but only if:                          e. Promptly notify us in writing of a tentative
      a. Neither one by itself is sufficient to cover                settlement between an "insured" and the
           the "loss";                                               insurer  of   the  vehicle    described    in
                                                                     Paragraph d. of the definition of "uninsured
      b. The Named     Insured pays the higher
                                                                     motor vehicle" and allow us 30 days to
         deductible amount (but the Named Insured
                                                                       advance payment to that "insured" in an
           does not have to pay both deductibles); and
                                                                       amount equal to the tentative settlement to
      c. The Named Insured will not recover more                       preserve our rights against the insurer,
           than the actual damages.                                    owner or operator of such vehicle.
E. Changes In Conditions                                      3. Transfer Of Rights Of Recovery Against
   The conditions of the Policy are changed for                  Others To Us is changed by adding the
   Uninsured/Underinsured Motorists Insurance as                 following:
   follows:                                                      If we make any payment and the "insured"
   1. The   reference  in   the Other   Insurance                recovers from another party, the "insured" shall
      Condition in the Auto Dealers and Business                 hold the proceeds in trust for us and pay us
      Auto   Coverage     Forms and   the   Other                back the amount we have paid.
      Insurance - Primary And Excess Insurance                   Our rights under this provision do not apply
      Provisions Condition in the Motor Carrier                  with respect to a tentative settlement between
      Coverage Form to "other collectible insurance"             an "insured" and the insurer of an owner or
      is replaced by the following:                              operator of a vehicle described in Paragraph d.
      If there is other applicable similar insurance,            of the definition of "uninsured motor vehicle" if
      we will pay only our share of the "loss". Our              we:

      share is the proportion that our Limit of                  a. Have been given written notice of a
      Insurance bears to the total of all applicable                tentative settlement between the "insured"
      limits. However, any insurance we provide with                and the insurer of the "uninsured motor
      respect to a vehicle the Named Insured does                   vehicle"; and
      not own shall be excess over any other
                                                                 b.    Fail to advance payment to the "insured" in
      collectible insurance.
                                                                       an amount equal to the tentative settlement
   2. Duties In The Event Of Accident, Claim, Suit                     within 30 days after receipt of notification.
      Or Loss in the Business Auto and Motor
                                                                 If we advance payment to the "insured" in an
      Carrier Coverage Forms and Duties In The
                                                                 amount equal to the tentative settlement within
      Event Of Accident, Claim, Offense, Suit,
                                                                 30 days after receipt of notification:
      Loss Or Acts, Errors Or Omissions in the
      Auto Dealers Coverage Form are changed by                  a. That payment will be separate from any
      adding the following:                                         amount an "insured" is entitled to recover
                                                                    under       the       provisions        of
      a. Promptly notify the police if a hit-and-run
                                                                       Uninsured/Underinsured                Motorists
         driver is involved.
                                                                       Coverage; and
      b.   Promptly send us copies of the legal papers
                                                                 b. We      also   have   the   right to   recover the
           if a "suit" is brought.
                                                                       advanced payment.




CA 21 09 10 13                   © Insurance Services Office, Inc., 2013                         Page 3 of 5
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 267 of 281



   4. The following condition is added:                         3. "Occupying" means in, upon, getting in, on, out
                                                                   or off.
      Arbitration
                                                                4. "Property damage" means injury to or "loss" of
      a. If we and an "insured" disagree whether the
                                                                   use or destruction of:
         "insured" is legally entitled to recover
         damages from the owner or driver of an                    a. A "covered auto";
         "uninsured motor vehicle" or do not agree                 b. Property owned by the Named insured or
         as to the amount of damages that are                         any "family member" of an individual
         recoverable by that "insured", then the                      Named    Insured while contained in a
         matter     may     be   arbitrated.   However,               "covered auto";
         disputes concerning coverage under this
                                                                   c. Property     owned    by    any   other     person
         endorsement may not be arbitrated. Both
                                                                      "occupying"     the    "covered     auto"    while
         parties must agree to arbitration. In this
                                                                      contained in the "covered auto"; and
         event, each party will select an arbitrator.
         The two arbitrators will select a third. If they          d. Any property owned by the Named Insured
         cannot agree within 30 days, either may                      or "family member" of an individual Named
         request that selection be made by a judge                     Insured while contained in any "auto" not
         of a court having jurisdiction. Each party will               owned,    but being   operated,  by such
         pay the expenses it incurs and bear the                       individual Named Insured or any "family
         expenses of the third arbitrator equally.                     member" of the individual Named Insured.

      b. Unless     both   parties agree otherwise,             5. "Uninsured motor vehicle" means a land motor
         arbitration will take place in the county in              vehicle or "trailer" of any type:
         which the "insured" lives. Local rules of law
                                                                   a. To which no liability bond or policy applies
         as to arbitration procedure and evidence                     at the time of the "accident".
         will apply. A decision agreed to by two of
         the arbitrators will be binding. However, at              b. Which is a hit-and-run vehicle whose
         any time prior to the arbitrators' decision,                 operator or owner cannot be identified. The
         either party may revoke the agreement to                     vehicle must hit an "insured", a "covered
                                                                      auto"   or  a  vehicle  an   "insured"    is
         arbitrate the matter.
                                                                       "occupying".
F. Additional Definitions
                                                                   c. To which a liability bond or policy applies at
   The following are added to the Definitions section                 the time of the "accident", but the bonding
   and       have      special     meaning         for                or insuring company denies coverage or is
   Uninsured/Underinsured Motorists Insurance:
                                                                      or becomes insolvent.
   1. "Covered auto" means an "auto":                              d. Which is an underinsured motor vehicle. An
      a. Owned or leased by the Named Insured; or                      underinsured motor vehicle is one to which
                                                                      a liability bond or policy applies at the time
      b. While temporarily used as a substitute for
                                                                      of the accident, but its limit of liability either:
         an owned "covered auto" that has been
         withdrawn from normal use because of its                     (1) Is not enough to pay the full amount the
         breakdown, repair,   servicing, "loss" or                        covered "insured" is legally entitled to
         destruction.                                                        recover as damages; or

         Covered Autos Liability Coverage of this                     (2) Has been reduced by payment of claims
         Policy must apply to the "covered auto".                         to an amount which is not enough to pay
                                                                          the full amount the covered "insured" is
         "Covered auto" includes "autos" (described
                                                                          legally entitled to recover as damages.
         in   a.   or   b.    above)    for    which
         Uninsured/Underinsured             Motorists              However, "uninsured motor vehicle" does not
         Insurance has not been rejected in writing.               include any vehicle or equipment:

   2. "Family member" means a person related to an                 a. Owned by or furnished or available for the
      individual Named Insured by blood, marriage                     regular use of the Named Insured or a
      or adoption, who is a resident of such Named                    "family member" of an individual Named
      Insured's household, including a ward or foster                 Insured;
      child.




Page 4 of 5                        © Insurance Services Office, Inc., 2013                   CA 21 09 1013
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 268 of 281



      b. Owned or operated by a self-insurer under              d. Operated on rails or crawler treads;
         an applicable motor vehicle law;                       e. Designed mainly for use off public roads
      c. Owned by any governmental body unless                     while not on public roads; and
        the operator of the vehicle is uninsured and             f. While located for use as a residence or
        there is no statute imposing liability for                 premises.
        damage because of "bodily injury" or
        "property damage" on the governmental
        body for an amount not less than the Limit
        of Insurance for this coverage;




CA 21 0910 13                   © Insurance Services Office, Inc., 2013                     Page 5 of 5
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 269 of 281


                                                                                              COMMERCIAL AUTO
                                                                                                     CA 22 641013


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   TEXAS PERSONAL INJURY PROTECTION
                                            ENDORSEMENT

For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Texas, this
endorsement modifies insurance provided under the following:


    AUTO DEALERS COVERAGE FORM
    BUSINESS AUTO COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.



Named Insured:                      Four Six Services, LLC


Endorsement Effective Date:         05/30/2017


                                                     SCHEDULE


             Limit Of Insurance (Each Insured)                                      Premium

$    2,500                                                   $   See Declarations

$                                                            $
$                                                            $
$                                                            $
Description Of Covered Autos (check appropriate box):
       Any "auto" owned by you.


       Any private passenger "auto" owned by you.


       Any motor vehicle to which are attached dealer's license plates issued to you.


X     Any motor vehicle designated in the Declarations of the policy by the letters P. I. P. and a motor vehicle
       ownership of which is acquired during the policy period by you as a replacement therefor.
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                       Personal Injury Protection benefits consist of:

    We will pay Personal Injury Protection benefits               1. Necessary expenses for medical and funeral
    because of "bodily injury" resulting from a motor                 services.
    vehicle "accident" and sustained by a person                  2. 80% of an "insured's" loss of income from
    "insured". Our payment will only be for "losses" or              employment. These benefits apply only if, at the
    expenses incurred within three years from the date               time of the "accident", the "insured":
    of the "accident".
                                                                      a. Was an income producer; and




CA 22 641013                           © Insurance Services Office, Inc., 2012                            Page 1 of 3
        Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 270 of 281



        b. Was in an occupational status.                         5. By a "family member" while "occupying" or
                                                                     when struck by any motor vehicle (other than a
        These benefits do not apply to any "loss" after
                                                                     "covered auto") which is owned by a "family
        the "insured" dies.
                                                                     member".
        Loss of income is the difference between:
                                                               D. Limit Of Insurance
        a. Income which would have been earned had
                                                                  Regardless of the number of owned "covered
           the "insured" not been injured; and
                                                                  autos", "insureds", premiums paid, claims made or
        b. The amount of income actually received                 vehicles involved in the "accident", the most we will
           from employment during the period of                   pay for "bodily injury" for each "insured" in any one
            disability.                                           "accident" is the limit of Personal Injury Protection
        If the income being earned as of the date of the          shown in the Schedule or in the Declarations.
        "accident" is a salary or fixed remuneration, it       E. Changes In Conditions
        shall be used in determining the amount of
                                                                  The Conditions of the policy are changed           for
        income which would        have    been earned.
                                                                  Personal Injury Protection as follows:
        Otherwise, the average monthly income earned
        during the period (not more than 12 months)               1. The following is added to the Transfer Of
        preceding the "accident" shall be used.                      Rights Of Recovery Against Others To Us
                                                                     Condition:
   3. Reasonable expenses incurred for obtaining
      services. These services must replace those an                 However, our rights only apply against a person
      "insured" would normally have performed:                       causing or contributing to the "accident" if, on
                                                                     the date of the "loss", the minimum limits
        a. Without pay;
                                                                     required   by Texas     law   have   not been
        b. During a period of disability; and                        established for a motor vehicle involved in the
        c. For the care and maintenance of the family                "accident" and operated by that person.
           or household.                                          2. The     reference   in  the  Other    Insurance
        These benefits apply only if, at the time of the             Condition in the Auto Dealers and Business
        "accident", the "insured":                                   Auto Coverage Forms and Other Insurance -
                                                                     Primary And Excess Insurance Provisions
        a. Was not an income producer; and
                                                                     Condition in the Motor Carrier Coverage Form
        b. Was not in an occupational status.                        to "other collectible insurance" is replaced by
        These benefits do not apply to any "loss" after              the following:
        the "insured" dies.                                          If there is other Personal Injury Protection
B. Who Is An Insured                                                 Insurance, we will pay only our share. Our
                                                                     share is the proportion that our Limit of
   1. You or any "family member" while "occupying"
                                                                     Insurance bears to the total of all applicable
      or when struck by any "auto".
                                                                     limits. However, any insurance we provide with
   2. Anyone else "occupying" a "covered auto" with                  respect to a vehicle you do not own shall be
        your permission.                                             excess over any other collectible Personal
                                                                     Injury Protection Insurance.
C. Exclusions
   We will not provide Personal Injury Protection                 3. The following conditions are added:
   Coverage for any person for "bodily injury"                       a. Payment Provision
   sustained:
                                                                        Loss Payments benefits are payable:
   1.   In an "accident" caused intentionally by that
                                                                        (1) Not   more   frequently   than   every   two
        person.
                                                                            weeks; and
   2. By that person while in the commission of a
                                                                        (2) Within 30 days after satisfactory proof of
        felony.
                                                                            claim is received.
   3.   By that person while attempting to elude arrest
                                                                     b. Assignment Of Benefits
        by a law enforcement official.
                                                                        Payments for medical benefits will be paid
   4. While "occupying" or when struck by, any motor
                                                                        directly to a physician or other health care
      vehicle (other than a "covered auto") which is
                                                                        provider if we receive a written assignment
      owned by you.
                                                                        signed by the covered person to whom such
                                                                        benefits are payable.




Page 2 of 3                             © Insurance Services Office, Inc., 2010                       CA 22 6410 13
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 271 of 281




F. Additional Definitions                                           "Covered auto" includes "autos" (described in
                                                                    Paragraphs a. and b. above) for which Personal
   The following are added to the Definitions section
                                                                    Injury Protection Coverage has not been
   and have special meaning for Personal Injury
                                                                    rejected in writing.
   Protection:
                                                               2.   "Family member" means a person       related to
   1 . "Covered auto" means an "auto":
                                                                    you by blood, marriage or adoption who is a
      a. Owned or leased by you; or                                 resident of your household, including a ward or
      b. While temporarily used as a substitute for an              foster child.
         owned   "covered auto" that has been                  3. "Occupying" means in, upon, getting in, on, out
         withdrawn from normal use because of its                 or off.
         breakdown,   repair,  servicing,   "loss" or
         destruction.
      Covered Autos Liability Coverage of this policy
      must apply to the "covered auto".




CA 22 6410 13                         © Insurance Services Office, Inc., 2012                         Page 3 of 3
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 272 of 281


                                                                                            COMMERCIAL AUTO
                                                                                                CA 23 84 1013


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION OF TERRORISM

This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   SINGLE INTEREST AUTOMOBILE PHYSICAL DAMAGE INSURANCE POLICY


With   respect  to    coverage   provided by this               2. "Any injury, damage, loss or expense" means
endorsement, the provisions of the Coverage Form                   any injury, damage, loss or expense covered
apply unless modified by the endorsement.                          under any Coverage Form or Policy to which
                                                                   this endorsement is applicable, and includes
A. The following definitions are added and apply
                                                                   but is not limited to "bodily injury", "property
   under this endorsement wherever the term
                                                                   damage", "personal and advertising injury",
   terrorism, or the phrase any injury, damage, loss
                                                                   "loss", loss of use, rental reimbursement after
   or expense, is enclosed in quotation marks:
                                                                   "loss" or "covered pollution cost or expense",
   1. "Terrorism" means activities against persons,                as may be defined under this Coverage Form,
      organizations or property of any nature:                     Policy or any applicable endorsement.
      a. That involve the following or preparation for      B. Except   with    respect   to   Physical  Damage
         the following:                                        Coverage,      Trailer   Interchange     Coverage,
         (1 ) Use or threat of force or violence; or           Garagekeepers        Coverage,     Garagekeepers
                                                               Coverage     -    Customers'    Sound    Receiving
         (2) Commission or threat of a dangerous
                                                               Equipment or the Single Interest Automobile
             act; or
                                                               Physical Damage Insurance Policy, the following
         (3) Commission or threat of an act that               exclusion is added:
             interferes with or disrupts an electronic,
                                                               Exclusion Of Terrorism
             communication          information      or

             mechanical system; and                            We will not pay for "any injury, damage, loss or
                                                               expense"     caused    directly or indirectly  by
      b. When one or both of the following apply:
                                                               "terrorism",  including action in hindering or
        (1) The effect is to intimidate or coerce a            defending against an actual or expected incident
            government or the civilian population or           of "terrorism". "Any injury, damage, loss or
            any segment thereof, or to disrupt any             expense" is excluded regardless of any other
            segment of the economy; or                         cause or event that contributes concurrently or in
        (2) It appears that the intent is to intimidate        any sequence to such injury, damage, loss or
            or coerce a government, or to further              expense. But this exclusion applies only when
            political, ideological, religious, social or       one or more of the following are attributed to
            economic objectives or to express (or              an incident of "terrorism":
            express opposition to) a philosophy or             1. The "terrorism" is carried out by means of the
            ideology.                                             dispersal or application of radioactive material,
                                                                  or through the use of a nuclear weapon or
                                                                  device that involves or produces a nuclear
                                                                  reaction,   nuclear radiation    or radioactive
                                                                  contamination; or




CA 23 84 1013                         © Insurance Services Office, Inc., 2013                         Page 1 of 3
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 273 of 281



    2. Radioactive   material is    released, and it         C. With respect to Physical Damage Coverage,
       appears that one purpose of the "terrorism"              Trailer Interchange Coverage, Garagekeepers
       was to release such material; or                         Coverage,      Garagekeepers        Coverage      -
                                                                Customers' Sound Receiving Equipment or the
    3. The "terrorism" is carried out by means of the
                                                                Single Interest Automobile Physical Damage
       dispersal or application of pathogenic or
                                                                Insurance Policy, the following exclusion is added:
       poisonous biological or chemical materials; or
                                                                 Exclusion Of Terrorism
    4.   Pathogenic or poisonous biological or chemical
         materials are released, and it appears that one         We will not pay for any "loss", loss of use or rental
         purpose of the "terrorism" was to release such          reimbursement after "loss" caused directly or
         materials; or                                           indirectly by "terrorism", including action in
                                                                 hindering or defending against an actual or
    5. The total of insured damage to all types of
                                                                 expected    incident  of "terrorism".     But this
       property exceeds $25,000,000. In determining
                                                                 exclusion applies only when one or more of
       whether    the   $25,000,000   threshold   is
                                                                 the following are attributed to an incident of
         exceeded, we will include all insured damage
                                                                 "terrorism":
         sustained by property of all persons and
         entities affected  by the     "terrorism" and           1. The "terrorism" is carried out by means of the
         business interruption losses sustained by                  dispersal or application of radioactive material,
         owners or occupants of the damaged property.               or through the use of a nuclear weapon or
         For the purpose of this provision, insured                 device that involves or produces a nuclear
         damage means damage that is covered by any                 reaction,   nuclear   radiation  or radioactive
         insurance plus damage that would be covered                contamination; or
         by any insurance but for the application of any
                                                                 2. Radioactive material   is   released, and it
         terrorism exclusions; or
                                                                    appears that one purpose of the "terrorism"
   6. Fifty or more persons sustain death or serious                was to release such material; or
      physical injury. For the purposes of this                  3. The "terrorism" is carried out by means of the
      provision, serious physical injury means:                     dispersal or application of pathogenic or
         a. Physical injury that involves a substantial             poisonous biological or chemical materials; or
            risk of death; or                                   4. Pathogenic or poisonous biological or chemical
         b. Protracted     and      obvious     physical           materials are released, and it appears that one
            disfigurement; or                                      purpose of the "terrorism" was to release such
                                                                   materials; or
         c. Protracted loss of or impairment of the
            function of a bodily member or organ.               5. The total of insured damage to all types of
                                                                   property exceeds $25,000,000. In determining
   Multiple incidents of "terrorism" which occur within
                                                                   whether    the    $25,000,000    threshold    is
   a 72-hour period and appear to be carried out in
                                                                   exceeded, we will include all insured damage
   concert or to have a related purpose or common
                                                                   sustained by property of all persons and
   leadership will be deemed to be one incident, for
                                                                   entities affected    by the "terrorism" and
   the purpose of determining whether the thresholds
                                                                   business interruption losses sustained by
   in Paragraphs B.5. and B.6. are exceeded.
                                                                   owners or occupants of the damaged property.
   With respect to this exclusion, Paragraphs B.5.                 For the purpose of this provision, insured
   and B.6. describe the thresholds used to measure                damage means damage that is covered by any
   the magnitude of an incident of "terrorism" and the             insurance plus damage that would be covered
   circumstances in which the threshold will apply, for            by any insurance but for the application of any
   the purpose of determining whether this exclusion               terrorism exclusions.
   will apply to that incident. When the exclusion
                                                                Multiple incidents of "terrorism" which occur within
   applies to an incident of "terrorism", there is no
                                                                a 72-hour period and appear to be carried out in
   coverage under this Coverage Form, Policy or any
                                                                concert or to have a related purpose or common
   applicable endorsement.
                                                                leadership will be deemed to be one incident, for
                                                                the purpose of determining whether the threshold
                                                                in Paragraph C.5. is exceeded.




Page 2 of 3                            © Insurance Services Office, Inc., 2013                      CA 23 84 1 0 1 3
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 274 of 281



   With   respect to this exclusion,    Paragraph   C.5.     D. In the event of any incident of "terrorism" that is
   describes the threshold used to measure the                  not subject to the exclusion in Paragraph B. or C.,
   magnitude of an incident of "terrorism" and the              coverage does not apply to "any injury, damage,
   circumstances in which the threshold will apply, for         loss or expense" that is otherwise excluded under
   the purpose of determining whether this exclusion            this Coverage Form, Policy or any applicable
   will apply to that incident. When the exclusion               endorsement.
   applies to an incident of "terrorism", there is no
   coverage under this Coverage Form, Policy or any
   applicable endorsement.




CA 23 8410 13                          © Insurance Services Office, Inc., 2013                        Page 3 of 3
          Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 275 of 281


                                                                                  COMMERCIAL AUTOMOBILE
                                                                                            CA 83 09 09 15



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     ADDITIONAL INSURED - PERSONS OR ORGANIZATIONS
          AS REQUIRED UNDERWRITTEN CONTRACT
This endorsement modifies insurance provided under the following:
     BUSINESS AUTO COVERAGE FORM
     MOTOR CARRIER COVERAGE FORM
The following is added under SECTION II - LIABILITY COVERAGE, A. COVERAGE, 1 . Who Is An
Insured:

d.   Any person or organization with respect to the operation, maintenance or use of a covered "auto"
     provided that you and such person or organization have agreed under an express provision in a
     written "insured contract", written agreement or written permit issued to you by a governmental or
     public authority to add such person or organization to this policy as an 'insured'. However, such
     person or organization is only an "insured" with:
     1.   respect to the operation, maintenance or use of a covered "auto", and
     2.   for "bodily injury" or "property damage" is caused by an "accident" which takes place after;
          a. "you" have executed the "insured contract" or written agreement ; or
          b.   the permit has been issued to you.
All other terms and conditions remain the same.




CA 83 09 09 15               Includes copyrighted materials of Insurance Services Office,          Page 1 of 1
                                             Inc. used with its permission.
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 276 of 281

BLANKET WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST
OTHERS TO US (WAIVER OF SUBROGATION) ENDORSEMENT

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

    AUTO DEALERS COVERAGE FORM
    BUSINESS AUTO COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM


The following is added to SECTION IV, A. Loss Conditions, 5. Transfer of Rights Of Recovery Against
Others To Us:


We waive any right of recovery we may have against any person or organization to the extent required of you by a
written contract executed prior to any "accident" or "loss", provided that the "accident" or "loss" arises out of
operations contemplated by such contract. The waiver applies only to the person or organization designated in
such contract.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY IS WRITTEN.


CA 83 22 10 13                                                                                               Page 1 of 1
                       Includes copyrighted material of Insurance Services Office, Inc with its permission
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 277 of 281


                                                                                          COMMERCIAL AUTO
                                                                                                 CA 99 16 10 13


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             HIRED AUTOS SPECIFIED AS
                             COVERED AUTOS YOU OWN

This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.



 Named Insured:     Four Six Services, LLC

Endorsement Effective Date:       05/30/2017



                                                   SCHEDULE


Description Of Auto:


Autos hired or leased under a contract, of six months or more duration, where you are required to provide primary
coverage.

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Any "auto" described in the Schedule will be
   considered a covered "auto" you own and not a
   covered "auto" you hire, borrow or lease.
B. Changes In Covered Autos Liability Coverage

   The following is added to the Who Is An Insured
   provision:

  While any covered "auto" described in the
  Schedule is rented or leased to you and is being
  used by or for you, its owner or anyone else from
  whom you rent or lease it is an "insured" but only
  for that covered "auto".




CA 99 161013                        © Insurance Services Office, Inc., 201 1                             Page 1 of 1
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 278 of 281


                                                                                  COMMERCIAL AUTO
                                                                                      CA 99 33 10 13


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               EMPLOYEES AS INSUREDS

This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


The following is added to the Section II - Covered
Autos Liability Coverage, Paragraph A.1. Who Is
An Insured provision:
      Any "employee" of yours is an "insured" while
      using a covered "auto" you don't own, hire or
      borrow in your business or your personal
      affairs.




CA 99 33 10 13                      © Insurance Seivices Office, Inc., 201 1                Page 1 of 1
     Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 279 of 281


                                                                                            COMMERCIAL AUTO
                                                                                                CA 99 441013


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               LOSS PAYABLE CLAUSE
This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. We will pay, as interest may appear, you and the           Cancellation ends this agreement as to the loss
   loss payee named in the policy for "loss" to a             payee's interest. If we cancel the policy, we will
   covered "auto".                                            mail you and the loss payee the same advance
                                                              notice.
B. The insurance covers the interest of the loss
   payee unless the "loss" results from conversion,        D. If we make any payments to the loss payee, we
   secretion or embezzlement on your part.                    will obtain his or her rights against any other party.

C. We may cancel the policy as allowed by the
   Cancellation Common Policy Condition.




CA 99 44 10 13                      © Insurance Services Office, Inc., 201 1                           Page 1 of 1
      Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 280 of 281


                                                                                           COMMERCIAL AUTO
                                                                                                  CA 99 48 10 13


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       POLLUTION LIABILITY - BROADENED COVERAGE
        FOR COVERED AUTOS - BUSINESS AUTO AND
            MOTOR CARRIER COVERAGE FORMS
This endorsement modifies insurance provided under the following:


   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



A. Covered Autos Liability Coverage is changed as                "Covered pollution cost or expense" does not
   follows:                                                      include any cost or expense arising out of the
                                                                 actual,   alleged  or threatened discharge,
   1. Paragraph a. of the Pollution Exclusion
                                                                 dispersal, seepage, migration, release or
      applies only to liability assumed under a
                                                                 escape of "pollutants":
      contract or agreement.
                                                                     a. Before the "pollutants" or any property in
   2. With respect to the coverage afforded by
                                                                        which the "pollutants" are contained are
      Paragraph A.1. above, Exclusion B.6. Care,
                                                                        moved from the place where they are
      Custody Or Control does not apply.
                                                                        accepted by the "insured" for movement
B. Changes In Definitions                                               into or onto the covered "auto"; or
   For the purposes of this endorsement, Paragraph                  b. After the "pollutants" or any property in
   D. of the Definitions Section is replaced by the                    which the "pollutants" are contained are
   following:                                                          moved from the covered "auto" to the
  D. "Covered pollution cost or expense" means any                     place where they are finally delivered,
     cost or expense arising out of:                                   disposed of or abandoned by the
                                                                       "insured".
      1. Any request, demand, order or statutory or
         regulatory requirement that any "insured" or               Paragraphs a. and b. above    do not apply to
         others test for, monitor, clean up, remove,                "accidents" that occur away   from premises
         contain, treat, detoxify or neutralize, or in              owned by or rented to an       "insured" with
         any way respond to, or assess the effects                  respect to "pollutants" not    in or upon a
         of "pollutants"; or                                        covered "auto" if:

      2. Any claim or "suit" by or on behalf of a                      (1) The "pollutants" or any property in
         governmental      authority   for  damages                        which the "pollutants" are contained
         because of testing for, monitoring, cleaning                      are upset, overturned or damaged as
         up,     removing,     containing,   treating,                     a result of the maintenance or use of
         detoxifying or neutralizing, or in any way                        a covered "auto"; and
         responding to or assessing the effects of                     (2) The discharge, dispersal, seepage,
         "pollutants".                                                     migration, release or escape of the
                                                                           "pollutants" is caused directly by
                                                                           such upset, overturn or damage.




CA 99 481013                        © Insurance Services Office, Inc., 2011                          Page 1 of 1
         Case 4:19-cv-02730 Document 1 Filed on 07/24/19 in TXSD Page 281 of 281


                                                                                             COMMERCIAL AUTO
                                                                                                 CA 99 9510 13


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                TEXAS SUPPLEMENTARY DEATH BENEFIT

This endorsement modifies insurance provided under the following:


   AUTO MEDICAL PAYMENTS COVERAGE
   PERSONAL INJURY PROTECTION COVERAGE



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:      Four Six Services, LLC

Endorsement Effective Date:        05/30/2017




A. Coverage                                                    D. Additional Definitions

   We will pay under the provisions of personal injury            The following are added to the Definitions
   protection   insurance     and/or  auto   medical              section  and   have   special meaning   for
   payments insurance as afforded by this policy                  Supplementary Death Benefit:
   except as limited by this endorsement.                         1. "Insured" as used in this endorsement means
   We will pay a supplementary death benefit equal                   the same persons who are covered under auto
   to the limit shown for the coverages but not                      medical payments insurance and/or personal
   exceeding ten thousand dollars ($10,000) per                      injury protection insurance.
   person because of death:                                       2. "Seat belt" means manual or automatic safety
   1. Caused by an "auto" "accident"; and                            belts or seat and shoulder restraints or a child
                                                                     restraint device.
   2. Sustained by an "insured" while wearing         a
      "seat belt" or protected by an "airbag".                    3. "Airbag" is a functioning airbag designed to
                                                                     protect the occupant of a seat in an "auto".
   We will pay the benefit if death from an "auto
   "accident" occurs within three years of the date of            4. "Beneficiary"   means   (in   order of priority of
   such "accident".                                                  payment):

B. Proof Of Claim For Death Benefit                                   a. The surviving spouse if a resident in the
                                                                         same household as the deceased at the
   The "beneficiary" must furnish us with proof of
                                                                         time of the "accident"; or
   death of the "insured", accompanied by a police
   report or other suitable proof, that the "insured" at             b. If the deceased is an unmarried minor,
   the time of the "auto" "accident" was wearing a                      either of the surviving parents who had
   "seat belt" or protected by an "air bag".                            legal custody at the time of the "accident";
                                                                         or
C. Other Insurance
                                                                      c. The estate of the deceased.
   Any amounts payable under the supplementary
   death benefit shall not be reduced by any other
   amounts paid or payable under this policy.




CA 99 9510 13                          © Insurance Services Office, Inc., 2012                           Page 1 of 1
